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              Case Name:           Securities and Exchange Commission v. Ripple Labs Inc. et al.
              Case Number:         1:20-cv-10832-AT-SN
              Filer:
              WARNING: CASE CLOSED on 08/07/2024
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                                              U.S. District Court
                                 Southern District of New York (Foley Square)
                              CIVIL DOCKET FOR CASE #: 1:20−cv−10832−AT−SN

             Securities and Exchange Commission v. Ripple Labs Inc. et al.   Date Filed: 12/22/2020
             Assigned to: Judge Analisa Torres                               Date Terminated: 08/07/2024
             Referred to: Magistrate Judge Sarah Netburn                     Jury Demand: Both
             Cause: 15:77 Securities Fraud                                   Nature of Suit: 850
                                                                             Securities/Commodities
                                                                             Jurisdiction: U.S. Government Plaintiff
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                                                                   Cleary Gottlieb Steen & HamiltonLLP
                                                                   District Of Columbia
                                                                   2112 Pennsylvania Avenue, NW
                                                                   Washington, DC
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                                                                   Nicole Tatz
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                                                                   TERMINATED: 12/20/2022

                                                                   Nowell D. Bamberger
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                                                                   Reid Mason Figel
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED

                                                                   Samuel Loewenson Levander
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                                                                    1285 Avenue of the Americas
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(13 of 122), Page 13 of 122Case: 24-2705, 10/10/2024, DktEntry: 4.2, Page 13 of 122

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                                                                  Email: mflumenbaum@paulweiss.com
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                                                                  Andrew J. Ceresney
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  Bradley E Oppenheimer
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  Gregory G. Rapawy
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                  Justin David Ward
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                                                                  Kristina Anne Bunting
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                                                                  Lisa R. Zornberg
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                                                                  ATTORNEY TO BE NOTICED

                                                                  Michael Kerry Kellogg
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED
(14 of 122), Page 14 of 122Case: 24-2705, 10/10/2024, DktEntry: 4.2, Page 14 of 122


                                                                    Reid Mason Figel
                                                                    (See above for address)
                                                                    ATTORNEY TO BE NOTICED

                                                                    Robin Linsenmayer
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                                                                    TERMINATED: 01/18/2022

                                                                    Sarah J Prostko
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                                                                    New York, NY 10019
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                                                                    ATTORNEY TO BE NOTICED

             Interested Party
             Non−Party D                             represented by E. Scott Schirick
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                                                                    ATTORNEY TO BE NOTICED

             Interested Party
             Non−Party D                             represented by E. Scott Schirick
                                                                    (See above for address)
                                                                    ATTORNEY TO BE NOTICED


             V.
             Amicus
             Chamber of Digital Commerce             represented by Lilya Tessler
             TERMINATED: 09/01/2021                                 Sidley Austin LLP
                                                                    787 Seventh Ave.
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                                                                    Email: ltessler@sidley.com
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             Amicus
             I−REMIT, INC.                           represented by Brian Farkas
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                                                                    New York, NY 10019
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                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

             Amicus
(15 of 122), Page 15 of 122Case: 24-2705, 10/10/2024, DktEntry: 4.2, Page 15 of 122

             Debra L Fein                            represented by Debra Lynn Fein
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             Amicus
             Investor Choice Advocates Network       represented by Avi Weitzman
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                                                                    ATTORNEY TO BE NOTICED

             Amicus
             Phillip Goldstein                       represented by Avi Weitzman
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             Amicus
             SpendTheBits, Inc.                      represented by Joam Alisme
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                                                                    310 Beverley Rd
                                                                    Suite 4h
                                                                    Brooklyn, NY 11218
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             Amicus
             Blockchain Association                  represented by Jason P. Gottlieb
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             Amicus
             Coinbase, Inc.                          represented by Nola Breglio Heller
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             Amicus
             Crypto Council for Innovation           represented by Robert Lee Boone
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                                                                    7 World Trade Center
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(16 of 122), Page 16 of 122Case: 24-2705, 10/10/2024, DktEntry: 4.2, Page 16 of 122

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             Valhil Capital, LLC                     represented by Athanasia Charmani
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                                                                    New York, NY 10166
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(17 of 122), Page 17 of 122Case: 24-2705, 10/10/2024, DktEntry: 4.2, Page 17 of 122

                                                                   Jeffrey Donoho
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                                                                    Ladera Ranch, CA 92694
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                                                                    New York, NY 10036
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                                                                   Rodrigo Seira
(18 of 122), Page 18 of 122Case: 24-2705, 10/10/2024, DktEntry: 4.2, Page 18 of 122

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             V.
             Intervenor
             Jordan Deaton                           represented by John Deaton
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                                                                    401−351−6400
                                                                    Email: all−deaton@deatonlawfirm.com
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             Intervenor
             James LaMonte                           represented by John Deaton
                                                                    (See above for address)
                                                                    ATTORNEY TO BE NOTICED

             Intervenor
             Mya LaMonte                             represented by John Deaton
                                                                    (See above for address)
                                                                    ATTORNEY TO BE NOTICED

             Intervenor
             Tyler LaMonte                           represented by John Deaton
                                                                    (See above for address)
                                                                    ATTORNEY TO BE NOTICED

             Intervenor
             Mitchell McKenna                        represented by John Deaton
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                                                                    ATTORNEY TO BE NOTICED

             Intervenor
             Kristiana Warner                        represented by John Deaton
                                                                    (See above for address)
                                                                    ATTORNEY TO BE NOTICED

             Intervenor
             PhD Roslyn Layton                       represented by Joseph Carl Cecere , II
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                                                                    6035 McCommas Blvd
                                                                    Dallas, TX 75206
                                                                    469−600−9455
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                                                                    ATTORNEY TO BE NOTICED
(19 of 122), Page 19 of 122Case: 24-2705, 10/10/2024, DktEntry: 4.2, Page 19 of 122

              Date Filed   #   Docket Text
              12/22/2020   1 FILING ERROR − DEFICIENT PLEADING − PDF ERROR − COMPLAINT
                             against Bradley Garlinghouse, Ripple Labs Inc., Christian A. Larsen. Document filed
                             by Securities and Exchange Commission..(Best, Richard) Modified on 12/29/2020
                             (pc). (Entered: 12/22/2020)
              12/22/2020   2 CIVIL COVER SHEET filed..(Best, Richard) (Entered: 12/22/2020)
              12/22/2020   3 NOTICE OF APPEARANCE by Jorge Gerardo Tenreiro on behalf of Securities and
                             Exchange Commission..(Tenreiro, Jorge) (Entered: 12/22/2020)
              12/22/2020   4 COMPLAINT against Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                             Document filed by Securities and Exchange Commission..(Best, Richard) Modified on
                             12/23/2020 (pc). Modified on 12/29/2020 (pc). (Entered: 12/22/2020)
              12/23/2020       ***NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice
                               to attorney Richard R. Best. The party information for the following
                               party/parties has been modified: Securities and Exchange Commission, Bradley
                               Garlinghouse, Ripple Labs Inc., Christian A. Larsen. The information for the
                               party/parties has been modified for the following reason/reasons: party role was
                               entered incorrectly;. (pc) (Entered: 12/23/2020)
              12/23/2020       CASE OPENING INITIAL ASSIGNMENT NOTICE: The above−entitled action is
                               assigned to Judge Analisa Torres. Please download and review the Individual Practices
                               of the assigned District Judge, located at
                               https://nysd.uscourts.gov/judges/district−judges. Attorneys are responsible for
                               providing courtesy copies to judges where their Individual Practices require such.
                               Please download and review the ECF Rules and Instructions, located at
                               https://nysd.uscourts.gov/rules/ecf−related−instructions..(pc) (Entered: 12/23/2020)
              12/23/2020       Magistrate Judge Sarah Netburn is so designated. Pursuant to 28 U.S.C. Section 636(c)
                               and Fed. R. Civ. P. 73(b)(1) parties are notified that they may consent to proceed
                               before a United States Magistrate Judge. Parties who wish to consent may access the
                               necessary form at the following link:
                               https://nysd.uscourts.gov/sites/default/files/2018−06/AO−3.pdf. (pc) (Entered:
                               12/23/2020)
              12/23/2020       Case Designated ECF. (pc) (Entered: 12/23/2020)
              12/23/2020   5 NOTICE OF APPEARANCE by Dugan William Edward Bliss on behalf of Securities
                             and Exchange Commission..(Bliss, Dugan) (Entered: 12/23/2020)
              12/29/2020   6 ORDER: To conserve resources, to promote judicial efficiency, and in an effort to
                             achieve a faster disposition of this matter, it is hereby ORDERED that the parties
                             discuss whether they are willing to consent, under 28 U.S.C. § 636(c), to conducting
                             all further proceedings before the assigned Magistrate Judge. (as further set forth
                             herein). SO ORDERED. (Signed by Judge Analisa Torres on 12/29/2020) (kv)
                             (Entered: 12/29/2020)
              12/29/2020   7 INITIAL PRETRIAL CONFERENCE ORDER: Counsel for all parties are directed to
                             appear for an initial pretrial conference, in accordance with Rule 16 of the Federal
                             Rules of Civil Procedure, at 10:00 a.m. on February 22, 2021, to be held
                             telephonically. The parties are directed to dial 888−398−2342 or 215−861−0674, and
                             enter access code 5598827. Principal trial counsel must appear at this and all
                             subsequent conferences. Initial Conference set for 2/22/2021 at 10:00 AM before
                             Judge Analisa Torres. (Signed by Judge Analisa Torres on 12/29/2020) (kv) (Entered:
                             12/29/2020)
              12/29/2020   8 ORDER: To protect the public health, while promoting the "just, speedy, and
                             inexpensive determination of every action and proceeding," Fed. R. Civ. P. 1, it is
                             ORDERED pursuant to Rules 30(b)(3) and 30(b)(4) of the Federal Rules of Civil
                             Procedure that all depositions in this action may be taken via telephone,
                             videoconference, or other remote means. It is further ORDERED pursuant to Rule
                             30(b)(5) that a deposition will be deemed to have taken place "before an officer
                             appointed or designated under Rule 28" if such officer attends the deposition using the
                             same remote means used to connect all other participants, so long as all participants
                             (including the officer) can clearly hear and be heard by all other participants. The
(20 of 122), Page 20 of 122Case: 24-2705, 10/10/2024, DktEntry: 4.2, Page 20 of 122

                               parties are encouraged to engage in discovery through remote means at every available
                               opportunity. SO ORDERED. (Signed by Judge Analisa Torres on 12/29/2020) (kv)
                               (Entered: 12/29/2020)
              01/08/2021    9 WAIVER OF SERVICE RETURNED EXECUTED. Ripple Labs Inc. waiver sent on
                              1/4/2021, answer due 3/5/2021. Document filed by Securities and Exchange
                              Commission..(Tenreiro, Jorge) (Entered: 01/08/2021)
              01/11/2021   10 WAIVER OF SERVICE RETURNED EXECUTED. Bradley Garlinghouse waiver
                              sent on 1/4/2021, answer due 3/5/2021. Document filed by Securities and Exchange
                              Commission..(Tenreiro, Jorge) (Entered: 01/11/2021)
              01/11/2021   11 NOTICE OF APPEARANCE by Reid Mason Figel on behalf of Ripple Labs
                              Inc...(Figel, Reid) (Entered: 01/11/2021)
              01/11/2021   12 NOTICE OF APPEARANCE by Mary Jo White on behalf of Ripple Labs
                              Inc...(White, Mary Jo) (Entered: 01/11/2021)
              01/11/2021   13 NOTICE OF APPEARANCE by Lisa R. Zornberg on behalf of Ripple Labs
                              Inc...(Zornberg, Lisa) (Entered: 01/11/2021)
              01/11/2021   14 NOTICE OF APPEARANCE by Andrew Edward Goldsmith on behalf of Ripple Labs
                              Inc...(Goldsmith, Andrew) (Entered: 01/11/2021)
              01/11/2021   15 NOTICE OF APPEARANCE by Andrew J. Ceresney on behalf of Ripple Labs
                              Inc...(Ceresney, Andrew) (Entered: 01/11/2021)
              01/11/2021   16 NOTICE OF APPEARANCE by Christopher Sean Ford on behalf of Ripple Labs
                              Inc...(Ford, Christopher) (Entered: 01/11/2021)
              01/11/2021   17 NOTICE OF APPEARANCE by Joy Guo on behalf of Ripple Labs Inc...(Guo, Joy)
                              (Entered: 01/11/2021)
              01/11/2021   18 MOTION for Michael K. Kellogg to Appear Pro Hac Vice . Filing fee $ 200.00,
                              receipt number ANYSDC−23444062. Motion and supporting papers to be reviewed
                              by Clerk's Office staff. Document filed by Ripple Labs Inc.. (Attachments: # 1
                              Affidavit MKK Affidavit, # 2 Exhibit MKK Certificate of Good Standing, # 3 Text of
                              Proposed Order MKK PHV Proposed Order).(Kellogg, Michael) (Entered:
                              01/11/2021)
              01/11/2021   19 WAIVER OF SERVICE RETURNED EXECUTED. Christian A. Larsen waiver sent
                              on 1/4/2021, answer due 3/5/2021. Document filed by Securities and Exchange
                              Commission..(Tenreiro, Jorge) (Entered: 01/11/2021)
              01/11/2021       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                               No. 18 MOTION for Michael K. Kellogg to Appear Pro Hac Vice . Filing fee $
                               200.00, receipt number ANYSDC−23444062. Motion and supporting papers to be
                               reviewed by Clerk's Office staff.. The document has been reviewed and there are
                               no deficiencies. (wb) (Entered: 01/11/2021)
              01/11/2021   20 MOTION for Lillian V. Smith to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                              number ANYSDC−23445197. Motion and supporting papers to be reviewed by
                              Clerk's Office staff. Document filed by Ripple Labs Inc.. (Attachments: # 1 Affidavit
                              Lillian Smith Affidavit, # 2 Exhibit Lillian Smith DC Certificate of Good Standing, #
                              3 Exhibit Lillian Smith NY Certificate of Good Standing, # 4 Text of Proposed Order
                              Lillian Smith Proposed Order).(Smith, Lillian) (Entered: 01/11/2021)
              01/11/2021   21 MOTION for Gregory G Rapawy to Appear Pro Hac Vice . Filing fee $ 200.00,
                              receipt number BNYSDC−23445611. Motion and supporting papers to be reviewed
                              by Clerk's Office staff. Document filed by Ripple Labs Inc.. (Attachments: # 1
                              Affidavit Gregory G Rapawy Affidavit, # 2 Exhibit Gregory G Rapawy DC Bar
                              Certificate of Good Standing, # 3 Exhibit Gregory G Rapawy MA Bar Certificate of
                              Good Standing, # 4 Text of Proposed Order Gregory G Rapawy Proposed PHV
                              Order).(Rapawy, Gregory) (Entered: 01/11/2021)
              01/11/2021   22 MOTION for Eliana Margo Pfeffer to Appear Pro Hac Vice . Filing fee $ 200.00,
                              receipt number ANYSDC−23445880. Motion and supporting papers to be reviewed
                              by Clerk's Office staff. Document filed by Ripple Labs Inc.. (Attachments: # 1
                              Affidavit Eliana Margo Pfeffer Affidavit, # 2 Exhibit Eliana Margo Pfeffer NY Bar
(21 of 122), Page 21 of 122Case: 24-2705, 10/10/2024, DktEntry: 4.2, Page 21 of 122

                               Certificate of Good Standing, # 3 Text of Proposed Order Eliana Margo Pfeffer
                               Proposed PHV Order).(Pfeffer, Eliana) (Entered: 01/11/2021)
              01/11/2021   23 MOTION for Collin R White to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                              number ANYSDC−23446169. Motion and supporting papers to be reviewed by
                              Clerk's Office staff. Document filed by Ripple Labs Inc.. (Attachments: # 1 Affidavit
                              Collin R White Affidavit, # 2 Exhibit Collin R White DC Bar Certificate of Good
                              Standing, # 3 Exhibit Collin R White NY Bar Certificate of Good Standing, # 4 Text
                              of Proposed Order Collin R White Proposed PHV Order).(White, Collin) (Entered:
                              01/11/2021)
              01/11/2021       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                               No. 20 MOTION for Lillian V. Smith to Appear Pro Hac Vice . Filing fee $
                               200.00, receipt number ANYSDC−23445197. Motion and supporting papers to be
                               reviewed by Clerk's Office staff., 22 MOTION for Eliana Margo Pfeffer to
                               Appear Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC−23445880.
                               Motion and supporting papers to be reviewed by Clerk's Office staff., 21
                               MOTION for Gregory G Rapawy to Appear Pro Hac Vice . Filing fee $ 200.00,
                               receipt number BNYSDC−23445611. Motion and supporting papers to be
                               reviewed by Clerk's Office staff., 23 MOTION for Collin R White to Appear Pro
                               Hac Vice . Filing fee $ 200.00, receipt number ANYSDC−23446169. Motion and
                               supporting papers to be reviewed by Clerk's Office staff.. The document has been
                               reviewed and there are no deficiencies. (wb) (Entered: 01/11/2021)
              01/11/2021   24 MOTION for Bradley E Oppenheimer to Appear Pro Hac Vice . Filing fee $ 200.00,
                              receipt number ANYSDC−23446785. Motion and supporting papers to be reviewed
                              by Clerk's Office staff. Document filed by Ripple Labs Inc.. (Attachments: # 1
                              Affidavit Bradley E Oppenheimer Affidavit, # 2 Exhibit Bradley E Oppenheimer DC
                              Bar Certificate of Good Standing, # 3 Exhibit Bradley E Oppenheimer MD Bar
                              Certificate of Good Standing, # 4 Exhibit Bradley E Oppenheimer MA Bar Certificate
                              of Good Standing, # 5 Text of Proposed Order Bradley E Oppenheimer Proposed PHV
                              Order).(Oppenheimer, Bradley) (Entered: 01/11/2021)
              01/11/2021       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                               No. 24 MOTION for Bradley E Oppenheimer to Appear Pro Hac Vice . Filing fee
                               $ 200.00, receipt number ANYSDC−23446785. Motion and supporting papers to
                               be reviewed by Clerk's Office staff.. The document has been reviewed and there
                               are no deficiencies. (wb) (Entered: 01/11/2021)
              01/11/2021   25 MOTION for Matthew C. Solomon to Appear Pro Hac Vice . Filing fee $ 200.00,
                              receipt number ANYSDC−23450851. Motion and supporting papers to be reviewed
                              by Clerk's Office staff. Document filed by Bradley Garlinghouse. (Attachments: # 1
                              Declaration, # 2 NY Certificate of Good Standing, # 3 DC Certificate of Good
                              Standing, # 4 Text of Proposed Order).(Solomon, Matthew) (Entered: 01/11/2021)
              01/11/2021       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                               No. 25 MOTION for Matthew C. Solomon to Appear Pro Hac Vice . Filing fee $
                               200.00, receipt number ANYSDC−23450851. Motion and supporting papers to be
                               reviewed by Clerk's Office staff. The document has been reviewed and there are
                               no deficiencies. (aea) (Entered: 01/11/2021)
              01/11/2021   26 NOTICE OF APPEARANCE by Alexander Javad Janghorbani on behalf of Bradley
                              Garlinghouse..(Janghorbani, Alexander) (Entered: 01/11/2021)
              01/11/2021   27 NOTICE OF APPEARANCE by Lucas Dehaan Hakkenberg on behalf of Bradley
                              Garlinghouse..(Hakkenberg, Lucas) (Entered: 01/11/2021)
              01/11/2021   28 NOTICE OF APPEARANCE by Samuel Loewenson Levander on behalf of Bradley
                              Garlinghouse..(Levander, Samuel) (Entered: 01/11/2021)
              01/11/2021   29 NOTICE OF APPEARANCE by Martin Flumenbaum on behalf of Christian A.
                              Larsen..(Flumenbaum, Martin) (Entered: 01/11/2021)
              01/11/2021   30 NOTICE OF APPEARANCE by Michael E. Gertzman on behalf of Christian A.
                              Larsen..(Gertzman, Michael) (Entered: 01/11/2021)
              01/11/2021   31 NOTICE OF APPEARANCE by Kristina Anne Bunting on behalf of Christian A.
                              Larsen..(Bunting, Kristina) (Entered: 01/11/2021)
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              01/11/2021   32 NOTICE OF APPEARANCE by Justin David Ward on behalf of Christian A.
                              Larsen..(Ward, Justin) (Entered: 01/11/2021)
              01/13/2021   33 ORDER granting 18 Motion for Michael K. Kellogg to Appear Pro Hac Vice
                              (HEREBY ORDERED by Judge Analisa Torres)(Text Only Order)(if) (Entered:
                              01/13/2021)
              01/13/2021   34 ORDER granting 20 Motion for Lillian V. Smith to Appear Pro Hac Vice (HEREBY
                              ORDERED by Judge Analisa Torres)(Text Only Order)(if) (Entered: 01/13/2021)
              01/13/2021   35 ORDER granting 21 Motion for Gregory G Rapawy to Appear Pro Hac Vice
                              (HEREBY ORDERED by Judge Analisa Torres)(Text Only Order)(if) (Entered:
                              01/13/2021)
              01/13/2021   36 ORDER granting 22 Motion for Eliana Margo Pfeffer to Appear Pro Hac Vice
                              (HEREBY ORDERED by Judge Analisa Torres)(Text Only Order)(if) (Entered:
                              01/13/2021)
              01/13/2021   37 ORDER granting 23 Motion for Collin R White to Appear Pro Hac Vice (HEREBY
                              ORDERED by Judge Analisa Torres)(Text Only Order)(if) (Entered: 01/13/2021)
              01/13/2021   38 ORDER granting 24 Motion for Bradley E Oppenheimer to Appear Pro Hac Vice
                              (HEREBY ORDERED by Judge Analisa Torres)(Text Only Order(if) (Entered:
                              01/13/2021)
              01/13/2021   39 ORDER granting 25 Motion for Matthew C. Solomon to Appear Pro Hac Vice
                              (HEREBY ORDERED by Judge Analisa Torres)(Text Only Order)(if) (Entered:
                              01/13/2021)
              01/15/2021   40 MOTION for Meredith R. Dearborn to Appear Pro Hac Vice . Filing fee $ 200.00,
                              receipt number ANYSDC−23532786. Motion and supporting papers to be reviewed
                              by Clerk's Office staff. Document filed by Christian A. Larsen. (Attachments: # 1
                              Declaration of Meredith R. Dearborn, # 2 Certificate of Good Standing, # 3 Text of
                              Proposed Order).(Dearborn, Meredith) (Entered: 01/15/2021)
              01/15/2021       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                               No. 40 MOTION for Meredith R. Dearborn to Appear Pro Hac Vice . Filing fee $
                               200.00, receipt number ANYSDC−23532786. Motion and supporting papers to be
                               reviewed by Clerk's Office staff.. The document has been reviewed and there are
                               no deficiencies. (aea) (Entered: 01/15/2021)
              01/21/2021   41 ORDER granting 40 Motion for Meredith R. Dearborn to Appear Pro Hac Vice
                              (HEREBY ORDERED by Judge Analisa Torres)(Text Only Order)(if) (Entered:
                              01/21/2021)
              01/29/2021   42 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. No Corporate Parent.
                              Document filed by Ripple Labs Inc...(Ceresney, Andrew) (Entered: 01/29/2021)
              01/29/2021   43 ANSWER to 4 Complaint. Document filed by Ripple Labs Inc...(Ceresney, Andrew)
                              (Entered: 01/29/2021)
              02/15/2021   44 PROPOSED SCHEDULING ORDER. Document filed by Securities and Exchange
                              Commission..(Tenreiro, Jorge) (Entered: 02/15/2021)
              02/15/2021   45 JOINT LETTER addressed to Judge Analisa Torres from Parties dated 2/15/21 re:
                              Proposed Discovery Schedule. Document filed by Securities and Exchange
                              Commission..(Tenreiro, Jorge) (Entered: 02/15/2021)
              02/18/2021   46 FIRST AMENDED COMPLAINT amending 4 Complaint against Bradley
                              Garlinghouse, Christian A. Larsen, Ripple Labs Inc. with JURY DEMAND.Document
                              filed by Securities and Exchange Commission. Related document: 4 Complaint..(Best,
                              Richard) (Entered: 02/18/2021)
              02/22/2021       Minute Entry for proceedings held before Judge Analisa Torres: Initial Pretrial
                               Conference held on 2/22/2021. (if) (Entered: 02/22/2021)
              02/22/2021   47 ORDER. Order that case be referred to the Clerk of Court for assignment to a
                              Magistrate Judge for General Pretrial (includes scheduling, discovery, non−dispositive
                              pretrial motions, and settlement). Referred to Magistrate Judge Sarah Netburn. SO
                              ORDERED. (Signed by Judge Analisa Torres on 2/22/2021) (ks) (Entered:
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                               02/22/2021)
              02/22/2021   48 CIVIL CASE MANAGEMENT PLAN AND SCHEDULING ORDER: All parties do
                              not consent to conducting all further proceedings before a magistrate judge,including
                              motions and trial. 28 U.S.C. § 636(c). This case is to be tried to a jury. Counsel for the
                              parties have conferred and their present best estimate of the length of trial is: two
                              weeks. Individual Defendants request for 120 days of additional discovery after the
                              Courts resolution of the prospective motion to dismiss is GRANTED. Individual
                              Defendants shall participate in discovery as provided for in Paragraph 7, and shall not
                              object to any discovery properly served on them on the basis that additional discovery
                              may occur after any decision on their contemplated motions to dismiss. The parties are
                              directed to file a joint status report not later than one week in advance of the Case
                              Management Conference. The parties should indicate whether they anticipate filing
                              motion(s) for summary judgment and whether they believe the case should be referred
                              to a Magistrate Judge for settlement discussions. The parties are reminded that,
                              pursuant to paragraph 8, a pre−motion conference request for any motion for summary
                              judgment must be made within fourteen (14) days of the close of fact discovery.
                              Deposition due by 7/2/2021. Fact Discovery due by 7/2/2021. Expert Discovery due
                              by 8/16/2021. (Signed by Judge Analisa Torres on 2/22/2021) (kv) (Entered:
                              02/22/2021)
              03/03/2021   49 LETTER addressed to Judge Analisa Torres from Matthew C. Solomon dated March
                              3, 2021 re: anticipated motion to dismiss. Document filed by Bradley
                              Garlinghouse..(Solomon, Matthew) (Entered: 03/03/2021)
              03/03/2021   50 LETTER addressed to Judge Analisa Torres from Martin Flumenbaum dated March 3,
                              2021 re: Pre−Motion Letter for Motion to Dismiss. Document filed by Christian A.
                              Larsen..(Flumenbaum, Martin) (Entered: 03/03/2021)
              03/04/2021   51 ANSWER to 46 Amended Complaint. Document filed by Ripple Labs Inc...(Ceresney,
                              Andrew) (Entered: 03/04/2021)
              03/05/2021   52 PROPOSED STIPULATION AND ORDER. Document filed by Ripple Labs
                              Inc...(Ceresney, Andrew) (Entered: 03/05/2021)
              03/09/2021   53 STIPULATION AND PROTECTIVE ORDER...regarding procedures to be followed
                              that shall govern the handling of confidential material...SO ORDERED. (Signed by
                              Magistrate Judge Sarah Netburn on 3/9/2021) (ras) (Entered: 03/09/2021)
              03/09/2021   54 LETTER addressed to Judge Analisa Torres from Securities and Exchange
                              Commission dated March 9, 2021 re: Anticipated Motion to Strike. Document filed by
                              Securities and Exchange Commission..(Tenreiro, Jorge) (Entered: 03/09/2021)
              03/10/2021   55 LETTER addressed to Judge Analisa Torres from Jorge G. Tenreiro dated 03/10/2021
                              re: Defendant Garlinghouse's Pre−Motion Letter. Document filed by Securities and
                              Exchange Commission..(Tenreiro, Jorge) (Entered: 03/10/2021)
              03/10/2021   56 LETTER addressed to Judge Analisa Torres from Jorge G. Tenreiro dated 03/10/2021
                              re: Defendant Larsen's Pre−Motion Letter. Document filed by Securities and Exchange
                              Commission..(Tenreiro, Jorge) (Entered: 03/10/2021)
              03/11/2021   57 MOTION for Nowell D. Bamberger to Appear Pro Hac Vice . Filing fee $ 200.00,
                              receipt number ANYSDC−24236296. Motion and supporting papers to be reviewed
                              by Clerk's Office staff. Document filed by Bradley Garlinghouse. (Attachments: # 1
                              Declaration in Support, # 2 Certificate of Good Standing, Maryland, # 3 Certificate of
                              Good Standing, DC, # 4 Proposed Order).(Bamberger, Nowell) (Entered: 03/11/2021)
              03/11/2021       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                               No. 57 MOTION for Nowell D. Bamberger to Appear Pro Hac Vice . Filing fee $
                               200.00, receipt number ANYSDC−24236296. Motion and supporting papers to be
                               reviewed by Clerk's Office staff.. The document has been reviewed and there are
                               no deficiencies. (wb) (Entered: 03/11/2021)
              03/11/2021   58 ORDER granting 57 Motion for Nowell D. Bamberger to Appear Pro Hac Vice
                              (HEREBY ORDERED by Judge Analisa Torres)(Text Only Order) (if) (Entered:
                              03/11/2021)
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              03/11/2021   59 LETTER MOTION for Conference re: SEC's Requests for Production and
                              Third−Party Subpoenas addressed to Magistrate Judge Sarah Netburn from Matthew
                              C. Solomon & Martin Flumenbaum dated March 11, 2021. Document filed by Bradley
                              Garlinghouse. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                              D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10
                              Exhibit J).(Solomon, Matthew) (Entered: 03/11/2021)
              03/12/2021   60 ORDER granting 59 Letter Motion for Conference re: 59 LETTER MOTION for
                              Conference. A telephonic discovery conference is scheduled for March 19, 2021, at
                              10:30 a.m. at which to discuss the Defendants' motion to quash. At that time the parties
                              should dial into the Court's dedicated teleconferencing line at (877) 402−9757 and
                              enter Access Code 7938632, followed by the pound (#) key. The Plaintiff may file a
                              reply to the Defendants' motion no later than March 18, 2021. (HEREBY ORDERED
                              by Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered:
                              03/12/2021)
              03/12/2021   61 LETTER MOTION for Leave to File Combined Letter Motion addressed to Magistrate
                              Judge Sarah Netburn from Joy Guo dated March 12, 2021. Document filed by Bradley
                              Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Guo, Joy) (Entered: 03/12/2021)
              03/12/2021       Set/Reset Hearings: Discovery Hearing set for 3/19/2021 at 10:30 AM before
                               Magistrate Judge Sarah Netburn. (ras) (Entered: 03/12/2021)
              03/12/2021   62 ORDER granting 61 Letter Motion for Leave to File Document. The Defendants may
                              file a combined letter motion of 10 pages or fewer. The Plaintiff will be accorded an
                              equal page limit to respond. In addition, the parties are notified that Joy Guo, counsel
                              for Defendants, was one of my law clerks during the September 2016−September 2017
                              term, more than three years ago. The Court does not believe this relationship creates a
                              conflict but will entertain any application to have this case reassigned. (HEREBY
                              ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah)
                              (Entered: 03/12/2021)
              03/12/2021   63 LETTER addressed to Judge Analisa Torres from Jorge G. Tenreiro dated March 12,
                              2021 re: Briefing Schedule for Motions to Dismiss. Document filed by Securities and
                              Exchange Commission..(Tenreiro, Jorge) (Entered: 03/12/2021)
              03/14/2021   64 FILING ERROR − DEFICIENT DOCKET ENTRY − MOTION for John E.
                              Deaton to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                              ANYSDC−24247842. Motion and supporting papers to be reviewed by Clerk's
                              Office staff. Document filed by Jordan Deaton, James LaMonte, Mya LaMonte, Tyler
                              LaMonte, Mitchell McKenna, Kristiana Warner. (Attachments: # 1 Affidavit Affidavit
                              of John E. Deaton in support of Pro Hac Vice Admission, # 2 Text of Proposed Order
                              Proposed Pro Hac Vice Order).(Deaton, John) Modified on 3/15/2021 (vba). (Entered:
                              03/14/2021)
              03/14/2021   65 MOTION to Intervene . Document filed by Jordan Deaton, James LaMonte, Mya
                              LaMonte, Tyler LaMonte, Mitchell McKenna, Kristiana Warner. (Attachments: # 1
                              Memorandum of Law in Support of Motion to Intervene).(Deaton, John) (Entered:
                              03/14/2021)
              03/14/2021   66 LETTER addressed to Judge Analisa Torres from John E. Deaton dated March 14,
                              2021 re: Explanation of Recent Motions. Document filed by Jordan Deaton, James
                              LaMonte, Mya LaMonte, Tyler LaMonte, Mitchell McKenna, Kristiana
                              Warner..(Deaton, John) (Entered: 03/14/2021)
              03/15/2021       >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                               VICE. Notice to RE−FILE Document No. 64 MOTION for John E. Deaton to
                               Appear Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC−24247842.
                               Motion and supporting papers to be reviewed by Clerk's Office staff... The filing
                               is deficient for the following reason(s): missing Certificate of Good Standing from
                               SUPREME COURT OF CONNECTICUT, SUPREME COURT OF IOWA,
                               SUPREME COURT OF RHODE ISLAND, SUPREME COURT OF
                               MASSACHUSETTS, AND SUPREME COURT OF RHODE ISLAND;. Re−file
                               the motion as a Motion to Appear Pro Hac Vice − attach the correct signed PDF −
                               select the correct named filer/filers − attach valid Certificates of Good Standing
                               issued within the past 30 days − attach Proposed Order. (vba) (Entered:
                               03/15/2021)
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              03/15/2021   67 LETTER MOTION to Compel Securities and Exchange Commission to Produce
                              addressed to Magistrate Judge Sarah Netburn from Michael K. Kellogg dated March
                              15, 2021. Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                              Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                              Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I).(Kellogg,
                              Michael) (Entered: 03/15/2021)
              03/15/2021   68 ORDER denying without prejudice to renewal by formal motion 65 Motion to
                              Intervene. DENIED without prejudice to renewal in a motion that complies with Rule
                              III(A) of the Court's Individual Practices in Civil Cases. SO ORDERED. (Signed by
                              Judge Analisa Torres on 3/15/2021) (kv) (Entered: 03/15/2021)
              03/15/2021   69 LETTER MOTION for Extension of Time to File Response/Reply as to 67 LETTER
                              MOTION to Compel Securities and Exchange Commission to Produce addressed to
                              Magistrate Judge Sarah Netburn from Michael K. Kellogg dated March 15, 2021.
                              addressed to Magistrate Judge Sarah Netburn from Jorge G. Tenreiro dated March 15,
                              2021. Document filed by Securities and Exchange Commission..(Tenreiro, Jorge)
                              (Entered: 03/15/2021)
              03/16/2021   70 LETTER addressed to Judge Analisa Torres from Andrew J. Ceresney dated March
                              16, 2021 re: Response to SEC Letter re Motion to Strike [dkt. no. 54]. Document filed
                              by Ripple Labs Inc...(Ceresney, Andrew) (Entered: 03/16/2021)
              03/16/2021   71 ORDER granting 69 LETTER MOTION for Extension of Time to File
                              Response/Reply as to 67 LETTER MOTION to Compel Securities and Exchange
                              Commission to Produce. GRANTED. The S.E.C. shall file its reply to the Defendants'
                              combined motion to quash no later than March 22, 2021. (HEREBY ORDERED by
                              Magistrate Judge Sarah Netburn) (Text Only Order) (ras) (Entered: 03/16/2021)
              03/17/2021   72 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                              Netburn from Jorge G. Tenreiro dated March 17, 2021 re: 59 LETTER MOTION for
                              Conference re: SEC's Requests for Production and Third−Party Subpoenas addressed
                              to Magistrate Judge Sarah Netburn from Matthew C. Solomon & Martin Flumenbaum
                              dated March 11, 2021. . Document filed by Securities and Exchange Commission.
                              (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C).(Tenreiro, Jorge) (Entered:
                              03/17/2021)
              03/18/2021   73 ORDER re: 70 Letter filed by Ripple Labs Inc.. Accordingly, 1. Defendants
                              Garlinghouse's and Larsen's requests for leave to file a motion to dismiss is
                              GRANTED; 2. By April 12, 2021, Defendants Garlinghouse and Larsen shall file their
                              motions to dismiss; 3. By May 14, 2021, Plaintiff shall file its opposition papers; and
                              4. By June 4, 2021, Defendants Garlinghouse and Larsen shall file their replies, if any.
                              Separately, 5. Plaintiff's request for leave to file a motion to strike is GRANTED; 6.
                              By April 22, 2021, Plaintiff shall file its motion to strike; 7. By May 13, 2021,
                              Defendant Ripple Labs shall file its opposition; and 8. By May 27, 2021, Plaintiff shall
                              file its reply, if any. SO ORDERED. ( Motions due by 4/22/2021., Responses due by
                              4/14/2021, Replies due by 6/4/2021.) (Signed by Judge Analisa Torres on 3/18/2021)
                              (kv) (Entered: 03/18/2021)
              03/19/2021   74 MOTION for John E. Deaton to Appear Pro Hac Vice . Motion and supporting
                              papers to be reviewed by Clerk's Office staff. Document filed by Jordan Deaton,
                              James LaMonte, Mya LaMonte, Tyler LaMonte, Mitchell McKenna, Kristiana
                              Warner. (Attachments: # 1 Affidavit Exhibit A: Affidavit of John E. Deaton, # 2
                              Exhibit Ex. B: CT Certificate of Good Standing, # 3 Exhibit Ex. C: Iowa Certificate of
                              Good Standing, # 4 Exhibit Ex. D: RI Certificate of Good Standing, # 5 Exhibit Ex. E:
                              MA Certificate of Good Standing, # 6 Exhibit Ex. F USD Certificate of Good
                              Standing, # 7 Text of Proposed Order).(Deaton, John) (Entered: 03/19/2021)
              03/19/2021   75 LETTER addressed to Judge Analisa Torres from John E. Deaton dated March 19,
                              2021 re: Intention to file Motion to Intervene. Document filed by Jordan Deaton,
                              James LaMonte, Mya LaMonte, Tyler LaMonte, Mitchell McKenna, Kristiana
                              Warner..(Deaton, John) (Entered: 03/19/2021)
              03/19/2021       Minute Entry for proceedings held before Magistrate Judge Sarah Netburn: Discovery
                               Hearing held on 3/19/2021. (ras) (Entered: 04/01/2021)
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              03/22/2021       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                               No. 74 MOTION for John E. Deaton to Appear Pro Hac Vice . Motion and
                               supporting papers to be reviewed by Clerk's Office staff.. The document has been
                               reviewed and there are no deficiencies. (wb) (Entered: 03/22/2021)
              03/22/2021   76 ORDER granting 74 Motion for John E. Deaton to Appear Pro Hac Vice. (HEREBY
                              ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah)
                              (Entered: 03/22/2021)
              03/22/2021   77 LETTER addressed to Magistrate Judge Sarah Netburn from Jorge G. Tenreiro dated
                              March 22, 2021 re: Sealed Documents. Document filed by Securities and Exchange
                              Commission..(Tenreiro, Jorge) (Entered: 03/22/2021)
              03/22/2021   78 ***SELECTED PARTIES***LETTER RESPONSE to Motion addressed to
                              Magistrate Judge Sarah Netburn from Dugan Bliss dated March 22, 2021 re: 67
                              LETTER MOTION to Compel Securities and Exchange Commission to Produce
                              addressed to Magistrate Judge Sarah Netburn from Michael K. Kellogg dated March
                              15, 2021. . Document filed by Securities and Exchange Commission, Bradley
                              Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit A −
                              Filed Under Seal, # 2 Exhibit B − Filed Under Seal, # 3 Exhibit C − Filed Under
                              Seal)Motion or Order to File Under Seal: 77 .(Bliss, Dugan) (Entered: 03/22/2021)
              03/22/2021   79 LETTER RESPONSE to Motion addressed to Magistrate Judge Sarah Netburn from
                              Dugan Bliss dated March 22, 2021 re: 67 LETTER MOTION to Compel Securities
                              and Exchange Commission to Produce addressed to Magistrate Judge Sarah Netburn
                              from Michael K. Kellogg dated March 15, 2021. . Document filed by Securities and
                              Exchange Commission. (Attachments: # 1 Exhibit A − Filed Under Seal, # 2 Exhibit B
                              − Filed Under Seal, # 3 Exhibit C − Filed Under Seal, # 4 Exhibit D − Feb. 19, 2020
                              Transcript, # 5 Exhibit E − Mitchell Declaration).(Bliss, Dugan) (Entered: 03/22/2021)
              03/24/2021   80 ORDER: A telephonic discovery conference is scheduled for Tuesday, April 6, 2021,
                              at 2:00 p.m., to discuss the Defendants' joint motion to compel. See ECF No. 67.
                              Members of the public interested in listening to the conference should dial (877)
                              402−9757 and enter Access Code 7938632, followed by the pound (#) key. A dial−in
                              number will be circulated to the parties before the conference. Separately, several
                              unauthorized recordings were made of the previous discovery conference. The parties
                              and the public are reminded that, pursuant to S.D.N.Y. Local Civil Rule 1.8(b), "no
                              one other than Court officials engaged in the conduct of Court business shall... make
                              an audio or video recording of any proceeding or any communication with the Court,
                              an employee of the Court or any person acting at the direction of the Court, including a
                              mediator." (Discovery Hearing set for 4/6/2021 at 02:00 PM before Magistrate Judge
                              Sarah Netburn.) (Signed by Magistrate Judge Sarah Netburn on 3/24/2021) (ras)
                              (Entered: 03/24/2021)
              03/24/2021   81 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                              from Michael K. Kellogg dated March 24, 2021 re: 67 LETTER MOTION to Compel
                              Securities and Exchange Commission to Produce addressed to Magistrate Judge Sarah
                              Netburn from Michael K. Kellogg dated March 15, 2021. . Document filed by Bradley
                              Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered:
                              03/24/2021)
              03/25/2021   82 LETTER MOTION to Seal addressed to Magistrate Judge Sarah Netburn from Eva
                              Ciko Carman dated March 25, 2021. Document filed by Investor A..(Carman, Eva)
                              (Entered: 03/25/2021)
              03/25/2021   83 LETTER MOTION to Seal addressed to Magistrate Judge Sarah Netburn from
                              Andrew Ceresney dated March 25, 2021. Document filed by Ripple Labs
                              Inc...(Ceresney, Andrew) (Entered: 03/25/2021)
              03/25/2021   84 ***SELECTED PARTIES***Exhibit List // Exhibit A, 72−1. Document filed by
                              Ripple Labs Inc., Bradley Garlinghouse, Christian A. Larsen, Securities and Exchange
                              Commission. (Attachments: # 1 Exhibit B, 72−2, # 2 Exhibit A, 78−1, # 3 Exhibit B,
                              78−2)Motion or Order to File Under Seal: 83 .(Ceresney, Andrew) (Entered:
                              03/25/2021)
              03/26/2021   85 LETTER addressed to Judge Analisa Torres from Jorge G. Tenreiro dated March 26,
                              2021 re: Motion to Intervene. Document filed by Securities and Exchange
                              Commission..(Tenreiro, Jorge) (Entered: 03/26/2021)
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              03/26/2021   86 LETTER addressed to Judge Analisa Torres from Michael K. Kellogg dated March 26,
                              2021 re: Motion to Intervene. Document filed by Bradley Garlinghouse, Christian A.
                              Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered: 03/26/2021)
              03/26/2021   87 TRANSCRIPT of Proceedings re: CONFERENCE held on 3/19/2021 before
                              Magistrate Judge Sarah Netburn. Court Reporter/Transcriber: Lisa Picciano Franko,
                              (212) 805−0300. Transcript may be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber before the deadline for Release of Transcript
                              Restriction. After that date it may be obtained through PACER. Redaction Request due
                              4/16/2021. Redacted Transcript Deadline set for 4/26/2021. Release of Transcript
                              Restriction set for 6/24/2021..(McGuirk, Kelly) (Entered: 03/26/2021)
              03/26/2021   88 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                              official transcript of a CONFERENCE proceeding held on 3/19/21 has been filed by
                              the court reporter/transcriber in the above−captioned matter. The parties have seven
                              (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
                              transcript. If no such Notice is filed, the transcript may be made remotely
                              electronically available to the public without redaction after 90 calendar
                              days....(McGuirk, Kelly) (Entered: 03/26/2021)
              03/29/2021   89 ORDER: The Court has reviewed the parties' and proposed intervenors' letters dated
                              March 19 and 26, 2021, ECF Nos. 75, 85−86. Accordingly, The proposed intervenors'
                              request for leave to file a motion to intervene is GRANTED; By April 19, 2021, the
                              proposed investors shall file their motion to intervene; By May 3, 2021, Plaintiff shall
                              file its opposition papers, and Defendants shall file their response papers, if any; By
                              May 17, 2021, the proposed intervenors shall file their reply to Plaintiff's opposition
                              papers and Defendants' response papers, if any, and Plaintiff shall file a reply to
                              Defendants' response papers, if any. SO ORDERED., ( Motions due by 4/19/2021.,
                              Responses due by 5/3/2021, Replies due by 5/17/2021.) (Signed by Judge Analisa
                              Torres on 3/29/2021) (ama) (Entered: 03/29/2021)
              03/30/2021   90 LETTER RESPONSE to Motion addressed to Magistrate Judge Sarah Netburn from
                              Jorge G. Tenreiro dated March 30, 2021 re: 82 LETTER MOTION to Seal addressed
                              to Magistrate Judge Sarah Netburn from Eva Ciko Carman dated March 25, 2021., 83
                              LETTER MOTION to Seal addressed to Magistrate Judge Sarah Netburn from
                              Andrew Ceresney dated March 25, 2021. . Document filed by Securities and Exchange
                              Commission..(Tenreiro, Jorge) (Entered: 03/30/2021)
              03/30/2021   91 ***SELECTED PARTIES***LETTER RESPONSE to Motion addressed to
                              Magistrate Judge Sarah Netburn from Jorge G. Tenreiro dated March 30, 2021 re: 82
                              LETTER MOTION to Seal addressed to Magistrate Judge Sarah Netburn from Eva
                              Ciko Carman dated March 25, 2021., 83 LETTER MOTION to Seal addressed to
                              Magistrate Judge Sarah Netburn from Andrew Ceresney dated March 25, 2021. .
                              Document filed by Securities and Exchange Commission, Bradley Garlinghouse,
                              Christian A. Larsen, Ripple Labs Inc.. Motion or Order to File Under Seal: 83
                              .(Tenreiro, Jorge) (Entered: 03/30/2021)
              03/31/2021   92 ORDER granting 82 Letter Motion to Seal. For the reasons stated in the SEC's March
                              30, 2021 letter, Investor A's motion to seal is granted. (HEREBY ORDERED by
                              Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered:
                              03/31/2021)
              03/31/2021   93 ORDER granting 83 Letter Motion to Seal. The Defendants' motion to seal is
                              GRANTED solely on an interim basis. Furthermore, the parties are directed to meet
                              and confer to discuss whether the Defendants' motion to seal can be narrowed and
                              shall file a letter with the Court regarding any further narrowing no later than April 2,
                              2021. To the extent that the parties cannot agree, any remaining sealing issues will be
                              addressed along with the decision on the merits of the motions. (HEREBY ORDERED
                              by Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered:
                              03/31/2021)
              03/31/2021   94 TRANSCRIPT of Proceedings re: CONFERENCE held on 3/19/2021 before
                              Magistrate Judge Sarah Netburn. Court Reporter/Transcriber: Lisa Picciano Franko,
                              (212) 805−0300. Transcript may be viewed at the court public terminal or purchased
                              through the Court Reporter/Transcriber before the deadline for Release of Transcript
                              Restriction. After that date it may be obtained through PACER. Redaction Request due
                              4/21/2021. Redacted Transcript Deadline set for 5/3/2021. Release of Transcript
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                                 Restriction set for 6/29/2021..(McGuirk, Kelly) (Entered: 03/31/2021)
              03/31/2021    95 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                               official transcript of a CONFERENCE proceeding held on 3/19/21 has been filed by
                               the court reporter/transcriber in the above−captioned matter. The parties have seven
                               (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
                               transcript. If no such Notice is filed, the transcript may be made remotely
                               electronically available to the public without redaction after 90 calendar
                               days....(McGuirk, Kelly) (Entered: 03/31/2021)
              04/02/2021    96 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Jorge G. Tenreiro dated April 2, 2021 re: 83 LETTER MOTION to Seal
                               addressed to Magistrate Judge Sarah Netburn from Andrew Ceresney dated March 25,
                               2021. . Document filed by Securities and Exchange Commission..(Tenreiro, Jorge)
                               (Entered: 04/02/2021)
              04/02/2021    97 ***SELECTED PARTIES***Exhibit List Exhibit A to Motion to Compel (D.E.
                               72−1). Document filed by Securities and Exchange Commission, Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit A to
                               Motion to Quash (D.E. 78−1))Motion or Order to File Under Seal: 83 .(Tenreiro,
                               Jorge) (Entered: 04/02/2021)
              04/02/2021    98 LETTER MOTION to Seal / Update on Letter Motion to Seal addressed to Magistrate
                               Judge Sarah Netburn from Andrew Ceresney dated April 2, 2021. Document filed by
                               Ripple Labs Inc.. (Attachments: # 1 Exhibit 1 − Public Version, # 2 Exhibit 2 − Public
                               Version).(Ceresney, Andrew) (Entered: 04/02/2021)
              04/02/2021    99 ***SELECTED PARTIES***Exhibit List / Exhibit 3 − Under Seal Version.
                               Document filed by Ripple Labs Inc., Bradley Garlinghouse, Christian A. Larsen,
                               Securities and Exchange Commission. (Attachments: # 1 Exhibit 4 − Under Seal
                               Version)Motion or Order to File Under Seal: 98 .(Ceresney, Andrew) (Entered:
                               04/02/2021)
              04/05/2021   100 NOTICE OF APPEARANCE by Ladan Fazlollahi Stewart on behalf of Securities and
                               Exchange Commission..(Stewart, Ladan) (Entered: 04/05/2021)
              04/06/2021   101 IMPORTANT NOTICE: The telephonic discovery conference in this matter that is
                               scheduled for today is not scheduled to take place until 2:00 p.m. EST. The Court is
                               aware that many members of the public have been calling into the Court's telephone
                               conference line many hours in advance of the conference. There are other court
                               proceedings currently taking place prior to the conference in this matter, so for any
                               member of the public that wishes to listen in to the conference in this matter, please do
                               not call in until 2:00 p.m. EST. SO ORDERED. (Telephone Conference set for
                               4/6/2021 at 02:00 PM before Magistrate Judge Sarah Netburn.) (Signed by Magistrate
                               Judge Sarah Netburn on 4/6/2021) (rjm) (Entered: 04/06/2021)
              04/06/2021         Minute Entry for proceedings held before Magistrate Judge Sarah Netburn: Telephonic
                                 Discovery Conference held on 4/6/2021. (ras) (Entered: 04/26/2021)
              04/08/2021   102 ORDER granting in part and denying in part 67 Letter Motion to Compel. For the
                               reasons stated on the record during the April 6, 2021 discovery conference, the
                               Defendants' motion is granted in part and denied in part. The Court's ruling on the
                               motion to seal stands. (HEREBY ORDERED by Magistrate Judge Sarah
                               Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 04/08/2021)
              04/09/2021   103 OPINION & ORDER: Accordingly, the Court finds that the SEC's requests for the
                               Individual Defendants' personal financial records, apart from those records of XRP
                               transactions that are already promised, are not relevant or proportional to the needs of
                               the case. Accordingly, the Individual Defendants' motion is GRANTED. The SEC
                               shall withdraw its Requests for Production seeking the Individual Defendants' personal
                               financial records and withdraw its third−party subpoenas seeking the same. If, as
                               discovery progresses, the SEC uncovers evidence that the Individual Defendants have
                               not been forthcoming with records of their XRP transactions, it may provide such
                               evidence to the Court and renew its application. SO ORDERED. (Signed by
                               Magistrate Judge Sarah Netburn on 4/9/2021) (ks) (Entered: 04/09/2021)
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              04/12/2021   104 LETTER MOTION to Seal addressed to Judge Analisa Torres from Martin
                               Flumenbaum dated April 12, 2021. Document filed by Christian A.
                               Larsen..(Flumenbaum, Martin) (Entered: 04/12/2021)
              04/12/2021   105 MOTION to Dismiss the First Amended Complaint. Document filed by Christian A.
                               Larsen..(Flumenbaum, Martin) (Entered: 04/12/2021)
              04/12/2021   106 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 105
                               MOTION to Dismiss the First Amended Complaint. . Document filed by Christian A.
                               Larsen, Bradley Garlinghouse, Ripple Labs Inc., Securities and Exchange
                               Commission. Motion or Order to File Under Seal: 104 .(Flumenbaum, Martin)
                               (Entered: 04/12/2021)
              04/12/2021   107 MEMORANDUM OF LAW in Support re: 105 MOTION to Dismiss the First
                               Amended Complaint. [REDACTED]. Document filed by Christian A.
                               Larsen..(Flumenbaum, Martin) (Entered: 04/12/2021)
              04/12/2021   108 ***SELECTED PARTIES***DECLARATION of Martin Flumenbaum in Support re:
                               105 MOTION to Dismiss the First Amended Complaint.. Document filed by Christian
                               A. Larsen, Bradley Garlinghouse, Ripple Labs Inc., Securities and Exchange
                               Commission. (Attachments: # 1 Exhibit A−Produced Document, # 2 Exhibit
                               B−Produced Document)Motion or Order to File Under Seal: 104 .(Flumenbaum,
                               Martin) (Entered: 04/12/2021)
              04/12/2021   109 DECLARATION of Martin Flumenbaum in Support re: 105 MOTION to Dismiss the
                               First Amended Complaint.. Document filed by Christian A. Larsen. (Attachments: # 1
                               Exhibit A−Produced Document, # 2 Exhibit B−Produced Document, # 3 Exhibit
                               C−DOJ Settlement Papers, # 4 Exhibit D−FinCEN Settlement Papers).(Flumenbaum,
                               Martin) (Entered: 04/12/2021)
              04/12/2021   110 MOTION to Dismiss the Amended Complaint. Document filed by Bradley
                               Garlinghouse..(Solomon, Matthew) (Entered: 04/12/2021)
              04/12/2021   111 MEMORANDUM OF LAW in Support re: 110 MOTION to Dismiss the Amended
                               Complaint. . Document filed by Bradley Garlinghouse..(Solomon, Matthew) (Entered:
                               04/12/2021)
              04/12/2021   112 TRANSCRIPT of Proceedings re: CONFERENCE held on 4/6/2021 before Magistrate
                               Judge Sarah Netburn. Court Reporter/Transcriber: Pamela Utter, (212) 805−0300.
                               Transcript may be viewed at the court public terminal or purchased through the Court
                               Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                               that date it may be obtained through PACER. Redaction Request due 5/3/2021.
                               Redacted Transcript Deadline set for 5/13/2021. Release of Transcript Restriction set
                               for 7/12/2021..(McGuirk, Kelly) Modified on 4/29/2021 (ras). (Entered: 04/12/2021)
              04/12/2021   113 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                               official transcript of a CONFERENCE proceeding held on 4/6/21 has been filed by the
                               court reporter/transcriber in the above−captioned matter. The parties have seven (7)
                               calendar days to file with the court a Notice of Intent to Request Redaction of this
                               transcript. If no such Notice is filed, the transcript may be made remotely
                               electronically available to the public without redaction after 90 calendar
                               days....(McGuirk, Kelly) (Entered: 04/12/2021)
              04/12/2021   114 DECLARATION of Matthew C. Solomon in Support re: 110 MOTION to Dismiss the
                               Amended Complaint.. Document filed by Bradley Garlinghouse. (Attachments: # 1
                               Exhibit A − Digital Ventures Interview, # 2 Exhibit B − FinCEN's Fact Sheet on MSB
                               Registration, # 3 Exhibit C − DOJ Settlement, # 4 Exhibit D − FinCEN Settlement, # 5
                               Exhibit E − DOJ's Crytocurrency Enforcement Framework, # 6 Exhibit F − 12 CFR
                               Part 1005, # 7 Exhibit G − CB Insights Interview, # 8 Exhibit H − Article − Ripple to
                               Place 55 Billion XRP in Escrow, # 9 Exhibit I − Article − ICO=IPO, # 10 Exhibit J −
                               Hinman Speech).(Solomon, Matthew) (Entered: 04/12/2021)
              04/14/2021   115 LETTER MOTION for Extension of Time to File Response/Reply as to 104 LETTER
                               MOTION to Seal addressed to Judge Analisa Torres from Martin Flumenbaum dated
                               April 12, 2021. addressed to Judge Analisa Torres from Jorge G. Tenreiro dated April
                               14, 2021. Document filed by Securities and Exchange Commission..(Tenreiro, Jorge)
                               (Entered: 04/14/2021)
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              04/15/2021   116 NOTICE OF APPEARANCE by Robin Linsenmayer on behalf of Christian A.
                               Larsen..(Linsenmayer, Robin) (Entered: 04/15/2021)
              04/15/2021   117 ORDER granting 115 Letter Motion for Extension of Time to File Response/Reply re
                               115 LETTER MOTION for Extension of Time to File Response/Reply as to 104
                               LETTER MOTION to Seal addressed to Judge Analisa Torres from Martin
                               Flumenbaum dated April 12, 2021. addressed to Judge Analisa Torres from Jorge G.
                               Tenre. GRANTED. SO ORDERED. Responses due by 5/14/2021 (Signed by Judge
                               Analisa Torres on 4/15/2021) (kv) (Entered: 04/15/2021)
              04/15/2021   118 LETTER MOTION for Leave to File Excess Pages addressed to Magistrate Judge
                               Sarah Netburn from Martin Flumenbaum dated April 15, 2021. Document filed by
                               Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Flumenbaum, Martin)
                               (Entered: 04/15/2021)
              04/15/2021   119 LETTER addressed to Magistrate Judge Sarah Netburn from Martin Flumenbaum
                               dated April 15, 2021 re: motion for leave [D.E 118]. Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Flumenbaum, Martin) (Entered:
                               04/15/2021)
              04/16/2021   120 ORDER granting 118 Letter Motion for Leave to File Excess Pages. The Defendants
                               may file one combined letter motion, not to exceed seven pages. The SEC may
                               respond by letter not to exceed seven pages within five business days of Defendants'
                               filing. (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order)
                               (Netburn, Sarah) (Entered: 04/16/2021)
              04/16/2021   121 LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate Judge
                               Sarah Netburn from Martin Flumenbaum, Andrew J. Ceresney, Michael K. Kellogg
                               and Matthew C. Solomon dated April 16, 2021. Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit A −
                               3/22/21 Letter, # 2 Exhibit B − Email correspondence between SEC and Defendants, #
                               3 Exhibit C − SEC v. Badian decision, # 4 Exhibit D − SEC 9/4/19
                               letter).(Flumenbaum, Martin) (Entered: 04/16/2021)
              04/19/2021   122 MOTION to Intervene . Document filed by Jordan Deaton, James LaMonte, Mya
                               LaMonte, Tyler LaMonte, Mitchell McKenna, Kristiana Warner..(Deaton, John)
                               (Entered: 04/19/2021)
              04/19/2021   123 MEMORANDUM OF LAW in Support re: 122 MOTION to Intervene . . Document
                               filed by Jordan Deaton, James LaMonte, Mya LaMonte, Tyler LaMonte, Mitchell
                               McKenna, Kristiana Warner..(Deaton, John) (Entered: 04/19/2021)
              04/19/2021   124 DECLARATION of John E. Deaton in Support re: 122 MOTION to Intervene ..
                               Document filed by Jordan Deaton, James LaMonte, Mya LaMonte, Tyler LaMonte,
                               Mitchell McKenna, Kristiana Warner. (Attachments: # 1 Exhibit Proposed Answer to
                               Complaint, # 2 Exhibit Gensler at Peterson Link, # 3 Exhibit Hinman, Howey Meets
                               Gary, # 4 Exhibit GianCarlo Crypto and Securities Law, # 5 Exhibit Jay Clayton Letter
                               March 2019, # 6 Exhibit Bailard's Code of Ethics Excerpt, # 7 Exhibit Grundfest
                               Letter Discussion, # 8 Exhibit Hester Peirce Interview Link, # 9 Exhibit Email
                               Correspondence Demonstrating "use cases" by XRP Holders, # 10 Exhibit Twitter
                               Correspondence Demonstrating "use cases" by XRP Holders, # 11 Exhibit Cryptwerk
                               Directory, # 12 Exhibit Nexo Instant Credit Line, # 13 Exhibit XRP Ecosystem
                               companies and applications, # 14 Exhibit XRP Ledger intro to XRP, # 15 Exhibit
                               Spend the Bits features, # 16 Exhibit Major Reasons Why XRP is Better Than Bitcoin,
                               # 17 Exhibit XRP is the Fastest Way to Send Bitcoin, # 18 Exhibit XRP Use Cases, #
                               19 Exhibit Brainard Speech May 2018, # 20 Exhibit Bitcoin as Store Value, # 21
                               Exhibit Deaton FXStreet).(Deaton, John) (Entered: 04/19/2021)
              04/20/2021   125 ORDER granting 121 Letter Motion for Local Rule 37.2 Conference. A telephonic
                               discovery conference is scheduled for April 30, 2021, at 10:00 a.m. EDT (GMT
                               −04:00). The Court will communicate with the parties regarding the conference line.
                               Members of the public who wish to listen to the conference may do so by dialing:
                               USA: (844) 291−4185; or International: (409) 207−6997, and entering Access Code
                               7106935, followed by the pound (#) key. This public line will accommodate 4,000
                               callers. The public is reminded that both recording and rebroadcasting (e.g., Youtube
                               streams, Twitch streams, audio−only streaming, etc.) is strictly prohibited, and anyone
                               found making unauthorized recordings or rebroadcasts will be investigated and may be
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                                 subject to criminal sanctions. (HEREBY ORDERED by Magistrate Judge Sarah
                                 Netburn)(Text Only Order) (Netburn, Sarah) Modified on 4/30/2021 (ras). (Entered:
                                 04/20/2021)
              04/20/2021         Set/Reset Hearings: Discovery Hearing set for 4/30/2021 at 10:00 AM before
                                 Magistrate Judge Sarah Netburn. (ras) (Entered: 04/21/2021)
              04/21/2021   126 LETTER MOTION for Discovery Order Pursuant to Local Civil Rule 37.2 addressed
                               to Magistrate Judge Sarah Netburn from Dugan Bliss dated April 21, 2021. Document
                               filed by Securities and Exchange Commission. (Attachments: # 1 Exhibit 1 − The
                               Court's April 6, 2021 Order, # 2 Exhibit 2 − Proposed Discovery Order, # 3 Exhibit 3
                               − April 8, 2021 Letter, # 4 Exhibit 4 − Defs. Br. in Opp. in Tetragon Fin. Grp. Ltd. v.
                               Ripple Labs, Inc., 2021−0007−MTZ, # 5 Exhibit 5 − Ripple subpoena to One River
                               Asset Mgmt.).(Bliss, Dugan) (Entered: 04/21/2021)
              04/21/2021   127 LETTER MOTION for Extension of Time to File Response/Reply addressed to
                               Magistrate Judge Sarah Netburn from Michael K. Kellogg dated April 21, 2021.
                               Document filed by Ripple Labs Inc...(Kellogg, Michael) (Entered: 04/21/2021)
              04/22/2021   128 MOTION to Strike Document No. 51 Motion to Strike Defendant Ripple Labs, Inc.'s
                               Fourth Affirmative Defense. Document filed by Securities and Exchange Commission.
                               Responses due by 5/13/2021.(Tenreiro, Jorge) (Entered: 04/22/2021)
              04/22/2021   129 DECLARATION of Daphna A. Waxman in Support re: 128 MOTION to Strike
                               Document No. 51 Motion to Strike Defendant Ripple Labs, Inc.'s Fourth Affirmative
                               Defense.. Document filed by Securities and Exchange Commission. (Attachments: # 1
                               Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit
                               F).(Tenreiro, Jorge) (Entered: 04/22/2021)
              04/22/2021   130 ***SELECTED PARTIES***DECLARATION of Daphna A. Waxman in Support re:
                               128 MOTION to Strike Document No. 51 Motion to Strike Defendant Ripple Labs,
                               Inc.'s Fourth Affirmative Defense.. Document filed by Securities and Exchange
                               Commission, Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit B, # 2 Exhibit C)Motion or Order to File Under Seal: 117
                               .(Tenreiro, Jorge) (Entered: 04/22/2021)
              04/22/2021   131 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 128
                               MOTION to Strike Document No. 51 Motion to Strike Defendant Ripple Labs, Inc.'s
                               Fourth Affirmative Defense. . Document filed by Securities and Exchange
                               Commission, Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. Motion or
                               Order to File Under Seal: 117 .(Tenreiro, Jorge) (Entered: 04/22/2021)
              04/22/2021   132 MEMORANDUM OF LAW in Support re: 128 MOTION to Strike Document No. 51
                               Motion to Strike Defendant Ripple Labs, Inc.'s Fourth Affirmative Defense. .
                               Document filed by Securities and Exchange Commission..(Tenreiro, Jorge) (Entered:
                               04/22/2021)
              04/22/2021   133 LETTER addressed to Judge Analisa Torres from Jorge G. Tenreiro dated April 22,
                               2021 re: Sealed Documents in SEC's Motion to Strike. Document filed by Securities
                               and Exchange Commission..(Tenreiro, Jorge) (Entered: 04/22/2021)
              04/23/2021   134 ORDER granting 127 Letter Motion for Extension of Time. Defendants shall file their
                               responses to the SEC's letter motion no later than April 28, 2021. (HEREBY
                               ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah)
                               (Entered: 04/23/2021)
              04/23/2021   135 LETTER addressed to Magistrate Judge Sarah Netburn from Jorge G. Tenreiro dated
                               April 23, 2021 re: Certain Exhibits Filed Under Seal in Connection with SEC's
                               Opposition to Motion. Document filed by Securities and Exchange
                               Commission..(Tenreiro, Jorge) (Entered: 04/23/2021)
              04/23/2021   136 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Jorge G. Tenreiro dated April 23, 2021 re: 121 LETTER MOTION for
                               Local Rule 37.2 Conference addressed to Magistrate Judge Sarah Netburn from Martin
                               Flumenbaum, Andrew J. Ceresney, Michael K. Kellogg and Matthew C. Solomon
                               dated April 16, 2021. . Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                               E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11
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                                Exhibit K, # 12 Exhibit L, # 13 Exhibit M).(Tenreiro, Jorge) (Entered: 04/23/2021)
              04/23/2021   137 ***SELECTED PARTIES***LETTER RESPONSE in Opposition to Motion
                               addressed to Magistrate Judge Sarah Netburn from Jorge G. Tenreiro dated April 23,
                               2021 re: 121 LETTER MOTION for Local Rule 37.2 Conference addressed to
                               Magistrate Judge Sarah Netburn from Martin Flumenbaum, Andrew J. Ceresney,
                               Michael K. Kellogg and Matthew C. Solomon dated April 16, 2021. . Document filed
                               by Securities and Exchange Commission, Bradley Garlinghouse, Christian A. Larsen,
                               Ripple Labs Inc.. (Attachments: # 1 Exhibit G, # 2 Exhibit H)Motion or Order to File
                               Under Seal: 135 .(Tenreiro, Jorge) (Entered: 04/23/2021)
              04/28/2021   138 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Michael K. Kellogg dated April 28, 2021 re: 126 LETTER MOTION for
                               Discovery Order Pursuant to Local Civil Rule 37.2 addressed to Magistrate Judge
                               Sarah Netburn from Dugan Bliss dated April 21, 2021. . Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit A, # 2
                               Exhibit B).(Kellogg, Michael) (Entered: 04/28/2021)
              04/28/2021   139 LETTER addressed to Magistrate Judge Sarah Netburn from Martin Flumenbaum
                               dated April 28, 2021 re: Certain Exhibits Filed under Seal. Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Flumenbaum, Martin) (Entered:
                               04/28/2021)
              04/28/2021   140 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Martin Flumenbaum, Andrew J. Ceresney, Michael K. Kellogg and Matthew C.
                               Solomon dated April 28, 2021 re: 121 LETTER MOTION for Local Rule 37.2
                               Conference addressed to Magistrate Judge Sarah Netburn from Martin Flumenbaum,
                               Andrew J. Ceresney, Michael K. Kellogg and Matthew C. Solomon dated April 16,
                               2021. . Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc.. (Attachments: # 1 Exhibit A − Filed Under Seal, # 2 Exhibit B − Filed Under
                               Seal).(Flumenbaum, Martin) (Entered: 04/28/2021)
              04/28/2021   141 ***SELECTED PARTIES***LETTER REPLY to Response to Motion addressed to
                               Magistrate Judge Sarah Netburn from Martin Flumenbaum, Andrew J. Ceresney,
                               Michael K. Kellogg and Matthew C. Solomon dated April 28, 2021 re: 121 LETTER
                               MOTION for Local Rule 37.2 Conference addressed to Magistrate Judge Sarah
                               Netburn from Martin Flumenbaum, Andrew J. Ceresney, Michael K. Kellogg and
                               Matthew C. Solomon dated April 16, 2021. . Document filed by Christian A. Larsen,
                               Bradley Garlinghouse, Ripple Labs Inc., Securities and Exchange Commission.
                               ***Deleted document numbers 141−1 and 141−2 from the case record pursuant
                               to 162 Memo Endorsement. (Attachments: # 1 Exhibit A − Produced Document, # 2
                               Exhibit B − Produced Document)Motion or Order to File Under Seal: 139
                               .(Flumenbaum, Martin) Modified on 5/5/2021 (ras). Modified on 5/5/2021 (ras).
                               (Entered: 04/28/2021)
              04/28/2021   142 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Michael K. Kellogg dated April 28, 2021 re: 126 LETTER MOTION for
                               Discovery Order Pursuant to Local Civil Rule 37.2 addressed to Magistrate Judge
                               Sarah Netburn from Dugan Bliss dated April 21, 2021. . Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit A, # 2
                               Exhibit B).(Kellogg, Michael) (Entered: 04/28/2021)
              04/29/2021   143 LETTER addressed to Magistrate Judge Sarah Netburn from Martin Flumenbaum
                               dated April 29, 2021 re: Document filed under seal. Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Flumenbaum, Martin) (Entered:
                               04/29/2021)
              04/29/2021   144 SUPPLEMENTAL LETTER addressed to Magistrate Judge Sarah Netburn from
                               Martin Flumenbaum, Andrew J. Ceresney, Michael K. Kellogg and Matthew C.
                               Solomon dated April 29, 2021 re: Letter from the SEC. Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit A −
                               Filed Under Seal).(Flumenbaum, Martin) (Entered: 04/29/2021)
              04/29/2021   145 ***SELECTED PARTIES***SUPPLEMENTAL LETTER addressed to Magistrate
                               Judge Sarah Netburn from Martin Flumenbaum, Andrew J. Ceresney, Michael K.
                               Kellogg and Matthew C. Solomon dated April 29, 2021 re: Letter from the SEC.
                               Document filed by Christian A. Larsen, Bradley Garlinghouse, Ripple Labs Inc.,
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                                 Securities and Exchange Commission. (Attachments: # 1 Exhibit A − SEC
                                 Letter)Motion or Order to File Under Seal: 143 .(Flumenbaum, Martin) (Entered:
                                 04/29/2021)
              04/29/2021   146 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Jorge G. Tenreiro dated April 29, 2021 re: 121 LETTER MOTION for
                               Local Rule 37.2 Conference addressed to Magistrate Judge Sarah Netburn from Martin
                               Flumenbaum, Andrew J. Ceresney, Michael K. Kellogg and Matthew C. Solomon
                               dated April 16, 2021. . Document filed by Securities and Exchange
                               Commission..(Tenreiro, Jorge) (Entered: 04/29/2021)
              04/30/2021   147 ORDER: Due to an inadvertent typo in an earlier Order, the public Access Code for
                               today's conference was incorrect. The April 30, 2021, 10:00 a.m. EDT (−4:00 GMT)
                               conference dial in information is as follows: USA: (844) 291−4185 International:
                               (409) 207−6997 Access Code: 7106935. As a reminder, unauthorized recording or
                               rebroadcasting is strictly prohibited (including YouTube streams, Twitch streams,
                               audio stream, etc.). Any identified violations will be investigated, and anyone found to
                               have engaged in these behaviors may be subject to criminal sanctions. (Signed by
                               Magistrate Judge Sarah Netburn on 4/30/2021) (ras) (Entered: 04/30/2021)
              04/30/2021   148 LETTER MOTION for Leave to File Excess Pages to Combine Opposition to Motions
                               to Dismiss addressed to Judge Analisa Torres from Jorge G. Tenreiro dated April 30,
                               2021. Document filed by Securities and Exchange Commission..(Tenreiro, Jorge)
                               (Entered: 04/30/2021)
              04/30/2021         Minute Entry for proceedings held before Magistrate Judge Sarah Netburn: Discovery
                                 Hearing held on 4/30/2021. (ras) (Entered: 05/07/2021)
              05/03/2021   149 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Dugan Bliss dated May 3, 2021 re: 126 LETTER MOTION for Discovery Order
                               Pursuant to Local Civil Rule 37.2 addressed to Magistrate Judge Sarah Netburn from
                               Dugan Bliss dated April 21, 2021. . Document filed by Securities and Exchange
                               Commission..(Bliss, Dugan) (Entered: 05/03/2021)
              05/03/2021   150 LETTER RESPONSE in Opposition to Motion addressed to Judge Analisa Torres
                               from Martin Flumenbaum & Matthew C. Solomon dated May 3, 2021 re: 148
                               LETTER MOTION for Leave to File Excess Pages to Combine Opposition to Motions
                               to Dismiss addressed to Judge Analisa Torres from Jorge G. Tenreiro dated April 30,
                               2021. . Document filed by Bradley Garlinghouse, Christian A. Larsen..(Flumenbaum,
                               Martin) (Entered: 05/03/2021)
              05/03/2021   151 REPLY to Response to Motion re: 126 LETTER MOTION for Discovery Order
                               Pursuant to Local Civil Rule 37.2 addressed to Magistrate Judge Sarah Netburn from
                               Dugan Bliss dated April 21, 2021. Correction. Document filed by Securities and
                               Exchange Commission..(Bliss, Dugan) (Entered: 05/03/2021)
              05/03/2021   152 RESPONSE to Motion re: 122 MOTION to Intervene . . Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered:
                               05/03/2021)
              05/03/2021   153 MEMORANDUM OF LAW in Opposition re: 122 MOTION to Intervene . .
                               Document filed by Securities and Exchange Commission..(Tenreiro, Jorge) (Entered:
                               05/03/2021)
              05/03/2021   154 DECLARATION of Ladan F. Stewart in Opposition re: 122 MOTION to Intervene ..
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Exhibit
                               A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit
                               G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit
                               L).(Tenreiro, Jorge) (Entered: 05/03/2021)
              05/04/2021   155 LETTER REPLY to Response to Motion addressed to Judge Analisa Torres from
                               Jorge G. Tenreiro dated May 4, 2021 re: 148 LETTER MOTION for Leave to File
                               Excess Pages to Combine Opposition to Motions to Dismiss addressed to Judge
                               Analisa Torres from Jorge G. Tenreiro dated April 30, 2021. . Document filed by
                               Securities and Exchange Commission..(Tenreiro, Jorge) (Entered: 05/04/2021)
              05/04/2021   156 ORDER granting 148 Letter Motion for Leave to File Excess Pages. The Court has
                               reviewed the parties' letters dated April 30 and May 3 and 4, 2021. ECF Nos. 148, 150,
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                                 155. Accordingly, the Securities and Exchange Commission's (the "SEC") motion is
                                 GRANTED. The SEC shall be permitted to respond to the individual defendants'
                                 motions to dismiss in a single opposition brief, not to exceed 60 pages. The Clerk of
                                 Court is directed to terminate the motion at ECF No. 148. SO ORDERED. (Signed by
                                 Judge Analisa Torres on 5/4/2021) (kv) (Entered: 05/04/2021)
              05/04/2021   157 LETTER addressed to Magistrate Judge Sarah Netburn from Martin Flumenbaum
                               dated May 4, 2021 re: withdrawal of exhibits. Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Flumenbaum, Martin) (Entered:
                               05/04/2021)
              05/04/2021   158 MOTION for Robert MacDonald Moye to Appear Pro Hac Vice on behalf of Plaintiff
                               Securities and Exchange Commission. Motion and supporting papers to be
                               reviewed by Clerk's Office staff. Document filed by Securities and Exchange
                               Commission. (Attachments: # 1 Exhibit A, Declaration of Robert Moye, # 2 Exhibit B,
                               Certificate of Admission, # 3 Text of Proposed Order Proposed order).(Moye, Robert)
                               (Entered: 05/04/2021)
              05/05/2021         >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                 No. 158 MOTION for Robert MacDonald Moye to Appear Pro Hac Vice on
                                 behalf of Plaintiff Securities and Exchange Commission. Motion and supporting
                                 papers to be reviewed by Clerk's Office staff.. The document has been reviewed
                                 and there are no deficiencies. (vba) (Entered: 05/05/2021)
              05/05/2021   159 MOTION for Benjamin J. Hanauer to Appear Pro Hac Vice . Motion and supporting
                               papers to be reviewed by Clerk's Office staff. Document filed by Securities and
                               Exchange Commission. (Attachments: # 1 Affidavit Declaration of Benjamin Hanauer,
                               # 2 Text of Proposed Order Proposed Order).(Hanauer, Benjamin) (Entered:
                               05/05/2021)
              05/05/2021         >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                 No. 159 MOTION for Benjamin J. Hanauer to Appear Pro Hac Vice . Motion and
                                 supporting papers to be reviewed by Clerk's Office staff.. The document has been
                                 reviewed and there are no deficiencies. (vba) (Entered: 05/05/2021)
              05/05/2021   160 ORDER granting 158 Motion for Robert MacDonald Moye to Appear Pro Hac Vice.
                               (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order)
                               (Netburn, Sarah) (Entered: 05/05/2021)
              05/05/2021   161 ORDER granting 159 Motion for Benjamin J. Hanauer to Appear Pro Hac Vice.
                               (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order)
                               (Netburn, Sarah) (Entered: 05/05/2021)
              05/05/2021   162 MEMO ENDORSEMENT on re: 157 Letter filed by Christian A. Larsen, Ripple Labs
                               Inc., Bradley Garlinghouse. ENDORSEMENT: Respectfully, the Clerk of Court is
                               directed to delete the exhibits at ECF Nos. 141−1 and 141−2. (Signed by Magistrate
                               Judge Sarah Netburn on 5/5/2021) (ras) (Entered: 05/05/2021)
              05/06/2021   163 ORDER granting in part 126 Letter Motion for Discovery. Having reviewed the
                               parties' submissions, the Court makes the following clarifications: (1)The SEC must
                               produce communications with third−parties, including external agencies and market
                               participants, subject to a privilege assertion. (2)The SEC need not produce informal
                               intra−agency communications, such as emails, and such communications need not be
                               searched or logged. (3)Intra−agency memoranda or formal position papers discussing
                               Bitcoin, Ethereum, and XRP must be searched for and produced subject to a privilege
                               assertion. Examples of such documents include Division reports, final reports of
                               internal working groups, or formal position papers submitted to the Commissioners.
                               Although such documents may ultimately be privileged, information that would be
                               provided on a privilege log, such as dates and participants, may itself be relevant and is
                               discoverable. (4)Any documents withheld on the basis of privilege must be identified
                               on a privilege log. (5)The Court directs the parties to continue to meet−and−confer on
                               the remaining issues presented in their letters. Respectfully, the Clerk of Court is
                               directed to GRANT in PART the motion at ECF No. 126. (Signed by Magistrate Judge
                               Sarah Netburn on 5/6/2021) (ras) Modified on 5/6/2021 (ras). (Entered: 05/06/2021)
              05/07/2021   164 LETTER addressed to Magistrate Judge Sarah Netburn from Jorge G. Tenreiro dated
                               May 7, 2021 re: Documents Filed Under Seal. Document filed by Securities and
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                                 Exchange Commission..(Tenreiro, Jorge) (Entered: 05/07/2021)
              05/07/2021   165 LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate Judge
                               Sarah Netburn from Jorge G. Tenreiro dated May 7, 2021. Document filed by
                               Securities and Exchange Commission. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                               Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, #
                               9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14
                               Exhibit N, # 15 Exhibit O, # 16 Exhibit P).(Tenreiro, Jorge) (Entered: 05/07/2021)
              05/07/2021   166 ***SELECTED PARTIES*** LETTER MOTION for Local Rule 37.2 Conference
                               addressed to Magistrate Judge Sarah Netburn from Jorge G. Tenreiro dated May 7,
                               2021. Document filed by Securities and Exchange Commission, Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit A, # 2
                               Exhibit B, # 3 Exhibit C, # 4 Exhibit E, # 5 Exhibit F, # 6 Exhibit G, # 7 Exhibit H, # 8
                               Exhibit I, # 9 Exhibit J, # 10 Exhibit K, # 11 Exhibit L, # 12 Exhibit M)Motion or
                               Order to File Under Seal: 164 .(Tenreiro, Jorge) (Entered: 05/07/2021)
              05/10/2021   167 LETTER MOTION for Extension of Time to File Response/Reply addressed to
                               Magistrate Judge Sarah Netburn from Michael K. Kellogg dated May 10, 2021.
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Kellogg, Michael) (Entered: 05/10/2021)
              05/10/2021   168 ORDER granting 167 Letter Motion for Extension of Time. The Defendants shall
                               respond to the SEC's motion no later than Friday, May 14, 2021. (HEREBY
                               ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah)
                               (Entered: 05/10/2021)
              05/11/2021   169 ORDER: A telephonic conference is scheduled for May 21, 2021, at 2:00 p.m. to
                               discuss the SEC's pending motion to compel at ECF No. 165. Credentialed members
                               of the press should contact the SDNY media office in advance of the conference to
                               obtain access. Members of the public may listen to the proceedings at the following
                               numbers: USA: (844) 291− 4185 International: (409) 207−6997 Access Code:
                               4934010 # Unauthorized recording and rebroadcasting of the conference (e.g.,
                               YouTube, Twitch, audio− only streams, etc.) is strictly prohibited. Any unauthorized
                               recordings will be investigated, and anyone found to engage in such behaviors may be
                               subject to criminal sanctions. So Ordered. (Telephone Conference set for 5/21/2021 at
                               02:00 PM before Magistrate Judge Sarah Netburn.) (Signed by Magistrate Judge Sarah
                               Netburn on 5/11/2021) (js) (Entered: 05/11/2021)
              05/13/2021   170 LETTER MOTION to Seal addressed to Judge Analisa Torres from Michael K.
                               Kellogg dated May 13, 2021. Document filed by Ripple Labs Inc...(Kellogg, Michael)
                               (Entered: 05/13/2021)
              05/13/2021   171 MEMORANDUM OF LAW in Opposition re: 128 MOTION to Strike Document No.
                               51 Motion to Strike Defendant Ripple Labs, Inc.'s Fourth Affirmative Defense. .
                               Document filed by Ripple Labs Inc.. (Attachments: # 1 Exhibit 1).(Kellogg, Michael)
                               (Entered: 05/13/2021)
              05/13/2021   172 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 128
                               MOTION to Strike Document No. 51 Motion to Strike Defendant Ripple Labs, Inc.'s
                               Fourth Affirmative Defense. . Document filed by Ripple Labs Inc., Bradley
                               Garlinghouse, Christian A. Larsen, Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 1)Motion or Order to File Under Seal: 170 .(Kellogg,
                               Michael) (Entered: 05/13/2021)
              05/14/2021   173 NOTICE OF APPEARANCE by Mark Raymond Sylvester on behalf of Securities and
                               Exchange Commission..(Sylvester, Mark) (Entered: 05/14/2021)
              05/14/2021   174 LETTER addressed to Magistrate Judge Sarah Netburn from Michael K. Kellogg
                               dated May 14, 2021 re: opposition to 165 SEC's LETTER MOTION for Local Rule
                               37.2 Conference. Document filed by Ripple Labs Inc...(Kellogg, Michael) (Entered:
                               05/14/2021)
              05/14/2021   175 ORDER with respect to 170 Motion to Seal. The Court has reviewed the parties' letters
                               dated April 22 and May 13, 2021. ECF Nos. 133, 170. Accordingly, concurrently with
                               its reply to the motion to strike, the SEC may file a combined letter motion (1)
                               opposing Ripple Labs' motion to seal Exhibits B and C of the Waxman Declaration, to
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                                 the extent arguments not articulated in its opposition to Defendant Larsen's motion,
                                 ECF No. 104, apply, and (2) moving to seal the non−public SEC correspondence
                                 contained in Ripple Labs' opposition to the motion to strike, to the extent it wishes
                                 after meeting and confening with Ripple Labs. By June 10, 2021, Ripple Labs may
                                 respond to the SEC's motion to seal, if it so wishes. SO ORDERED. (Signed by Judge
                                 Analisa Torres on 5/14/2021) (kv) (Entered: 05/14/2021)
              05/14/2021         Set/Reset Deadlines: Responses due by 6/10/2021 (kv) (Entered: 05/14/2021)
              05/14/2021   176 LETTER MOTION to Seal re: 166 SEC's LETTER MOTION for Local Rule 37.2
                               Conference addressed to Magistrate Judge Sarah Netburn from Michael K. Kellogg
                               dated May 14, 2021. Document filed by Ripple Labs Inc...(Kellogg, Michael)
                               (Entered: 05/14/2021)
              05/14/2021   177 LETTER RESPONSE in Opposition to Motion addressed to Judge Analisa Torres
                               from Jorge G. Tenreiro dated May 14, 2021 re: 170 LETTER MOTION to Seal
                               addressed to Judge Analisa Torres from Michael K. Kellogg dated May 13, 2021., 104
                               LETTER MOTION to Seal addressed to Judge Analisa Torres from Martin
                               Flumenbaum dated April 12, 2021. . Document filed by Securities and Exchange
                               Commission..(Tenreiro, Jorge) (Entered: 05/14/2021)
              05/14/2021   178 ***SELECTED PARTIES***LETTER RESPONSE in Opposition to Motion
                               addressed to Judge Analisa Torres from Jorge G. Tenreiro dated May 14, 2021 re: 104
                               LETTER MOTION to Seal addressed to Judge Analisa Torres from Martin
                               Flumenbaum dated April 12, 2021., 170 LETTER MOTION to Seal addressed to
                               Judge Analisa Torres from Michael K. Kellogg dated May 13, 2021. . Document filed
                               by Securities and Exchange Commission, Bradley Garlinghouse, Christian A. Larsen,
                               Ripple Labs Inc.. (Attachments: # 1 Exhibit B to Waxman Decl. [D.E. 130], # 2
                               Exhibit C to Waxman Decl. [D.E. 130])Motion or Order to File Under Seal: 104
                               .(Tenreiro, Jorge) (Entered: 05/14/2021)
              05/14/2021   179 ***STRICKEN DOCUMENT. Deleted document number [179−3] from the case
                               record. The document was stricken from this case pursuant to 430 Order.
                               ***SELECTED PARTIES***DECLARATION of Jorge G. Tenreiro in Opposition re:
                               105 MOTION to Dismiss the First Amended Complaint., 110 MOTION to Dismiss the
                               Amended Complaint.. Document filed by Securities and Exchange Commission,
                               Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1
                               Exhibit B, # 2 Exhibit C, # 3 Exhibit E, # 4 Exhibit F, # 5 Exhibit G)Motion or Order
                               to File Under Seal: 104 .(Tenreiro, Jorge) Modified on 2/18/2022 (kv). (Entered:
                               05/14/2021)
              05/14/2021   180 DECLARATION of Jorge G. Tenreiro in Opposition re: 105 MOTION to Dismiss the
                               First Amended Complaint., 110 MOTION to Dismiss the Amended Complaint..
                               Document filed by Securities and Exchange Commission..(Tenreiro, Jorge) (Entered:
                               05/14/2021)
              05/14/2021   181 DECLARATION of Jorge G. Tenreiro in Opposition re: 105 MOTION to Dismiss the
                               First Amended Complaint., 110 MOTION to Dismiss the Amended Complaint..
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Exhibit
                               A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit
                               G).(Tenreiro, Jorge) (Entered: 05/14/2021)
              05/14/2021   182 MEMORANDUM OF LAW in Opposition re: 105 MOTION to Dismiss the First
                               Amended Complaint., 110 MOTION to Dismiss the Amended Complaint. . Document
                               filed by Securities and Exchange Commission..(Tenreiro, Jorge) (Entered: 05/14/2021)
              05/14/2021   183 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 105
                               MOTION to Dismiss the First Amended Complaint., 110 MOTION to Dismiss the
                               Amended Complaint. . Document filed by Securities and Exchange Commission,
                               Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. Motion or Order to File
                               Under Seal: 104 .(Tenreiro, Jorge) (Entered: 05/14/2021)
              05/15/2021   184 TRANSCRIPT of Proceedings re: CONFERENCE held on 4/30/2021 before
                               Magistrate Judge Sarah Netburn. Court Reporter/Transcriber: Jennifer Thun, (212)
                               805−0300. Transcript may be viewed at the court public terminal or purchased through
                               the Court Reporter/Transcriber before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Redaction Request due
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                                 6/7/2021. Redacted Transcript Deadline set for 6/15/2021. Release of Transcript
                                 Restriction set for 8/13/2021..(McGuirk, Kelly) (Entered: 05/15/2021)
              05/15/2021   185 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                               official transcript of a CONFERENCE proceeding held on 4/30/21 has been filed by
                               the court reporter/transcriber in the above−captioned matter. The parties have seven
                               (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
                               transcript. If no such Notice is filed, the transcript may be made remotely
                               electronically available to the public without redaction after 90 calendar
                               days....(McGuirk, Kelly) (Entered: 05/15/2021)
              05/17/2021   186 REPLY to Response to Motion re: 65 MOTION to Intervene . . Document filed by
                               Jordan Deaton, James LaMonte, Mya LaMonte, Tyler LaMonte, Mitchell McKenna,
                               Kristiana Warner..(Deaton, John) (Entered: 05/17/2021)
              05/17/2021   187 DECLARATION of John E. Deaton in Support re: 122 MOTION to Intervene ..
                               Document filed by Jordan Deaton, James LaMonte, Mya LaMonte, Tyler LaMonte,
                               Mitchell McKenna, Kristiana Warner. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                               Exhibit C, # 4 Exhibit D, # 5 Exhibit E).(Deaton, John) (Entered: 05/17/2021)
              05/17/2021   188 REPLY to Response to Motion re: 122 MOTION to Intervene . . Document filed by
                               Jordan Deaton, James LaMonte, Mya LaMonte, Tyler LaMonte, Mitchell McKenna,
                               Kristiana Warner..(Deaton, John) (Entered: 05/17/2021)
              05/17/2021   189 REPLY MEMORANDUM OF LAW in Opposition re: 122 MOTION to Intervene .
                               Reply to Defendants' Response to Motion to Intervene. Document filed by Securities
                               and Exchange Commission..(Tenreiro, Jorge) (Entered: 05/17/2021)
              05/17/2021   190 DECLARATION of Ladan F. Stewart in Opposition re: 122 MOTION to Intervene ..
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Exhibit
                               A, # 2 Exhibit B, # 3 Exhibit C).(Tenreiro, Jorge) (Entered: 05/17/2021)
              05/18/2021   191 ***SELECTED PARTIES*** LETTER MOTION for Local Rule 37.2 Conference
                               addressed to Magistrate Judge Sarah Netburn from Mark R. Sylvester dated May 18,
                               2021. Document filed by Securities and Exchange Commission, Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit
                               Exhibit A, # 2 Exhibit Exhibit B, # 3 Exhibit Exhibit C, # 4 Exhibit Exhibit D, # 5
                               Exhibit Exhibit E, # 6 Exhibit Exhibit F, # 7 Exhibit Exhibit G, # 8 Exhibit Exhibit
                               H)Motion or Order to File Under Seal: 53 .(Sylvester, Mark) (Entered: 05/18/2021)
              05/19/2021   192 CONSENT LETTER MOTION for Extension of Time to File Response/Reply as to
                               191 LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate
                               Judge Sarah Netburn from Mark R. Sylvester dated May 18, 2021. addressed to
                               Magistrate Judge Sarah Netburn from Andrew J. Ceresney dated May 19, 2021.
                               Document filed by Ripple Labs Inc...(Ceresney, Andrew) (Entered: 05/19/2021)
              05/19/2021   193 ORDER granting 192 Letter Motion for Extension of Time to File Response/Reply.
                               Ripple shall file its opposition no later than May 25, 2021. (HEREBY ORDERED by
                               Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered:
                               05/19/2021)
              05/19/2021   194 ORDER re: 121 LETTER MOTION for Local Rule 37.2 Conference addressed to
                               Magistrate Judge Sarah Netburn from Martin Flumenbaum, Andrew J. Ceresney,
                               Michael K. Kellogg and Matthew C. Solomon dated April 16, 2021, filed by Christian
                               A. Larsen, Ripple Labs Inc., Bradley Garlinghouse. The Defendants' motion is
                               DENIED. The SEC is ordered to produce all documents obtained in response to the
                               Requests. In addition, to improve transparency in the process, the SEC is ordered to
                               produce copies of all previously served Requests within 14 days and produce any
                               subsequent Requests within 14 days of their service. To the extent the SEC believes it
                               has a proper claim of privilege, it must simultaneously produce a privilege log. The
                               Clerk of Court is respectfully requested to deny the motion at ECF No. 121. (Signed
                               by Magistrate Judge Sarah Netburn on 5/19/2021) (ras) (Entered: 05/19/2021)
              05/19/2021   195 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Jorge G. Tenreiro dated May 19, 2021 re: 165 LETTER MOTION for Local Rule
                               37.2 Conference addressed to Magistrate Judge Sarah Netburn from Jorge G. Tenreiro
                               dated May 7, 2021. . Document filed by Securities and Exchange Commission.
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                                 (Attachments: # 1 Exhibit A).(Tenreiro, Jorge) (Entered: 05/19/2021)
              05/19/2021   196 ***SELECTED PARTIES***LETTER REPLY to Response to Motion addressed to
                               Magistrate Judge Sarah Netburn from Jorge Gerardo Tenreiro dated May 19, 2021 re:
                               166 LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate
                               Judge Sarah Netburn from Jorge G. Tenreiro dated May 7, 2021. . Document filed by
                               Securities and Exchange Commission, Bradley Garlinghouse, Christian A. Larsen,
                               Ripple Labs Inc.. (Attachments: # 1 Exhibit A)Motion or Order to File Under Seal: 53
                               .(Tenreiro, Jorge) (Entered: 05/19/2021)
              05/21/2021         Minute Entry for proceedings held before Magistrate Judge Sarah Netburn: Telephone
                                 Conference held on 5/21/2021. (ras) (Entered: 06/02/2021)
              05/25/2021   197 LETTER MOTION for Local Rule 37.2 Conference Re Omnibus Discovery Matters
                               addressed to Magistrate Judge Sarah Netburn from Jorge Gerardo Tenreiro dated May
                               25, 2021. Document filed by Securities and Exchange Commission. (Attachments: # 1
                               Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
                               Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L,
                               # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q, # 18
                               Exhibit R, # 19 Exhibit S, # 20 Exhibit T).(Tenreiro, Jorge) (Entered: 05/25/2021)
              05/25/2021   198 ***SELECTED PARTIES*** LETTER MOTION for Local Rule 37.2 Conference Re
                               Omnibus Discovery Matters addressed to Magistrate Judge Sarah Netburn from Jorge
                               Gerardo Tenreiro dated May 25, 2021. Document filed by Securities and Exchange
                               Commission, Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit B, # 2 Exhibit C, # 3 Exhibit D, # 4 Exhibit E, # 5 Exhibit F,
                               # 6 Exhibit G, # 7 Exhibit H, # 8 Exhibit I, # 9 Exhibit J, # 10 Exhibit K, # 11 Exhibit
                               L, # 12 Exhibit M, # 13 Exhibit N, # 14 Exhibit O, # 15 Exhibit Q)Motion or Order to
                               File Under Seal: 54 .(Tenreiro, Jorge) (Entered: 05/25/2021)
              05/25/2021   199 ***SELECTED PARTIES***LETTER RESPONSE in Opposition to Motion
                               addressed to Magistrate Judge Sarah Netburn from Andrew J Ceresney dated May 25,
                               2021 re: 191 LETTER MOTION for Local Rule 37.2 Conference addressed to
                               Magistrate Judge Sarah Netburn from Mark R. Sylvester dated May 18, 2021.
                               (Protective Order docketed at ECF 53). Document filed by Ripple Labs Inc., Bradley
                               Garlinghouse, Christian A. Larsen, Securities and Exchange Commission. Motion or
                               Order to File Under Seal: 191 .(Ceresney, Andrew) (Entered: 05/25/2021)
              05/26/2021   200 LETTER MOTION for Extension of Time to File Response/Reply addressed to
                               Magistrate Judge Sarah Netburn from Michael K. Kellogg dated May 26, 2021.
                               Document filed by Ripple Labs Inc...(Kellogg, Michael) (Entered: 05/26/2021)
              05/27/2021   201 MOTION for Dugan Bliss to Withdraw as Attorney . Document filed by Securities and
                               Exchange Commission..(Bliss, Dugan) (Entered: 05/27/2021)
              05/27/2021   202 PROPOSED ORDER FOR WITHDRAWAL OF ATTORNEY. Document filed by
                               Securities and Exchange Commission. Related Document Number: 201 ..(Bliss,
                               Dugan) (Entered: 05/27/2021)
              05/27/2021   203 ORDER granting 201 Motion to Withdraw as Attorney. Attorney Dugan William
                               Edward Bliss terminated. (HEREBY ORDERED by Magistrate Judge Sarah
                               Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 05/27/2021)
              05/27/2021   204 ORDER granting 200 Letter Motion for Extension of Time. Defendant Ripple is
                               granted until June 2, 2021, to respond to the SEC's omnibus discovery letter motion.
                               The parties are strongly urged to continue to meet and confer on these issues in an
                               effort to resolve them without judicial intervention. (HEREBY ORDERED by
                               Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered:
                               05/27/2021)
              05/27/2021   205 REPLY MEMORANDUM OF LAW in Support re: 128 MOTION to Strike Document
                               No. 51 Motion to Strike Defendant Ripple Labs, Inc.'s Fourth Affirmative Defense. .
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Exhibit
                               Ex. 1 − Cornerstone Research Report).(Hanauer, Benjamin) (Entered: 05/27/2021)
              05/28/2021   206 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Mark R. Sylvester dated May 28, 2021 re: 176 LETTER MOTION to
                               Seal re: 166 SEC's LETTER MOTION for Local Rule 37.2 Conference addressed to
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                                 Magistrate Judge Sarah Netburn from Michael K. Kellogg dated May 14, 2021. .
                                 Document filed by Securities and Exchange Commission..(Sylvester, Mark) (Entered:
                                 05/28/2021)
              05/28/2021   207 ***SELECTED PARTIES***LETTER REPLY to Response to Motion addressed to
                               Magistrate Judge Sarah Netburn from Mark R. Sylvester dated May 28, 2021 re: 191
                               LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate Judge
                               Sarah Netburn from Mark R. Sylvester dated May 18, 2021. . Document filed by
                               Securities and Exchange Commission, Bradley Garlinghouse, Christian A. Larsen,
                               Ripple Labs Inc.. (Attachments: # 1 Exhibit Exhibit A)Motion or Order to File Under
                               Seal: 53 .(Sylvester, Mark) (Entered: 05/28/2021)
              05/28/2021   208 TRANSCRIPT of Proceedings re: CONFERENCE held on 5/21/2021 before
                               Magistrate Judge Sarah Netburn. Court Reporter/Transcriber: Kristen Carannante,
                               (212) 805−0300. Transcript may be viewed at the court public terminal or purchased
                               through the Court Reporter/Transcriber before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Redaction Request due
                               6/18/2021. Redacted Transcript Deadline set for 6/28/2021. Release of Transcript
                               Restriction set for 8/26/2021..(McGuirk, Kelly) (Entered: 05/28/2021)
              05/28/2021   209 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                               official transcript of a CONFERENCE proceeding held on 5/21/21 has been filed by
                               the court reporter/transcriber in the above−captioned matter. The parties have seven
                               (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
                               transcript. If no such Notice is filed, the transcript may be made remotely
                               electronically available to the public without redaction after 90 calendar
                               days....(McGuirk, Kelly) (Entered: 05/28/2021)
              05/30/2021   210 OPINION & ORDER re: 165 LETTER MOTION for Local Rule 37.2 Conference
                               addressed to Magistrate Judge Sarah Netburn from Jorge G. Tenreiro dated May 7,
                               2021, filed by Securities and Exchange Commission, 166 LETTER MOTION for
                               Local Rule 37.2 Conference addressed to Magistrate Judge Sarah Netburn from Jorge
                               G. Tenreiro dated May 7, 2021, filed by Securities and Exchange Commission. The
                               SEC's motion is DENIED. If, at some later date, Ripple raises its good faith beliefs or
                               relies upon its privileged communications in support of its fair notice defense, the
                               Plaintiff may renew its application to the Court. Respectfully, the Clerk of Court is
                               directed to deny the motions at ECF Nos. 165 and 166. (Signed by Magistrate Judge
                               Sarah Netburn on 5/30/2021) (ras) (Entered: 05/30/2021)
              06/02/2021   211 ORDER denying as moot 191 Letter Motion for Local Rule 37.2 Conference. Given
                               the parties' representations in their letters at ECF Nos. 199 and 207, the SEC's motion
                               is denied as moot. (HEREBY ORDERED by Magistrate Judge Sarah Netburn) (Text
                               Only Order) (ras) (Entered: 06/02/2021)
              06/02/2021   212 ORDER denying without prejudice 176 Letter Motion to Seal. Ripple's motion is
                               denied without prejudice. The parties are directed to meet and confer to further limit
                               the sealing request and file a joint letter proposing reasonable redactions no later than
                               June 7, 2021. (HEREBY ORDERED by Magistrate Judge Sarah Netburn) (Text Only
                               Order) (ras) (Entered: 06/02/2021)
              06/02/2021   213 MOTION for Discovery / Motion to Obtain International Discovery. Document filed
                               by Bradley Garlinghouse..(Solomon, Matthew) (Entered: 06/02/2021)
              06/02/2021   214 MEMORANDUM OF LAW in Support re: 213 MOTION for Discovery / Motion to
                               Obtain International Discovery. . Document filed by Bradley Garlinghouse.
                               (Attachments: # 1 Exhibit 1 − Proposed Order, # 2 Exhibit 2 − Bitfinex Proposed
                               Letter, # 3 Exhibit 3 − Bitforex Proposed Letter, # 4 Exhibit 4 − Bithumb Proposed
                               Letter, # 5 Exhibit 5 − Bitlish Proposed Letter, # 6 Exhibit 6 − BitMart Proposed
                               Letter, # 7 Exhibit 7 − AscendEX Proposed Letter, # 8 Exhibit 8 − Bitrue Proposed
                               Letter, # 9 Exhibit 9 − Bitstamp Proposed Letter, # 10 Exhibit 10 − Coinbene
                               Proposed Letter, # 11 Exhibit 11 − Coinone Proposed Letter, # 12 Exhibit 12 −
                               HitBTC Proposed Letter, # 13 Exhibit 13 − Huobi Proposed Letter, # 14 Exhibit 14 −
                               Korbit Proposed Letter, # 15 Exhibit 15 − OKEx Proposed Letter, # 16 Exhibit 16 −
                               Upbit Proposed Letter, # 17 Exhibit 17 − ZB Proposed Letter).(Solomon, Matthew)
                               (Entered: 06/02/2021)
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              06/02/2021   215 LETTER MOTION for Extension of Time addressed to Magistrate Judge Sarah
                               Netburn from Michael K. Kellogg dated June 2, 2021. Document filed by Ripple Labs
                               Inc...(Kellogg, Michael) (Entered: 06/02/2021)
              06/02/2021   216 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Michael K. Kellogg dated June 2, 2021 re: 197 LETTER MOTION for
                               Local Rule 37.2 Conference Re Omnibus Discovery Matters addressed to Magistrate
                               Judge Sarah Netburn from Jorge Gerardo Tenreiro dated May 25, 2021. . Document
                               filed by Ripple Labs Inc.. (Attachments: # 1 Exhibit A).(Kellogg, Michael) (Entered:
                               06/02/2021)
              06/02/2021   217 LETTER MOTION for Extension of Time to Complete Discovery addressed to Judge
                               Analisa Torres from Robert Moye dated June 2, 2021. Document filed by Securities
                               and Exchange Commission..(Moye, Robert) (Entered: 06/02/2021)
              06/03/2021   218 ORDER granting 215 Letter Motion for Extension of Time. The parties shall file their
                               jointly proposed redactions with respect to ECF Nos. 166, 197, and 198 no later than
                               Wednesday, June 9, 2021. (HEREBY ORDERED by Magistrate Judge Sarah Netburn)
                               (Text Only Order) (ras) (Entered: 06/03/2021)
              06/04/2021   219 LETTER addressed to Judge Analisa Torres from Michael K. Kellogg dated June 4,
                               2021 re: Defendants' Intent to Oppose the SECs Extension Request. Document filed by
                               Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Kellogg, Michael)
                               (Entered: 06/04/2021)
              06/04/2021   220 LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate Judge
                               Sarah Netburn from Michael K. Kellogg dated June 4, 2021. Document filed by
                               Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1
                               Exhibit A).(Kellogg, Michael) (Entered: 06/04/2021)
              06/04/2021   221 LETTER MOTION to Seal addressed to Judge Analisa Torres from Martin
                               Flumenbaum dated June 4, 2021. Document filed by Christian A.
                               Larsen..(Flumenbaum, Martin) (Entered: 06/04/2021)
              06/04/2021   222 ***SELECTED PARTIES*** REPLY MEMORANDUM OF LAW in Support re:
                               105 MOTION to Dismiss the First Amended Complaint. . Document filed by Christian
                               A. Larsen, Bradley Garlinghouse, Ripple Labs Inc., Securities and Exchange
                               Commission. Motion or Order to File Under Seal: 221 .(Flumenbaum, Martin)
                               (Entered: 06/04/2021)
              06/04/2021   223 REPLY MEMORANDUM OF LAW in Support re: 105 MOTION to Dismiss the
                               First Amended Complaint. [REDACTED]. Document filed by Christian A.
                               Larsen..(Flumenbaum, Martin) (Entered: 06/04/2021)
              06/04/2021   224 REPLY MEMORANDUM OF LAW in Support re: 110 MOTION to Dismiss the
                               Amended Complaint. . Document filed by Bradley Garlinghouse..(Solomon, Matthew)
                               (Entered: 06/04/2021)
              06/04/2021   225 LETTER MOTION to Seal Exhibits K−M to the June 4, 2021 Declaration of Matthew
                               C. Solomon addressed to Judge Analisa Torres from Matthew C. Solomon dated June
                               4, 2021. Document filed by Bradley Garlinghouse..(Solomon, Matthew) (Entered:
                               06/04/2021)
              06/04/2021   226 ***SELECTED PARTIES***DECLARATION of Matthew C. Solomon, dated June
                               4, 2021 in Support re: 110 MOTION to Dismiss the Amended Complaint.. Document
                               filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc., Securities and
                               Exchange Commission. (Attachments: # 1 Exhibit K −
                               SEC−LIT−EPROD−000502078, # 2 Exhibit L − SEC−LIT−EPROD−000103219, # 3
                               Exhibit M − SEC−LIT−EPROD−000502060)Motion or Order to File Under Seal: 225
                               .(Solomon, Matthew) (Entered: 06/04/2021)
              06/04/2021   227 DECLARATION of Matthew C. Solomon, dated June 4, 2021 [REDACTED] in
                               Support re: 110 MOTION to Dismiss the Amended Complaint.. Document filed by
                               Bradley Garlinghouse. (Attachments: # 1 Exhibit K − SEC−LIT−EPROD−000502078,
                               # 2 Exhibit L − SEC−LIT−EPROD−000103219, # 3 Exhibit M −
                               SEC−LIT−EPROD−000502060).(Solomon, Matthew) (Entered: 06/04/2021)
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              06/07/2021   228 LETTER MOTION for Extension of Time re Defendants' Motion for Local Rule 37.2
                               Conference addressed to Magistrate Judge Sarah Netburn from Mark R. Sylvester
                               dated June 7, 2021. Document filed by Securities and Exchange
                               Commission..(Sylvester, Mark) (Entered: 06/07/2021)
              06/07/2021   229 LETTER MOTION for Leave to File Sur−Reply in Opposition to Motion to Strike
                               addressed to Judge Analisa Torres from Michael K. Kellogg dated June 7, 2021.
                               Document filed by Ripple Labs Inc.. (Attachments: # 1 Proposed Sur−Reply in
                               Opposition to Motion to Strike, # 2 Exhibit A).(Kellogg, Michael) (Entered:
                               06/07/2021)
              06/07/2021   230 ***STRICKEN DOCUMENT. Document number 230 has been stricken from the
                               case record. The document was stricken from this case pursuant to 235 Order .
                               LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Jorge G. Tenreiro dated June 7, 2021 re: 197 LETTER MOTION for Local Rule
                               37.2 Conference Re Omnibus Discovery Matters addressed to Magistrate Judge Sarah
                               Netburn from Jorge Gerardo Tenreiro dated May 25, 2021. . Document filed by
                               Securities and Exchange Commission. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                               Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G).(Tenreiro, Jorge)
                               Modified on 6/9/2021 (js). (Entered: 06/07/2021)
              06/07/2021   231 ***SELECTED PARTIES***LETTER REPLY to Response to Motion addressed to
                               Magistrate Judge Sarah Netburn from Jorge G. Tenreiro dated June 7, 2021 re: 198
                               LETTER MOTION for Local Rule 37.2 Conference Re Omnibus Discovery Matters
                               addressed to Magistrate Judge Sarah Netburn from Jorge Gerardo Tenreiro dated May
                               25, 2021. . Document filed by Securities and Exchange Commission, Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit B, # 2
                               Exhibit C, # 3 Exhibit D, # 4 Exhibit G)Motion or Order to File Under Seal: 215
                               .(Tenreiro, Jorge) (Entered: 06/07/2021)
              06/07/2021   232 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Jorge Gerardo Tenreiro dated June 7, 2021 re: 197 LETTER MOTION for Local
                               Rule 37.2 Conference Re Omnibus Discovery Matters addressed to Magistrate Judge
                               Sarah Netburn from Jorge Gerardo Tenreiro dated May 25, 2021. . Document filed by
                               Securities and Exchange Commission. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                               Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G).(Tenreiro, Jorge)
                               (Entered: 06/07/2021)
              06/07/2021   233 ORDER granting 228 Letter Motion for Extension of Time. The SEC shall respond to
                               the Defendants' motion no later than June 11, 2021. (HEREBY ORDERED by
                               Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered:
                               06/07/2021)
              06/08/2021   234 LETTER RESPONSE in Opposition to Motion addressed to Judge Analisa Torres
                               from Michael K. Kellogg dated June 8, 2021 re: 217 LETTER MOTION for Extension
                               of Time to Complete Discovery addressed to Judge Analisa Torres from Robert Moye
                               dated June 2, 2021. . Document filed by Ripple Labs Inc.. (Attachments: # 1 Exhibit
                               A, # 2 Exhibit B).(Kellogg, Michael) (Entered: 06/08/2021)
              06/09/2021   235 ORDER: Respectfully, the Clerk of Court is directed to strike the documents at ECF
                               No. 230 from the docket. So Ordered. (Signed by Magistrate Judge Sarah Netburn on
                               6/9/2021) (js) (Entered: 06/09/2021)
              06/09/2021   236 JOINT LETTER addressed to Magistrate Judge Sarah Netburn from Michael K.
                               Kellogg dated June 9, 2021 re: Proposed Redactions with respect to ECF Nos. 166,
                               191, 198, and 199. Document filed by Ripple Labs Inc.. (Attachments: # 1 Exhibit 1, #
                               2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8
                               Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13
                               Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18
                               Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23
                               Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28
                               Exhibit 28, # 29 Exhibit 29).(Kellogg, Michael) (Entered: 06/09/2021)
              06/09/2021   237 LETTER REPLY to Response to Motion addressed to Judge Analisa Torres from
                               Jorge G. Tenreiro dated June 9, 2021 re: 128 MOTION to Strike Document No. 51
                               Motion to Strike Defendant Ripple Labs, Inc.'s Fourth Affirmative Defense. Response
                               to Ripple Sur−Reply (D.E. 229). Document filed by Securities and Exchange
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                                Commission..(Tenreiro, Jorge) (Entered: 06/09/2021)
              06/10/2021   238 NOTICE OF APPEARANCE by Nicole Tatz on behalf of Bradley
                               Garlinghouse..(Tatz, Nicole) (Entered: 06/10/2021)
              06/10/2021   239 MEMO ENDORSEMENT: on re: 236 Letter filed by Ripple Labs Inc.
                               ENDORSEMENT: The Court adopts the parties' sealing proposal, in their entirety. SO
                               ORDERED. (Signed by Magistrate Judge Sarah Netburn on 6/10/2021) (ama)
                               (Entered: 06/10/2021)
              06/11/2021   240 MOTION for Discovery / Motion to Obtain International Discovery (related document
                               213 ). Document filed by Bradley Garlinghouse..(Solomon, Matthew) (Entered:
                               06/11/2021)
              06/11/2021   241 MEMORANDUM OF LAW in Support re: 240 MOTION for Discovery / Motion to
                               Obtain International Discovery (related document 213 ). . Document filed by Bradley
                               Garlinghouse. (Attachments: # 1 Exhibit 1 − Proposed Order, # 2 Exhibit 2 − Bitfinex
                               Proposed Letter, # 3 Exhibit 3 − Bitforex Proposed Letter, # 4 Exhibit 4 − Bithumb
                               Proposed Letter, # 5 Exhibit 5 − Bitlish Proposed Letter, # 6 Exhibit 6 − BitMart
                               Proposed Letter, # 7 Exhibit 7 − AscendEX Proposed Letter, # 8 Exhibit 8 − Bitrue
                               Proposed Letter, # 9 Exhibit 9 − Bitstamp Proposed Letter, # 10 Exhibit 10 −
                               Coinbene Proposed Letter, # 11 Exhibit 11 − Coinone Proposed Letter, # 12 Exhibit 12
                               − HitBTC Proposed Letter, # 13 Exhibit 13 − Huobi Proposed Letter, # 14 Exhibit 14
                               − Korbit Proposed Letter, # 15 Exhibit 15 − OKEx Proposed Letter, # 16 Exhibit 16 −
                               Upbit Proposed Letter, # 17 Exhibit 17 − ZB Proposed Letter).(Solomon, Matthew)
                               (Entered: 06/11/2021)
              06/11/2021   242 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Ladan F. Stewart dated June 11, 2021 re: 220 LETTER MOTION for
                               Local Rule 37.2 Conference addressed to Magistrate Judge Sarah Netburn from
                               Michael K. Kellogg dated June 4, 2021. . Document filed by Securities and Exchange
                               Commission. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                               D).(Stewart, Ladan) (Entered: 06/11/2021)
              06/11/2021   243 LETTER REPLY to Response to Motion addressed to Judge Analisa Torres from
                               Robert Moye dated June 11, 2021 re: 217 LETTER MOTION for Extension of Time
                               to Complete Discovery addressed to Judge Analisa Torres from Robert Moye dated
                               June 2, 2021. . Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit Ex. A, Declaration, # 2 Exhibit Ex. B, Cover Sheet).(Moye,
                               Robert) (Entered: 06/11/2021)
              06/11/2021   244 ***SELECTED PARTIES***LETTER REPLY to Response to Motion addressed to
                               Judge Analisa Torres from Robert S. Moye dated June 11, 2021 re: 217 LETTER
                               MOTION for Extension of Time to Complete Discovery addressed to Judge Analisa
                               Torres from Robert Moye dated June 2, 2021. . Document filed by Securities and
                               Exchange Commission, Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit B)Motion or Order to File Under Seal: 53 .(Moye, Robert)
                               (Entered: 06/11/2021)
              06/14/2021   245 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Michael K. Kellogg dated June 14, 2021 re: 220 LETTER MOTION for Local
                               Rule 37.2 Conference addressed to Magistrate Judge Sarah Netburn from Michael K.
                               Kellogg dated June 4, 2021. . Document filed by Bradley Garlinghouse, Christian A.
                               Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered: 06/14/2021)
              06/14/2021   246 ORDER granting 217 Letter Motion for Extension of Time to Complete Discovery.
                               The deadline to conduct fact discovery is extended to August 31, 2021. The deadline
                               to conduct expert discovery is extended to October 15, 2021. (HEREBY ORDERED
                               by Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered:
                               06/14/2021)
              06/14/2021   247 ORDER granting 213 Letter Motion for Discovery. The Court will issue the Individual
                               Defendants' letters rogatory. The Court will contact the parties directly with
                               information about how to retrieve the signed and sealed letters. (HEREBY ORDERED
                               by Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered:
                               06/14/2021)
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              06/14/2021   248 ORDER granting 240 Letter Motion for Discovery. See ECF No. 247. (HEREBY
                               ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah)
                               (Entered: 06/14/2021)
              06/15/2021   249 ORDER granting in part and denying in part 197 Letter Motion for Local Rule 37.2
                               Conference; granting in part and denying in part 198 Letter Motion for Local Rule
                               37.2 Conference. The Court GRANTS the SEC leave to conduct five additional
                               depositions of (1) Christian Gil, (2) Ron Will, (3) Ethan Beard, (4) Phil Rapoport, and
                               (5) Ryan Zagone. Fed. R. Civ. P. 30(a)(2)(A)(i). The SEC's request for a sixth
                               deposition pursuant to Rule 30(b)(6) so that it may "cover any gaps in knowledge that
                               these witnesses may have" is DENIED without prejudice as unripe. Based on the
                               record before the Court, it is impossible to determine what topics would be noticed for
                               any Rule 30(b)(6) deposition or why such deposition was not noticed among the first
                               ten depositions. The Court ORDERS Ripple to search for responsive documents from
                               Ryan Zagone and Cameron Kinloch. The SEC's request to order Ripple to search the
                               records of its General Counsels and Deputy General Counsel is DENIED, as the Court
                               interprets these requests to be highly burdensome, likely to be mostly privileged
                               communications, and unreasonably cumulative or duplicative of searches already
                               performed. See Fed. R. Civ. P. 26(b)(2). The SEC's request to compel production of
                               documents post−dating the complaint is DENIED without prejudice. If, after the
                               parties have exchanged expert reports, it becomes clear that Ripple's expert relied upon
                               documents that, in fairness, requires the SEC to review post−complaint documents, the
                               SEC may renew its application. Finally, the SEC's request to compel production of
                               documents related to Ripple's lobbying efforts is DENIED. As discussed in the Court's
                               earlier Opinion and Order denying access to Ripple's privileged communications,
                               Ripple's fair notice defense centers on the activities of the SEC, not its own behaviors.
                               See ECF No. 210 at *8 ("Ripple focuses on the SEC's failure to provide fair notice to
                               the market about the Commission's state of mind as to whether XRP qualified as a
                               security. It is not clear that such a defense even requires that a defendant act in good
                               faith.") (citing United States v. Salerno, 505 U.S. 317, 323 (1992)). In the same vein,
                               Ripple's lobbying efforts regarding the status of XRP are not relevant; and any
                               relevancy argument is outweighed by the burden of production. (Signed by Magistrate
                               Judge Sarah Netburn on 6/15/2021) (ras) (Entered: 06/15/2021)
              06/15/2021   250 ORDER GRANTING DEFENDANTS' BRADLEY GARLINGHOUSE AND
                               CHRISTIAN A. LARSEN MOTION FOR THE ISSUANCE OF LETTERS OF
                               REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE: This matter having
                               arisen upon motion by Defendants Bradley Garlinghouse and Christian A. Larsen (the
                               "Individual Defendants") for this Court to issue the Letters of Request to the Central
                               Authorities of the United Kingdom of Great Britain and Northern Ireland, the Cayman
                               Islands, the British Virgin Islands, the Hong Kong Special Administrative Region of
                               China, the Republic of Singapore, the Republic of Seychelles, the Republic of Korea,
                               and the Republic of Malta, and it appearing that these Letters of Request are
                               appropriate, IT IS ORDERED, that this Court shall issue the Letters of Request in the
                               form appearing at the Individual Defendants' motion for issuance of Letters of Request
                               for International Judicial Assistance as Exhibits 2 through 17. (Signed by Magistrate
                               Judge Sarah Netburn on 6/14/2021) (ras) Transmission to Orders and Judgments Clerk
                               for processing. (Entered: 06/15/2021)
              06/15/2021         LETTERS ROGATORY ISSUED on June 15, 2021, and picked up by Cleary Gottlieb
                                 Steen & Hamilton LLP and to be served in the Central Authorities of the United
                                 Kingdom of Great Britain and Northern Ireland, the Cayman Islands, the British
                                 Virgin Islands, the Hong Kong Special Administrative Region of China, the Republic
                                 of Singapore, the Republic of Seychelles, the Republic of Korea, and the Republic of
                                 Malta.(km) (Entered: 06/15/2021)
              06/22/2021   251 CONSENT LETTER MOTION for Leave to File Excess Pages and to Approve
                               Briefing Schedule addressed to Magistrate Judge Sarah Netburn from Jorge G.
                               Tenreiro dated June 22, 2021. Document filed by Securities and Exchange
                               Commission..(Tenreiro, Jorge) (Entered: 06/22/2021)
              06/23/2021   252 ORDER granting 251 Letter Motion for Leave to File Excess Pages. The SEC shall
                               file its motion, not to exceed eight pages, no later than June 24, 2021. The Defendants
                               shall file a joint opposition, not to exceed eight pages, no later than July 1, 2021. The
                               SEC may file a reply, if any, not to exceed four pages, no later than July 8, 2021.
                               (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order)
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                                 (Netburn, Sarah) (Entered: 06/23/2021)
              06/23/2021   253 ORDER granting in part and denying in part 220 Letter Motion for Local Rule 37.2
                               Conference. The Court has reviewed the Defendants' motion and the parties' letters in
                               opposition and further support. The parties have indicated that the SEC has already
                               begun to produce documents responsive to the Defendants' first and third requests.
                               Therefore, those are DENIED as MOOT. The Defendants' second request for the
                               SEC's Internal Trading Policies (RFP No. 26) is GRANTED. The Court finds that the
                               information sought meets the low bar for relevance, including potentially with respect
                               to the claims against the Individual Defendants. (HEREBY ORDERED by Magistrate
                               Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 06/23/2021)
              06/24/2021   254 NOTICE OF APPEARANCE by Daphna Abrams Waxman on behalf of Securities and
                               Exchange Commission..(Waxman, Daphna) (Entered: 06/24/2021)
              06/24/2021   255 LETTER MOTION for Local Rule 37.2 Conference re: Motion To Quash Subpoena
                               addressed to Magistrate Judge Sarah Netburn from Ladan F. Stewart dated June 24,
                               2021. Document filed by Securities and Exchange Commission. (Attachments: # 1
                               Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
                               Exhibit G, # 8 Exhibit H, # 9 Exhibit I).(Stewart, Ladan) (Entered: 06/24/2021)
              06/25/2021   256 NOTICE OF APPEARANCE by Sarah J Prostko on behalf of Christian A.
                               Larsen..(Prostko, Sarah) (Entered: 06/25/2021)
              07/01/2021   257 ***SELECTED PARTIES***LETTER RESPONSE in Opposition to Motion
                               addressed to Magistrate Judge Sarah Netburn from Michael K. Kellogg dated July 1,
                               2021 re: 255 LETTER MOTION for Local Rule 37.2 Conference re: Motion To
                               Quash Subpoena addressed to Magistrate Judge Sarah Netburn from Ladan F. Stewart
                               dated June 24, 2021. . Document filed by Christian A. Larsen, Bradley Garlinghouse,
                               Ripple Labs Inc., Securities and Exchange Commission. (Attachments: # 1 Exhibit 1, #
                               2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6)Motion or Order
                               to File Under Seal: 53 .(Kellogg, Michael) (Entered: 07/01/2021)
              07/01/2021   258 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Michael K. Kellogg dated July 1, 2021 re: 255 LETTER MOTION for
                               Local Rule 37.2 Conference re: Motion To Quash Subpoena addressed to Magistrate
                               Judge Sarah Netburn from Ladan F. Stewart dated June 24, 2021. . Document filed by
                               Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1
                               Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit
                               6).(Kellogg, Michael) (Entered: 07/01/2021)
              07/08/2021   259 REPLY MEMORANDUM OF LAW in Support re: 255 LETTER MOTION for Local
                               Rule 37.2 Conference re: Motion To Quash Subpoena addressed to Magistrate Judge
                               Sarah Netburn from Ladan F. Stewart dated June 24, 2021. . Document filed by
                               Securities and Exchange Commission..(Stewart, Ladan) (Entered: 07/08/2021)
              07/09/2021   260 LETTER addressed to Magistrate Judge Sarah Netburn from Michael K. Kellogg
                               dated July 9, 2021 re: Hinman Deposition. Document filed by Bradley Garlinghouse,
                               Christian A. Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered: 07/09/2021)
              07/13/2021   261 ORDER granting 255 Letter Motion for Local Rule 37.2 Conference. A telephonic
                               conference is scheduled for July 15, 2021, at 3:00 p.m. to discuss the Plaintiff's motion
                               to quash. The Court will contact the parties to establish a conference line and will
                               provide dial−in information for the public in advance of the conference. (HEREBY
                               ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah)
                               (Entered: 07/13/2021)
              07/13/2021         Set/Reset Hearings: Telephone Conference set for 7/15/2021 at 03:00 PM before
                                 Magistrate Judge Sarah Netburn. (ras) (Entered: 07/13/2021)
              07/15/2021   262 ORDER: A telephonic conference is scheduled for Thursday, July 15, 2021, at 3:00
                               p.m. to discuss the SEC's pending motion to quash. ECF No. 255. Members of the
                               public and press may listen to the proceedings at the following numbers: USA: (844)
                               291−5490 International: (409) 207−6993 Access Code: 4917104 # Unauthorized
                               recording and rebroadcasting of the conference (e.g., YouTube, Twitch, audio−only
                               streams, etc.) is strictly prohibited. Any unauthorized recordings will be investigated,
                               and anyone found to engage in such behaviors may be subject to criminal sanctions.
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                                 (Signed by Magistrate Judge Sarah Netburn on 7/15/2021) (ras) Modified on
                                 7/15/2021 (ras). (Main Document 262 replaced on 7/15/2021) (ras). (Entered:
                                 07/15/2021)
              07/15/2021         Minute Entry for proceedings held before Magistrate Judge Sarah Netburn: Telephone
                                 Conference held on 7/15/2021. (ras) (Entered: 08/02/2021)
              07/16/2021   263 JOINT LETTER addressed to Magistrate Judge Sarah Netburn from Michael K.
                               Kellogg dated July 16, 2021 re: Hinman Deposition. Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered:
                               07/16/2021)
              07/19/2021   264 LETTER addressed to Judge Analisa Torres from Matthew C. Solomon and Martin
                               Flumenbaum dated July 19, 2021 re: recent SEC public statement regarding In the
                               Matter of Coinschedule. Document filed by Bradley Garlinghouse, Christian A.
                               Larsen. (Attachments: # 1 SEC Public Statement).(Solomon, Matthew) (Entered:
                               07/19/2021)
              07/19/2021   265 JOINT LETTER addressed to Magistrate Judge Sarah Netburn from Michael K.
                               Kellogg dated July 19, 2021 re: Hinman Deposition. Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered:
                               07/19/2021)
              07/20/2021   266 LETTER addressed to Judge Analisa Torres from Michael K. Kellogg dated July 20,
                               2021 re: Supplemental Authority. Document filed by Ripple Labs Inc...(Kellogg,
                               Michael) (Entered: 07/20/2021)
              07/21/2021   267 LETTER addressed to Judge Analisa Torres from Mark R. Sylvester dated July 21,
                               2021 re: Defendants' Letters (D.E. 264, 266). Document filed by Securities and
                               Exchange Commission. (Attachments: # 1 Exhibit Exhibit A).(Sylvester, Mark)
                               (Entered: 07/21/2021)
              07/23/2021   268 LETTER addressed to Judge Analisa Torres from Martin Flumenbaum and Matthew
                               C. Solomon dated July 23, 2021 re: Response to the SEC's 7/21/21 Letter (ECF No.
                               267). Document filed by Bradley Garlinghouse, Christian A. Larsen..(Flumenbaum,
                               Martin) (Entered: 07/23/2021)
              07/25/2021   269 TRANSCRIPT of Proceedings re: CONFERENCE held on 7/15/2021 before
                               Magistrate Judge Sarah Netburn. Court Reporter/Transcriber: Pamela Utter, (212)
                               805−0300. Transcript may be viewed at the court public terminal or purchased through
                               the Court Reporter/Transcriber before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Redaction Request due
                               8/16/2021. Redacted Transcript Deadline set for 8/25/2021. Release of Transcript
                               Restriction set for 10/25/2021..(McGuirk, Kelly) (Entered: 07/25/2021)
              07/25/2021   270 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                               official transcript of a CONFERENCE proceeding held on 7/15/21 has been filed by
                               the court reporter/transcriber in the above−captioned matter. The parties have seven
                               (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
                               transcript. If no such Notice is filed, the transcript may be made remotely
                               electronically available to the public without redaction after 90 calendar
                               days....(McGuirk, Kelly) (Entered: 07/25/2021)
              07/30/2021   271 NOTICE OF APPEARANCE by Pascale Guerrier on behalf of Securities and
                               Exchange Commission..(Guerrier, Pascale) (Entered: 07/30/2021)
              08/02/2021   272 FILING ERROR − DEFICIENT DOCKET ENTRY − MOTION for Discovery /
                               Motion to Obtain International Discovery. Document filed by Bradley
                               Garlinghouse..(Solomon, Matthew) Modified on 8/3/2021 (lb). (Entered: 08/02/2021)
              08/02/2021   273 FILING ERROR − DEFICIENT DOCKET ENTRY − (SEE DOCUMENT #275)
                               − MEMORANDUM OF LAW in Support re: 272 MOTION for Discovery / Motion to
                               Obtain International Discovery. . Document filed by Bradley Garlinghouse.
                               (Attachments: # 1 Exhibit 1 − Proposed Order, # 2 Exhibit 2 − Request for
                               International Assistance − Letter of Request).(Solomon, Matthew) Modified on
                               8/3/2021 (lb). (Entered: 08/02/2021)
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              08/02/2021   274 MOTION for Discovery / Motion to Obtain International Discovery. Document filed
                               by Bradley Garlinghouse..(Solomon, Matthew) (Entered: 08/02/2021)
              08/02/2021   275 MEMORANDUM OF LAW in Support re: 274 MOTION for Discovery / Motion to
                               Obtain International Discovery. . Document filed by Bradley Garlinghouse.
                               (Attachments: # 1 Exhibit 1 − Proposed Order, # 2 Exhibit 2 − Request for
                               International Assistance − Letter of Request).(Solomon, Matthew) (Entered:
                               08/02/2021)
              08/03/2021   276 ORDER granting 274 Letter Motion for Discovery. The Court will communicate with
                               counsel to arrange delivery of the letters. (HEREBY ORDERED by Magistrate Judge
                               Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 08/03/2021)
              08/03/2021   277 ORDER denying as moot 272 Letter Motion for Discovery. (HEREBY ORDERED by
                               Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered:
                               08/03/2021)
              08/04/2021   278 MOTION for Lucas D. Hakkenberg to Withdraw as Attorney . Document filed by
                               Bradley Garlinghouse..(Hakkenberg, Lucas) (Entered: 08/04/2021)
              08/04/2021   279 DECLARATION of Lucas D. Hakkenberg in Support re: 278 MOTION for Lucas D.
                               Hakkenberg to Withdraw as Attorney .. Document filed by Bradley
                               Garlinghouse..(Hakkenberg, Lucas) (Entered: 08/04/2021)
              08/04/2021   280 PROPOSED ORDER FOR WITHDRAWAL OF ATTORNEY. Document filed by
                               Bradley Garlinghouse. Related Document Number: 278 ..(Hakkenberg, Lucas)
                               (Entered: 08/04/2021)
              08/05/2021   281 ORDER granting 278 Motion to Withdraw as Attorney. Attorney Lucas Dehaan
                               Hakkenberg terminated. (HEREBY ORDERED by Magistrate Judge Sarah
                               Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 08/05/2021)
              08/09/2021   282 ***SELECTED PARTIES***EMERGENCY LETTER MOTION for Local Rule 37.2
                               Conference re Slack communications addressed to Magistrate Judge Sarah Netburn
                               from Jorge G Tenreiro dated August 9, 2021. Document filed by Securities and
                               Exchange Commission, Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit H, # 4 Exhibit I, # 5 Exhibit J,
                               # 6 Exhibit K, # 7 Exhibit L, # 8 Exhibit M, # 9 Exhibit N, # 10 Exhibit P)Motion or
                               Order to File Under Seal: 53 .(Tenreiro, Jorge) (Entered: 08/09/2021)
              08/09/2021   283 EMERGENCY LETTER MOTION for Local Rule 37.2 Conference re Slack
                               communications addressed to Magistrate Judge Sarah Netburn from Jorge G Tenreiro
                               dated August 9, 2021. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                               E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11
                               Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16
                               Exhibit P).(Tenreiro, Jorge) (Entered: 08/09/2021)
              08/09/2021   284 CONSENT LETTER MOTION for Leave to File Excess Pages addressed to
                               Magistrate Judge Sarah Netburn from Matthew C. Solomon dated August 9, 2021.
                               Document filed by Bradley Garlinghouse..(Solomon, Matthew) (Entered: 08/09/2021)
              08/09/2021   285 LETTER MOTION for Extension of Time addressed to Magistrate Judge Sarah
                               Netburn from Andrew Ceresney dated August 9, 2021. Document filed by Ripple Labs
                               Inc...(Ceresney, Andrew) (Entered: 08/09/2021)
              08/10/2021   286 ORDER granting 284 Letter Motion for Leave to File Excess Pages. The parties' letter
                               briefing shall not exceed eight pages each, though the Court strongly encourages the
                               Defendants to jointly file a single 15−page letter if possible. (HEREBY ORDERED by
                               Magistrate Judge Sarah Netburn) (Text Only Order) (ras) (Entered: 08/10/2021)
              08/10/2021   287 ORDER granting 285 Letter Motion for Extension of Time. Ripple's response to the
                               SEC's motion is due no later than August 16, 2021. The SEC's reply, if any, is due no
                               later than August 19, 2021. (HEREBY ORDERED by Magistrate Judge Sarah
                               Netburn) (Text Only Order) (ras) (Entered: 08/10/2021)
              08/10/2021   288 LETTER MOTION to Seal addressed to Magistrate Judge Sarah Netburn from
                               Matthew C. Solomon dated August 10, 2021. Document filed by Bradley
                               Garlinghouse..(Solomon, Matthew) (Entered: 08/10/2021)
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              08/10/2021   289 ***SELECTED PARTIES*** LETTER MOTION for Conference re: SEC privilege
                               assertions addressed to Magistrate Judge Sarah Netburn from Matthew C. Solomon
                               dated August 10, 2021. Document filed by Bradley Garlinghouse, Christian A. Larsen,
                               Ripple Labs Inc., Securities and Exchange Commission. (Attachments: # 1 Exhibit A
                               − June 21 SEC Priv Log, # 2 Exhibit B − July 14 SEC Priv Log, # 3 Exhibit C − July
                               21 SEC Priv Log 1, # 4 Exhibit D − July 21 SEC Priv Log 2, # 5 Exhibit E − July 23
                               SEC Priv Log, # 6 Exhibit F − August 6 SEC Priv Log, # 7 Exhibit G − June 19 Email,
                               # 8 Exhibit H − Hinman Exhibit 41, # 9 Exhibit I − Hinman Transcript Excerpt, # 10
                               Exhibit J − July 14 Coinschedule Statement, # 11 Appendix A − SEC Privilege Claims
                               for In Camera Review)Motion or Order to File Under Seal: 288 .(Solomon, Matthew)
                               (Entered: 08/10/2021)
              08/10/2021   290 LETTER MOTION for Conference re: SEC privilege assertions [REDACTED]
                               addressed to Magistrate Judge Sarah Netburn from Matthew C. Solomon dated August
                               10, 2021. Document filed by Bradley Garlinghouse. (Attachments: # 1 Exhibit A −
                               June 21 SEC Priv Log, # 2 Exhibit B − July 14 SEC Priv Log, # 3 Exhibit C − July 21
                               SEC Priv Log 1, # 4 Exhibit D − July 21 SEC Priv Log 2, # 5 Exhibit E − July 23 SEC
                               Priv Log, # 6 Exhibit F − August 6 SEC Priv Log, # 7 Exhibit G − June 19 Email, # 8
                               Exhibit H − Hinman Exhibit 41, # 9 Exhibit I − Hinman Transcript Excerpt, # 10
                               Exhibit J − July 14 Coinschedule Statement, # 11 Appendix A − SEC Privilege Claims
                               for In Camera Review).(Solomon, Matthew) (Entered: 08/10/2021)
              08/11/2021   291 LETTER MOTION for Extension of Time to file sealing motion re D.E. 289 addressed
                               to Magistrate Judge Sarah Netburn from Jorge G. Tenreiro dated August 11, 2021.
                               Document filed by Securities and Exchange Commission..(Tenreiro, Jorge) (Entered:
                               08/11/2021)
              08/11/2021   292 LETTER MOTION for Extension of Time to File Sealing Motion re ECF No. 282
                               addressed to Magistrate Judge Sarah Netburn from Andrew Ceresney dated August 11,
                               2021. Document filed by Ripple Labs Inc...(Ceresney, Andrew) (Entered: 08/11/2021)
              08/11/2021   293 ORDER granting 288 Letter Motion to Seal. The documents may be filed under seal
                               on an interim basis subject to further reconsideration by the Court when it considers
                               the merits of the underlying motion. (HEREBY ORDERED by Magistrate Judge Sarah
                               Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 08/11/2021)
              08/11/2021   294 ORDER granting 291 Letter Motion for Extension of Time. The SEC's deadline to file
                               a motion to seal, if any, with respect to the exhibits filed with Defendants' August 10,
                               2021 letter motion (ECF No. 289) is extended to Tuesday, August 17, 2021.
                               (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order)
                               (Netburn, Sarah) (Entered: 08/11/2021)
              08/11/2021   295 ORDER granting 292 Letter Motion for Extension of Time. The deadline for
                               Defendant Ripple to file a motion to seal, if any, with respect to the exhibits filed with
                               the SEC's August 9, 2021 letter motion (ECF No. 282) is extended to Monday, August
                               16. (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order)
                               (Netburn, Sarah) (Entered: 08/11/2021)
              08/16/2021   296 ***SELECTED PARTIES***LETTER RESPONSE in Opposition to Motion
                               addressed to Magistrate Judge Sarah Netburn from Andrew J. Ceresney dated August
                               16, 2021 re: 282 EMERGENCY LETTER MOTION for Local Rule 37.2 Conference
                               re Slack communications addressed to Magistrate Judge Sarah Netburn from Jorge G
                               Tenreiro dated August 9, 2021. . Document filed by Ripple Labs Inc., Bradley
                               Garlinghouse, Christian A. Larsen, Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                               E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H)Motion or Order to File Under Seal: 53
                               .(Ceresney, Andrew) (Entered: 08/16/2021)
              08/16/2021   297 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Andrew J. Ceresney dated August 16, 2021 re: 282 EMERGENCY
                               LETTER MOTION for Local Rule 37.2 Conference re Slack communications
                               addressed to Magistrate Judge Sarah Netburn from Jorge G Tenreiro dated August 9,
                               2021. . Document filed by Ripple Labs Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit
                               B [FILED UNDER SEAL], # 3 Exhibit C [FILED UNDER SEAL], # 4 Exhibit D
                               [FILED UNDER SEAL], # 5 Exhibit E [FILED UNDER SEAL], # 6 Exhibit F
                               [FILED UNDER SEAL], # 7 Exhibit G [FILED UNDER SEAL], # 8 Exhibit H
                               [FILED UNDER SEAL]).(Ceresney, Andrew) (Entered: 08/16/2021)
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              08/16/2021   298 LETTER MOTION to Seal addressed to Magistrate Judge Sarah Netburn from
                               Andrew J. Ceresney dated August 16, 2021. Document filed by Ripple Labs
                               Inc...(Ceresney, Andrew) (Entered: 08/16/2021)
              08/17/2021   299 ***SELECTED PARTIES***LETTER RESPONSE in Opposition to Motion
                               addressed to Magistrate Judge Sarah Netburn from Jorge G. Tenreiro dated August 17,
                               2021 re: 289 LETTER MOTION for Conference re: SEC privilege assertions
                               addressed to Magistrate Judge Sarah Netburn from Matthew C. Solomon dated August
                               10, 2021. . Document filed by Securities and Exchange Commission, Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit B, # 2
                               Exhibit F, # 3 Exhibit G, # 4 Exhibit H)Motion or Order to File Under Seal: 53
                               .(Tenreiro, Jorge) (Entered: 08/17/2021)
              08/17/2021   300 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Jorge G. Tenreiro dated August 17, 2021 re: 290 LETTER MOTION for
                               Conference re: SEC privilege assertions [REDACTED] addressed to Magistrate Judge
                               Sarah Netburn from Matthew C. Solomon dated August 10, 2021. . Document filed by
                               Securities and Exchange Commission. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                               Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit
                               H).(Tenreiro, Jorge) (Entered: 08/17/2021)
              08/17/2021   301 LETTER MOTION to Seal certain exhibits in D.E. 290 & D.E. 299 addressed to
                               Magistrate Judge Sarah Netburn from Jorge G. Tenreiro dated August 17, 2021.
                               Document filed by Securities and Exchange Commission..(Tenreiro, Jorge) (Entered:
                               08/17/2021)
              08/19/2021   302 ***SELECTED PARTIES***LETTER REPLY to Response to Motion addressed to
                               Magistrate Judge Sarah Netburn from Jorge G. Tenreiro dated August 19, 2021 re: 282
                               EMERGENCY LETTER MOTION for Local Rule 37.2 Conference re Slack
                               communications addressed to Magistrate Judge Sarah Netburn from Jorge G Tenreiro
                               dated August 9, 2021. . Document filed by Securities and Exchange Commission,
                               Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1
                               Exhibit A)Motion or Order to File Under Seal: 53 .(Tenreiro, Jorge) (Entered:
                               08/19/2021)
              08/19/2021   303 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Jorge G. Tenreiro dated August 19, 2021 re: 283 EMERGENCY LETTER
                               MOTION for Local Rule 37.2 Conference re Slack communications addressed to
                               Magistrate Judge Sarah Netburn from Jorge G Tenreiro dated August 9, 2021. .
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Exhibit A
                               to SEC Motion − Unredacted, # 2 Exhibit B to SEC Motion − Unredacted, # 3 Exhibit
                               A to SEC Reply).(Tenreiro, Jorge) (Entered: 08/19/2021)
              08/19/2021   304 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Mark R. Sylvester dated August 19, 2021 re: 298 LETTER MOTION to
                               Seal addressed to Magistrate Judge Sarah Netburn from Andrew J. Ceresney dated
                               August 16, 2021. . Document filed by Securities and Exchange
                               Commission..(Sylvester, Mark) (Entered: 08/19/2021)
              08/20/2021   305 LETTER MOTION for Leave to File Sur−Reply in Opposition to Emergency Letter
                               Motion for Local Rule 37.2 Conference re Slack communications re ECF 282, 283,
                               296, 302 & 303 addressed to Magistrate Judge Sarah Netburn from Andrew J.
                               Ceresney dated August 20, 2021. Document filed by Ripple Labs Inc.. (Attachments: #
                               1 Exhibit Proposed Sur−Reply (redacted)).(Ceresney, Andrew) (Entered: 08/20/2021)
              08/20/2021   306 ***SELECTED PARTIES*** LETTER MOTION for Leave to File proposed
                               sur−reply to the SEC's reply in support of its letter−motion seeking an order to compel
                               Ripple to search for and produce additional Slack communications re ECF 282, 283,
                               296, 302 & 303 addressed to Magistrate Judge Sarah Netburn from Andrew J.
                               Ceresney dated August 20, 2021. Document filed by Ripple Labs Inc., Bradley
                               Garlinghouse, Christian A. Larsen, Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit Proposed Sur−Reply)Motion or Order to File Under Seal:
                               53 .(Ceresney, Andrew) (Entered: 08/20/2021)
              08/23/2021   307 ORDER granting 306 Letter Motion for Leave to File Document. Defendant Ripples
                               sur−reply shall be filed no later than August 24, 2021. (HEREBY ORDERED by
                               Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered:
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                                 08/23/2021)
              08/23/2021   308 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Matthew C. Solomon dated August 23, 2021 re: 289 LETTER MOTION for
                               Conference re: SEC privilege assertions addressed to Magistrate Judge Sarah Netburn
                               from Matthew C. Solomon dated August 10, 2021. . Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Solomon, Matthew) (Entered:
                               08/23/2021)
              08/23/2021   309 ***SELECTED PARTIES***LETTER RESPONSE in Opposition to Motion
                               addressed to Magistrate Judge Sarah Netburn from Andrew J. Ceresney dated August
                               23, 2021 re: 282 EMERGENCY LETTER MOTION for Local Rule 37.2 Conference
                               re Slack communications addressed to Magistrate Judge Sarah Netburn from Jorge G
                               Tenreiro dated August 9, 2021. [SUR−REPLY IN OPPOSITION TO EMERGENCY
                               LETTER MOTION]. Document filed by Ripple Labs Inc., Bradley Garlinghouse,
                               Christian A. Larsen, Securities and Exchange Commission. Motion or Order to File
                               Under Seal: 53 .(Ceresney, Andrew) (Entered: 08/23/2021)
              08/23/2021   310 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Andrew J. Ceresney dated August 23, 2021 re: 283 EMERGENCY
                               LETTER MOTION for Local Rule 37.2 Conference re Slack communications
                               addressed to Magistrate Judge Sarah Netburn from Jorge G Tenreiro dated August 9,
                               2021. [SUR−REPLY IN OPPOSITION TO EMERGENCY LETTER MOTION].
                               Document filed by Ripple Labs Inc...(Ceresney, Andrew) (Entered: 08/23/2021)
              08/24/2021   311 ORDER: A telephonic conference is scheduled for Tuesday, August 31, 2021, at 12:00
                               p.m. to discuss the Defendants' pending motion to compel the SEC to produce certain
                               documents it designated as privileged. ECF No. 289. The Court will contact the parties
                               to establish a conference line and will post a public dial−in number before the
                               conference. (Telephone Conference set for 8/31/2021 at 12:00 PM before Magistrate
                               Judge Sarah Netburn.) (Signed by Magistrate Judge Sarah Netburn on 8/24/2021) (ras)
                               (Entered: 08/24/2021)
              08/24/2021   312 JOINT LETTER MOTION for Extension of Time to Complete Expert Discovery &
                               Other Matters addressed to Judge Analisa Torres from Parties dated August 24, 2021.
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Text of
                               Proposed Order).(Tenreiro, Jorge) (Entered: 08/24/2021)
              08/26/2021   313 ORDER granting 312 Letter Motion for Extension of Time. The parties' request is
                               GRANTED. The parties may conduct the depositions of Defendants Garlinghouse and
                               Larsen after the close of the August 31, 2021 fact discovery deadline. The deadline to
                               conduct expert discovery is extended to November 12, 2021. The deadline for the
                               parties to exchange their respective Statements of Material Facts pursuant to Local
                               Civil Rule 56.1 and their pre−motion letters regarding motions for summary judgment
                               is adjourned sine die pending resolution of the motions to dismiss and strike.
                               (HEREBY ORDERED by Magistrate Judge Sarah Netburn) (Text Only Order) (ras)
                               (Entered: 08/26/2021)
              08/27/2021   314 LETTER MOTION to Compel Preclearance Trading Documents addressed to
                               Magistrate Judge Sarah Netburn from Lisa Zornberg dated August 27, 2021.
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit A (Jan. 2018 SEC Ethics Guidance Regarding Digital
                               Assets), # 2 Exhibit B (Aug. 11, 2021 E−mail from L. Stewart to M. Hirsch), # 3
                               Exhibit C (Defendants Second RFP to the SEC), # 4 Exhibit D (Aug. 20, 2021 E−mail
                               from L. Zornberg to J. Tenreiro)).(Zornberg, Lisa) (Entered: 08/27/2021)
              08/27/2021   315 ORDER re 314 Motion to Compel. The SEC may respond to Defendants' letter motion
                               no later than September 3, 2021. (HEREBY ORDERED by Magistrate Judge Sarah
                               Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 08/27/2021)
              08/28/2021   316 ORDER granting 298 Letter Motion to Seal. As set forth in Defendant Ripple's motion
                               to seal, the following documents may be filed under seal: (i) certain redacted portions
                               of the SEC's August 9, 2021 letter−motion to compel certain Slack discovery (ECF
                               No. 282); (ii) certain of the exhibits the SEC filed under seal in support thereof (ECF
                               Nos. 282−1282−10); (iii) the redacted portions of Ripple's August 16, 2021 letter in
                               response to the SEC Letter−Motion (ECF No. 296); and (iv) the seven exhibits filed
                               under seal in support thereof (ECF Nos. 296−2296−8). The motion is granted on an
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                                 interim basis, and the Court may reconsider its ruling when it considers the merits of
                                 the underlying motion. (HEREBY ORDERED by Magistrate Judge Sarah
                                 Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 08/28/2021)
              08/28/2021   317 ORDER granting 301 Letter Motion to Seal. The Privilege Logs, the Amended
                               Privilege Logs, and the highlighted portions of Director Hinman's deposition transcript
                               may be filed under seal subject to further reconsideration by the Court when it
                               considers the merits of the underlying motion. (HEREBY ORDERED by Magistrate
                               Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 08/28/2021)
              08/30/2021   318 ORDER: A telephonic conference is scheduled for Tuesday, August 31, 2021, at 12:00
                               p.m. to discuss the Defendants' pending motion to compel the SEC to produce certain
                               documents it designated as privileged. ECF No. 289. Members of the public may listen
                               to the proceedings at the following numbers: USA: (844) 867−6163, International:
                               (409) 207−6969, Access Code: 9453921#. Unauthorized recording and rebroadcasting
                               of the conference (e.g., YouTube, Twitch, audio−only streams, etc.) is strictly
                               prohibited. Any unauthorized recordings will be investigated, and anyone found to
                               engage in such behaviors may be subject to criminal sanctions. (Signed by Magistrate
                               Judge Sarah Netburn on 8/30/2021) (ras) (Entered: 08/30/2021)
              08/30/2021   319 ***SELECTED PARTIES*** LETTER MOTION for Local Rule 37.2 Conference
                               addressed to Magistrate Judge Sarah Netburn from Securities and Exchange
                               Commission dated August 30, 2021. Document filed by Securities and Exchange
                               Commission, Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit EX E O'Gorman Dep. Tr., # 2 Exhibit EX F Zagone Dep.
                               Tr., # 3 Exhibit EX G Schwartz Dep. Tr., # 4 Exhibit EX H Vias Dep. Tr.)Motion or
                               Order to File Under Seal: 53 .(Guerrier, Pascale) (Entered: 08/30/2021)
              08/30/2021   320 LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate Judge
                               Sarah Netburn from Securities and Exchange Commission dated August 30, 2021.
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Exhibit
                               EX A Guerrier Email 8.26.21, # 2 Exhibit EX B Guo Email 8.12.21, # 3 Exhibit EX C
                               Waxman Email 7.7.21, # 4 Exhibit EX D Guo Email 7.12.21, # 5 Exhibit EX E
                               O'Gorman Dep. Tr., # 6 Exhibit EX F Zagone Dep. Tr., # 7 Exhibit EX G Schwartz
                               Dep. Tr., # 8 Exhibit EX H Vias Dep. Tr., # 9 Exhibit EX I Waxman Email 8.8.21, #
                               10 Exhibit EX J Gulay Email 8.10.21, # 11 Exhibit EX K Tenreiro Email 8.13.21, # 12
                               Exhibit EX L Gulay Email 8.23.21, # 13 Exhibit EX M Gulay Email
                               8.30.21).(Guerrier, Pascale) (Entered: 08/30/2021)
              08/31/2021   321 LETTER MOTION for Extension of Time to File Response/Reply as to 319 LETTER
                               MOTION for Local Rule 37.2 Conference addressed to Magistrate Judge Sarah
                               Netburn from Securities and Exchange Commission dated August 30, 2021. addressed
                               to Magistrate Judge Sarah Netburn from Andrew J. Ceresney dated August 31, 2021.
                               Document filed by Ripple Labs Inc...(Ceresney, Andrew) (Entered: 08/31/2021)
              08/31/2021   322 ORDER granting 321 LETTER MOTION for Extension of Time to File
                               Response/Reply as to 319 LETTER MOTION for Local Rule 37.2 Conference
                               addressed to Magistrate Judge Sarah Netburn from Securities and Exchange
                               Commission dated August 30, 2021. Defendant Ripple's request is GRANTED.
                               Defendant may respond to the SEC's letter motion and file an associated motion to
                               seal, if any, no later than September 7, 2021. (HEREBY ORDERED by Magistrate
                               Judge Sarah Netburn) (Text Only Order) (ras) (Entered: 08/31/2021)
              08/31/2021   323 CONSENT LETTER MOTION for Leave to File Excess Pages addressed to
                               Magistrate Judge Sarah Netburn from Michael K. Kellogg dated August 31, 2021.
                               Document filed by Christian A. Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered:
                               08/31/2021)
              08/31/2021   324 MOTION for Lilya Tessler to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                               number ANYSDC−25005680. Motion and supporting papers to be reviewed by
                               Clerk's Office staff. Document filed by Chamber of Digital Commerce..(Tessler,
                               Lilya) (Entered: 08/31/2021)
              08/31/2021   325 ORDER granting 323 Letter Motion for Leave to File Excess Pages. Defendants'
                               request is GRANTED. Defendants may file a combined letter of 7 pages or fewer. The
                               SEC's response, if any, may not exceed 7 pages. (HEREBY ORDERED by Magistrate
                               Judge Sarah Netburn) (Text Only Order) (ras) (Entered: 08/31/2021)
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              08/31/2021        Minute Entry for proceedings held before Magistrate Judge Sarah Netburn: Telephone
                                Conference held on 8/31/2021. Court Reporter present. (ras) (Entered: 08/31/2021)
              08/31/2021   326 LETTER MOTION to Compel Interrogatory Responses addressed to Magistrate Judge
                               Sarah Netburn from Michael K. Kellogg dated August 31, 2021. Document filed by
                               Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                               Exhibit C, # 4 Exhibit D).(Kellogg, Michael) (Entered: 08/31/2021)
              09/01/2021        >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                No. 324 MOTION for Lilya Tessler to Appear Pro Hac Vice . Filing fee $ 200.00,
                                receipt number ANYSDC−25005680. Motion and supporting papers to be
                                reviewed by Clerk's Office staff.. The document has been reviewed and there are
                                no deficiencies. (wb) (Entered: 09/01/2021)
              09/01/2021   327 ORDER granting 283 Letter Motion. The Slack messages sought are relevant to the
                               parties' claims and defenses and proportional to the needs of the case. Any burden to
                               Ripple is outweighed by its previous agreement to produce the relevant Slack
                               messages, the relative resources of the parties, and the amount in controversy.
                               Accordingly, Ripple is ordered to search and produce responsive documents from the
                               Slack platform from the 22 custodians identified by the SEC. The Clerk of Court is
                               respectfully requested to terminate the motion at ECF No. 282. (HEREBY ORDERED
                               by Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered:
                               09/01/2021)
              09/01/2021   328 ORDER denying 324 Motion for Lilya Tessler to Appear Pro Hac Vice. The attorney
                               does not represent a party or a movant in the case. The Clerk of Court is directed to
                               strike The Chamber of Digital Commerce from the docket pending a proper motion for
                               leave to file an amicus brief. (HEREBY ORDERED by Magistrate Judge Sarah
                               Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 09/01/2021)
              09/01/2021   329 LETTER MOTION for Extension of Time re Defendants' Letter Motion for a Rule
                               37.2 Conference (D.E. 326) addressed to Magistrate Judge Sarah Netburn from Mark
                               R. Sylvester dated September 1, 2021. Document filed by Securities and Exchange
                               Commission..(Sylvester, Mark) (Entered: 09/01/2021)
              09/03/2021   330 ORDER granting 329 Letter Motion for Extension of Time. The SEC may respond to
                               Defendants' letter motion no later than September 8, 2021. (HEREBY ORDERED by
                               Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered:
                               09/03/2021)
              09/03/2021   331 LETTER MOTION for Extension of Time to File Response/Reply addressed to
                               Magistrate Judge Sarah Netburn from Michael K. Kellogg dated September 3, 2021.
                               Document filed by Christian A. Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered:
                               09/03/2021)
              09/03/2021   332 MOTION for Joy Guo to Withdraw as Attorney . Document filed by Ripple Labs Inc..
                               (Attachments: # 1 Declaration of Joy Guo in Support of Motion to Withdraw, # 2 Text
                               of Proposed Order).(Guo, Joy) (Entered: 09/03/2021)
              09/03/2021   333 NOTICE OF APPEARANCE by Erol Nazim Gulay on behalf of Ripple Labs
                               Inc...(Gulay, Erol) (Entered: 09/03/2021)
              09/03/2021   334 NOTICE OF APPEARANCE by Anna Rebecca Gressel on behalf of Ripple Labs
                               Inc...(Gressel, Anna) (Entered: 09/03/2021)
              09/03/2021   335 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Securities and Exchange Commission dated September 3, 2021 re: 314
                               LETTER MOTION to Compel Preclearance Trading Documents addressed to
                               Magistrate Judge Sarah Netburn from Lisa Zornberg dated August 27, 2021. .
                               Document filed by Securities and Exchange Commission..(Guerrier, Pascale) (Entered:
                               09/03/2021)
              09/07/2021   336 ORDER granting 332 Motion to Withdraw as Attorney. Attorney Joy Guo terminated.
                               (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order)
                               (Netburn, Sarah) (Entered: 09/07/2021)
              09/07/2021   337 ORDER granting 331 Letter Motion for Extension of Time to File Response/Reply.
                               Defendants Ripple and Larsen may reply to the SEC's response to ECF No. 326 no
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                                later than September 15, 2021. (HEREBY ORDERED by Magistrate Judge Sarah
                                Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 09/07/2021)
              09/07/2021   338 FILING ERROR − DEFICIENT DOCKET ENTRY (SEE DOCUMENT #339) −
                               ***SELECTED PARTIES*** LETTER addressed to Magistrate Judge Sarah Netburn
                               from Andrew J. Ceresney dated September 7, 2021 re: Opposition to Letter−Motion to
                               Compel Production of Recordings. Document filed by Ripple Labs Inc.. (Attachments:
                               # 1 Exhibit Ex. A: SECs First RFPs to Ripple, # 2 Exhibit Ex C: M. Vias Deposition
                               Transcript (SEALED), # 3 Exhibit Ex. D : R. Zagone Deposition Transcript
                               (SEALED), # 4 Exhibit Ex. E : Produced Email (SEALED), # 5 Exhibit Ex. F:
                               Produced Email (SEALED), # 6 Exhibit Ex. J: March 26, 2021 Meet and Confer Letter
                               (SEALED), # 7 Exhibit Ex D.: Waxman Email dated April 23, 2021., # 8 Exhibit Ex.
                               L: May 13, 2021 Meet and Confer Letter (SEALED))Motion or Order to File Under
                               Seal: 53 .(Ceresney, Andrew) Modified on 9/8/2021 (ldi). (Entered: 09/07/2021)
              09/07/2021   339 ***SELECTED PARTIES*** LETTER addressed to Magistrate Judge Sarah Netburn
                               from Andrew J. Ceresney dated September 7, 2021 re: Opposition to Letter−Motion to
                               Compel Production of Recordings. Document filed by Christian A. Larsen, Bradley
                               Garlinghouse, Ripple Labs Inc., Securities and Exchange Commission. (Attachments:
                               # 1 Exhibit Ex. A: SECs First RFPs to Ripple (SEALED), # 2 Exhibit Ex C: M. Vias
                               Deposition Transcript (SEALED), # 3 Exhibit Ex. D : R. Zagone Deposition
                               Transcript (SEALED), # 4 Exhibit Ex. E : Produced Email (SEALED), # 5 Exhibit Ex.
                               F: Produced Email (SEALED), # 6 Exhibit Ex. J: March 26, 2021 Meet and Confer
                               Letter (SEALED), # 7 Exhibit Ex. K: D Waxman Email, Apr 23, 2021 (SEALED), # 8
                               Exhibit Ex. L: May 13, 2021 Meet and Confer Letter (SEALED))Motion or Order to
                               File Under Seal: 53 .(Ceresney, Andrew) (Entered: 09/07/2021)
              09/07/2021   340 LETTER addressed to Magistrate Judge Sarah Netburn from Andrew J. Ceresney
                               dated September 7, 2021 re: Opposition to Letter−Motion to Compel Production of
                               Recordings. Document filed by Ripple Labs Inc.. (Attachments: # 1 Exhibit Ex A:
                               SECs First RFPs to Ripple (REDACTED), # 2 Exhibit Ex. B: Ripples Responses and
                               Objections to SECs First RFPs, # 3 Exhibit Ex C: M. Vias Deposition Transcript
                               (SEALED), # 4 Exhibit Ex. D : R. Zagone Deposition Transcript (SEALED), # 5
                               Exhibit Ex. E : Produced Email (SEALED), # 6 Exhibit Ex. F: Produced Email
                               (SEALED), # 7 Exhibit Ex. G: J Tenreiro Email, Aug. 10, 2021, # 8 Exhibit Ex. H: E
                               Gulay Email, Aug. 17, 2021, # 9 Exhibit Ex. I: E Gulay Email, Aug 20, 2021, # 10
                               Exhibit Ex. J: March 26, 2021 Meet and Confer Letter (REDACTED), # 11 Exhibit
                               Ex. K: D Waxman Email, Apr 23, 2021 (REDACTED), # 12 Exhibit Ex. L: May 13,
                               2021 Meet and Confer Letter (REDACTED)).(Ceresney, Andrew) (Entered:
                               09/07/2021)
              09/07/2021   341 LETTER addressed to Magistrate Judge Sarah Netburn from Lisa Zornberg dated
                               September 7, 2021 re: Reply in Further Support of Motion to Compel Preclearance
                               Trading. Document filed by Ripple Labs Inc.. (Attachments: # 1 Exhibit [Note: under
                               seal] Exhibit A − 2014 OEC Guidance).(Zornberg, Lisa) (Entered: 09/07/2021)
              09/07/2021   342 ***SELECTED PARTIES*** LETTER addressed to Magistrate Judge Sarah Netburn
                               from Lisa Zornberg dated September 7, 2021 re: Reply in Further Support of Motion
                               to Compel Preclearance Trading. Document filed by Christian A. Larsen, Bradley
                               Garlinghouse, Ripple Labs Inc., Securities and Exchange Commission. (Attachments:
                               # 1 Exhibit [Note: under seal] Exhibit A − 2014 OEC Guidance)Motion or Order to
                               File Under Seal: 53 .(Zornberg, Lisa) (Entered: 09/07/2021)
              09/07/2021   343 LETTER MOTION to Seal addressed to Magistrate Judge Sarah Netburn from
                               Andrew J. Ceresney dated September 7, 2021. Document filed by Ripple Labs
                               Inc...(Ceresney, Andrew) (Entered: 09/07/2021)
              09/08/2021   344 ***SELECTED PARTIES***LETTER RESPONSE in Opposition to Motion
                               addressed to Magistrate Judge Sarah Netburn from Mark R. Sylvester dated September
                               8, 2021 re: 326 LETTER MOTION to Compel Interrogatory Responses addressed to
                               Magistrate Judge Sarah Netburn from Michael K. Kellogg dated August 31, 2021. .
                               Document filed by Securities and Exchange Commission, Bradley Garlinghouse,
                               Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit Exhibit B, # 2 Exhibit
                               Exhibit C)Motion or Order to File Under Seal: 53 .(Sylvester, Mark) (Entered:
                               09/08/2021)
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              09/08/2021   345 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Mark R. Sylvester dated September 8, 2021 re: 326 LETTER MOTION
                               to Compel Interrogatory Responses addressed to Magistrate Judge Sarah Netburn from
                               Michael K. Kellogg dated August 31, 2021. . Document filed by Securities and
                               Exchange Commission. (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B, #
                               3 Exhibit Exhibit C, # 4 Exhibit Exhibit D).(Sylvester, Mark) (Entered: 09/08/2021)
              09/10/2021   346 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Securities and Exchange Commission dated September 10, 2021 re: 320
                               LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate Judge
                               Sarah Netburn from Securities and Exchange Commission dated August 30, 2021.,
                               319 LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate
                               Judge Sarah Netburn from Securities and Exchange Commission dated August 30,
                               2021. . Document filed by Securities and Exchange Commission..(Guerrier, Pascale)
                               (Entered: 09/10/2021)
              09/10/2021   347 ORDER granting 343 Letter Motion to Seal. As set forth in Defendant Ripple's motion
                               to seal, the following documents may be filed under seal: (i) certain redacted portions
                               of the SEC's August 30, 2021 letter−motion to compel certain recordings of internal
                               Ripple meetings (ECF No. 319); (ii) certain of the exhibits the SEC filed under seal in
                               support thereof (ECF Nos. 319−1319−4); (iii) the redacted portions of Ripple's
                               September 7, 2021 letter in response to the SEC Letter−Motion (ECF No. 339); and
                               (iv) the exhibits filed under seal in support thereof (ECF Nos. 339−1339−8). The
                               motion is granted on an interim basis, and the Court may reconsider its ruling when it
                               considers the merits of the underlying motion. (HEREBY ORDERED by Magistrate
                               Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 09/10/2021)
              09/10/2021   348 ORDER denying as moot 320 Letter Motion for Local Rule 37.2 Conference. In light
                               of the SEC's letter at ECF No. 346, this application is denied as moot. The Clerk of
                               Court is respectfully requested to terminate the parallel motion at ECF No. 319.
                               (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order)
                               (Netburn, Sarah) (Entered: 09/10/2021)
              09/10/2021   349 ***SELECTED PARTIES***LETTER RESPONSE in Opposition to Motion
                               addressed to Magistrate Judge Sarah Netburn from Securities and Exchange
                               Commission dated September 10, 2021 re: 343 LETTER MOTION to Seal addressed
                               to Magistrate Judge Sarah Netburn from Andrew J. Ceresney dated September 7, 2021.
                               . Document filed by Securities and Exchange Commission, Bradley Garlinghouse,
                               Christian A. Larsen, Ripple Labs Inc.. Motion or Order to File Under Seal: 53
                               .(Guerrier, Pascale) (Entered: 09/10/2021)
              09/10/2021   350 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Securities and Exchange Commission dated September 10, 2021 re: 343
                               LETTER MOTION to Seal addressed to Magistrate Judge Sarah Netburn from
                               Andrew J. Ceresney dated September 7, 2021. . Document filed by Securities and
                               Exchange Commission..(Guerrier, Pascale) (Entered: 09/10/2021)
              09/14/2021   351 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Ladan F. Stewart dated September 14, 2021 re: 289 LETTER MOTION
                               for Conference re: SEC privilege assertions addressed to Magistrate Judge Sarah
                               Netburn from Matthew C. Solomon dated August 10, 2021. . Document filed by
                               Securities and Exchange Commission. (Attachments: # 1 Exhibit A, # 2 Exhibit
                               B).(Stewart, Ladan) (Entered: 09/14/2021)
              09/15/2021   352 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Michael K. Kellogg dated September 15, 2021 re: 326 LETTER MOTION to
                               Compel Interrogatory Responses addressed to Magistrate Judge Sarah Netburn from
                               Michael K. Kellogg dated August 31, 2021. . Document filed by Christian A. Larsen,
                               Ripple Labs Inc...(Kellogg, Michael) (Entered: 09/15/2021)
              09/16/2021   353 LETTER MOTION to Seal addressed to Magistrate Judge Sarah Netburn from
                               Michael K. Kellogg dated September 16, 2021. Document filed by Ripple Labs Inc..
                               (Attachments: # 1 Exhibit 1, # 2 Exhibit 2).(Kellogg, Michael) (Entered: 09/16/2021)
              09/21/2021   354 ORDER: Defendants' request for documents reflecting the SEC's trading preclearance
                               decisions with respect to SEC employees' transactions in bitcoin, ether, or XRP, and
                               annual certifications concerning SEC employees' XRP holdings is DENIED. The SEC
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                                 is directed to provide Defendants any documentation supporting SEC counsel's
                                 statement during the August 25, 2021 meet and confer that, after the formal order of
                                 investigation was issued as to Ripple on March 9, 2019, SEC employees could no
                                 longer trade XRP. (Signed by Magistrate Judge Sarah Netburn on 9/21/2021) (ras)
                                 (Entered: 09/21/2021)
              09/21/2021   355 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Securities and Exchange Commission dated September 21, 2021 re: 353
                               LETTER MOTION to Seal addressed to Magistrate Judge Sarah Netburn from
                               Michael K. Kellogg dated September 16, 2021. . Document filed by Securities and
                               Exchange Commission..(Guerrier, Pascale) (Entered: 09/21/2021)
              09/22/2021   356 LETTER MOTION for Extension of Time re Motion to Seal addressed to Magistrate
                               Judge Sarah Netburn from Mark R. Sylvester dated September 22, 2021. Document
                               filed by Securities and Exchange Commission..(Sylvester, Mark) (Entered:
                               09/22/2021)
              09/23/2021   357 ORDER granting 356 Letter Motion for Extension of Time. The SEC may file its
                               motion to seal no later than September 24, 2021. (HEREBY ORDERED by Magistrate
                               Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 09/23/2021)
              09/24/2021   358 LETTER addressed to Magistrate Judge Sarah Netburn from Matthew C. Solomon
                               dated September 24, 2021 Document filed by Bradley Garlinghouse..(Solomon,
                               Matthew) (Entered: 09/24/2021)
              09/24/2021   359 LETTER MOTION to Seal Exhibit addressed to Magistrate Judge Sarah Netburn from
                               Mark R. Sylvester dated September 24, 2021. Document filed by Securities and
                               Exchange Commission. (Attachments: # 1 Exhibit Exhibit A).(Sylvester, Mark)
                               (Entered: 09/24/2021)
              09/27/2021   360 ORDER granting 353 Letter Motion to Seal. As set forth in Defendant Ripple's motion
                               to seal, the following documents may be filed under seal: certain exhibits the SEC filed
                               under seal in support of its opposition to Defendants' motion to compel interrogatory
                               responses (ECF Nos. 344−1, 344−2). The motion is granted on an interim basis, and
                               the Court may reconsider its ruling when it considers the merits of the underlying
                               motion. (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order)
                               (Netburn, Sarah) (Entered: 09/27/2021)
              09/27/2021   361 ORDER granting 359 Letter Motion to Seal. As set forth in the SEC's motion to seal,
                               the following documents may be filed under seal: portions of Exhibit C to the SEC's
                               letter opposing Defendants' motion to compel interrogatory responses (ECF No.
                               344−2). The motion is granted on an interim basis, and the Court may reconsider its
                               ruling when it considers the merits of the underlying motion. (HEREBY ORDERED
                               by Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered:
                               09/27/2021)
              09/27/2021   362 LETTER addressed to Magistrate Judge Sarah Netburn from Ladan F. Stewart dated
                               September 27, 2021 re: Response to September 24, 2021 Letter from Matthew C.
                               Solomon. Document filed by Securities and Exchange Commission..(Stewart, Ladan)
                               (Entered: 09/27/2021)
              09/28/2021   363 FILING ERROR − DEFICIENT DOCKET ENTRY (SEE DOCUMENT #364) −
                               LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Matthew C. Solomon dated September 28, 2021 re: 289 LETTER MOTION for
                               Conference re: SEC privilege assertions addressed to Magistrate Judge Sarah Netburn
                               from Matthew C. Solomon dated August 10, 2021. . Document filed by Bradley
                               Garlinghouse. (Attachments: # 1 Appendix A − Summary Chart of Documents
                               Submitted by SEC for In Camera Review).(Solomon, Matthew) Modified on
                               9/29/2021 (ldi). (Entered: 09/28/2021)
              09/28/2021   364 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Matthew C. Solomon dated September 28, 2021 re: 289 LETTER MOTION for
                               Conference re: SEC privilege assertions addressed to Magistrate Judge Sarah Netburn
                               from Matthew C. Solomon dated August 10, 2021. . Document filed by Bradley
                               Garlinghouse. (Attachments: # 1 Appendix A − Summary Chart of Documents
                               Submitted by SEC for In Camera Review).(Solomon, Matthew) (Entered: 09/28/2021)
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              09/29/2021   365 TRANSCRIPT of Proceedings re: CONFERENCE held on 8/31/2021 before
                               Magistrate Judge Sarah Netburn. Court Reporter/Transcriber: Andrew Walker, (212)
                               805−0300. Transcript may be viewed at the court public terminal or purchased through
                               the Court Reporter/Transcriber before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Redaction Request due
                               10/20/2021. Redacted Transcript Deadline set for 11/1/2021. Release of Transcript
                               Restriction set for 12/28/2021..(Moya, Goretti) (Entered: 09/29/2021)
              09/29/2021   366 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                               official transcript of a CONFERENCE proceeding held on 8/31/21 has been filed by
                               the court reporter/transcriber in the above−captioned matter. The parties have seven
                               (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
                               transcript. If no such Notice is filed, the transcript may be made remotely
                               electronically available to the public without redaction after 90 calendar days....(Moya,
                               Goretti) (Entered: 09/29/2021)
              09/30/2021   367 LETTER MOTION for Conference to Seek a Protective Order against Excessive
                               Requests for Admission addressed to Magistrate Judge Sarah Netburn from Robert
                               Moye dated September 30, 2021. Document filed by Securities and Exchange
                               Commission..(Moye, Robert) (Entered: 09/30/2021)
              10/01/2021   368 LETTER MOTION for Extension of Time to File Response/Reply addressed to
                               Magistrate Judge Sarah Netburn from Michael K. Kellogg dated October 1, 2021.
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Kellogg, Michael) (Entered: 10/01/2021)
              10/01/2021   369 ***SELECTED PARTIES*** LETTER MOTION for Local Rule 37.2 Conference
                               addressed to Magistrate Judge Sarah Netburn from Securities and Exchange
                               Commission dated October 1, 2021. Document filed by Securities and Exchange
                               Commission, Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit Ex. A Guerrier Email Sept. 8, 2021, # 2 Exhibit Ex. F
                               Garlinghouse Tr. Dec. 12, 2017, # 3 Exhibit Ex. G Kanaan Tr. April 10, 2018, # 4
                               Exhibit Ex. H Beard Tr. Oct. 4, 2018, # 5 Exhibit Ex. I Will Tr. Dec. 11, 2017, # 6
                               Exhibit Ex. J Garlinghouse Tr. Oct. 4, 2016, # 7 Exhibit Ex. K Garlinghouse Tr. Dec.
                               14, 2017, # 8 Exhibit Ex. L Garlinghouse Tr. July 10, 2018, # 9 Exhibit Ex. M
                               Garlinghouse Dep. Tr.)Motion or Order to File Under Seal: 53 .(Guerrier, Pascale)
                               (Entered: 10/01/2021)
              10/01/2021   370 LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate Judge
                               Sarah Netburn from Securities and Exchange Commission dated October 1, 2021.
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Exhibit
                               Ex. A Filed Under Seal, # 2 Exhibit Ex. B Gulay Email Sept. 9, 2021, # 3 Exhibit Ex.
                               C Waxman Email Sept. 9, 2021, # 4 Exhibit Ex. D Gulay Email Sept. 9, 2021, # 5
                               Exhibit Ex. E Gulay Email Sept. 9, 2021, # 6 Exhibit Ex. F Filed Under Seal, # 7
                               Exhibit Ex. G Filed Under Seal, # 8 Exhibit Ex. H Filed Under Seal, # 9 Exhibit Ex. I
                               Filed Under Seal, # 10 Exhibit Ex. J Filed Under Seal, # 11 Exhibit Ex. K Filed Under
                               Seal, # 12 Exhibit Ex. L Filed Under Seal, # 13 Exhibit Ex. M Filed Under
                               Seal).(Guerrier, Pascale) (Entered: 10/01/2021)
              10/04/2021   371 LETTER MOTION for Extension of Time to File Response/Reply as to 369 LETTER
                               MOTION for Local Rule 37.2 Conference addressed to Magistrate Judge Sarah
                               Netburn from Securities and Exchange Commission dated October 1, 2021. addressed
                               to Magistrate Judge Sarah Netburn from Andrew J. Ceresney dated October 4, 2021.
                               Document filed by Ripple Labs Inc...(Ceresney, Andrew) (Entered: 10/04/2021)
              10/04/2021   372 ORDER denying 122 Motion to Intervene. For the reasons stated above, Movants'
                               motion to intervene is DENIED. Movants shall be permitted to act as amici curiae, as
                               described in this order. The Clerk of Court is directed to terminate the motion at ECF
                               No. 122. SO ORDERED.. (Signed by Judge Analisa Torres on 10/4/2021) (kv)
                               (Entered: 10/04/2021)
              10/04/2021   373 ORDER granting 368 Letter Motion for Extension of Time to File Response/Reply
                               addressed to Magistrate Judge Sarah Netburn from Michael K. Kellogg dated October
                               1, 2021. Defendants' request is GRANTED. Defendants may respond to the SEC's
                               letter motion (ECF No. 367) no later than October 7, 2021. (Responses due by
                               10/7/2021.) (Signed by Magistrate Judge Sarah Netburn on 10/4/2021) (ras) Modified
                               on 10/4/2021 (ras). (Entered: 10/04/2021)
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              10/04/2021   374 ORDER granting 371 Letter Motion for Extension of Time to File Response/Reply as
                               to 369 LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate
                               Judge Sarah Netburn from Securities and Exchange Commission dated October 1,
                               2021. Defendant Ripple's request is GRANTED. Defendant may respond to the SEC's
                               letter motion (ECF No. 369) and file a motion to seal, if any, no later than October 8,
                               2021. (HEREBY ORDERED by Magistrate Judge Sarah Netburn) (Text Only Order)
                               (ras) (Entered: 10/04/2021)
              10/07/2021   375 LETTER addressed to Judge Analisa Torres from Mark R. Sylvester dated October 7,
                               2021 re: Supplemental Authority re Individual Defendants' Motions to Dismiss.
                               Document filed by Securities and Exchange Commission..(Sylvester, Mark) (Entered:
                               10/07/2021)
              10/07/2021   376 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Michael K. Kellogg dated October 7, 2021 re: 367 LETTER MOTION
                               for Conference to Seek a Protective Order against Excessive Requests for Admission
                               addressed to Magistrate Judge Sarah Netburn from Robert Moye dated September 30,
                               2021. . Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc.. (Attachments: # 1 Exhibit A − 09/27/2021 Email from B. Oppenheimer to R.
                               Moye, # 2 Exhibit B − Defendants' Sixth Set of Requests for Admission).(Kellogg,
                               Michael) (Entered: 10/07/2021)
              10/07/2021   377 MEMO ENDORSEMENT on re: 358 Letter filed by Bradley Garlinghouse.
                               ENDORSEMENT: Defendants' request is GRANTED. The SEC shall submit the two
                               documents related to the SEC's meetings with law firms and the email chain for in
                               camera review, along with a submission explaining its privilege assertions for each of
                               those documents, no later than October 15, 2021. The SEC shall file a redacted version
                               of its submission on the public docket. Defendants' response is due no later than
                               October 22, 2021. (Signed by Magistrate Judge Sarah Netburn on 10/7/2021) (ras)
                               (Entered: 10/08/2021)
              10/08/2021   378 ***SELECTED PARTIES***LETTER RESPONSE to Motion addressed to
                               Magistrate Judge Sarah Netburn from Andrew J. Ceresney dated 10/8/21 re: 369
                               LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate Judge
                               Sarah Netburn from Securities and Exchange Commission dated October 1, 2021. .
                               Document filed by Ripple Labs Inc., Bradley Garlinghouse, Christian A. Larsen,
                               Securities and Exchange Commission. (Attachments: # 1 Exhibit Guerrier Email Aug.
                               26, 2021, # 2 Exhibit Garlinghouse Transcript, # 3 Exhibit Ripple Transcript)Motion
                               or Order to File Under Seal: 53 .(Ceresney, Andrew) (Entered: 10/08/2021)
              10/08/2021   379 LETTER RESPONSE to Motion addressed to Magistrate Judge Sarah Netburn from
                               Andrew J. Ceresney dated 10/8/21 re: 369 LETTER MOTION for Local Rule 37.2
                               Conference addressed to Magistrate Judge Sarah Netburn from Securities and
                               Exchange Commission dated October 1, 2021. . Document filed by Ripple Labs Inc..
                               (Attachments: # 1 Exhibit A − Guerrier Email Aug. 26, 2021 (FILED UNDER SEAL),
                               # 2 Exhibit B− Guerrier Email Sept. 21, 2021, # 3 Exhibit C− Gulay Emails Sept. 9,
                               28, 2021, # 4 Exhibit D− Garlinghouse Transcript (FILED UNDER SEAL), # 5
                               Exhibit E −Ripple Transcript (FILED UNDER SEAL)).(Ceresney, Andrew) (Entered:
                               10/08/2021)
              10/08/2021   380 LETTER MOTION to Seal (i) redacted portions of the SECs 10/1/21 letter−motion to
                               compel, (ii) the exhibits the SEC filed under seal in support thereof, (iii) the redacted
                               portions of Ripples 10/8/21 letter in response to the Motion to Compel and the exhibits
                               filed under seal in support thereof addressed to Magistrate Judge Sarah Netburn from
                               Andrew J. Ceresney dated 10/8/21. Document filed by Ripple Labs Inc...(Ceresney,
                               Andrew) (Entered: 10/08/2021)
              10/12/2021   381 LETTER addressed to Judge Analisa Torres from Matthew C. Solomon and Martin
                               Flumenbaum dated October 12, 2021 re: response to the SEC's notice of supplemental
                               authority in opposition to the Individual Defendants' Motions to Dismiss (related
                               document 375 ). Document filed by Bradley Garlinghouse, Christian A.
                               Larsen..(Solomon, Matthew) (Entered: 10/12/2021)
              10/12/2021   382 ***SELECTED PARTIES***LETTER REPLY to Response to Motion addressed to
                               Magistrate Judge Sarah Netburn from Mark R. Sylvester dated October 12, 2021 re:
                               367 LETTER MOTION for Conference to Seek a Protective Order against Excessive
                               Requests for Admission addressed to Magistrate Judge Sarah Netburn from Robert
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                                 Moye dated September 30, 2021. . Document filed by Securities and Exchange
                                 Commission, Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                                 (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B)Motion or Order to File
                                 Under Seal: 53 .(Sylvester, Mark) (Entered: 10/12/2021)
              10/12/2021   383 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Mark R. Sylvester dated October 12, 2021 re: 367 LETTER MOTION for
                               Conference to Seek a Protective Order against Excessive Requests for Admission
                               addressed to Magistrate Judge Sarah Netburn from Robert Moye dated September 30,
                               2021. . Document filed by Securities and Exchange Commission. (Attachments: # 1
                               Exhibit Exhibit A, # 2 Exhibit Exhibit B).(Sylvester, Mark) (Entered: 10/12/2021)
              10/13/2021   384 ***SELECTED PARTIES***LETTER REPLY to Response to Motion addressed to
                               Magistrate Judge Sarah Netburn from Mark R. Sylvester dated October 13, 2021 re:
                               369 LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate
                               Judge Sarah Netburn from Securities and Exchange Commission dated October 1,
                               2021. . Document filed by Securities and Exchange Commission, Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit
                               Exhibit A, # 2 Exhibit Exhibit B)Motion or Order to File Under Seal: 53 .(Sylvester,
                               Mark) (Entered: 10/13/2021)
              10/13/2021   385 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Mark R. Sylvester dated October 13, 2021 re: 370 LETTER MOTION for Local
                               Rule 37.2 Conference addressed to Magistrate Judge Sarah Netburn from Securities
                               and Exchange Commission dated October 1, 2021. . Document filed by Securities and
                               Exchange Commission. (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit
                               B).(Sylvester, Mark) (Entered: 10/13/2021)
              10/14/2021   386 ***SELECTED PARTIES***LETTER RESPONSE in Opposition to Motion
                               addressed to Magistrate Judge Sarah Netburn from Securities and Exchange
                               Commission dated October 14, 2021 re: 380 LETTER MOTION to Seal (i) redacted
                               portions of the SECs 10/1/21 letter−motion to compel, (ii) the exhibits the SEC filed
                               under seal in support thereof, (iii) the redacted portions of Ripples 10/8/21 letter in
                               response to the Motion to Compel and t . Document filed by Securities and Exchange
                               Commission, Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. Motion or
                               Order to File Under Seal: 53 .(Guerrier, Pascale) (Entered: 10/14/2021)
              10/14/2021   387 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Securities and Exchange Commission dated October 14, 2021 re: 380
                               LETTER MOTION to Seal (i) redacted portions of the SECs 10/1/21 letter−motion to
                               compel, (ii) the exhibits the SEC filed under seal in support thereof, (iii) the redacted
                               portions of Ripples 10/8/21 letter in response to the Motion to Compel and t .
                               Document filed by Securities and Exchange Commission..(Guerrier, Pascale)
                               (Entered: 10/14/2021)
              10/15/2021   388 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Ladan F. Stewart dated October 15, 2021 re: 289 LETTER MOTION for
                               Conference re: SEC privilege assertions addressed to Magistrate Judge Sarah Netburn
                               from Matthew C. Solomon dated August 10, 2021. . Document filed by Securities and
                               Exchange Commission..(Stewart, Ladan) (Entered: 10/15/2021)
              10/15/2021   389 LETTER MOTION for Extension of Time to Complete Discovery re Rebuttal Report
                               Date and Expert Discovery Deadline addressed to Judge Analisa Torres from Mark R.
                               Sylvester dated October 15, 2021. Document filed by Securities and Exchange
                               Commission. (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B).(Sylvester,
                               Mark) (Entered: 10/15/2021)
              10/18/2021   390 LETTER addressed to Judge Analisa Torres from Andrew J. Ceresney dated 10/18/21
                               re: Opposing Letter Motion filed at ECF 389 for Extension of Time to Complete
                               Discovery with Respect to Rebuttal Report Date and Expert Discovery Deadline.
                               Document filed by Ripple Labs Inc.. (Attachments: # 1 Text of Proposed
                               Order).(Ceresney, Andrew) (Entered: 10/18/2021)
              10/19/2021   391 NOTICE OF CHANGE OF ADDRESS by Robin Linsenmayer on behalf of Christian
                               A. Larsen. New Address: Paul, Weiss, Rifkind, Wharton & Garrison LLP, 535
                               Mission St., 24th Fl, San Francisco, CA, USA 94105, 628−432−5117..(Linsenmayer,
                               Robin) (Entered: 10/19/2021)
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              10/19/2021   392 LETTER MOTION to File Amicus Brief addressed to Judge Analisa Torres from John
                               E. Deaton dated 10/19/2021. Document filed by Jordan Deaton, James LaMonte, Mya
                               LaMonte, Tyler LaMonte, Mitchell McKenna, Kristiana Warner..(Deaton, John)
                               (Entered: 10/19/2021)
              10/19/2021   393 ORDER granting 380 Letter Motion to Seal. As set forth in Defendant Ripple's motion
                               to seal, the following documents may be filed under seal: (i) redacted portions of the
                               SEC's October 1, 2021 letter motion to compel recordings of Ripple meetings (ECF
                               No. 369); (ii) exhibits the SEC filed under seal in support thereof (ECF No. 369−1 −
                               369−9); (iii) redacted portions of Defendant Ripple's October 8, 2021 letter in response
                               to the motion to compel (ECF No. 378); and (iv) exhibits Defendant Ripple filed under
                               seal in support thereof (ECF No. 378−1 − 378−3). The motion is granted on an interim
                               basis, and the Court may reconsider its ruling when it considers the merits of the
                               underlying motion. (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text
                               Only Order) (Netburn, Sarah) (Entered: 10/19/2021)
              10/20/2021   394 NOTICE OF CHANGE OF ADDRESS by Meredith Richardson Dearborn on behalf
                               of Christian A. Larsen. New Address: Paul, Weiss, Rifkind, Wharton & Garrison LLP,
                               535 Mission St., 24th Fl, San Francisco, California, USA 94105,
                               628−432−5100..(Dearborn, Meredith) (Entered: 10/20/2021)
              10/20/2021   395 ORDER denying 392 Letter Motion to File Amicus Brief. The XRP Holders' request
                               to submit a statement with respect to their interest in the scheduling of discovery is
                               denied. (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order)
                               (Netburn, Sarah) (Entered: 10/20/2021)
              10/20/2021   396 ORDER granting 389 Letter Motion for Extension of Time to Complete Discovery.
                               The parties agree to extend the deadline to exchange expert rebuttal reports to
                               November 12, 2021. They dispute, however, whether all expert discovery (including
                               depositions) should be completed by December 10, 2021 (giving the parties 18
                               business days to conduct depositions) or January 14, 2022 (giving the parties 36
                               business days). The parties acknowledge that there are likely at least 14 expert
                               witnesses that will be deposed. The Defendants believe these depositions can
                               reasonably be conducted within 18 business days given the resources available to the
                               SEC. They further argue that any further delay in resolving this case will cause serious
                               harm to the interests of the Defendants and XRP holders. While the Court recognizes
                               that both parties have dedicated substantial resources to prosecute this case, given the
                               pending motions to dismiss and strike, and the previous adjournment of any deadline
                               to file a motion for summary judgment, the additional time sought by the SEC will not
                               affect the schedule to resolve this case. Rather, the additional time sought by the SEC
                               will allow both sides to complete the outstanding fact discovery and properly prepare
                               for expert depositions. Accordingly, the SEC's application is GRANTED. Expert
                               discovery will be completed on January 14, 2022, with rebuttal reports exchanged by
                               November 12, 2021. (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text
                               Only Order) (Netburn, Sarah) (Entered: 10/20/2021)
              10/21/2021   397 ORDER granting in part and denying in part 326 Letter Motion to Compel; granting in
                               part and denying in part 367 Letter Motion for Conference re: 326 LETTER MOTION
                               to Compel Interrogatory Responses addressed to Magistrate Judge Sarah Netburn from
                               Michael K. Kellogg dated August 31, 2021., 367 LETTER MOTION for Conference
                               to Seek a Protective Order against Excessive Requests for Admission addressed to
                               Magistrate Judge Sarah Netburn from Robert Moye dated September 30, 2021.
                               Defendants' motion to compel is granted as to Ripple Interrogatory Nos. 2 and 11 and
                               denied without prejudice as to Larsen Interrogatory No. 5. As to the rest of the
                               interrogatories at issue, Defendants' motion is granted insofar as the SEC is ordered to
                               supplement any responses that are unverified because they incorporate or refer to
                               unverified statements, and to supplement any responses that incorporate by reference
                               its responses to other interrogatories in accordance with Rule 33(b)(3). The SEC's
                               motion for a protective order is granted as to the Sixth Set of Requests and denied as to
                               the Fourth and Fifth Sets of Requests. Unless otherwise provided in this Order, the
                               SEC must respond to these discovery demands within 45 days. The Clerk of Court is
                               respectfully requested to grant in part and deny in part the motions at ECF No. 326 and
                               367. SO ORDERED. (Signed by Magistrate Judge Sarah Netburn on 10/21/2021) (jca)
                               (Entered: 10/21/2021)
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              10/22/2021   398 LETTER MOTION to Seal addressed to Magistrate Judge Sarah Netburn from
                               Matthew C. Solomon dated October 22, 2021. Document filed by Bradley
                               Garlinghouse..(Solomon, Matthew) (Entered: 10/22/2021)
              10/22/2021   399 ***SELECTED PARTIES***LETTER REPLY to Response to Motion addressed to
                               Magistrate Judge Sarah Netburn from Matthew C. Solomon dated October 22, 2021 re:
                               289 LETTER MOTION for Conference re: SEC privilege assertions addressed to
                               Magistrate Judge Sarah Netburn from Matthew C. Solomon dated August 10, 2021. .
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc.,
                               Securities and Exchange Commission. (Attachments: # 1 Exhibit A − SEC 9/2/2021
                               Privilege Log, # 2 Exhibit B − 10/23/2018 Law Firm Memo)Motion or Order to File
                               Under Seal: 398 .(Solomon, Matthew) (Entered: 10/22/2021)
              10/22/2021   400 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Matthew C. Solomon dated October 22, 2021 re: 289 LETTER MOTION for
                               Conference re: SEC privilege assertions addressed to Magistrate Judge Sarah Netburn
                               from Matthew C. Solomon dated August 10, 2021. [REDACTED]. Document filed by
                               Bradley Garlinghouse. (Attachments: # 1 Exhibit A − SEC 9/2/2021 Privilege Log, # 2
                               Exhibit B − 10/23/2018 Law Firm Memo).(Solomon, Matthew) (Entered: 10/22/2021)
              10/28/2021   401 ORDER granting 398 Letter Motion to Seal. As set forth in Defendants' motion to seal,
                               the following documents may be filed under seal: Exhibits A and B to Defendants'
                               October 22, 2021 letter response to the SEC's October 15, 2021 filing (ECF Nos.
                               399−1, 399−2). The motion is granted on an interim basis, and the Court may
                               reconsider its ruling when it considers the merits of the underlying motion. (HEREBY
                               ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah)
                               (Entered: 10/28/2021)
              11/08/2021   402 ORDER granting 370 Letter Motion. Ripple's search of its recorded meetings has been
                               inadequate under the circumstances. While the Court recognizes that a human review
                               of the recordings may be unreasonable, a reasonable search could include automated
                               transcriptions of recordings (similar to the common technology used to transcribe
                               voicemail messages) and the use of search terms. Accordingly, Ripple is ORDERED
                               to conduct a reasonable search of the relevant video and audio−taped recordings and
                               produce responsive documents. Because Ripple represents that it has more than 4,000
                               recordings, the parties are ORDERED to meet and confer to determine whether there
                               are particular time periods when recordings are most likely to be responsive to the
                               SEC's discovery demands. For example, meetings in the weeks preceding dates of
                               significance may generate more probative material than meetings held at other times.
                               Similarly, cross−references with the calendars for the Individual Defendants or other
                               key employees may identify meetings of significance. In light of the close of
                               discovery, Ripple is order to undertake such efforts without delay. (HEREBY
                               ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah)
                               (Entered: 11/08/2021)
              12/03/2021   403 ORDER with respect to 289 Letter Motion for Conference re: 289 LETTER MOTION
                               for Conference re: SEC privilege assertions addressed to Magistrate Judge Sarah
                               Netburn from Matthew C. Solomon dated August 10, 2021. On November 29, 2021,
                               the Court of Appeals issued a decision in Nat. Res. Def. Council v. U.S. Env't Prot.
                               Agency, No. 20−cv−422, 2021 WL 5549405 (2d Cir. Nov. 29, 2021), addressing the
                               scope of the deliberative process privilege. In light of this decision, by December 8,
                               2021, the parties shall simultaneously file letter briefs no longer than three pages to
                               supplement their arguments concerning Defendants' motion to compel, ECF No. 289.
                               SO ORDERED. (Signed by Magistrate Judge Sarah Netburn on 12/3/2021) (tg)
                               (Entered: 12/03/2021)
              12/08/2021   404 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Ladan F. Stewart dated December 8, 2021 re: 289 LETTER MOTION
                               for Conference re: SEC privilege assertions addressed to Magistrate Judge Sarah
                               Netburn from Matthew C. Solomon dated August 10, 2021. . Document filed by
                               Securities and Exchange Commission. (Attachments: # 1 Exhibit A).(Stewart, Ladan)
                               (Entered: 12/08/2021)
              12/08/2021   405 LETTER addressed to Magistrate Judge Sarah Netburn from Matthew C. Solomon
                               dated December 8, 2021 re: Second Circuit's decision in NRDC v. EPA 403 .
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Solomon, Matthew) (Entered: 12/08/2021)
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              12/10/2021   406 LETTER MOTION for Extension of Time to Take One Expert Deposition on January
                               19, 2022 addressed to Judge Analisa Torres from Mark R. Sylvester dated December
                               10, 2021. Document filed by Securities and Exchange Commission. (Attachments: # 1
                               Exhibit Exhibit A − Proposed Order).(Sylvester, Mark) (Entered: 12/10/2021)
              12/13/2021   407 ORDER granting 406 Letter Motion for Extension of Time. The parties' request is
                               GRANTED. The parties may conduct one final expert deposition on January 19, 2022.
                               (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order)
                               (Netburn, Sarah) (Entered: 12/13/2021)
              01/06/2022   408 LETTER addressed to Judge Analisa Torres from Mark R. Sylvester dated January 6,
                               2022 re: Supplemental Authority re SEC's Motion to Strike Ripple's Fourth
                               Affirmative Defense. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit Exhibit A − SEC v. Fife).(Sylvester, Mark) (Entered:
                               01/06/2022)
              01/10/2022   409 LETTER addressed to Judge Analisa Torres from Michael K. Kellogg dated January
                               10, 2022 re: Response to the SEC's notice of supplemental authority (ECF No. 408).
                               Document filed by Ripple Labs Inc...(Kellogg, Michael) (Entered: 01/10/2022)
              01/12/2022   410 LETTER MOTION for Extension of Time to Complete Discovery (Agreed Motion)
                               addressed to Judge Analisa Torres from Benjamin J. Hanauer dated January 12, 2022.
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Text of
                               Proposed Order Exhibit A (proposed order)).(Hanauer, Benjamin) (Entered:
                               01/12/2022)
              01/13/2022   411 ORDER granting 410 Letter Motion for Extension of Time to Complete Discovery.
                               Expert discovery shall be completed by February 28, 2022. (HEREBY ORDERED by
                               Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered:
                               01/13/2022)
              01/13/2022   412 ORDER granting 98 Letter Motion to Seal. In light of the Court's decisions on the
                               merits of Defendants' motions at ECF Nos. 59 and 67, Defendants' motion to seal is
                               GRANTED. (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text Only
                               Order) (Netburn, Sarah) (Entered: 01/13/2022)
              01/13/2022   413 OPINION & ORDER re: 290 LETTER MOTION for Conference re: SEC privilege
                               assertions [REDACTED] addressed to Magistrate Judge Sarah Netburn from Matthew
                               C. Solomon dated August 10, 2021, filed by Bradley Garlinghouse, 289 LETTER
                               MOTION for Conference re: SEC privilege assertions addressed to Magistrate Judge
                               Sarah Netburn from Matthew C. Solomon dated August 10, 2021, filed by Bradley
                               Garlinghouse. Defendants' motion is GRANTED in part as to Parts A, C−F, H−K, N,
                               and P of Entry 1 of Appendix A, and GRANTED in full as to Entry 9 of Appendix A.
                               To the extent the SEC believes discrete portions of the notes in Entry 1 express the
                               notetakers' own thinking or reflect deliberations or communications among SEC staff,
                               the SEC may seek leave for limited redactions. Defendants' motion is otherwise
                               DENIED. The SEC is further ordered to review its privilege log and produce, in full or
                               in part, any documents previously withheld based on the privilege that would be
                               inconsistent with this order. Respectfully, the Clerk of Court is directed to grant in part
                               and deny in part the motions at ECF Nos. 289 and 290. (Signed by Magistrate Judge
                               Sarah Netburn on 1/13/2022) (ras) (Entered: 01/13/2022)
              01/14/2022   414 PROPOSED ORDER FOR WITHDRAWAL OF ATTORNEY. Document filed by
                               Christian A. Larsen..(Linsenmayer, Robin) (Entered: 01/14/2022)
              01/18/2022   415 MEMO ENDORSEMENT on re: 414 Proposed Order for Withdrawal of Attorney
                               filed by Christian A. Larsen. ENDORSEMENT: So Ordered. Attorney Robin
                               Linsenmayer terminated. (Signed by Magistrate Judge Sarah Netburn on 1/18/2022)
                               (js) (Entered: 01/18/2022)
              01/21/2022   416 LETTER MOTION for Extension of Time addressed to Magistrate Judge Sarah
                               Netburn from Ladan F. Stewart dated January 21, 2022. Document filed by Securities
                               and Exchange Commission..(Stewart, Ladan) (Entered: 01/21/2022)
              01/21/2022   417 FIRST LETTER MOTION for Extension of Time to File Objections addressed to
                               Judge Analisa Torres from Mark R. Sylvester dated January 21, 2022. Document filed
                               by Securities and Exchange Commission..(Sylvester, Mark) (Entered: 01/21/2022)
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              01/24/2022   418 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Matthew C. Solomon dated January 24, 2022 re: 416 LETTER
                               MOTION for Extension of Time addressed to Magistrate Judge Sarah Netburn from
                               Ladan F. Stewart dated January 21, 2022. . Document filed by Bradley Garlinghouse,
                               Christian A. Larsen, Ripple Labs Inc...(Solomon, Matthew) (Entered: 01/24/2022)
              01/24/2022   419 ORDER granting in part 416 Letter Motion for Extension of Time; granting in part
                               417 Letter Motion for Extension of Time. The SEC's request is granted in part. The
                               SEC may file any motion for reconsideration by February 17, 2022, and the
                               Defendants may file their response by February 25, 2022. No reply briefs are
                               permitted. Briefs shall be limited to ten pages (double−spaced) and the publicly−filed
                               versions should be minimally redacted. The SEC may submit 10 additional documents
                               for in camera review, along with its motion. The deadline for either party to file an
                               objection to District Judge Torres from the Court's January 13, 2022 Opinion & Order
                               is stayed until 14 days from a decision on the motion for reconsideration. (HEREBY
                               ORDERED by Magistrate Judge Sarah Netburn) (Text Only Order) (ras) (Entered:
                               01/24/2022)
              01/27/2022   420 LETTER addressed to Judge Analisa Torres from Mark R. Sylvester dated January 27,
                               2022 re: Supplemental Authority re SEC's Motion to Strike Ripple's Fourth
                               Affirmative Defense. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit Exhibit A).(Sylvester, Mark) (Entered: 01/27/2022)
              01/27/2022   421 LETTER addressed to Judge Analisa Torres from Michael K. Kellogg dated January
                               27, 2022 re: Response to the SEC's notice of supplemental authority (ECF No. 420).
                               Document filed by Ripple Labs Inc...(Kellogg, Michael) (Entered: 01/27/2022)
              02/03/2022   422 ORDER denying 104 Letter Motion to Seal; denying 170 Letter Motion to Seal;
                               denying 221 Letter Motion to Seal; granting 225 Letter Motion to Seal; granting 229
                               Letter Motion for Leave to File Document. For the foregoing reasons, Defendants
                               motions are GRANTED in part, and DENIED in part. Specifically, 1) Larsen's and
                               Ripple's motions to seal the Legal Memos are DENIED. By February 17, 2022, Larsen
                               and Ripple shall propose specific redactions that comply with the Court's Order. If
                               they have not done so by that date, the Court shall direct the Clerk of Court to (a)
                               unseal the legal memorandum at ECF Nos. 108−1, 130−1, and 179−1 and replace it
                               with the redacted version at ECF No. 178−1, and (b) unseal the legal memorandum at
                               ECF Nos. 108−2, 130−2, and 179−2 and replace it with the redacted version at 178−2.
                               2) Larsen's motion to seal Exhibit E is DENIED. By February 17, 2022, Larsen shall
                               submit a letter to the Court explaining why Exhibit E should be sealed and propose
                               specific redactions that comply with the Court's Order. If he has not done so by that
                               date, the Court shall direct the Clerk of Court to unseal Exhibit E at ECF No. 179−3.
                               3) Larsen's motion to file redacted versions of the Larsen Memo, Larsen Reply, and
                               SEC Opposition is DENIED. By February 17, 2022, Larsen shall propose specific
                               redactions that comply with the Court's Order. If he has not done so by that date, the
                               Court shall direct the Clerk of Court to unseal the Larsen Memo, ECF No. 106, the
                               Larsen Reply, ECF No. 222, and the SEC Opposition, ECF No. 183. 4) Ripple's
                               motion to file redacted versions of the Ripple Opposition and the SEC Memo is
                               DENIED. By February 17, 2022, Ripple shall propose specific redactions that comply
                               with the Court's Order. If it has not done so by that date, the Court shall direct the
                               Clerk of Court to unseal the Ripple Opposition, ECF No. 127, and the SEC Memo,
                               ECF No. 131. 5) Garlinghouse's motion to seal Exhibits K, L, and M is GRANTED. 6)
                               The Clerk of Court is directed to unseal the documents at ECF Nos. 172−1, 179−4, and
                               179−5. 7) Ripple's motion for leave to file a sur−reply is GRANTED. By February 9,
                               2022, Ripple shall file its sur−reply. 8) The Clerk of Court is directed to terminate the
                               motions at ECF Nos. 104, 170, 221, 225, and 229. SO ORDERED.. (Signed by Judge
                               Analisa Torres on 2/3/2022) (kv) (Entered: 02/03/2022)
              02/03/2022         Set/Reset Deadlines: Surreplies due by 2/9/2022. (kv) (Entered: 02/03/2022)
              02/09/2022   423 REPLY to Response to Motion re: 128 MOTION to Strike Document No. 51 Motion
                               to Strike Defendant Ripple Labs, Inc.'s Fourth Affirmative Defense. SUR−REPLY IN
                               OPPOSITION. Document filed by Ripple Labs Inc.. (Attachments: # 1 Exhibit
                               A).(Kellogg, Michael) (Entered: 02/09/2022)
              02/10/2022   424 LETTER MOTION for Conference re SEC Privilege Assertions addressed to
                               Magistrate Judge Sarah Netburn from Matthew C. Solomon dated February 10, 2022.
                               Document filed by Bradley Garlinghouse. (Attachments: # 1 Exhibit A 2022.01.20
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                                 SEC Privilege Log, # 2 Exhibit B 2022.01.20 Ltr. from SEC, # 3 Exhibit C 2022.01.28
                                 Ltr. from Defendants, # 4 Exhibit D 2022.02.02 Ltr. from SEC, # 5 Exhibit E
                                 2018.11.14 Email from B. Garlinghouse, # 6 Exhibit F 2021.09.20 Garlinghouse Dep.
                                 Tr., # 7 Exhibit G 2018.08.20 SEC Memo).(Solomon, Matthew) (Entered: 02/10/2022)
              02/11/2022   425 LETTER MOTION for Extension of Time to Respond to Defendant Garlinghouse's
                               Motion to Compel (D.E. 424) addressed to Magistrate Judge Sarah Netburn from Mark
                               R. Sylvester dated February 11, 2022. Document filed by Securities and Exchange
                               Commission..(Sylvester, Mark) (Entered: 02/11/2022)
              02/11/2022   426 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Matthew C. Solomon dated February 11, 2022 re: 425 LETTER
                               MOTION for Extension of Time to Respond to Defendant Garlinghouse's Motion to
                               Compel (D.E. 424) addressed to Magistrate Judge Sarah Netburn from Mark R.
                               Sylvester dated February 11, 2022. . Document filed by Bradley
                               Garlinghouse..(Solomon, Matthew) (Entered: 02/11/2022)
              02/11/2022   427 ORDER granting 425 Letter Motion for Extension of Time. The SEC shall file its
                               response to Defendants' letter motion (ECF No. 424) on February 24, 2022. At that
                               time, the SEC is further ORDERED to email to chambers the challenged "Estabrook
                               Notes" for in camera review. (HEREBY ORDERED by Magistrate Judge Sarah
                               Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 02/11/2022)
              02/17/2022   428 LETTER addressed to Judge Analisa Torres from Martin Flumenbaum and Andrew J.
                               Ceresney dated February 17, 2022 re: Response to the Court's 2/3/22 Order. Document
                               filed by Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit E−Proposed
                               Redaction).(Flumenbaum, Martin) (Entered: 02/17/2022)
              02/17/2022   429 LETTER MOTION for Discovery re: Partial Reconsideration and Clarification
                               addressed to Magistrate Judge Sarah Netburn from Ladan F. Stewart dated February
                               17, 2022. Document filed by Securities and Exchange Commission. (Attachments: # 1
                               Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
                               Exhibit G).(Stewart, Ladan) (Entered: 02/17/2022)
              02/18/2022   430 ORDER re: 428 Letter, filed by Christian A. Larsen, Ripple Labs Inc.. The Court has
                               reviewed Defendants Ripple Labs, Inc. and Christian A. Larsen's letter and proposed
                               redactions to Exhibit E. See ECF Nos. 428, 428−1. Accordingly, the Clerk of Court is
                               directed to unseal ECF Nos. 106, 108−1, 108−2, 130−1, 130−2, 131, 172, 179−1,
                               179−2, 183, and 222. The Clerk of Court is further directed to strike ECF No. 179−3
                               from the docket. The document at ECF No. 428−1 shall be considered ECF No.
                               179−3. SO ORDERED. (Signed by Judge Analisa Torres on 2/18/2022) (kv) (Entered:
                               02/18/2022)
              02/22/2022   431 LETTER MOTION for Leave to File Sur−Sur−Reply addressed to Judge Analisa
                               Torres from Benjamin Hanauer dated 02/22/2022. Document filed by Securities and
                               Exchange Commission. (Attachments: # 1 Exhibit Ex. 1 − Sur−Sur−Reply).(Hanauer,
                               Benjamin) (Entered: 02/22/2022)
              02/22/2022   432 LETTER addressed to Judge Analisa Torres from Michael K. Kellogg dated
                               02/22/2022 re: Response to the SEC's Letter Motion Seeking Leave to Submit a
                               Sur−sur−reply. Document filed by Ripple Labs Inc...(Kellogg, Michael) (Entered:
                               02/22/2022)
              02/23/2022   433 ORDER: denying 431 Letter Motion for Leave to File Document. DENIED. SO
                               ORDERED. (Signed by Judge Analisa Torres on 2/23/2022) (ama) (Entered:
                               02/23/2022)
              02/24/2022   434 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Ladan F. Stewart dated February 24, 2022 re: 424 LETTER MOTION
                               for Conference re SEC Privilege Assertions addressed to Magistrate Judge Sarah
                               Netburn from Matthew C. Solomon dated February 10, 2022. . Document filed by
                               Securities and Exchange Commission. (Attachments: # 1 Exhibit A, # 2 Exhibit
                               B).(Stewart, Ladan) (Entered: 02/24/2022)
              02/25/2022   435 PROPOSED ORDER FOR WITHDRAWAL OF ATTORNEY. Document filed by
                               Christian A. Larsen..(Ward, Justin) (Entered: 02/25/2022)
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              02/25/2022   436 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Matthew C. Solomon dated February 25, 2022 re: 429 LETTER
                               MOTION for Discovery re: Partial Reconsideration and Clarification addressed to
                               Magistrate Judge Sarah Netburn from Ladan F. Stewart dated February 17, 2022. .
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit A − Hinman Declaration, # 2 Exhibit B − SEC Motion to
                               Quash, # 3 Exhibit C − Excerpt from Hinman Depo Transcript, # 4 Exhibit D − SEC v.
                               LBRY − Motion Hearing).(Solomon, Matthew) (Entered: 02/25/2022)
              02/28/2022   437 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Matthew C. Solomon and Nowell D. Bamberger dated February 28, 2022 re: 424
                               LETTER MOTION for Conference re SEC Privilege Assertions addressed to
                               Magistrate Judge Sarah Netburn from Matthew C. Solomon dated February 10, 2022. .
                               Document filed by Bradley Garlinghouse..(Solomon, Matthew) (Entered: 02/28/2022)
              02/28/2022   438 MEMO ENDORSEMENT on re: 435 Proposed Order for Withdrawal of Attorney
                               filed by Christian A. Larsen. Attorney Justin David Ward terminated. (Signed by
                               Magistrate Judge Sarah Netburn on 2/28/2022) (ras) (Entered: 02/28/2022)
              03/11/2022   439 LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate Judge
                               Sarah Netburn from Michael K. Kellogg dated March 11, 2022. Document filed by
                               Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1
                               Exhibit A − Supplemental Expert Report of Albert Metz, # 2 Exhibit B − Amended
                               Opening Expert Report of Albert Metz, # 3 Exhibit C − Expert Rebuttal Report of
                               Albert Metz, # 4 Exhibit D − Expert Rebuttal Report of M. Laurentius Marais, # 5
                               Exhibit E − Expert Rebuttal Report of Daniel R. Fischel).(Kellogg, Michael) (Entered:
                               03/11/2022)
              03/11/2022   440 ORDER denying 128 Motion to Strike docket entry and document 128 MOTION to
                               Strike Document No. 51 Motion to Strike Defendant Ripple Labs, Inc.'s Fourth
                               Affirmative Defense. filed by Securities and Exchange Commission, 51 Answer to
                               Amended Complaint filed by Ripple Labs Inc. from the record. For the foregoing
                               reasons, the SEC's motion is DENIED. The Clerk of Court is directed to terminate the
                               motion at ECF No. 128. SO ORDERED.. (Signed by Judge Analisa Torres on
                               3/11/2022) (kv) (Entered: 03/11/2022)
              03/11/2022   441 ORDER denying 105 Motion to Dismiss; denying 110 Motion to Dismiss. For the
                               foregoing reasons, the Individual Defendants' motions are DENIED. The Clerk of
                               Court is directed to terminate the motions at ECF Nos. 105 and 110. SO ORDERED..
                               (Signed by Judge Analisa Torres on 3/11/2022) (kv) (Entered: 03/11/2022)
              03/14/2022   442 LETTER MOTION for Extension of Time to File Response to Defendants' Motion to
                               Strike Dr. Metz's Supplemental Expert Report addressed to Magistrate Judge Sarah
                               Netburn from Mark R. Sylvester dated March 14, 2022. Document filed by Securities
                               and Exchange Commission..(Sylvester, Mark) (Entered: 03/14/2022)
              03/14/2022   443 ORDER granting 442 Letter Motion for Extension of Time. The SEC's response to
                               Defendants' motion is due by March 18, 2022. Defendants' reply, if any, is due by
                               March 24, 2022. (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text
                               Only Order) (Netburn, Sarah) (Entered: 03/14/2022)
              03/14/2022   444 ORDER: In light of the Court's March 11, 2022 order denying Defendant Larsen's and
                               Defendant Garlinghouse's motions to dismiss, the parties are directed to meet and
                               confer to determine what, if any, additional discovery is necessary. The parties shall
                               file a joint letter by March 23, 2022, informing the Court of any additional discovery
                               they intend to seek. The letter should propose a schedule for the efficient completion
                               of this discovery. (Signed by Magistrate Judge Sarah Netburn on 3/14/22022) (ras)
                               (Entered: 03/14/2022)
              03/14/2022   445 LETTER addressed to Magistrate Judge Sarah Netburn from Mark R. Sylvester dated
                               March 14, 2022 re: Pending Motions in Light of D.E. 441. Document filed by
                               Securities and Exchange Commission. (Attachments: # 1 Exhibit Exhibit A, # 2
                               Exhibit Exhibit B).(Sylvester, Mark) (Entered: 03/14/2022)
              03/15/2022   446 CONSENT LETTER MOTION for Extension of Time to File response to SEC's letter
                               regarding Pending Motions in Light of D.E. 441 addressed to Magistrate Judge Sarah
                               Netburn from Matthew C. Solomon dated March 15, 2022. Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Solomon, Matthew) (Entered:
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                                 03/15/2022)
              03/16/2022   447 ORDER granting 446 Letter Motion for Extension of Time to File. Defendants' request
                               is GRANTED. Defendants' response to the SEC's letter, ECF No. 445, is due by March
                               21, 2022. (HEREBY ORDERED by Magistrate Judge Sarah Netburn) (Text Only
                               Order) (ras) (Entered: 03/16/2022)
              03/18/2022   448 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Robert Moye dated March 18, 2022 re: 439 LETTER MOTION for
                               Local Rule 37.2 Conference addressed to Magistrate Judge Sarah Netburn from
                               Michael K. Kellogg dated March 11, 2022. . Document filed by Securities and
                               Exchange Commission. (Attachments: # 1 Exhibit A, Metz deposition transcript
                               pages).(Moye, Robert) (Entered: 03/18/2022)
              03/21/2022   449 LETTER MOTION for Extension of Time addressed to Magistrate Judge Sarah
                               Netburn from Securities and Exchange Commission dated March 21, 2022. Document
                               filed by Securities and Exchange Commission..(Guerrier, Pascale) (Entered:
                               03/21/2022)
              03/21/2022   450 LETTER addressed to Magistrate Judge Sarah Netburn from Matthew C. Solomon
                               dated March 21, 2022 re: SEC's March 14 Letter (ECF No. 445 ). Document filed by
                               Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Solomon, Matthew)
                               (Entered: 03/21/2022)
              03/21/2022   451 LETTER RESPONSE to Motion addressed to Magistrate Judge Sarah Netburn from
                               Michael K. Kellogg dated March 21, 2022 re: 449 LETTER MOTION for Extension
                               of Time addressed to Magistrate Judge Sarah Netburn from Securities and Exchange
                               Commission dated March 21, 2022. . Document filed by Bradley Garlinghouse,
                               Christian A. Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered: 03/21/2022)
              03/23/2022   452 ORDER granting 449 Letter Motion for Extension of Time. The SEC's request is
                               GRANTED. The SEC shall inform the Court of its position on whether any additional
                               discovery is required within a week of the filing of the Individual Defendants' answers.
                               The parties are directed to meet and confer as to a briefing schedule for summary
                               judgment motions. The parties shall submit a joint proposed schedule for the Court's
                               approval no later than one week after the SEC's submission. (HEREBY ORDERED by
                               Magistrate Judge Sarah Netburn) (Text Only Order) (ras) (Entered: 03/23/2022)
              03/23/2022   453 CONSENT LETTER MOTION for Extension of Time to File Answer re: 46 Amended
                               Complaint addressed to Judge Analisa Torres from Martin Flumenbaum and Matthew
                               C. Solomon dated March 23, 2022. Document filed by Bradley Garlinghouse,
                               Christian A. Larsen..(Flumenbaum, Martin) (Entered: 03/23/2022)
              03/23/2022   454 LETTER addressed to Magistrate Judge Sarah Netburn from Securities and Exchange
                               Commission dated March 23, 2022 re: Leave to Redact Notes Pursuant to 1/13/22
                               Order (Dkt. 413). Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Szczepanik Declaration, # 2 Seaman Declaration, # 3 Ingram
                               Declaration).(Guerrier, Pascale) (Entered: 03/23/2022)
              03/24/2022   455 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Michael K. Kellogg dated March 24, 2022 re: 439 LETTER MOTION for Local
                               Rule 37.2 Conference addressed to Magistrate Judge Sarah Netburn from Michael K.
                               Kellogg dated March 11, 2022. . Document filed by Bradley Garlinghouse, Christian
                               A. Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered: 03/24/2022)
              03/25/2022   456 ORDER granting 453 Letter Motion for Extension of Time to Answer. The Individual
                               Defendants' request is GRANTED. The Individual Defendants' answers are due no
                               later than April 8, 2022. (HEREBY ORDERED by Magistrate Judge Sarah
                               Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 03/25/2022)
              03/25/2022   457 CONSENT LETTER MOTION for Extension of Time to file response to the SEC's
                               request for leave to redact notes addressed to Magistrate Judge Sarah Netburn from
                               Matthew C. Solomon dated March 25, 2022. Document filed by Bradley
                               Garlinghouse..(Solomon, Matthew) (Entered: 03/25/2022)
              03/28/2022   458 ORDER granting 457 Letter Motion for Extension of Time. The SEC is directed to
                               produce the redacted documents for Defendants' assessment by March 30, 2022.
                               Defendants' response is due April 4, 2022. (HEREBY ORDERED by Magistrate Judge
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                                 Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 03/28/2022)
              04/04/2022   459 LETTER addressed to Magistrate Judge Sarah Netburn from Matthew C. Solomon
                               dated April 4, 2022 re: response to the SEC's request for leave to redact portions of
                               handwritten notes by SEC staff (ECF No. 454 ).. Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Solomon, Matthew) (Entered:
                               04/04/2022)
              04/05/2022   460 ORDER: The Court has reviewed the SEC's letter requesting leave to redact portions
                               of four sets of handwritten notes by SEC staff. The SEC is ORDERED to submit its
                               proposed redactions for in camera review by April 8, 2022. (Signed by Magistrate
                               Judge Sarah Netburn on 4/5/2022) (ras) (Entered: 04/05/2022)
              04/06/2022   461 LETTER addressed to Magistrate Judge Sarah Netburn from Securities and Exchange
                               Commission dated April 6, 2022 re: Amended Declaration of V. Szczepanik.
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Amended
                               Declaration of V. Szczepanik).(Guerrier, Pascale) (Entered: 04/06/2022)
              04/08/2022   462 ANSWER to 46 Amended Complaint with JURY DEMAND. Document filed by
                               Bradley Garlinghouse..(Solomon, Matthew) (Entered: 04/08/2022)
              04/08/2022   463 ANSWER to 46 Amended Complaint with JURY DEMAND. Document filed by
                               Christian A. Larsen..(Flumenbaum, Martin) (Entered: 04/08/2022)
              04/11/2022   464 MEMO ENDORSEMENT on re: 454 Letter, filed by Securities and Exchange
                               Commission. ENDORSEMENT: The Court has reviewed the SEC's proposed
                               redactions. The SEC's request is GRANTED. (Signed by Magistrate Judge Sarah
                               Netburn on 4/11/2022) (ras) (Entered: 04/11/2022)
              04/11/2022   465 OPINION & ORDER re: 429 LETTER MOTION for Discovery re: Partial
                               Reconsideration and Clarification addressed to Magistrate Judge Sarah Netburn from
                               Ladan F. Stewart dated February 17, 2022, filed by Securities and Exchange
                               Commission. The SEC's motion for reconsideration is DENIED and its motion for
                               clarification is GRANTED. The Clerk of Court is respectfully directed to terminate the
                               motion at ECF No. 429. (Signed by Magistrate Judge Sarah Netburn on 4/11/2022)
                               (ras) (Entered: 04/11/2022)
              04/15/2022   466 LETTER addressed to Magistrate Judge Sarah Netburn from Mark R. Sylvester dated
                               April 15, 2022 re: Discovery Pursuant to D.E. 452. Document filed by Securities and
                               Exchange Commission..(Sylvester, Mark) (Entered: 04/15/2022)
              04/15/2022   467 LETTER MOTION for Extension of Time to File Objections to January 13, 2022 and
                               April 11, 2022 Orders addressed to Judge Analisa Torres from Mark R. Sylvester
                               dated April 15, 2022. Document filed by Securities and Exchange
                               Commission..(Sylvester, Mark) (Entered: 04/15/2022)
              04/19/2022   468 ORDER denying 424 LETTER MOTION for Conference re SEC Privilege Assertions
                               addressed to Magistrate Judge Sarah Netburn from Matthew C. Solomon dated
                               February 10, 2022. Garlinghouse's motion is DENIED. The Clerk of Court is
                               respectfully directed to terminate the motion at ECF No. 424. (Signed by Magistrate
                               Judge Sarah Netburn on 4/19/2022) (ras) (Entered: 04/19/2022)
              04/19/2022   469 ORDER denying 439 Letter Motion for Local Rule 37.2 Conference. Defendants'
                               motion to strike Dr. Metz's supplemental report is DENIED. Expert discovery is
                               reopened until May 13, 2022, to re−depose Dr. Metz as to the analysis in his
                               supplemental report and to permit the filing of any supplemental report by Defendants
                               responding to Dr. Metz's report. The SEC is ordered to pay Defendants for reasonable
                               expenses incurred in filing their motion to strike and re−deposing Dr. Metz. The
                               parties are ordered to meet and confer and reach agreement on a reasonable fee award.
                               If the parties cannot reach agreement, Defendants may accept 10 hours at the average
                               hourly rate for counsel who worked on this motion after removing the highest and
                               lowest hourly rate, plus four hours for Dr. Metz's deposition. In the alternative, any
                               motion for attorneys' fees shall be filed by May 13, 2022. The Clerk of Court is
                               respectfully directed to deny the motion at ECF No. 439. (Signed by Magistrate Judge
                               Sarah Netburn on 4/19/2022) (ras) (Entered: 04/19/2022)
              04/19/2022   470 ORDER granting 467 Letter Motion for Extension of Time. GRANTED. SO
                               ORDERED. (Signed by Judge Analisa Torres on 4/19/2022) (jca) (Entered:
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                                 04/19/2022)
              04/22/2022   471 JOINT LETTER addressed to Magistrate Judge Sarah Netburn from Michael K.
                               Kellogg dated April 22, 2022 re: briefing schedule for summary judgment motions and
                               motions to exclude the testimony of experts. Document filed by Bradley Garlinghouse,
                               Christian A. Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered: 04/22/2022)
              04/28/2022   472 ORDER: The Court has reviewed the parties' letter dated April 22, 2022. ECF No.
                               471. Accordingly, 1. By July 12, 2022, the parties shall file any motions to exclude
                               expert testimony. By August 9, 2022, the parties shall file their oppositions. By August
                               30, 2022, the parties shall file replies, if any. Each motion to exclude expert testimony
                               and response will be limited to 15 pages per side. Either party may move the Court to
                               file an omnibus motion and propose an appropriate page length. 2. By September 13,
                               2022, the parties shall file any motions for summary judgment and Rule 56.1
                               statements. By October 18, 2022, the parties shall file their oppositions and responses
                               to Rule 56.1 statements. By November 15, 2022, the parties shall file replies, if any. If
                               Defendants choose to file separate motions, their motions and oppositions will be
                               limited to 30 pages, and their replies, if any, will be limited to 15 pages. If Defendants
                               choose to file a joint motion, their motion and opposition will be limited to 75 pages,
                               and their reply, if any, will be limited to 45 pages. The Securities and Exchange
                               Commission's motion and opposition will be limited to 75 pages, and its reply will be
                               limited to 45 pages. SO ORDERED. ( Motions due by 9/13/2022., Responses due by
                               10/18/2022, Replies due by 11/15/2022.) (Signed by Judge Analisa Torres on
                               4/28/2022) (tg) (Entered: 04/28/2022)
              04/29/2022   473 LETTER addressed to Magistrate Judge Sarah Netburn from Mark R. Sylvester dated
                               April 29, 2022 re: SEC's Assertion of Attorney−Client Privilege. Document filed by
                               Securities and Exchange Commission..(Sylvester, Mark) (Entered: 04/29/2022)
              05/02/2022   474 LETTER MOTION for Extension of Time to respond to the SEC's letter brief setting
                               forth its assertions that internal documents related to a speech given by a former SEC
                               official, ECF No. 473 are protected from disclosure by the attorney−client privilege
                               addressed to Magistrate Judge Sarah Netburn from Matthew C. Solomon dated May 2,
                               2022. Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Solomon, Matthew) (Entered: 05/02/2022)
              05/03/2022   475 ORDER granting 474 Letter Motion for Extension of Time. Defendants' request is
                               GRANTED. Defendants' response to the SEC's letter brief is due by May 13, 2022.
                               (HEREBY ORDERED by Magistrate Judge Sarah Netburn) (Text Only Order) (ras)
                               (Entered: 05/03/2022)
              05/03/2022   476 LETTER MOTION for Leave to File Reply (Re: D.E. 473 & D.E. 474) addressed to
                               Magistrate Judge Sarah Netburn from Securities and Exchange Commission dated
                               May 3, 2022. Document filed by Securities and Exchange Commission..(Guerrier,
                               Pascale) (Entered: 05/03/2022)
              05/03/2022   477 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Matthew C. Solomon dated May 3, 2022 re: 476 LETTER MOTION for
                               Leave to File Reply (Re: D.E. 473 & D.E. 474) addressed to Magistrate Judge Sarah
                               Netburn from Securities and Exchange Commission dated May 3, 2022. . Document
                               filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Solomon,
                               Matthew) (Entered: 05/03/2022)
              05/04/2022   478 ORDER granting 476 Letter Motion for Leave to File Document. The SEC's reply is
                               due by May 18, 2022. (HEREBY ORDERED by Magistrate Judge Sarah
                               Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 05/04/2022)
              05/13/2022   479 JOINT LETTER MOTION for Extension of Time re motion for attorney's fees
                               addressed to Magistrate Judge Sarah Netburn from Michael K. Kellogg dated May 13,
                               2022. Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Kellogg, Michael) (Entered: 05/13/2022)
              05/13/2022   480 LETTER addressed to Magistrate Judge Sarah Netburn from Matthew C. Solomon
                               dated May 13, 2022 re: response to SEC's April 29 letter regarding attorney−client
                               privilege 473 . Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple
                               Labs Inc.. (Attachments: # 1 Exhibit A − Hinman Declaration, # 2 Exhibit B − Hinman
                               Deposition Transcript Excerpts).(Solomon, Matthew) (Entered: 05/13/2022)
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              05/16/2022   481 ORDER granting 479 Letter Motion for Extension of Time. Any motion for attorneys'
                               fees as described in the Court's April 19, 2022 order, ECF No. 469, is due by May 27,
                               2022. (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order)
                               (Netburn, Sarah) (Entered: 05/16/2022)
              05/17/2022   482 CONSENT LETTER MOTION for Leave to File Excess Pages addressed to
                               Magistrate Judge Sarah Netburn from Lisa Zornberg dated May 17, 2022. Document
                               filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Zornberg, Lisa)
                               (Entered: 05/17/2022)
              05/18/2022   483 ORDER granting 482 Letter Motion for Leave to File Excess Pages. Defendants'
                               request is GRANTED. Defendants' anticipated motion may not exceed 7 pages and is
                               due no later than May 23, 2022. The SEC's opposition may not exceed 7 pages and is
                               due within 10 business days of the filing of Defendants' motion (or no later than June
                               7, 2022). Defendants' reply, if any, may not exceed 4 pages and is due within 7
                               business days of the SEC's opposition (no later than June 16, 2022). (HEREBY
                               ORDERED by Magistrate Judge Sarah Netburn) (Text Only Order) (ras) (Entered:
                               05/18/2022)
              05/18/2022   484 LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate Judge
                               Sarah Netburn from Lisa Zornberg dated May 18, 2022. Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit A −
                               (REDACTED) SEC RFA Responses, # 2 Exhibit B − Email Correspondence from L.
                               Zornberg to SEC).(Zornberg, Lisa) (Entered: 05/18/2022)
              05/18/2022   485 FILING ERROR − DEFICIENT DOCKET ENTRY − FILER ERROR −(SEE
                               #486) ***SELECTED PARTIES*** LETTER MOTION for Local Rule 37.2
                               Conference addressed to Magistrate Judge Sarah Netburn from Lisa Zornberg dated
                               May 18, 2022. Document filed by Christian A. Larsen, Bradley Garlinghouse, Ripple
                               Labs Inc.. (Attachments: # 1 Exhibit A − SEC RFA Responses, # 2 Exhibit B − Email
                               Correspondence from L. Zornberg to SEC)Motion or Order to File Under Seal: 53
                               .(Zornberg, Lisa) Modified on 5/19/2022 (kj).(As Per Email Request on 5/19/22
                               @8:07am). (Entered: 05/18/2022)
              05/18/2022   486 ***SELECTED PARTIES*** LETTER MOTION for Local Rule 37.2 Conference
                               addressed to Magistrate Judge Sarah Netburn from Lisa Zornberg dated May 18, 2022.
                               Document filed by Christian A. Larsen, Bradley Garlinghouse, Ripple Labs Inc.,
                               Securities and Exchange Commission. (Attachments: # 1 Exhibit A − (SEALED) SEC
                               RFA Responses, # 2 Exhibit B − Email Correspondence from L. Zornberg to
                               SEC)Motion or Order to File Under Seal: 53 .(Zornberg, Lisa) (Entered: 05/18/2022)
              05/18/2022   487 ***SELECTED PARTIES***LETTER REPLY to Response to Motion addressed to
                               Magistrate Judge Sarah Netburn from Securities and Exchange Commission dated
                               May 18, 2022 re: 476 LETTER MOTION for Leave to File Reply (Re: D.E. 473 &
                               D.E. 474) addressed to Magistrate Judge Sarah Netburn from Securities and Exchange
                               Commission dated May 3, 2022. . Document filed by Securities and Exchange
                               Commission, Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit Ex. A Larsen Tr., # 2 Exhibit Ex. B. Zagone Tr., # 3 Exhibit
                               Ex. C O'Gorman Tr.)Motion or Order to File Under Seal: 53 .(Guerrier, Pascale)
                               (Entered: 05/18/2022)
              05/18/2022   488 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Securities and Exchange Commission dated May 18, 2022 re: 476 LETTER
                               MOTION for Leave to File Reply (Re: D.E. 473 & D.E. 474) addressed to Magistrate
                               Judge Sarah Netburn from Securities and Exchange Commission dated May 3, 2022. .
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Exhibit
                               Ex. A Larsen Dep. Tr., # 2 Exhibit Ex. B Zagone Dep. Tr., # 3 Exhibit Ex. C
                               O'Gorman Dep. Tr., # 4 Exhibit Ex. D July 2021 Hearing Tr.).(Guerrier, Pascale)
                               (Entered: 05/18/2022)
              05/21/2022   489 LETTER MOTION to File Amicus Brief regarding Daubert issues related to opinions
                               of Patrick B. Doody addressed to Judge Analisa Torres from John E. Deaton dated
                               05.21.22. Document filed by Jordan Deaton, James LaMonte, Mya LaMonte, Tyler
                               LaMonte, Mitchell McKenna, Kristiana Warner. (Attachments: # 1 Exhibit 1: 04.27.22
                               Letter from Attorney Deaton, Amici Counsel to Parties re: information related to amici
                               participation, # 2 Exhibit 2: 05.02.22 Reply Letter from Attorney Guerrier, Plaintiff's
                               Counsel to Amici Counsel, # 3 Exhibit 3: 05.05.22 Reply Letter from Attorney
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                                Zornberg, Defense Counsel to Amici Counsel, # 4 Exhibit 4: 05.05.22 Reply Letter
                                from Attorney Deaton, Amici Counsel to Attorney Zornberg, # 5 Exhibit 5: 05.10.22
                                Letter from Amici Counsel to Parties requesting copy of Plaintiff's Expert Report, # 6
                                Exhibit 6: 05.11.22 Email from Attorney Guerrier to Attorney Zornberg designating
                                Plaintiff's Expert's report as confidential, # 7 Exhibit 7: 05.11.22 Letter from Attorney
                                Guerrier to Amici Counsel notifying Amici of the SEC's objection, # 8 Exhibit 8:
                                12.20.19 Expert Report of Patrick B. Doody).(Deaton, John) (Entered: 05/21/2022)
              05/24/2022   490 LETTER MOTION for Extension of Time to File Response/Reply to Letter by Amici
                               Curiae addressed to Judge Analisa Torres from Ladan F. Stewart dated May 24, 2022.
                               Document filed by Securities and Exchange Commission..(Stewart, Ladan) (Entered:
                               05/24/2022)
              05/25/2022   491 ORDER granting 490 Letter Motion for Extension of Time to File Response/Reply re
                               490 LETTER MOTION for Extension of Time to File Response/Reply to Letter by
                               Amici Curiae addressed to Judge Analisa Torres from Ladan F. Stewart dated May 24,
                               2022. GRANTED. SO ORDERED. Responses due by 6/7/2022 Replies due by
                               6/10/2022.. (Signed by Judge Analisa Torres on 5/25/2022) (kv) (Entered: 05/25/2022)
              05/27/2022   492 JOINT LETTER addressed to Magistrate Judge Sarah Netburn from Michael K.
                               Kellogg dated May 27, 2022 re: Fee Award. Document filed by Bradley Garlinghouse,
                               Christian A. Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered: 05/27/2022)
              05/31/2022   493 ORDER: A conference is scheduled for Tuesday, June 07, 2022, at 3:00 p.m. to
                               discuss the SEC's renewed assertion of attorney−client privilege as to internal
                               documents related to then−Director Hinmans June 14, 2018 speech. See ECF No. 473.
                               The conference shall take place in Courtroom 23B, Daniel P. Moynihan Courthouse,
                               500 Pearl Street, New York, New York. The parties are required to comply with the
                               Court's most recent COVID−19 safety guidance, including courtroom and entry
                               protocols. Information about the Court's protocols is available at:
                               https://nysd.uscourts.gov/covid−19−coronavirus. The parties should plan to arrive at
                               least 30 minutes in advance to complete the entry screening process. (Discovery
                               Hearing set for 6/7/2022 at 03:00 PM in Courtroom 23B, 500 Pearl Street, New York,
                               NY 10007 before Magistrate Judge Sarah Netburn.) (Signed by Magistrate Judge
                               Sarah Netburn on 5/31/2022) (ras) (Entered: 05/31/2022)
              05/31/2022   494 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Securities and Exchange Commission dated May 31, 2022 re: 486
                               LETTER MOTION for Local Rule 37.2 Conference addressed to Magistrate Judge
                               Sarah Netburn from Lisa Zornberg dated May 18, 2022., 484 LETTER MOTION for
                               Local Rule 37.2 Conference addressed to Magistrate Judge Sarah Netburn from Lisa
                               Zornberg dated May 18, 2022. . Document filed by Securities and Exchange
                               Commission..(Guerrier, Pascale) (Entered: 05/31/2022)
              06/01/2022   495 ORDER: A conference is scheduled for Tuesday, June 7, 2022, at 3:00 p.m. ECF No.
                               493. Members of the public may listen to the proceedings at the following numbers:
                               USA: (877) 226−8215 International: (409) 207−6982 Access Code: 4713826 #
                               Unauthorized recording and rebroadcasting of the conference (e.g., YouTube, Twitch,
                               audio−only streams, etc.) is strictly prohibited. Any unauthorized recordings will be
                               investigated, and anyone found to engage in such behaviors may be subject to criminal
                               sanctions. (Signed by Magistrate Judge Sarah Netburn on 6/1/2022) (ras) (Entered:
                               06/01/2022)
              06/07/2022   496 ORDER: Due to a scheduling conflict, the conference scheduled in this case for 3:00
                               p.m. is RESCHEDULED for 3:30 p.m. The public is referred to the Order at ECF No.
                               495 for dial in information, which remains the same. SO ORDERED. Telephone
                               Conference set for 6/7/2022 at 03:30 PM before Magistrate Judge Sarah Netburn.
                               (Signed by Magistrate Judge Sarah Netburn on 6/7/2022) (mml) (Entered: 06/07/2022)
              06/07/2022   497 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Lisa Zornberg dated June 7, 2022 re: 486 LETTER MOTION for Local Rule
                               37.2 Conference addressed to Magistrate Judge Sarah Netburn from Lisa Zornberg
                               dated May 18, 2022. . Document filed by Bradley Garlinghouse, Christian A. Larsen,
                               Ripple Labs Inc...(Zornberg, Lisa) (Entered: 06/07/2022)
              06/07/2022   498 LETTER MOTION to Seal SEC's Opposition to Amici Motion addressed to Judge
                               Analisa Torres from Ladan F. Stewart dated June 7, 2022. Document filed by
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                                 Securities and Exchange Commission..(Stewart, Ladan) (Entered: 06/07/2022)
              06/07/2022   499 ***SELECTED PARTIES***LETTER RESPONSE in Opposition to Motion
                               addressed to Judge Analisa Torres from Ladan F. Stewart dated June 7, 2022 re: 489
                               LETTER MOTION to File Amicus Brief regarding Daubert issues related to opinions
                               of Patrick B. Doody addressed to Judge Analisa Torres from John E. Deaton dated
                               05.21.22. . Document filed by Securities and Exchange Commission, Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit A, # 2
                               Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                               Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit
                               M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q)Motion or Order to
                               File Under Seal: 498 .(Stewart, Ladan) (Entered: 06/07/2022)
              06/07/2022         Minute Entry for proceedings held before Magistrate Judge Sarah Netburn: Discovery
                                 Hearing held on 6/7/2022. (ras) (Entered: 06/22/2022)
              06/08/2022   500 LETTER addressed to Judge Analisa Torres from John E. Deaton dated June 8, 2022
                               re: Letter−Motion clarification. Document filed by Jordan Deaton, James LaMonte,
                               Mya LaMonte, Tyler LaMonte, Mitchell McKenna, Kristiana Warner..(Deaton, John)
                               (Entered: 06/08/2022)
              06/09/2022   501 LETTER RESPONSE to Motion addressed to Judge Analisa Torres from Michael K.
                               Kellogg dated June 9, 2022 re: 498 LETTER MOTION to Seal SEC's Opposition to
                               Amici Motion addressed to Judge Analisa Torres from Ladan F. Stewart dated June 7,
                               2022. . Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Kellogg, Michael) (Entered: 06/09/2022)
              06/09/2022   502 ORDER: Accordingly, by June 14, 2022, the SEC shall file a redacted version of the
                               brief and its exhibits, under seal, that redacts information "only to the extent necessary
                               to safeguard information sought to be filed under seal." Individual Practices in Civil
                               Cases, Rule IV.A.ii. By June 14, 2022, the SEC shall also file a letter explaining its
                               proposed redactions and specifying which exhibits it seeks to seal. "To be approved,
                               any redaction or sealing of a court filing must be narrowly tailored to serve whatever
                               purpose justifies the redaction or sealing and must be otherwise consistent with the
                               presumption in favor of public access to judicial documents." Id. SO ORDERED.
                               (Signed by Judge Analisa Torres on 6/9/2022) (ks) Modified on 6/9/2022 (ks).
                               (Entered: 06/09/2022)
              06/10/2022   503 ***SELECTED PARTIES*** LETTER addressed to Judge Analisa Torres from
                               Andrew J Ceresney dated June 10, 2022 re: Response to Letter Motion to File Amicus
                               Brief Regarding Daubert Issues. Document filed by Christian A. Larsen, Bradley
                               Garlinghouse, Ripple Labs Inc., Securities and Exchange Commission. (Attachments:
                               # 1 Exhibit 1) Email from L Zornberg to SEC)Motion or Order to File Under Seal: 502
                               .(Ceresney, Andrew) (Entered: 06/10/2022)
              06/10/2022   504 LETTER addressed to Judge Analisa Torres from Andrew J Ceresney dated June 10,
                               2022 re: Sealing of Defendants' Response to Amici Letter. Document filed by Ripple
                               Labs Inc...(Ceresney, Andrew) (Entered: 06/10/2022)
              06/10/2022   505 LETTER MOTION to Seal Re D.E. 486−1 addressed to Magistrate Judge Sarah
                               Netburn from Securities and Exchange Commission dated June 10, 2022. Document
                               filed by Securities and Exchange Commission..(Guerrier, Pascale) (Entered:
                               06/10/2022)
              06/13/2022   506 ORDER granting 505 Letter Motion to Seal. As set forth in the SEC's motion to seal,
                               selected portions of Exhibit A to Defendants' letter motion at ECF No. 486 may be
                               filed under seal. The motion is granted on an interim basis, and the Court may
                               reconsider its ruling when it considers the merits of the underlying motion. (HEREBY
                               ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah)
                               (Entered: 06/13/2022)
              06/14/2022   507 ORDER: The Court previously permitted the SEC to submit 10 exemplar documents
                               for in camera review in connection with its motion for partial reconsideration of the
                               Court's January 13, 2022 order. See ECF No. 419. On the basis of attorney−client
                               privilege, the SEC seeks to withhold these and other documents described in
                               Attachment 1 to the SEC's February 17, 2022 motion for partial reconsideration. See
                               ECF No. 429 at 12−18; ECF No. 473 at 2, 5. The Court has reviewed the 10 exemplar
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                                 documents previously in the context of the deliberative process privilege but has not
                                 reviewed any other documents listed in Attachment 1. To facilitate the Court's review
                                 of the communications to which the SEC claims the attorney−client privilege applies,
                                 by June 16, 2022, the SEC may submit 10 additional documents listed in Attachment 1
                                 for in camera review. SO ORDERED. (Signed by Magistrate Judge Sarah Netburn on
                                 6/14/2022) (mml) (Entered: 06/14/2022)
              06/14/2022   508 LETTER MOTION to Seal SEC's Opposition to Amici Motion addressed to Judge
                               Analisa Torres from Ladan F. Stewart dated June 14, 2022. Document filed by
                               Securities and Exchange Commission..(Stewart, Ladan) (Entered: 06/14/2022)
              06/14/2022   509 ***SELECTED PARTIES***LETTER RESPONSE in Opposition to Motion
                               addressed to Judge Analisa Torres from Ladan F. Stewart dated June 7, 2022 re: 489
                               LETTER MOTION to File Amicus Brief regarding Daubert issues related to opinions
                               of Patrick B. Doody addressed to Judge Analisa Torres from John E. Deaton dated
                               05.21.22. . Document filed by Securities and Exchange Commission, Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit A, # 2
                               Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                               Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit
                               M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q)Motion or Order to
                               File Under Seal: 508 .(Stewart, Ladan) (Entered: 06/14/2022)
              06/15/2022   510 LETTER addressed to Judge Analisa Torres from Andrew J. Ceresney dated June
                               15th, 2022 re: Defendants Ripple Labs, Bradley Garlinghouse and Christian A.
                               Larsen's response to the SEC's letter motion to seal 508 . Document filed by Ripple
                               Labs Inc...(Ceresney, Andrew) (Entered: 06/15/2022)
              06/16/2022   511 LETTER addressed to Magistrate Judge Sarah Netburn from Securities and Exchange
                               Commission dated June 16, 2022 re: D.E. 507. Document filed by Securities and
                               Exchange Commission. (Attachments: # 1 Exhibit Attachment 1 (Revised Summary
                               Chart of Entries on SEC Privilege Logs)).(Guerrier, Pascale) (Entered: 06/16/2022)
              06/17/2022   512 LETTER addressed to Judge Analisa Torres from Ladan F. Stewart dated June 17,
                               2022 re: LETTER addressed to Judge Analisa Torres from Andrew J. Ceresney dated
                               June 15, 2022 510 . Document filed by Securities and Exchange
                               Commission..(Stewart, Ladan) (Entered: 06/17/2022)
              06/21/2022   513 ORDER: The Court has reviewed Defendants' response to the Securities and Exchange
                               Commission's (the "SEC's") opposition brief and their letter regarding the sealing of
                               that response. See ECF Nos. 503, 504. Defendants state that they wish to file their
                               entire response on the public docket, but that they filed it under seal because of the
                               Court's pending ruling on the SEC's motion to seal. ECF No. 504. Accordingly, by
                               June 23, 2022, the SEC shall file any proposed redactions to Defendants' response and
                               a letter explaining its proposal. SO ORDERED. (Signed by Judge Analisa Torres on
                               6/21/2022) (vfr) (Entered: 06/21/2022)
              06/23/2022   514 LETTER addressed to Judge Analisa Torres from Ladan F. Stewart dated June 23,
                               2022 re: Proposed Redactions to Defendants' Letter [ECF 503 and 504]. Document
                               filed by Securities and Exchange Commission..(Stewart, Ladan) (Entered: 06/23/2022)
              06/23/2022   515 ***SELECTED PARTIES*** LETTER addressed to Judge Analisa Torres from
                               Ladan F. Stewart dated June 23, 2022 re: Proposed Redactions to Defendants' Letter
                               [ECF 503 and 504]. Document filed by Christian A. Larsen, Bradley Garlinghouse,
                               Ripple Labs Inc., Securities and Exchange Commission. (Attachments: # 1 Exhibit
                               A)Motion or Order to File Under Seal: 514 .(Stewart, Ladan) (Entered: 06/23/2022)
              06/24/2022   516 TRANSCRIPT of Proceedings re: CONFERENCE held on 6/7/2022 before Magistrate
                               Judge Sarah Netburn. Court Reporter/Transcriber: Kelly Surina, (212) 805−0300.
                               Transcript may be viewed at the court public terminal or purchased through the Court
                               Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                               that date it may be obtained through PACER. Redaction Request due 7/15/2022.
                               Redacted Transcript Deadline set for 7/25/2022. Release of Transcript Restriction set
                               for 9/22/2022..(McGuirk, Kelly) (Entered: 06/24/2022)
              06/24/2022   517 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                               official transcript of a CONFERENCE proceeding held on 6/7/2022 has been filed by
                               the court reporter/transcriber in the above−captioned matter. The parties have seven
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                                (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
                                transcript. If no such Notice is filed, the transcript may be made remotely
                                electronically available to the public without redaction after 90 calendar
                                days....(McGuirk, Kelly) (Entered: 06/24/2022)
              06/27/2022   518 LETTER addressed to Judge Analisa Torres from Andrew J. Ceresney dated
                               6/27/2022 re: Proposed Redactions to Defendants' Letter [ECF 503 and 504].
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Ceresney, Andrew) (Entered: 06/27/2022)
              07/05/2022   519 FILING ERROR − DEFICIENT DOCKET ENTRY − MOTION for Chiseul Kim
                               to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number BNYSDC−26367770.
                               Motion and supporting papers to be reviewed by Clerk's Office staff. Document
                               filed by Ripple Labs Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Text of
                               Proposed Order Granting Pro Hac Vice Admission).(Kim, Chiseul) Modified on
                               7/6/2022 (sgz). (Entered: 07/05/2022)
              07/05/2022   520 FILING ERROR − DEFICIENT DOCKET ENTRY − MOTION for Clayton J.
                               Masterman to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                               ANYSDC−26367869. Motion and supporting papers to be reviewed by Clerk's
                               Office staff. Document filed by Ripple Labs Inc.. (Attachments: # 1 Exhibit A, # 2
                               Exhibit B, # 3 Text of Proposed Order Granting Pro Hac Vice
                               Admission).(Masterman, Clayton) Modified on 7/6/2022 (sgz). (Entered: 07/05/2022)
              07/06/2022        >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                                VICE. Notice to RE−FILE Document No. 519 MOTION for Chiseul Kim to
                                Appear Pro Hac Vice . Filing fee $ 200.00, receipt number BNYSDC−26367770.
                                Motion and supporting papers to be reviewed by Clerk's Office staff.. The filing
                                is deficient for the following reason(s): Affidavit Not Notarized; Re−file the
                                motion as a Motion to Appear Pro Hac Vice − attach the correct signed PDF −
                                select the correct named filer/filers − attach valid Certificates of Good Standing
                                issued within the past 30 days − attach Proposed Order. (sgz) (Entered:
                                07/06/2022)
              07/06/2022        >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                                VICE. Notice to RE−FILE Document No. 520 MOTION for Clayton J.
                                Masterman to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                                ANYSDC−26367869. Motion and supporting papers to be reviewed by Clerk's
                                Office staff. The filing is deficient for the following reason(s): Affidavit Not
                                Notarized;. Re−file the motion as a Motion to Appear Pro Hac Vice − attach the
                                correct signed PDF − select the correct named filer/filers − attach valid
                                Certificates of Good Standing issued within the past 30 days − attach Proposed
                                Order. (sgz) (Entered: 07/06/2022)
              07/06/2022   521 AMENDED MOTION for Chiseul Kim to Appear Pro Hac Vice . Motion and
                               supporting papers to be reviewed by Clerk's Office staff. Document filed by Ripple
                               Labs Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Text of Proposed Order
                               Granting Pro Hac Vice Admission).(Kim, Chiseul) (Entered: 07/06/2022)
              07/06/2022   522 AMENDED MOTION for Clayton J. Masterman to Appear Pro Hac Vice . Motion
                               and supporting papers to be reviewed by Clerk's Office staff. Document filed by
                               Ripple Labs Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Text of Proposed
                               Order Granting Pro Hac Vice Admission).(Masterman, Clayton) (Entered: 07/06/2022)
              07/06/2022   523 LETTER MOTION for Leave to File Omnibus Daubert Motion addressed to Judge
                               Analisa Torres from Securities and Exchange Commission dated July 6, 2022.,
                               LETTER MOTION for Leave to File Excess Pages addressed to Judge Analisa Torres
                               from Securities and Exchange Commission dated July 6, 2022. Document filed by
                               Securities and Exchange Commission..(Guerrier, Pascale) (Entered: 07/06/2022)
              07/07/2022        >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                No. 521 AMENDED MOTION for Chiseul Kim to Appear Pro Hac Vice . Motion
                                and supporting papers to be reviewed by Clerk's Office staff.. The document has
                                been reviewed and there are no deficiencies. (sgz) (Entered: 07/07/2022)
              07/07/2022        >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                No. 522 AMENDED MOTION for Clayton J. Masterman to Appear Pro Hac
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                                 Vice . Motion and supporting papers to be reviewed by Clerk's Office staff.. The
                                 document has been reviewed and there are no deficiencies. (sgz) (Entered:
                                 07/07/2022)
              07/07/2022   524 ORDER granting 521 Motion for Chiseul Kim to Appear Pro Hac Vice. Chiseul Kim
                               may appear on behalf of Defendant Ripple Labs, Inc. (HEREBY ORDERED by
                               Magistrate Judge Sarah Netburn) (Text Only Order) (ras) (Entered: 07/07/2022)
              07/07/2022   525 ORDER granting 522 Motion for Clayton J. Masterman to Appear Pro Hac Vice.
                               Clayton J. Masterman may appear on behalf of Defendant Ripple Labs, Inc. (HEREBY
                               ORDERED by Magistrate Judge Sarah Netburn) (Text Only Order) (ras) (Entered:
                               07/07/2022)
              07/07/2022   526 ORDER granting 523 Letter Motion for Leave to File Document; granting 523 Letter
                               Motion for Leave to File Excess Pages. GRANTED. SO ORDERED.. (Signed by
                               Judge Analisa Torres on 7/7/2022) (kv) (Entered: 07/07/2022)
              07/10/2022   527 LETTER MOTION to Seal and request for expedited briefing schedule addressed to
                               Judge Analisa Torres from Andrew J. Ceresney dated July 10, 2022. Document filed
                               by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Ceresney, Andrew)
                               (Entered: 07/10/2022)
              07/11/2022   528 LETTER RESPONSE to Motion addressed to Judge Analisa Torres from Ladan F.
                               Stewart dated July 11, 2022 re: 527 LETTER MOTION to Seal and request for
                               expedited briefing schedule addressed to Judge Analisa Torres from Andrew J.
                               Ceresney dated July 10, 2022. . Document filed by Securities and Exchange
                               Commission..(Stewart, Ladan) (Entered: 07/11/2022)
              07/11/2022   529 ORDER granting in part and denying in part 498 Letter Motion to Seal; granting in
                               part and denying in part 508 Letter Motion to Seal. For the foregoing reasons, the
                               parties' motions are GRANTED in part, and DENIED in part. Specifically, 1) The
                               SEC's request to redact language in the SEC Letter is GRANTED, and Defendants'
                               request to redact the citation to Exhibit O in the SEC Letter is DENIED. 2) The SEC's
                               request to redact language in the Defendants' Letter, with the exception of the
                               redaction of footnote one, is GRANTED. The SEC's request to redact footnote one is
                               DENIED. 3) The SEC's request to seal Exhibits D, E, F, G, and P to the SEC Letter
                               and redact Exhibit B to the SEC Letter and Exhibit 1 to the Defendants' Letter is
                               GRANTED. The SEC's request to seal Exhibits C, H, L, M, N, and Q to the SEC
                               Letter is DENIED. Defendants' request to seal Exhibit O to the SEC Letter is
                               DENIED. By July 15, 2022, the parties may propose narrowly tailored redactions to
                               Exhibits C, H, L, M, N, O, and Q, along with an explanation justifying their
                               redactions. The Clerk of Court is directed to terminate the pending motions at ECF
                               Nos. 498 and 508. SO ORDERED.. (Signed by Judge Analisa Torres on 7/11/2022)
                               (kv) (Entered: 07/11/2022)
              07/12/2022   530 ORDER: The Court has reviewed the parties' letters dated July 10 and 11, 2022. ECF
                               Nos. 527−28. Accordingly, 1. By July 12, 2022, as previously ordered, see ECF No.
                               472, the parties shall file their motions to exclude expert testimony under seal. 2. By
                               July 22, 2022, the parties shall file any motions to seal their motions to exclude expert
                               testimony. If the Court does not receive motions to seal by that date, it shall order the
                               unsealing of the motions to exclude expert testimony. The parties also reminded that
                               they must sufficiently justify all proposed sealings and redactions, even those to which
                               both parties agree, because "bargained−for confidentiality does not overcome the
                               presumption of access to judicial documents." Bernsten v. O'Reilly, 307 F. Supp. 3d
                               161, 168 (S.D.N.Y. 2018). 3. By July 25, 2022, the parties shall file any oppositions to
                               the sealing motions. ( Motions due by 7/22/2022, Responses due by 7/25/2022)
                               (Signed by Judge Analisa Torres on 7/12/2022) (ate) (Entered: 07/12/2022)
              07/12/2022   531 OPINION & ORDER: By letter motion, the Securities and Exchange Commission
                               ("SEC") argues that the attorney−client privilege protects internal documents related to
                               a June 14, 2018 speech (the "Speech") given by William Hinman, then the Director of
                               the Division of Corporate Finance. This argument was previously raised secondarily,
                               with the SEC primarily asserting the deliberative process privilege. The SEC's motion
                               is DENIED. Consistent with the Court's April 11, 2022 Order, the SEC shall submit
                               the two proposed redactions in Entries 29 and 35 for the Court's in camera review.
                               (Signed by Magistrate Judge Sarah Netburn on 7/12/2022) (ras) (Entered: 07/12/2022)
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              07/12/2022   532 ***SELECTED PARTIES*** MOTION to Preclude / Notice of Defendants' Motion
                               to Exclude the Testimony of SEC Expert No. 2. Document filed by Ripple Labs Inc.,
                               Bradley Garlinghouse, Christian A. Larsen, Securities and Exchange
                               Commission.Motion or Order to File Under Seal: 530 .(Ceresney, Andrew) (Entered:
                               07/12/2022)
              07/12/2022   533 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 532
                               MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC
                               Expert No. 2. / Defendants' Memorandum of Law in Support of Their Motion to
                               Exclude the Testimony of SEC Expert No. 2. Document filed by Ripple Labs Inc.,
                               Bradley Garlinghouse, Christian A. Larsen, Securities and Exchange Commission.
                               Motion or Order to File Under Seal: 530 .(Ceresney, Andrew) (Entered: 07/12/2022)
              07/12/2022   534 ***SELECTED PARTIES***DECLARATION of Anna R. Gressel in Support re: 532
                               MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC
                               Expert No. 2.. Document filed by Ripple Labs Inc., Bradley Garlinghouse, Christian A.
                               Larsen, Securities and Exchange Commission. (Attachments: # 1 Exhibit 1 − Expert
                               Report of Expert No. 2, # 2 Exhibit 2 − Expert No. 2 Deposition Transcript)Motion or
                               Order to File Under Seal: 530 .(Gressel, Anna) (Entered: 07/12/2022)
              07/12/2022   535 ***SELECTED PARTIES*** MOTION to Preclude . Document filed by Securities
                               and Exchange Commission, Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc..Motion or Order to File Under Seal: 53 .(Guerrier, Pascale) (Entered: 07/12/2022)
              07/12/2022   536 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 535
                               MOTION to Preclude . . Document filed by Securities and Exchange Commission,
                               Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. Motion or Order to File
                               Under Seal: 53 .(Guerrier, Pascale) (Entered: 07/12/2022)
              07/12/2022   537 ***SELECTED PARTIES*** MOTION to Preclude / Notice of Defendants' Motion
                               to Exclude the Testimony of SEC Expert No. 3. Document filed by Ripple Labs Inc.,
                               Bradley Garlinghouse, Christian A. Larsen, Securities and Exchange
                               Commission.Motion or Order to File Under Seal: 530 .(Ceresney, Andrew) (Entered:
                               07/12/2022)
              07/12/2022   538 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 537
                               MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC
                               Expert No. 3. / Defendants' Memorandum of Law in Support of Their Motion to
                               Exclude the Testimony of SEC Expert No. 3. Document filed by Ripple Labs Inc.,
                               Bradley Garlinghouse, Christian A. Larsen, Securities and Exchange Commission.
                               Motion or Order to File Under Seal: 530 .(Ceresney, Andrew) (Entered: 07/12/2022)
              07/12/2022   539 ***SELECTED PARTIES***DECLARATION of Andrew J. Ceresney in Support re:
                               537 MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of
                               SEC Expert No. 3.. Document filed by Ripple Labs Inc., Bradley Garlinghouse,
                               Christian A. Larsen, Securities and Exchange Commission. (Attachments: # 1 Exhibit
                               1 − Expert Report of SEC Expert No. 3, # 2 Exhibit 2 − Deposition Transcript of SEC
                               Expert No. 3, # 3 Exhibit 3 − Article by SEC Expert No. 3, # 4 Exhibit 4 − Ferrell
                               Rebuttal Report)Motion or Order to File Under Seal: 530 .(Ceresney, Andrew)
                               (Entered: 07/12/2022)
              07/12/2022   540 ***SELECTED PARTIES*** MOTION to Preclude / Notice of Defendants' Motion
                               to Exclude the Testimony of SEC Expert No. 4. Document filed by Ripple Labs Inc.,
                               Bradley Garlinghouse, Christian A. Larsen, Securities and Exchange
                               Commission.Motion or Order to File Under Seal: 530 .(Zornberg, Lisa) (Entered:
                               07/12/2022)
              07/12/2022   541 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 540
                               MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC
                               Expert No. 4. / Defendants' Memorandum of Law in Support of Their Motion to
                               Exclude the Testimony of SEC Expert No. 4. Document filed by Ripple Labs Inc.,
                               Bradley Garlinghouse, Christian A. Larsen, Securities and Exchange Commission.
                               Motion or Order to File Under Seal: 530 .(Zornberg, Lisa) (Entered: 07/12/2022)
              07/12/2022   542 ***SELECTED PARTIES***DECLARATION of Christopher S. Ford in Support re:
                               540 MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of
                               SEC Expert No. 4.. Document filed by Ripple Labs Inc., Bradley Garlinghouse,
                               Christian A. Larsen, Securities and Exchange Commission. (Attachments: # 1 Exhibit
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                                 A − Expert Report of Expert 4, # 2 Exhibit B − Deposition Transcript of Expert 4, # 3
                                 Exhibit C − GAO Report, # 4 Exhibit D − Neha Narula Tweet, # 5 Exhibit E − Sai
                                 Article, # 6 Exhibit F − Troncoso Article, # 7 Exhibit G − Expert 4 Publication, # 8
                                 Exhibit H − SUERF Policy Note, # 9 Exhibit I − XRP Chat Thread)Motion or Order to
                                 File Under Seal: 530 .(Ford, Christopher) (Entered: 07/12/2022)
              07/12/2022   543 ***SELECTED PARTIES*** MOTION to Preclude / Notice of Defendants' Motion
                               to Exclude the Testimony of SEC Expert No. 1. Document filed by Ripple Labs Inc.,
                               Bradley Garlinghouse, Christian A. Larsen, Securities and Exchange
                               Commission.Motion or Order to File Under Seal: 530 .(Oppenheimer, Bradley)
                               (Entered: 07/12/2022)
              07/12/2022   544 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 543
                               MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC
                               Expert No. 1. / Defendants' Memorandum of Law in Support of Their Motion to
                               Exclude the Testimony of SEC Expert No. 1. Document filed by Ripple Labs Inc.,
                               Bradley Garlinghouse, Christian A. Larsen, Securities and Exchange Commission.
                               Motion or Order to File Under Seal: 530 .(Oppenheimer, Bradley) (Entered:
                               07/12/2022)
              07/12/2022   545 ***SELECTED PARTIES***DECLARATION of Bradley E. Oppenheimer in
                               Support re: 543 MOTION to Preclude / Notice of Defendants' Motion to Exclude the
                               Testimony of SEC Expert No. 1.. Document filed by Ripple Labs Inc., Bradley
                               Garlinghouse, Christian A. Larsen, Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit A − Opening Expert Report of Expert No. 1, # 2 Exhibit B −
                               Deposition Transcript of Expert No. 1, # 3 Exhibit C − Expert Rebuttal Report of
                               Kristina Shampanier, # 4 Exhibit D − Opening Expert Report of Allen Ferrell, # 5
                               Exhibit E − Opening Expert Report of Carol Osler, # 6 Exhibit F − Expert Rebuttal
                               Report of Expert No. 1, # 7 Exhibit G − Second Amended Expert Rebuttal Report of
                               Expert No. 1, # 8 Exhibit H − Opening Expert Report of Peter Adriaens, # 9 Exhibit I
                               − Opening Expert Report of Yesha Yadav)Motion or Order to File Under Seal: 530
                               .(Oppenheimer, Bradley) (Entered: 07/12/2022)
              07/12/2022   546 ***SELECTED PARTIES*** MOTION to Preclude / Notice of Defendants' Motion
                               to Exclude the Testimony of SEC Expert No. 5. Document filed by Ripple Labs Inc.,
                               Bradley Garlinghouse, Christian A. Larsen, Securities and Exchange
                               Commission.Motion or Order to File Under Seal: 530 .(Figel, Reid) (Entered:
                               07/12/2022)
              07/12/2022   547 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 546
                               MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC
                               Expert No. 5. / Defendants' Memorandum of Law in Support of Their Motion to
                               Exclude the Testimony of SEC Expert No. 5. Document filed by Ripple Labs Inc.,
                               Bradley Garlinghouse, Christian A. Larsen, Securities and Exchange Commission.
                               Motion or Order to File Under Seal: 530 .(Figel, Reid) (Entered: 07/12/2022)
              07/12/2022   548 ***SELECTED PARTIES***DECLARATION of Pascale Guerrier in Support re: 535
                               MOTION to Preclude .. Document filed by Securities and Exchange Commission,
                               Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1
                               Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3, # 4 Exhibit Exhibit 4, #
                               5 Exhibit Exhibit 5, # 6 Exhibit Exhibit 6, # 7 Exhibit Exhibit 7, # 8 Exhibit Exhibit 8,
                               # 9 Exhibit Exhibit 9, # 10 Exhibit Exhibit 10, # 11 Exhibit Exhibit 11, # 12 Exhibit
                               Exhibit 12, # 13 Exhibit Exhibit 13, # 14 Exhibit Exhibit 14, # 15 Exhibit Exhibit 15, #
                               16 Exhibit Exhibit 16, # 17 Exhibit Exhibit 17, # 18 Exhibit Exhibit 18, # 19 Exhibit
                               Exhibit 19, # 20 Exhibit Exhibit 20, # 21 Exhibit Exhibit 21, # 22 Exhibit Exhibit 22, #
                               23 Exhibit Exhibit 23, # 24 Exhibit Exhibit 24, # 25 Exhibit Exhibit 25, # 26 Exhibit
                               Exhibit 26, # 27 Exhibit Exhibit 27, # 28 Exhibit Exhibit 28, # 29 Exhibit Exhibit 29, #
                               30 Exhibit Exhibit 30, # 31 Exhibit Exhibit 31, # 32 Exhibit Exhibit 32, # 33 Exhibit
                               Exhibit 33, # 34 Exhibit Exhibit 34, # 35 Exhibit Exhibit 35, # 36 Exhibit Exhibit 36, #
                               37 Exhibit Exhibit 37, # 38 Exhibit Exhibit 38, # 39 Exhibit Exhibit 39, # 40 Exhibit
                               Exhibit 40, # 41 Exhibit Exhibit 41, # 42 Exhibit Exhibit 42, # 43 Exhibit Exhibit 43, #
                               44 Exhibit Exhibit 44, # 45 Exhibit Exhibit 45)Motion or Order to File Under Seal: 53
                               .(Guerrier, Pascale) (Entered: 07/12/2022)
              07/12/2022   549 ***SELECTED PARTIES***DECLARATION of Kylie Chiseul Kim in Support re:
                               546 MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of
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                                 SEC Expert No. 5.. Document filed by Ripple Labs Inc., Bradley Garlinghouse,
                                 Christian A. Larsen, Securities and Exchange Commission. (Attachments: # 1 Exhibit
                                 A − Opening Expert Report of Expert No. 5, # 2 Exhibit B − Deposition Transcript of
                                 Expert No. 5, # 3 Exhibit C − Expert Rebuttal Report of Daniel Fischel, # 4 Exhibit D
                                 − Supplemental Deposition Transcript of Expert No. 5, # 5 Exhibit E − Supplemental
                                 Expert Report of Expert No. 5, # 6 Exhibit F − Supplemental Expert Report of M.
                                 Laurentius Marais, # 7 Exhibit G − Exhibit 16, Supplemental Deposition of Expert No.
                                 5)Motion or Order to File Under Seal: 530 .(Kim, Chiseul) (Entered: 07/12/2022)
              07/15/2022   550 LETTER MOTION to Seal Exhibit O to SEC Letter {ECF 509} addressed to Judge
                               Analisa Torres from Andrew J. Ceresney dated July 15, 2022. Document filed by
                               Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Ceresney, Andrew)
                               (Entered: 07/15/2022)
              07/15/2022   551 ***SELECTED PARTIES*** LETTER addressed to Judge Analisa Torres from
                               Andrew J. Ceresney dated July 15, 2022 Document filed by Christian A. Larsen,
                               Bradley Garlinghouse, Ripple Labs Inc., Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit Proposed redactions)Motion or Order to File Under Seal:
                               550 .(Ceresney, Andrew) (Entered: 07/15/2022)
              07/15/2022   552 LETTER addressed to Judge Analisa Torres from Ladan F. Stewart dated July 15,
                               2022 re: proposed redactions pursuant to D.E. 529. Document filed by Securities and
                               Exchange Commission..(Stewart, Ladan) (Entered: 07/15/2022)
              07/15/2022   553 ***SELECTED PARTIES*** LETTER addressed to Judge Analisa Torres from
                               Ladan F. Stewart dated July 15, 2022 re: proposed redactions pursuant to D.E. 529.
                               Document filed by Christian A. Larsen, Bradley Garlinghouse, Ripple Labs Inc.,
                               Securities and Exchange Commission.Motion or Order to File Under Seal: 529
                               .(Stewart, Ladan) (Entered: 07/15/2022)
              07/18/2022   554 ORDER: The Court has reviewed the parties' letters proposing redactions filed on July
                               15, 2022, ECF Nos. 550−53, and finds them to be "narrowly tailored" to preserve the
                               "higher values" identified by the parties, see Lugosch v. Pyramid Co. of Onondaga,
                               435 F.3d 110, 124 (2d Cir. 2006). Accordingly, by July 19, 2022, the parties shall
                               publicly file versions of the SEC's opposition to Movants' request (the "SEC Letter"),
                               ECF No. 509, Defendants' response to the SEC Letter (the "Defendants' Letter"), ECF
                               No. 503, and the exhibits submitted in support of both letters, ECF Nos. 509−1− 17,
                               503−1, that comply with the Court's order dated July 11, 2022, and that include the
                               redactions discussed in ECF Nos. 550− 53. By July 25, 2022, Movants shall file their
                               response to the SEC Letter. SO ORDERED. (Signed by Judge Analisa Torres on
                               7/18/2022) (jca) (Entered: 07/18/2022)
              07/19/2022   555 LETTER addressed to Judge Analisa Torres from Andrew J. Ceresney dated June 10,
                               2022 re: Response to Letter Motion to File Amicus Brief regarding Daubert issues
                               (Public Refiling of ECF Nos. 503 and 503−1 in Response to Court Order ECF No.
                               554). Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit 1 − L Zornberg Email to SEC).(Ceresney, Andrew)
                               (Entered: 07/19/2022)
              07/19/2022   556 LETTER addressed to Judge Analisa Torres from Ladan F. Stewart dated June 7, 2022
                               re: Response in Opposition to Motion to File Amicus Brief re: Daubert issues.
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Exhibit
                               A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit
                               G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13
                               Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q).(Stewart,
                               Ladan) (Entered: 07/19/2022)
              07/19/2022   557 ORDER granting in part and denying in part 484 Letter Motion for Local Rule 37.2
                               Conference; granting in part and denying in part 486 Letter Motion for Local Rule
                               37.2 Conference. The SEC is ordered to file amended responses to RFA 319−20 &
                               342−44 with the term "any person" in lieu of "market participants." The SEC is
                               ordered to file amended responses to RFA 294, with the date "March 29, 2018" in lieu
                               of "April 13, 2018." The SEC is ordered to file amended responses to RFA 263−67 &
                               273−75, which concerns SEC policy, not individual employee trading data; the SEC
                               must answer what the policy was, not whether that policy was followed or whether
                               employees were granted relief from the policy. The SEC is ordered to file amended
                               responses to RFA 491, 492, & 494 as amended so that the "Ripple October 2013
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                                 Presentation" is defined as when "Representatives of Ripple met with members of the
                                 SEC and other U.S. regulatory agencies on or about October 29, 2013." The SEC is
                                 ordered to file amended responses to the No−Action Letters RFAs, except it does not
                                 need to file amended responses to RFA 473, 478, 484, & 488, for which its objections
                                 are sustained. The SEC's objections with respect to RFA 255 & 260−62 are sustained.
                                 The parties are further ordered to meet and confer to reach agreement on the
                                 Authenticity of Recorded Remarks RFAs. As proposed by Defendants, such agreement
                                 might entail creating downloaded versions of the remarks for purposes of
                                 authentication and preservation. (HEREBY ORDERED by Magistrate Judge Sarah
                                 Netburn) (Text Only Order) (ras) (Entered: 07/19/2022)
              07/21/2022   558 LETTER MOTION for Leave to File Excess Pages addressed to Judge Analisa Torres
                               from Ladan F. Stewart dated July 21, 2022. Document filed by Securities and
                               Exchange Commission..(Stewart, Ladan) (Entered: 07/21/2022)
              07/22/2022   559 JOINT LETTER addressed to Judge Analisa Torres from Andrew J. Ceresney dated
                               July 22, 2022 re: Setting Deadline for Non−Party Sealing Applications. Document
                               filed by Ripple Labs Inc.. (Attachments: # 1 Text of Proposed Order For all Non−Party
                               Responses to Pending Motions to Seal Parties' Motions to Exclude Expert
                               Testimony).(Ceresney, Andrew) (Entered: 07/22/2022)
              07/22/2022   560 LETTER RESPONSE in Opposition to Motion addressed to Judge Analisa Torres
                               from Matthew C. Solomon dated July 22, 2022 re: 558 LETTER MOTION for Leave
                               to File Excess Pages addressed to Judge Analisa Torres from Ladan F. Stewart dated
                               July 21, 2022. . Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple
                               Labs Inc...(Solomon, Matthew) (Entered: 07/22/2022)
              07/22/2022   561 LETTER MOTION to Seal /Letter Motion to Redact Certain Exhibits to the Daubert
                               Motions addressed to Judge Analisa Torres from Andrew J. Ceresney dated July 22,
                               2022. Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Appendix A to Letter Motion − Table of Redacted Daubert Motion
                               Exhibits, # 2 Exhibit P − Declaration of Kristina Campbell, # 3 Appendix A to Exhibit
                               P − Table of Specific Redactions).(Ceresney, Andrew) (Entered: 07/22/2022)
              07/22/2022   562 ***SELECTED PARTIES*** LETTER addressed to Judge Analisa Torres from
                               Andrew J. Ceresney dated July 22, 2022 re: Redaction of Certain Exhibits to the
                               Daubert Motions. Document filed by Christian A. Larsen, Bradley Garlinghouse,
                               Ripple Labs Inc., Securities and Exchange Commission. (Attachments: # 1 Appendix
                               A to Letter re: Redaction of Certain Exhibits to the Daubert Motions, # 2 Exhibit A, #
                               3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, #
                               9 Exhibit H, # 10 Exhibit I, # 11 Exhibit J, # 12 Exhibit K, # 13 Exhibit L, # 14
                               Exhibit M, # 15 Exhibit N, # 16 Exhibit O)Motion or Order to File Under Seal: 530
                               .(Ceresney, Andrew) (Entered: 07/22/2022)
              07/22/2022   563 ORDER granting in part and denying in part 558 Letter Motion for Leave to File
                               Excess Pages. GRANTED in part, DENIED in part. The SEC may file a 20−page
                               opening brief and a 10−page reply brief. SO ORDERED.. (Signed by Judge Analisa
                               Torres on 7/22/2022) (kv) (Entered: 07/22/2022)
              07/22/2022   564 ORDER FOR ALL NON−PARTY RESPONSES TO PENDING MOTIONS TO
                               SEAL PARTIES' MOTIONS TO EXCLUDE EXPERT TESTIMONY: IT IS
                               HEREBY ORDERED THAT: any non−parties that (i) have not already given consent
                               to one of the Parties for their proposed redactions of the non−parties' confidential
                               information appearing in the Daubert Motions; and (ii) seek additional or different
                               redactions, must file, by July 28, 2022, a letter explaining the need for such redactions.
                               If no such letter is received by July 28, 2022, the non−party will have waived their
                               right to object to the Court's ultimate ruling on the Parties' motions to seal or redact the
                               Daubert Motions. (Signed by Judge Analisa Torres on 7/22/2022) (kv) (Entered:
                               07/22/2022)
              07/22/2022   565 LETTER MOTION to Seal addressed to Judge Analisa Torres from Ladan F. Stewart
                               dated July 22, 2022. Document filed by Securities and Exchange
                               Commission..(Stewart, Ladan) (Entered: 07/22/2022)
              07/22/2022   566 ***SELECTED PARTIES*** LETTER addressed to Judge Analisa Torres from
                               Ladan F. Stewart dated July 22, 2022 re: Redactions to Daubert Motion Papers.
                               Document filed by Christian A. Larsen, Bradley Garlinghouse, Ripple Labs Inc.,
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                                 Securities and Exchange Commission. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                                 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9
                                 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14
                                 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19
                                 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24
                                 Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29
                                 Exhibit 29, # 30 Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32−A, # 33 Exhibit 32−B, #
                                 34 Exhibit 32−C, # 35 Exhibit 33, # 36 Exhibit 34, # 37 Exhibit 35, # 38 Exhibit 36, #
                                 39 Exhibit 37−A, # 40 Exhibit 37−B, # 41 Exhibit 37−C, # 42 Exhibit 37−D, # 43
                                 Exhibit 37−E, # 44 Exhibit 37−F, # 45 Exhibit 38, # 46 Exhibit 39, # 47 Exhibit 40, #
                                 48 Exhibit 41, # 49 Exhibit 42, # 50 Exhibit 43, # 51 Exhibit 44, # 52 Exhibit 45, # 53
                                 Exhibit 46, # 54 Exhibit 47, # 55 Exhibit 48, # 56 Exhibit 49, # 57 Exhibit 50, # 58
                                 Exhibit 51, # 59 Exhibit 52, # 60 Exhibit 53)Motion or Order to File Under Seal: 565
                                 .(Stewart, Ladan) (Entered: 07/22/2022)
              07/25/2022   567 LETTER REPLY to Response to Motion addressed to Judge Analisa Torres from
                               JOHN E DEATON dated July 25, 2022 re: 489 LETTER MOTION to File Amicus
                               Brief regarding Daubert issues related to opinions of Patrick B. Doody addressed to
                               Judge Analisa Torres from John E. Deaton dated 05.21.22. . Document filed by Jordan
                               Deaton, James LaMonte, Mya LaMonte, Tyler LaMonte, Mitchell McKenna, Kristiana
                               Warner..(Deaton, John) (Entered: 07/25/2022)
              07/25/2022   568 DECLARATION of JOHN E DEATON in Support re: 489 LETTER MOTION to File
                               Amicus Brief regarding Daubert issues related to opinions of Patrick B. Doody
                               addressed to Judge Analisa Torres from John E. Deaton dated 05.21.22.. Document
                               filed by Jordan Deaton, James LaMonte, Mya LaMonte, Tyler LaMonte, Mitchell
                               McKenna, Kristiana Warner. (Attachments: # 1 Exhibit A, JOHN DEATON
                               TWEETS, # 2 Exhibit B, WILLIAM HINMAN EMAILS).(Deaton, John) (Entered:
                               07/25/2022)
              07/25/2022   569 LETTER RESPONSE in Opposition to Motion addressed to Judge Analisa Torres
                               from Andrew J. Ceresney dated July 25, 2022 re: 565 LETTER MOTION to Seal
                               addressed to Judge Analisa Torres from Ladan F. Stewart dated July 22, 2022. .
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Ceresney, Andrew) (Entered: 07/25/2022)
              07/25/2022   570 LETTER RESPONSE in Opposition to Motion addressed to Judge Analisa Torres
                               from Securities and Exchange Commission dated July 25, 2022 re: 561 LETTER
                               MOTION to Seal /Letter Motion to Redact Certain Exhibits to the Daubert Motions
                               addressed to Judge Analisa Torres from Andrew J. Ceresney dated July 22, 2022. .
                               Document filed by Securities and Exchange Commission..(Guerrier, Pascale) (Entered:
                               07/25/2022)
              07/26/2022   571 LETTER MOTION for Leave to File Reply Letter in support of Sealing Motion
                               addressed to Judge Analisa Torres from Andrew J. Ceresney dated July 26, 2022.
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit A − Proposed Reply Letter).(Ceresney, Andrew) (Entered:
                               07/26/2022)
              07/26/2022   572 ORDER: denying 489 Letter Motion to File Amicus Brief. The Court has reviewed the
                               letters addressing a request by Movants, six individual XRP holders, for leave to file
                               an amicus brief concerning a motion to exclude one of the experts put forward by the
                               Securities and Exchange Commission (the "SEC"). See ECF Nos. 489, 555, 556, 567.
                               On October 4, 2021, the Court permitted Movants "to act as amici curiae" and "brief
                               legal issues relevant to the case as approved in advance by the Court." ECF No. 372 at
                               11. In that order, the Court stated that "such assistance will be most beneficial during
                               briefing on dispositive motions." Id. Here, the Court finds that it would not benefit
                               from Movants' assistance in evaluating the qualifications of the SEC's expert Movants
                               may file an application to brief their concerns regarding the SEC's expert, and other
                               relevant and helpful matters, with respect to the parties' contemplated motions for
                               summary judgment. Accordingly, Movant's request is DENIED. SO ORDERED.
                               (Signed by Judge Analisa Torres on 7/26/2022) (ama) (Entered: 07/26/2022)
              07/26/2022   573 BRIEF re: Objections to Orders Compelling the SEC to Produce Privileged Internal
                               Communications. Document filed by Securities and Exchange Commission..(Stewart,
                               Ladan) (Entered: 07/26/2022)
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              07/26/2022   574 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                               APPEAL OF MAGISTRATE JUDGE DECISION to District Court. Document filed
                               by Securities and Exchange Commission. (Attachments: # 1 Affidavit Stewart
                               Declaration and Exhibits).(Stewart, Ladan) Modified on 7/27/2022 (tp). (Entered:
                               07/26/2022)
              07/27/2022         ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                                 ERROR. Notice to Attorney Ladan Stewart to RE−FILE Document 574 Appeal
                                 of Magistrate Judge Decision to District Court. Use the event type Objection
                                 (non−motion) found under the event list Other Answers. (tp) (Entered:
                                 07/27/2022)
              07/27/2022   575 Objection to Orders Compelling the SEC To Produce Privileged Internal
                               Communications. Document filed by Securities and Exchange Commission..(Stewart,
                               Ladan) (Entered: 07/27/2022)
              07/27/2022   576 DECLARATION of Ladan F. Stewart in Support re: 575 Objection (non−motion).
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Exhibit 1,
                               # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit
                               7).(Stewart, Ladan) (Entered: 07/27/2022)
              07/28/2022   577 ORDER granting 571 Letter Motion for Leave to File Document. GRANTED. SO
                               ORDERED.. (Signed by Judge Analisa Torres on 7/28/2022) (kv) (Entered:
                               07/28/2022)
              07/28/2022   578 LETTER REPLY to Response to Motion addressed to Judge Analisa Torres from
                               Andrew J. Ceresney dated July 28, 2022 re: 561 LETTER MOTION to Seal /Letter
                               Motion to Redact Certain Exhibits to the Daubert Motions addressed to Judge Analisa
                               Torres from Andrew J. Ceresney dated July 22, 2022. . Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Ceresney, Andrew) (Entered:
                               07/28/2022)
              07/28/2022   579 LETTER MOTION to Seal addressed to Judge Analisa Torres from Jessica Ann
                               Masella dated July 28, 2022. Document filed by MoneyGram International,
                               Inc...(Masella, Jessica) (Entered: 07/28/2022)
              07/28/2022   580 ***EX−PARTE***Exhibit List // Exhibit A. Document filed by MoneyGram
                               International, Inc..Motion or Order to File Under Seal: 579 .(Masella, Jessica)
                               (Entered: 07/28/2022)
              07/28/2022   581 LETTER MOTION to Seal addressed to Judge Analisa Torres from Michael A. Hanin
                               dated July 28, 2022. Document filed by Third−Party A..(Hanin, Michael) (Entered:
                               07/28/2022)
              08/03/2022   583 LETTER MOTION for Leave to File /leave to serve non−party subpoenas on behalf of
                               Defendants Ripple Labs, Inc., Brad Garlinghouse and Chris Larsen addressed to
                               Magistrate Judge Sarah Netburn from Lisa Zornberg dated 8/3/22. Document filed by
                               Ripple Labs Inc...(Zornberg, Lisa) (Entered: 08/03/2022)
              08/08/2022   584 JOINT LETTER addressed to Judge Analisa Torres from Ladan F. Stewart dated
                               August 8, 2022 re: Deadlines for Sealing Applications. Document filed by Securities
                               and Exchange Commission..(Stewart, Ladan) (Entered: 08/08/2022)
              08/08/2022   585 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Securities and Exchange Commission dated August 8, 2022 re: 583
                               LETTER MOTION for Leave to File /leave to serve non−party subpoenas on behalf of
                               Defendants Ripple Labs, Inc., Brad Garlinghouse and Chris Larsen addressed to
                               Magistrate Judge Sarah Netburn from Lisa Zornberg dated 8/3/22. . Document filed by
                               Securities and Exchange Commission..(Guerrier, Pascale) (Entered: 08/08/2022)
              08/09/2022   586 MEMO ENDORSEMENT on re: 584 Letter filed by Securities and Exchange
                               Commission. ENDORSEMENT: GRANTED. SO ORDERED. (Brief due by
                               8/30/2022., Motions due by 9/9/2022., Responses due by 9/16/2022) (Signed by Judge
                               Analisa Torres on 8/9/2022) (kv) (Entered: 08/09/2022)
              08/09/2022   587 RESPONSE re: 575 Objection (non−motion) . Document filed by Bradley
                               Garlinghouse..(Solomon, Matthew) (Entered: 08/09/2022)
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              08/09/2022   588 DECLARATION of Matthew C. Solomon in Opposition re: 575 Objection
                               (non−motion). Document filed by Bradley Garlinghouse. (Attachments: # 1 Exhibit A
                               − January 13, 2022 Order, # 2 Exhibit B − April 11, 2022 Order, # 3 Exhibit C − July
                               12, 2022 Order, # 4 Exhibit D − W. Hinman Speech, # 5 Exhibit E − April 6, 2021
                               Court Conference Transcript, # 6 Exhibit F − SEC Motion to Quash W. Hinman
                               Deposition, # 7 Exhibit G − Declaration of W. Hinman, # 8 Exhibit H − July 15, 2021
                               Court Conference Transcript, # 9 Exhibit I − August 21, 2021 Court Conference
                               Transcript, # 10 Exhibit J − SEC Motion for Partial Reconsideration and Clarification,
                               # 11 Exhibit K − June 7, 2022 Court Conference Transcript, # 12 Exhibit L − SEC
                               Motion to Strike Fourth Affirmative Defense, # 13 Exhibit M − Excerpts of Deposition
                               Transcript of W. Hinman, # 14 Exhibit N − Declaration of W. Hinman in SEC v.
                               LBRY).(Solomon, Matthew) (Entered: 08/09/2022)
              08/09/2022   589 ***SELECTED PARTIES*** RESPONSE in Opposition to Motion re: 543 MOTION
                               to Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC Expert
                               No. 1. . Document filed by Securities and Exchange Commission, Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. Motion or Order to File Under
                               Seal: 586 .(Stewart, Ladan) (Entered: 08/09/2022)
              08/09/2022   590 ***SELECTED PARTIES***DECLARATION of Ladan F. Stewart in Opposition re:
                               543 MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of
                               SEC Expert No. 1.. Document filed by Securities and Exchange Commission, Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit
                               1)Motion or Order to File Under Seal: 586 .(Stewart, Ladan) (Entered: 08/09/2022)
              08/09/2022   591 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 540
                               MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC
                               Expert No. 4. . Document filed by Securities and Exchange Commission, Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. Motion or Order to File Under
                               Seal: 586 .(Sylvester, Mark) (Entered: 08/09/2022)
              08/09/2022   592 ***SELECTED PARTIES***DECLARATION of Mark R. Sylvester in Opposition
                               re: 540 MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony
                               of SEC Expert No. 4.. Document filed by Securities and Exchange Commission,
                               Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1
                               Exhibit Exhibit A, # 2 Exhibit Exhibit B, # 3 Exhibit Exhibit C, # 4 Exhibit Exhibit D,
                               # 5 Exhibit Exhibit E, # 6 Exhibit Exhibit F)Motion or Order to File Under Seal: 586
                               .(Sylvester, Mark) (Entered: 08/09/2022)
              08/09/2022   593 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 546
                               MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC
                               Expert No. 5. . Document filed by Securities and Exchange Commission, Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. Motion or Order to File Under
                               Seal: 586 .(Sylvester, Mark) (Entered: 08/09/2022)
              08/09/2022   594 ***SELECTED PARTIES***DECLARATION of Mark R. Sylvester in Opposition
                               re: 546 MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony
                               of SEC Expert No. 5.. Document filed by Securities and Exchange Commission,
                               Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1
                               Exhibit Exhibit A, # 2 Exhibit Exhibit B, # 3 Exhibit Exhibit C, # 4 Exhibit Exhibit D,
                               # 5 Exhibit Exhibit E)Motion or Order to File Under Seal: 586 .(Sylvester, Mark)
                               (Entered: 08/09/2022)
              08/09/2022   595 ***SELECTED PARTIES*** RESPONSE in Opposition to Motion re: 532 MOTION
                               to Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC Expert
                               No. 2. . Document filed by Securities and Exchange Commission, Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. Motion or Order to File Under
                               Seal: 53 .(Guerrier, Pascale) (Entered: 08/09/2022)
              08/09/2022   596 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 535
                               MOTION to Preclude . Testimony of Defendants' Expert Witnesses. Document filed by
                               Christian A. Larsen, Bradley Garlinghouse, Ripple Labs Inc., Securities and Exchange
                               Commission. Motion or Order to File Under Seal: 586 .(Kellogg, Michael) (Entered:
                               08/09/2022)
              08/09/2022   597 ***SELECTED PARTIES*** RESPONSE in Opposition to Motion re: 537 MOTION
                               to Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC Expert
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                                 No. 3. . Document filed by Securities and Exchange Commission, Bradley
                                 Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. Motion or Order to File Under
                                 Seal: 53 .(Guerrier, Pascale) (Entered: 08/09/2022)
              08/09/2022   598 ***SELECTED PARTIES***DECLARATION of Kylie Chiseul Kim in Opposition
                               re: 535 MOTION to Preclude .. Document filed by Christian A. Larsen, Bradley
                               Garlinghouse, Ripple Labs Inc., Securities and Exchange Commission. (Attachments:
                               # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, #
                               7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit
                               12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17,
                               # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, #
                               23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28
                               Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32, # 33
                               Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, # 36 Exhibit 36, # 37 Exhibit 37, # 38
                               Exhibit 38)Motion or Order to File Under Seal: 586 .(Kellogg, Michael) (Entered:
                               08/09/2022)
              08/14/2022   599 ORDER granting 583 Letter Motion for Leave to Serve Two Non−Party Subpoenas.
                               (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order)
                               (Netburn, Sarah) (Entered: 08/14/2022)
              08/16/2022   600 REPLY re: Objection to Orders Compelling the SEC To Produce Privileged Internal
                               Communications. Document filed by Securities and Exchange Commission..(Stewart,
                               Ladan) (Entered: 08/16/2022)
              08/19/2022   601 LETTER MOTION to Seal / Letter Motion to Redact Certain Exhibits to the Daubert
                               Responses addressed to Judge Analisa Torres from Andrew J. Ceresney dated August
                               19, 2022. Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Ceresney, Andrew) (Entered: 08/19/2022)
              08/19/2022   602 ***SELECTED PARTIES*** LETTER addressed to Judge Analisa Torres from
                               Andrew J. Ceresney dated August 19, 2022 re: Redaction of Certain Exhibits to the
                               Daubert Responses. Document filed by Christian A. Larsen, Bradley Garlinghouse,
                               Ripple Labs Inc., Securities and Exchange Commission. (Attachments: # 1 Exhibit A,
                               # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G,
                               # 8 Exhibit H, # 9 Exhibit I)Motion or Order to File Under Seal: 601 .(Ceresney,
                               Andrew) (Entered: 08/19/2022)
              08/19/2022   603 LETTER MOTION to Seal addressed to Judge Analisa Torres from Ladan F. Stewart
                               dated August 19, 2022. Document filed by Securities and Exchange
                               Commission..(Stewart, Ladan) (Entered: 08/19/2022)
              08/19/2022   604 ***SELECTED PARTIES*** LETTER addressed to Judge Analisa Torres from
                               Ladan F. Stewart dated August 19, 2022 re: Redactions to Daubert Opposition Papers.
                               Document filed by Christian A. Larsen, Bradley Garlinghouse, Ripple Labs Inc.,
                               Securities and Exchange Commission. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                               Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9
                               Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12)Motion or Order to File
                               Under Seal: 586 .(Stewart, Ladan) (Entered: 08/19/2022)
              08/24/2022   605 LETTER MOTION for Leave to File Omnibus Reply in Further Support of SEC's
                               Motion to Exclude Testimony of Defendants' Expert Witnesses addressed to Judge
                               Analisa Torres from Mark R. Sylvester dated August 24, 2022. Document filed by
                               Securities and Exchange Commission..(Sylvester, Mark) (Entered: 08/24/2022)
              08/25/2022   606 ORDER granting 605 Letter Motion for Leave to File Document. GRANTED. SO
                               ORDERED.. (Signed by Judge Analisa Torres on 8/25/2022) (kv) (Entered:
                               08/25/2022)
              08/26/2022   607 LETTER RESPONSE to Motion addressed to Judge Analisa Torres from Benjamin
                               Hanauer dated 08/26/2022 re: 601 LETTER MOTION to Seal / Letter Motion to
                               Redact Certain Exhibits to the Daubert Responses addressed to Judge Analisa Torres
                               from Andrew J. Ceresney dated August 19, 2022. . Document filed by Securities and
                               Exchange Commission..(Hanauer, Benjamin) (Entered: 08/26/2022)
              08/30/2022   608 ***SELECTED PARTIES*** REPLY MEMORANDUM OF LAW in Support re:
                               543 MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of
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                                SEC Expert No. 1. . Document filed by Christian A. Larsen, Bradley Garlinghouse,
                                Ripple Labs Inc., Securities and Exchange Commission. Motion or Order to File
                                Under Seal: 530 .(Oppenheimer, Bradley) (Entered: 08/30/2022)
              08/30/2022   609 ***SELECTED PARTIES***DECLARATION of Bradley E. Oppenheimer in
                               Support re: 543 MOTION to Preclude / Notice of Defendants' Motion to Exclude the
                               Testimony of SEC Expert No. 1.. Document filed by Christian A. Larsen, Bradley
                               Garlinghouse, Ripple Labs Inc., Securities and Exchange Commission. (Attachments:
                               # 1 Exhibit J − ECF No. 173−3 (Def. Rule 16 Disclosure), U.S. v. Sayre, No.
                               05−cr−00198 (C.D. Cal. July 15, 2008), # 2 Exhibit K − ECF No. 225 (Trial Tr.), U.S.
                               v. Sayre, No. 05−cr−00198 (C.D. Cal. Aug. 21, 2008), # 3 Exhibit L − ECF No. 58,
                               SEC v. Telegram, No. 19−cv−09439 (S.D.N.Y. Jan. 6, 2020))Motion or Order to File
                               Under Seal: 586 .(Oppenheimer, Bradley) (Entered: 08/30/2022)
              08/30/2022   610 ***SELECTED PARTIES*** REPLY MEMORANDUM OF LAW in Support re:
                               546 MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of
                               SEC Expert No. 5. . Document filed by Christian A. Larsen, Bradley Garlinghouse,
                               Ripple Labs Inc., Securities and Exchange Commission. Motion or Order to File
                               Under Seal: 586 .(Figel, Reid) (Entered: 08/30/2022)
              08/30/2022   611 ***SELECTED PARTIES***DECLARATION of Kylie Chiseul Kim in Support re:
                               546 MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of
                               SEC Expert No. 5.. Document filed by Christian A. Larsen, Bradley Garlinghouse,
                               Ripple Labs Inc., Securities and Exchange Commission. (Attachments: # 1 Exhibit H
                               − Mergers in Regulated Industries The Uses and Abuses of Event Studies)Motion or
                               Order to File Under Seal: 586 .(Kim, Chiseul) (Entered: 08/30/2022)
              08/30/2022   612 ***SELECTED PARTIES*** REPLY MEMORANDUM OF LAW in Support re:
                               532 MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of
                               SEC Expert No. 2. . Document filed by Christian A. Larsen, Bradley Garlinghouse,
                               Ripple Labs Inc., Securities and Exchange Commission. Motion or Order to File
                               Under Seal: 586 .(Ceresney, Andrew) (Entered: 08/30/2022)
              08/30/2022   613 ***SELECTED PARTIES*** REPLY MEMORANDUM OF LAW in Support re:
                               537 MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of
                               SEC Expert No. 3. . Document filed by Christian A. Larsen, Bradley Garlinghouse,
                               Ripple Labs Inc., Securities and Exchange Commission. Motion or Order to File
                               Under Seal: 586 .(Ceresney, Andrew) (Entered: 08/30/2022)
              08/30/2022   614 ***SELECTED PARTIES*** REPLY MEMORANDUM OF LAW in Support re:
                               540 MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of
                               SEC Expert No. 4. . Document filed by Christian A. Larsen, Bradley Garlinghouse,
                               Ripple Labs Inc., Securities and Exchange Commission. Motion or Order to File
                               Under Seal: 586 .(Zornberg, Lisa) (Entered: 08/30/2022)
              08/30/2022   615 ***SELECTED PARTIES*** REPLY MEMORANDUM OF LAW in Support re:
                               535 MOTION to Preclude . Testimony of Defendants' Expert Witnesses. Document
                               filed by Securities and Exchange Commission, Bradley Garlinghouse, Christian A.
                               Larsen, Ripple Labs Inc.. Motion or Order to File Under Seal: 586 .(Sylvester, Mark)
                               (Entered: 08/30/2022)
              09/08/2022   616 JOINT LETTER addressed to Judge Analisa Torres from Andrew J Ceresney dated
                               September 8, 2022 re: Deadlines for Sealing Applications. Document filed by Ripple
                               Labs Inc...(Ceresney, Andrew) (Entered: 09/08/2022)
              09/09/2022   617 LETTER MOTION to Seal addressed to Judge Analisa Torres from Securities and
                               Exchange Commission dated September 9, 2022. Document filed by Securities and
                               Exchange Commission. (Attachments: # 1 Exhibit Ex. A Dkt. 608, # 2 Exhibit Ex. B
                               Dkt. 610, # 3 Exhibit Ex. C Dkt. 612, # 4 Exhibit Ex. D Dkt. 613, # 5 Exhibit Ex. E
                               Dkt. 614, # 6 Exhibit Ex. F Dkt. 609, # 7 Exhibit Ex. G Dkt. 611, # 8 Exhibit Ex. H
                               Dkt. 615).(Guerrier, Pascale) (Entered: 09/09/2022)
              09/09/2022   618 ***SELECTED PARTIES*** LETTER addressed to Judge Analisa Torres from
                               Securities and Exchange Commission dated September 9, 2022 re: Motion to Seal.
                               Document filed by Christian A. Larsen, Bradley Garlinghouse, Ripple Labs Inc.,
                               Securities and Exchange Commission. (Attachments: # 1 Exhibit Ex. A Dkt. 608, # 2
                               Exhibit Ex. B Dkt. 610, # 3 Exhibit Ex. C Dkt. 612, # 4 Exhibit Ex. D Dkt. 613, # 5
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                                 Exhibit Ex. E Dkt. 614, # 6 Exhibit Ex. F Dkt. 609, # 7 Exhibit Ex. G Dkt. 611, # 8
                                 Exhibit Ex. H Dkt. 615)Motion or Order to File Under Seal: 53 .(Guerrier, Pascale)
                                 (Entered: 09/09/2022)
              09/12/2022   619 LETTER RESPONSE to Motion addressed to Judge Analisa Torres from Andrew
                               Ceresney dated September 12, 2022 re: 617 LETTER MOTION to Seal addressed to
                               Judge Analisa Torres from Securities and Exchange Commission dated September 9,
                               2022. . Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Ceresney, Andrew) (Entered: 09/12/2022)
              09/12/2022   620 MEMO ENDORSEMENT on re: 616 Letter filed by Ripple Labs Inc.
                               ENDORSEMENT: SO ORDERED. ( Motions due by 12/9/2022., Responses due by
                               9/22/2022, Replies due by 11/15/2022.) (Signed by Judge Analisa Torres on
                               9/12/2022) (kv) (Entered: 09/12/2022)
              09/13/2022   621 ***SELECTED PARTIES*** MOTION for Summary Judgment . Document filed by
                               Christian A. Larsen, Bradley Garlinghouse, Ripple Labs Inc., Securities and Exchange
                               Commission.Motion or Order to File Under Seal: 620 .(Kellogg, Michael) (Entered:
                               09/13/2022)
              09/13/2022   622 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 621
                               MOTION for Summary Judgment . . Document filed by Christian A. Larsen, Bradley
                               Garlinghouse, Ripple Labs Inc., Securities and Exchange Commission. Motion or
                               Order to File Under Seal: 620 .(Kellogg, Michael) (Entered: 09/13/2022)
              09/13/2022   623 ***SELECTED PARTIES***RULE 56.1 STATEMENT. Document filed by
                               Christian A. Larsen, Bradley Garlinghouse, Ripple Labs Inc., Securities and Exchange
                               Commission. Motion or Order to File Under Seal: 620 .(Kellogg, Michael) (Entered:
                               09/13/2022)
              09/13/2022   624 ***SELECTED PARTIES***DECLARATION of Michael K. Kellogg in Support re:
                               621 MOTION for Summary Judgment .. Document filed by Christian A. Larsen,
                               Bradley Garlinghouse, Ripple Labs Inc., Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, #
                               6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit
                               11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16,
                               # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, #
                               22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27
                               Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, # 31 Exhibit 31, # 32
                               Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, # 36 Exhibit 36, # 37
                               Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40, # 41 Exhibit 41, # 42
                               Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, # 45 Exhibit 45, # 46 Exhibit 46, # 47
                               Exhibit 47, # 48 Exhibit 48, # 49 Exhibit 49, # 50 Exhibit 50, # 51 Exhibit 51, # 52
                               Exhibit 52, # 53 Exhibit 53, # 54 Exhibit 54, # 55 Exhibit 55, # 56 Exhibit 56, # 57
                               Exhibit 57, # 58 Exhibit 58, # 59 Exhibit 59, # 60 Exhibit 60, # 61 Exhibit 61, # 62
                               Exhibit 62, # 63 Exhibit 63, # 64 Exhibit 64, # 65 Exhibit 65, # 66 Exhibit 66, # 67
                               Exhibit 67, # 68 Exhibit 68, # 69 Exhibit 69, # 70 Exhibit 70, # 71 Exhibit 71, # 72
                               Exhibit 72, # 73 Exhibit 73, # 74 Exhibit 74, # 75 Exhibit 75, # 76 Exhibit 76, # 77
                               Exhibit 77, # 78 Exhibit 78, # 79 Exhibit 79, # 80 Exhibit 80, # 81 Exhibit 81, # 82
                               Exhibit 82, # 83 Exhibit 83, # 84 Exhibit 84, # 85 Exhibit 85, # 86 Exhibit 86, # 87
                               Exhibit 87, # 88 Exhibit 88, # 89 Exhibit 89, # 90 Exhibit 90, # 91 Exhibit 91, # 92
                               Exhibit 92, # 93 Exhibit 93, # 94 Exhibit 94, # 95 Exhibit 95, # 96 Exhibit 96, # 97
                               Exhibit 97, # 98 Exhibit 98, # 99 Exhibit 99, # 100 Exhibit 100, # 101 Exhibit 101, #
                               102 Exhibit 102, # 103 Exhibit 103, # 104 Exhibit 104, # 105 Exhibit 105, # 106
                               Exhibit 106)Motion or Order to File Under Seal: 620 .(Kellogg, Michael) (Entered:
                               09/13/2022)
              09/13/2022   625 ***SELECTED PARTIES*** MOTION for Summary Judgment against all
                               Defendants. Document filed by Securities and Exchange Commission, Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. Responses due by
                               10/18/2022Motion or Order to File Under Seal: 620 .(Tenreiro, Jorge) (Entered:
                               09/13/2022)
              09/13/2022   626 ***SELECTED PARTIES***DECLARATION of Daphna A. Waxman in Support re:
                               625 MOTION for Summary Judgment against all Defendants.. Document filed by
                               Securities and Exchange Commission, Bradley Garlinghouse, Christian A. Larsen,
                               Ripple Labs Inc.. (Attachments: # 1 Exhibit 500, # 2 Exhibit 500.01 − 500.28, # 3
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                                 Exhibit 501, # 4 Exhibit 501.01 − 501.16, # 5 Exhibit 502, # 6 Exhibit 502.01 −
                                 502.08, # 7 Exhibit 503, # 8 Exhibit 503.01 − 503.25, # 9 Exhibit 504, # 10 Exhibit
                                 504.01 − 504.42, # 11 Exhibit 505, # 12 Exhibit 506, # 13 Exhibit 506.01 − 506.123, #
                                 14 Exhibit 507, # 15 Exhibit 507.01 − 507.20, # 16 Exhibit 508, # 17 Exhibit 508.01 −
                                 508.37, # 18 Exhibit 509, # 19 Exhibit 509.01 − 509.91)Motion or Order to File Under
                                 Seal: 620 .(Tenreiro, Jorge) (Entered: 09/13/2022)
              09/13/2022   627 ***SELECTED PARTIES***DECLARATION of Jorge G Tenreiro in Support re:
                               625 MOTION for Summary Judgment against all Defendants.. Document filed by
                               Securities and Exchange Commission, Bradley Garlinghouse, Christian A. Larsen,
                               Ripple Labs Inc.. (Attachments: # 1 Exhibit 401, # 2 Affidavit 402, # 3 Exhibit 404, #
                               4 Appendix 405, # 5 Exhibit 406, # 6 Exhibit 407, # 7 Exhibit 408, # 8 Exhibit 410, #
                               9 Exhibit 411, # 10 Exhibit 412, # 11 Exhibit 413, # 12 Exhibit 414, # 13 Exhibit 415,
                               # 14 Exhibit 416, # 15 Exhibit 417, # 16 Exhibit 418, # 17 Exhibit 419, # 18 Exhibit
                               420, # 19 Exhibit 421, # 20 Exhibit 422, # 21 Exhibit 423, # 22 Exhibit 424, # 23
                               Exhibit 425, # 24 Exhibit 426, # 25 Exhibit 427, # 26 Exhibit 428, # 27 Exhibit 429, #
                               28 Exhibit 430, # 29 Exhibit 431, # 30 Exhibit 432, # 31 Exhibit 433, # 32 Exhibit
                               434, # 33 Exhibit 435, # 34 Exhibit 436, # 35 Exhibit 437, # 36 Exhibit 438, # 37
                               Exhibit 439, # 38 Exhibit 440, # 39 Exhibit 441, # 40 Exhibit 442, # 41 Exhibit 443, #
                               42 Exhibit 444, # 43 Exhibit 445, # 44 Exhibit 446, # 45 Exhibit 447, # 46 Exhibit
                               448, # 47 Exhibit 449, # 48 Exhibit 450, # 49 Exhibit 451, # 50 Exhibit 452, # 51
                               Exhibit 453, # 52 Exhibit 454, # 53 Exhibit 455, # 54 Exhibit 458, # 55 Exhibit 459, #
                               56 Exhibit 460, # 57 Exhibit 461, # 58 Exhibit 462, # 59 Exhibit 463, # 60 Exhibit
                               464, # 61 Exhibit 465, # 62 Exhibit 466, # 63 Exhibit 467, # 64 Exhibit 468, # 65
                               Exhibit 469, # 66 Exhibit 470, # 67 Exhibit 471, # 68 Exhibit 472, # 69 Exhibit 473, #
                               70 Exhibit 474, # 71 Exhibit 475, # 72 Exhibit 476, # 73 Exhibit 477, # 74 Exhibit
                               478, # 75 Exhibit 479, # 76 Exhibit 480, # 77 Exhibit 481, # 78 Exhibit 482, # 79
                               Exhibit 483, # 80 Exhibit 484, # 81 Exhibit 485, # 82 Exhibit 486, # 83 Exhibit 487, #
                               84 Exhibit 488, # 85 Exhibit 489, # 86 Exhibit 490, # 87 Exhibit 491, # 88 Exhibit
                               492, # 89 Exhibit 493, # 90 Exhibit 494, # 91 Exhibit 495, # 92 Exhibit 496, # 93
                               Exhibit 497, # 94 Exhibit 498, # 95 Exhibit 510, # 96 Exhibit 511, # 97 Exhibit 513, #
                               98 Exhibit 514, # 99 Exhibit 515, # 100 Exhibit 516, # 101 Exhibit 517, # 102 Exhibit
                               518, # 103 Exhibit 519, # 104 Exhibit 520, # 105 Exhibit 521, # 106 Exhibit 522, #
                               107 Exhibit 523, # 108 Exhibit 541, # 109 Exhibit 542, # 110 Exhibit 543, # 111
                               Exhibit 544)Motion or Order to File Under Seal: 620 .(Tenreiro, Jorge) (Entered:
                               09/13/2022)
              09/13/2022   628 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 625
                               MOTION for Summary Judgment against all Defendants. . Document filed by
                               Securities and Exchange Commission, Bradley Garlinghouse, Christian A. Larsen,
                               Ripple Labs Inc.. Motion or Order to File Under Seal: 620 .(Tenreiro, Jorge) (Entered:
                               09/13/2022)
              09/13/2022   630 ***SELECTED PARTIES***DECLARATION of Ladan F. Stewart in Support re:
                               625 MOTION for Summary Judgment against all Defendants.. Document filed by
                               Securities and Exchange Commission, Bradley Garlinghouse, Christian A. Larsen,
                               Ripple Labs Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit
                               4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit
                               10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15,
                               # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, #
                               21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26
                               Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, # 31
                               Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, # 36
                               Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40, # 41
                               Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, # 45 Exhibit 45, # 46
                               Exhibit 46, # 47 Exhibit 47, # 48 Exhibit 48, # 49 Exhibit 49, # 50 Exhibit 50, # 51
                               Exhibit 51, # 52 Exhibit 52, # 53 Exhibit 53, # 54 Exhibit 54, # 55 Exhibit 55, # 56
                               Exhibit 56, # 57 Exhibit 57, # 58 Exhibit 58, # 59 Exhibit 59, # 60 Exhibit 60, # 61
                               Exhibit 61, # 62 Exhibit 62, # 63 Exhibit 63, # 64 Exhibit 64, # 65 Exhibit 65, # 66
                               Exhibit 66, # 67 Exhibit 67, # 68 Exhibit 68, # 69 Exhibit 69, # 70 Exhibit 70, # 71
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                                Exhibit 193, # 193 Exhibit 194, # 194 Exhibit 195, # 195 Exhibit 196, # 196 Exhibit
                                197, # 197 Exhibit 198, # 198 Exhibit 199, # 199 Exhibit 200)Motion or Order to File
                                Under Seal: 620 .(Stewart, Ladan) (Entered: 09/14/2022)
              09/13/2022   631 ***SELECTED PARTIES***DECLARATION of Mark R Sylvester in Support re:
                               625 MOTION for Summary Judgment against all Defendants.. Document filed by
                               Securities and Exchange Commission, Bradley Garlinghouse, Christian A. Larsen,
                               Ripple Labs Inc.. (Attachments: # 1 Exhibit 201, # 2 Exhibit 202, # 3 Exhibit 203, # 4
                               Exhibit 204, # 5 Exhibit 205, # 6 Exhibit 206, # 7 Exhibit 207, # 8 Exhibit 208, # 9
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                                198 Exhibit 400, # 199 Exhibit 540, # 200 Exhibit 545)Motion or Order to File Under
                                Seal: 620 .(Sylvester, Mark) (Entered: 09/14/2022)
              09/14/2022   629 ***SELECTED PARTIES***RULE 56.1 STATEMENT. Document filed by
                               Securities and Exchange Commission, Bradley Garlinghouse, Christian A. Larsen,
                               Ripple Labs Inc.. Motion or Order to File Under Seal: 620 .(Tenreiro, Jorge) (Entered:
                               09/14/2022)
              09/14/2022   632 MOTION to File Amicus Brief . Document filed by The Chamber of Digital
                               Commerce..(Tessler, Lilya) (Entered: 09/14/2022)
              09/14/2022   633 MEMORANDUM OF LAW in Support re: 632 MOTION to File Amicus Brief . .
                               Document filed by The Chamber of Digital Commerce..(Tessler, Lilya) (Entered:
                               09/14/2022)
              09/14/2022   634 DECLARATION of Lilya Tessler in Support re: 632 MOTION to File Amicus Brief ..
                               Document filed by The Chamber of Digital Commerce. (Attachments: # 1 Exhibit A −
                               Proposed Amicus Brief).(Tessler, Lilya) (Entered: 09/14/2022)
              09/14/2022   635 LETTER MOTION to Seal addressed to Judge Analisa Torres from Michael A. Hanin
                               dated September 14, 2022. Document filed by Third−Party A..(Hanin, Michael)
                               (Entered: 09/14/2022)
              09/14/2022   636 ***EX−PARTE*** LETTER addressed to Judge Analisa Torres from Michael A.
                               Hanin dated September 14, 2022 re: Third−Party Application to Seal. Document filed
                               by Third−Party A. (Attachments: # 1 Exhibit A)Motion or Order to File Under Seal:
                               635 .(Hanin, Michael) (Entered: 09/14/2022)
              09/16/2022   637 LETTER MOTION to Seal addressed to Judge Analisa Torres from Katherine A.
                               Marshall dated September 16, 2022. Document filed by Third−Party B..(Marshall,
                               Katherine) (Entered: 09/16/2022)
              09/16/2022   638 ***EX−PARTE*** LETTER MOTION for Leave to File Letter Motion addressed to
                               Judge Analisa Torres from Katherine A. Marshall dated September 16, 2022.
                               Document filed by Third−Party B. (Attachments: # 1 Exhibit A)Motion or Order to
                               File Under Seal: 637 .(Marshall, Katherine) (Entered: 09/16/2022)
              09/17/2022   639 MOTION for Summary Judgment against all Defendants. Document filed by
                               Securities and Exchange Commission. Responses due by 10/18/2022.(Tenreiro, Jorge)
                               (Entered: 09/17/2022)
              09/17/2022   640 MEMORANDUM OF LAW in Support re: 639 MOTION for Summary Judgment
                               against all Defendants. . Document filed by Securities and Exchange
                               Commission..(Tenreiro, Jorge) (Entered: 09/17/2022)
              09/17/2022   641 FILING ERROR − DEFICIENT DOCKET ENTRY − (SEE DOCUMENT#643)
                               MEMORANDUM OF LAW in Support re: 621 MOTION for Summary Judgment .
                               (Redacted). Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple
                               Labs Inc...(Ceresney, Andrew) Modified on 9/19/2022 (lb). (Entered: 09/17/2022)
              09/17/2022   642 MOTION for Summary Judgment . Document filed by Bradley Garlinghouse,
                               Christian A. Larsen, Ripple Labs Inc...(Ceresney, Andrew) (Entered: 09/17/2022)
              09/17/2022   643 MEMORANDUM OF LAW in Support re: 642 MOTION for Summary Judgment .
                               (Redacted). Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple
                               Labs Inc...(Ceresney, Andrew) (Entered: 09/17/2022)
              09/19/2022   644 RESPONSE to Motion re: 632 MOTION to File Amicus Brief . . Document filed by
                               Securities and Exchange Commission..(Stewart, Ladan) (Entered: 09/19/2022)
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              09/19/2022   645 JOINT LETTER addressed to Judge Analisa Torres from Ladan F. Stewart dated
                               September 19, 2022 re: schedule for third−party sealing motions. Document filed by
                               Securities and Exchange Commission..(Stewart, Ladan) (Entered: 09/19/2022)
              09/20/2022   646 LETTER RESPONSE to Motion addressed to Judge Analisa Torres from Michael K.
                               Kellogg dated September 20, 2022 re: 632 MOTION to File Amicus Brief . .
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Kellogg, Michael) (Entered: 09/20/2022)
              09/21/2022   647 ORDER granting 632 Motion to File Amicus Brief. The request is GRANTED. By
                               September 26, 2022, the Chamber of Digital Commerce shall file its brief. The Clerk
                               of Court is directed to terminate the motion at ECF No. 632. SO ORDERED. (Signed
                               by Judge Analisa Torres on 9/21/22) (yv) (Entered: 09/21/2022)
              09/21/2022        Set/Reset Deadlines: Brief due by 9/26/2022. (yv) (Entered: 09/21/2022)
              09/21/2022   648 MEMO ENDORSEMENT on re: 645 Letter filed by Securities and Exchange
                               Commission. ENDORSEMENT: GRANTED. SO ORDERED. ( Responses due by
                               12/22/2022) (Signed by Judge Analisa Torres on 9/21/2022) (kv) Modified on
                               9/22/2022 (kv). (Entered: 09/21/2022)
              09/21/2022   649 BRIEF of Amicus Curiae The Chamber of Digital Commerce. Document filed by The
                               Chamber of Digital Commerce..(Tessler, Lilya) (Entered: 09/21/2022)
              09/23/2022   650 MOTION for Bethan R. Jones to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                               number BNYSDC−26726440. Motion and supporting papers to be reviewed by
                               Clerk's Office staff. Document filed by Ripple Labs Inc.. (Attachments: # 1 Exhibit
                               A, # 2 Exhibit B, # 3 Text of Proposed Order Proposed Order).(Jones, Bethan)
                               (Entered: 09/23/2022)
              09/26/2022        >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                No. 650 MOTION for Bethan R. Jones to Appear Pro Hac Vice . Filing fee $
                                200.00, receipt number BNYSDC−26726440. Motion and supporting papers to be
                                reviewed by Clerk's Office staff.. The document has been reviewed and there are
                                no deficiencies. (aea) (Entered: 09/26/2022)
              09/29/2022   651 ORDER granting 650 Motion for Bethan R. Jones to Appear Pro Hac Vice (HEREBY
                               ORDERED by Judge Analisa Torres)(Text Only Order) (JMS) (Entered: 09/29/2022)
              09/29/2022   652 ORDER: For the foregoing reasons, the Court OVERRULES the SEC's objections and
                               directs the SEC to comply with the Orders. SO ORDERED. (Signed by Judge Analisa
                               Torres on 9/29/2022) (ama) (Entered: 09/29/2022)
              09/30/2022   653 MOTION to File Amicus Brief . Document filed by I−REMIT, INC...(Farkas, Brian)
                               (Entered: 09/30/2022)
              09/30/2022   654 MEMORANDUM OF LAW in Support re: 653 MOTION to File Amicus Brief . .
                               Document filed by I−REMIT, INC...(Farkas, Brian) (Entered: 09/30/2022)
              09/30/2022   655 DECLARATION of Brian Farkas in Support re: 653 MOTION to File Amicus Brief ..
                               Document filed by I−REMIT, INC.. (Attachments: # 1 Exhibit Exhibit A − Proposed
                               Amicus Brief).(Farkas, Brian) (Entered: 09/30/2022)
              09/30/2022   656 LETTER MOTION to File Amicus Brief of TapJets, Inc. on behalf of Defendant
                               addressed to Judge Analisa Torres from Debra L. Fein/ TapJets, Inc. dated September
                               30, 2022. Document filed by Debra L Fein. (Attachments: # 1 Exhibit Motion to
                               Appear Pro Hac Vice, # 2 Affidavit of Debra L. Fein, # 3 Exhibit Cert of Good
                               Standing FL Bar, # 4 Text of Proposed Order On Motion to Appear Pro Hac
                               Vice).(Fein, Debra) (Entered: 09/30/2022)
              10/04/2022   657 LETTER RESPONSE in Opposition to Motion addressed to Judge Analisa Torres
                               from Ladan F. Stewart dated October 4, 2022 re: 653 MOTION to File Amicus Brief .,
                               656 LETTER MOTION to File Amicus Brief of TapJets, Inc. on behalf of Defendant
                               addressed to Judge Analisa Torres from Debra L. Fein/ TapJets, Inc. dated September
                               30, 2022. . Document filed by Securities and Exchange Commission..(Stewart, Ladan)
                               (Entered: 10/04/2022)
              10/05/2022   658 LETTER addressed to Judge Analisa Torres from Michael K. Kellogg dated October
                               5, 2022 re: 653 MOTION to File Amicus Brief, 656 LETTER MOTION to File
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                                 Amicus Brief of TapJets, Inc., 657 LETTER RESPONSE in Opposition to Motion.
                                 Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                                 Inc...(Kellogg, Michael) (Entered: 10/05/2022)
              10/11/2022   659 ORDER granting 653 Letter Motion to File Amicus Brief; granting 656 Letter Motion
                               to File Amicus Brief. Accordingly, the requests are GRANTED. By October 14, 2022,
                               I−Remit, Inc. and TapJets, Inc. shall file their briefs. Amici are reminded that their
                               briefs must comply with the requirements set forth in Section III.D of the Court's
                               Individual Practices in Civil Cases. The Clerk of Court is directed to terminate the
                               motions at ECF Nos. 653, 656. SO ORDERED.. (Signed by Judge Analisa Torres on
                               10/11/2022) (kv) (Entered: 10/11/2022)
              10/11/2022         Set/Reset Deadlines: Brief due by 10/14/2022. (kv) (Entered: 10/11/2022)
              10/12/2022   660 BRIEF re: 621 MOTION for Summary Judgment ., 642 MOTION for Summary
                               Judgment . AMICUS BRIEF BY I−REMIT, INC IN SUPPORT OF DEFENDANTS'
                               MOTION FOR SUMMARY JUDGMENT. Document filed by I−REMIT,
                               INC...(Farkas, Brian) (Entered: 10/12/2022)
              10/14/2022   661 RESPONSE in Support of Motion re: 621 MOTION for Summary Judgment . Amicus
                               Brief of TapJets, Inc., in Support of Defendants' Motion for Summary Judgment.
                               Document filed by Debra L Fein. (Attachments: # 1 Affidavit of Eugene Kesselman,
                               Founder and CEO of TapJets, Inc.).(Fein, Debra) (Entered: 10/14/2022)
              10/18/2022   662 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 625
                               MOTION for Summary Judgment against all Defendants. . Document filed by Ripple
                               Labs Inc., Christian A. Larsen, Bradley Garlinghouse, Securities and Exchange
                               Commission. Motion or Order to File Under Seal: 620 .(Kellogg, Michael) (Entered:
                               10/18/2022)
              10/18/2022   663 ***SELECTED PARTIES***COUNTER STATEMENT TO 629 Rule 56.1
                               Statement. Document filed by Ripple Labs Inc., Christian A. Larsen, Bradley
                               Garlinghouse, Securities and Exchange Commission. Motion or Order to File Under
                               Seal: 620 .(Kellogg, Michael) (Entered: 10/18/2022)
              10/18/2022   664 ***SELECTED PARTIES***DECLARATION of Christopher S. Ford in Opposition
                               re: 625 MOTION for Summary Judgment against all Defendants.. Document filed by
                               Ripple Labs Inc., Bradley Garlinghouse, Christian A. Larsen, Securities and Exchange
                               Commission. (Attachments: # 1 Exhibit 107, # 2 Exhibit 108, # 3 Exhibit 109, # 4
                               Exhibit 110, # 5 Exhibit 111, # 6 Exhibit 112, # 7 Exhibit 113, # 8 Exhibit 114, # 9
                               Exhibit 115, # 10 Exhibit 116, # 11 Exhibit 117, # 12 Exhibit 118, # 13 Exhibit 119, #
                               14 Exhibit 120, # 15 Exhibit 121, # 16 Exhibit 122, # 17 Exhibit 123, # 18 Exhibit
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                               Exhibit 129, # 24 Exhibit 130, # 25 Exhibit 131, # 26 Exhibit 132, # 27 Exhibit 133, #
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                               Exhibit 157, # 52 Exhibit 158, # 53 Exhibit 159, # 54 Exhibit 160, # 55 Exhibit 161, #
                               56 Exhibit 162, # 57 Exhibit 163, # 58 Exhibit 164, # 59 Exhibit 165, # 60 Exhibit
                               166)Motion or Order to File Under Seal: 620 .(Ford, Christopher) (Entered:
                               10/18/2022)
              10/18/2022   665 ***SELECTED PARTIES***DECLARATION of Erol Gulay in Opposition re: 625
                               MOTION for Summary Judgment against all Defendants.. Document filed by Ripple
                               Labs Inc., Christian A. Larsen, Bradley Garlinghouse, Securities and Exchange
                               Commission. (Attachments: # 1 Exhibit 167.01, # 2 Exhibit 167.02, # 3 Exhibit
                               167.03, # 4 Exhibit 167.04, # 5 Exhibit 167.05, # 6 Exhibit 167.06, # 7 Exhibit 167.07,
                               # 8 Exhibit 167.08, # 9 Exhibit 167.09, # 10 Exhibit 167.10, # 11 Exhibit 167.11, # 12
                               Exhibit 167.12, # 13 Exhibit 167.13, # 14 Exhibit 167.14, # 15 Exhibit 167.15, # 16
                               Exhibit 167.16, # 17 Exhibit 167.17, # 18 Exhibit 167.18, # 19 Exhibit 167.19, # 20
                               Exhibit 167.20, # 21 Exhibit 167.21, # 22 Exhibit 167.22, # 23 Exhibit 167.23, # 24
                               Exhibit 167.24, # 25 Exhibit 167.25, # 26 Exhibit 167.26, # 27 Exhibit 168, # 28
                               Exhibit 169, # 29 Exhibit 170, # 30 Exhibit 171, # 31 Exhibit 172, # 32 Exhibit 173, #
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                                61 Exhibit 202, # 62 Exhibit 203, # 63 Exhibit 204, # 64 Exhibit 205, # 65 Exhibit
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                                89 Exhibit 230, # 90 Exhibit 231, # 91 Exhibit 232, # 92 Exhibit 233, # 93 Exhibit
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                                133 Exhibit 274, # 134 Exhibit 275, # 135 Exhibit 276, # 136 Exhibit 277, # 137
                                Exhibit 278, # 138 Exhibit 279)Motion or Order to File Under Seal: 620 .(Gulay, Erol)
                                (Entered: 10/18/2022)
              10/18/2022   666 LETTER MOTION to File Amicus Brief addressed to Judge Analisa Torres from Avi
                               Weitzman dated October 18, 2022. Document filed by Investor Choice Advocates
                               Network, Phillip Goldstein. (Attachments: # 1 Exhibit A − Amicus Brief).(Weitzman,
                               Avi) (Entered: 10/18/2022)
              10/18/2022   667 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 621
                               MOTION for Summary Judgment . . Document filed by Securities and Exchange
                               Commission, Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Appendix A)Motion or Order to File Under Seal: 620 .(Tenreiro,
                               Jorge) (Entered: 10/18/2022)
              10/18/2022   668 ***SELECTED PARTIES***COUNTER STATEMENT TO 623 Rule 56.1
                               Statement. Document filed by Securities and Exchange Commission, Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. Motion or Order to File Under
                               Seal: 620 .(Tenreiro, Jorge) (Entered: 10/18/2022)
              10/18/2022   669 ***SELECTED PARTIES***DECLARATION of Ladan F. Stewart in Opposition re:
                               621 MOTION for Summary Judgment .. Document filed by Securities and Exchange
                               Commission, Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit 113, # 2 Exhibit 398, # 3 Exhibit 409, # 4 Exhibit 456, # 5
                               Exhibit 457, # 6 Exhibit 499, # 7 Exhibit 500, # 8 Exhibit 505, # 9 Exhibit 525, # 10
                               Exhibit 526, # 11 Exhibit 528, # 12 Exhibit 529, # 13 Exhibit 530, # 14 Exhibit 532, #
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                               Exhibit 614, # 81 Exhibit 615, # 82 Exhibit 616, # 83 Exhibit 617, # 84 Exhibit 618, #
                               85 Exhibit 619, # 86 Exhibit 620, # 87 Exhibit 621, # 88 Exhibit 623, # 89 Exhibit
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                               Exhibit 631, # 95 Exhibit 632, # 96 Exhibit 633, # 97 Exhibit 634, # 98 Exhibit 635, #
                               99 Exhibit 636, # 100 Exhibit 637, # 101 Exhibit 638, # 102 Exhibit 639, # 103
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                                Exhibit 640, # 104 Exhibit 641, # 105 Exhibit 642, # 106 Exhibit 643, # 107 Exhibit
                                644)Motion or Order to File Under Seal: 620 .(Stewart, Ladan) (Entered: 10/18/2022)
              10/18/2022   670 ***SELECTED PARTIES***DECLARATION of Mark R. Sylvester in Opposition
                               re: 621 MOTION for Summary Judgment .. Document filed by Securities and
                               Exchange Commission, Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit 645, # 2 Exhibit 646, # 3 Exhibit 647, # 4 Exhibit 648, # 5
                               Exhibit 649, # 6 Exhibit 650, # 7 Exhibit 651, # 8 Exhibit 652, # 9 Exhibit 653, # 10
                               Exhibit 654, # 11 Exhibit 655, # 12 Exhibit 656, # 13 Exhibit 657, # 14 Exhibit 658, #
                               15 Exhibit 659, # 16 Exhibit 660, # 17 Exhibit 661, # 18 Exhibit 662, # 19 Exhibit
                               663, # 20 Exhibit 665, # 21 Exhibit 666, # 22 Exhibit 667, # 23 Exhibit 668, # 24
                               Exhibit 669, # 25 Exhibit 670, # 26 Exhibit 672, # 27 Exhibit 673, # 28 Exhibit 674, #
                               29 Exhibit 675, # 30 Exhibit 676, # 31 Exhibit 677, # 32 Exhibit 678, # 33 Exhibit
                               679, # 34 Exhibit 680, # 35 Exhibit 681, # 36 Exhibit 682, # 37 Exhibit 683, # 38
                               Exhibit 684, # 39 Exhibit 685, # 40 Exhibit 686, # 41 Exhibit 687, # 42 Exhibit 688, #
                               43 Exhibit 689, # 44 Exhibit 690, # 45 Exhibit 691, # 46 Exhibit 692, # 47 Exhibit
                               693, # 48 Exhibit 694, # 49 Exhibit 695, # 50 Exhibit 696, # 51 Exhibit 697, # 52
                               Exhibit 698, # 53 Exhibit 699, # 54 Exhibit 701, # 55 Exhibit 702, # 56 Exhibit 703, #
                               57 Exhibit 704, # 58 Exhibit 705, # 59 Exhibit 706, # 60 Exhibit 707, # 61 Exhibit
                               708, # 62 Exhibit 709, # 63 Exhibit 710, # 64 Exhibit 711, # 65 Exhibit 712, # 66
                               Exhibit 713, # 67 Exhibit 714, # 68 Exhibit 715, # 69 Exhibit 716, # 70 Exhibit 717, #
                               71 Exhibit 718, # 72 Exhibit 719, # 73 Exhibit 720, # 74 Exhibit 721, # 75 Exhibit
                               722, # 76 Exhibit 724, # 77 Exhibit 725, # 78 Exhibit 726, # 79 Exhibit 727, # 80
                               Exhibit 728, # 81 Exhibit 729, # 82 Exhibit 730, # 83 Exhibit 731, # 84 Exhibit 732, #
                               85 Exhibit 733, # 86 Exhibit 734, # 87 Exhibit 735, # 88 Exhibit 736, # 89 Exhibit
                               737, # 90 Exhibit 738, # 91 Exhibit 739, # 92 Exhibit 740, # 93 Exhibit 741, # 94
                               Exhibit 742, # 95 Exhibit 743, # 96 Exhibit 744, # 97 Exhibit 745, # 98 Exhibit 746, #
                               99 Exhibit 747, # 100 Exhibit 748, # 101 Exhibit 749, # 102 Exhibit 750, # 103
                               Exhibit 751, # 104 Exhibit 752, # 105 Exhibit 753, # 106 Exhibit 754, # 107 Exhibit
                               755, # 108 Exhibit 756, # 109 Exhibit 757, # 110 Exhibit 758, # 111 Exhibit 759, #
                               112 Exhibit 760, # 113 Exhibit 761, # 114 Exhibit 762, # 115 Exhibit 763, # 116
                               Exhibit 764, # 117 Exhibit 765, # 118 Exhibit 766, # 119 Exhibit 767, # 120 Exhibit
                               768, # 121 Exhibit 769, # 122 Exhibit 770, # 123 Exhibit 771)Motion or Order to File
                               Under Seal: 620 .(Sylvester, Mark) (Entered: 10/18/2022)
              10/19/2022   671 LETTER MOTION to Seal /Redact Declaration Of Third−Party C's Officer,
                               addressed to Judge Analisa Torres from Jonathan Rotenberg dated 10/19/22.
                               Document filed by Third−Party C..(Rotenberg, Jonathan) (Entered: 10/19/2022)
              10/20/2022   673 FILING ERROR − DEFICIENT DOCKET ENTRY (SEE 675 Memorandum) −
                               MEMORANDUM OF LAW in Opposition re: 625 MOTION for Summary Judgment
                               against all Defendants. (Redacted). Document filed by Bradley Garlinghouse,
                               Christian A. Larsen, Ripple Labs Inc. (Kellogg, Michael) Modified on 10/25/2022
                               (db). As per ECF Error Email Correspondence received on 10/21/2022 @ 8:47am.
                               (Entered: 10/20/2022)
              10/21/2022   674 MEMORANDUM OF LAW in Opposition re: 642 MOTION for Summary Judgment .
                               . Document filed by Securities and Exchange Commission. (Attachments: # 1
                               Appendix A).(Tenreiro, Jorge) (Entered: 10/21/2022)
              10/21/2022   675 MEMORANDUM OF LAW in Opposition re: 625 MOTION for Summary Judgment
                               against all Defendants. (Corrected from 673 Redacted). Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered:
                               10/21/2022)
              10/21/2022   676 LETTER MOTION to File Amicus Brief addressed to Judge Analisa Torres from
                               Joam Alisme, Esq. dated 10/21/2022. Document filed by SpendTheBits, Inc..
                               (Attachments: # 1 Affidavit J. Affidavit, # 2 Supplement Brief).(Alisme, Joam)
                               (Entered: 10/21/2022)
              10/21/2022   677 LETTER addressed to Magistrate Judge Sarah Netburn from Ladan F. Stewart dated
                               October 21, 2022 re: in camera submission. Document filed by Securities and
                               Exchange Commission..(Stewart, Ladan) (Entered: 10/21/2022)
              10/26/2022   678 LETTER RESPONSE to Motion addressed to Judge Analisa Torres from Ladan F.
                               Stewart dated October 26, 2022 re: 676 LETTER MOTION to File Amicus Brief
                               addressed to Judge Analisa Torres from Joam Alisme, Esq. dated 10/21/2022., 666
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                                 LETTER MOTION to File Amicus Brief addressed to Judge Analisa Torres from Avi
                                 Weitzman dated October 18, 2022. . Document filed by Securities and Exchange
                                 Commission..(Stewart, Ladan) (Entered: 10/26/2022)
              10/28/2022   679 ORDER granting 666 Letter Motion to File Amicus Brief; granting 676 Letter Motion
                               to File Amicus Brief. The Court has reviewed the requests by Phillip Goldstein and the
                               Investor Choice Advocates Network ("ICAN") and SpendTheBits, Inc. for leave to file
                               amicus curiae briefs dated October 18 and 21, 2022, ECF Nos. 666, 676, and Plaintiffs
                               letter dated October 26, 2022, ECF No. 678. Accordingly, the requests are
                               GRANTED. By November 2, 2022, Phillip Goldstein and ICAN and SpendTheBits,
                               Inc. shall file their briefs. Amici are reminded that their briefs must comply with the
                               requirements set forth in Section III.D of the Court's Individual Practices in Civil
                               Cases. Plaintiff may respond to amici in its reply brief in support of its motion for
                               summary judgment. The Clerk of Court is directed to terminate the motions at ECF
                               Nos. 666, 676. SO ORDERED.. (Signed by Judge Analisa Torres on 10/28/2022) (kv)
                               (Entered: 10/28/2022)
              10/28/2022         Set/Reset Deadlines: Brief due by 11/2/2022. (kv) (Entered: 10/28/2022)
              10/28/2022   680 MOTION to File Amicus Brief . Document filed by Blockchain Association..(Gottlieb,
                               Jason) (Entered: 10/28/2022)
              10/28/2022   681 DECLARATION of Jason Gottlieb in Support re: 680 MOTION to File Amicus Brief
                               .. Document filed by Blockchain Association. (Attachments: # 1 Exhibit Exhibit 1−
                               Brief of Amicus Curiae the Blockchain Association).(Gottlieb, Jason) (Entered:
                               10/28/2022)
              10/28/2022   682 MEMORANDUM OF LAW in Support re: 680 MOTION to File Amicus Brief . .
                               Document filed by Blockchain Association..(Gottlieb, Jason) (Entered: 10/28/2022)
              10/28/2022   683 BRIEF for Amici Curiae Investor Choice Advocates Network and Phillip Goldstein in
                               Support of Defendants' Motion for Summary Judgment. Document filed by Phillip
                               Goldstein, Investor Choice Advocates Network..(Weitzman, Avi) (Entered:
                               10/28/2022)
              10/28/2022   684 BRIEF . Document filed by SpendTheBits, Inc.. (Attachments: # 1 Affidavit
                               J.).(Alisme, Joam) (Entered: 10/28/2022)
              10/31/2022   685 LETTER MOTION to File Amicus Brief addressed to Judge Analisa Torres from John
                               E. Deaton dated October 31, 2022. Document filed by Jordan Deaton, James LaMonte,
                               Mya LaMonte, Tyler LaMonte, Mitchell McKenna, Kristiana Warner. (Attachments: #
                               1 Exhibit Proposed Amicus Brief).(Deaton, John) (Entered: 10/31/2022)
              10/31/2022   686 MEMO ENDORSEMENT on re: 677 Letter filed by Securities and Exchange
                               Commission. ENDORSEMENT: Plaintiff's application for leave to make the
                               above−specified redactions is GRANTED. (Signed by Magistrate Judge Sarah Netburn
                               on 10/31/2022) (ras) Modified on 11/1/2022 (ras). (Main Document 686 replaced on
                               11/1/2022) (ras). (Entered: 10/31/2022)
              10/31/2022   687 LETTER MOTION to File Amicus Brief addressed to Judge Analisa Torres from Nola
                               B. Heller dated October 31, 2022. Document filed by Coinbase, Inc.. (Attachments: #
                               1 Exhibit A − Amicus Brief).(Heller, Nola) (Entered: 10/31/2022)
              10/31/2022   688 LETTER MOTION to File Amicus Brief addressed to Judge Analisa Torres from
                               Robert L. Boone dated October 31, 2022. Document filed by Crypto Council for
                               Innovation. (Attachments: # 1 Exhibit A − Amicus Brief).(Boone, Robert) (Entered:
                               10/31/2022)
              10/31/2022   689 LETTER MOTION to File Amicus Brief of Valhil Capital, LLC, addressed to Judge
                               Analisa Torres from Brandon Duke dated October 31, 2022. Document filed by Valhil
                               Capital, LLC. (Attachments: # 1 Exhibit A − Proposed amicus brief, # 2 Affidavit
                               (Declaration) of James Vallee).(Duke, Brandon) (Entered: 10/31/2022)
              11/02/2022   690 FIRST LETTER MOTION for Leave to File Amicus Curiae Brief addressed to Judge
                               Analisa Torres from Eileen Budd dated 11/2/2022. Document filed by Cryptillian
                               Payment Systems, LLC..(Budd, Eileen) (Entered: 11/02/2022)
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              11/03/2022   691 MOTION for Benjamin Tompkins to Appear Pro Hac Vice . Filing fee $ 200.00,
                               receipt number ANYSDC−26914220. Motion and supporting papers to be reviewed
                               by Clerk's Office staff. Document filed by Veri DAO. (Attachments: # 1 Affidavit
                               Exhibit 1 − Tompkins affidavit, # 2 Exhibit Exhibit 2 − Tomkpkins certificates of
                               good standing, # 3 Exhibit Exhibit 3 − Tompkins proposed order).(Tompkins,
                               Benjamin) (Entered: 11/03/2022)
              11/03/2022   692 MOTION for Jeffrey Donoho to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                               number ANYSDC−26914385. Motion and supporting papers to be reviewed by
                               Clerk's Office staff. Document filed by Veri DAO. (Attachments: # 1 Affidavit
                               Exhibit 1 − Donoho Affidavit, # 2 Exhibit Exhibit 2 − Donoho certificates of good
                               standing, # 3 Exhibit Exhibit 3 − Donoho proposed order).(Donoho, Jeffrey) (Entered:
                               11/03/2022)
              11/03/2022   693 CONSENT LETTER MOTION for Extension of Time to File Response/Reply
                               addressed to Judge Analisa Torres from Jorge Gerardo Tenreiro dated November 3,
                               2022. Document filed by Securities and Exchange Commission..(Tenreiro, Jorge)
                               (Entered: 11/03/2022)
              11/03/2022   694 LETTER MOTION to File Amicus Brief addressed to Judge Analisa Torres from
                               Benjamin Tompkins dated 11/3/2022. Document filed by Veri DAO. (Attachments: #
                               1 Exhibit Exhibit A − Amicus Brief, # 2 Affidavit Exhibit B − Declaration of L.
                               Cupp).(Tompkins, Benjamin) (Entered: 11/03/2022)
              11/04/2022        >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                No. 691 MOTION for Benjamin Tompkins to Appear Pro Hac Vice . Filing fee $
                                200.00, receipt number ANYSDC−26914220. Motion and supporting papers to be
                                reviewed by Clerk's Office staff. The document has been reviewed and there are
                                no deficiencies. (sac) (Entered: 11/04/2022)
              11/04/2022        >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                No. 692 MOTION for Jeffrey Donoho to Appear Pro Hac Vice . Filing fee $
                                200.00, receipt number ANYSDC−26914385. Motion and supporting papers to be
                                reviewed by Clerk's Office staff. The document has been reviewed and there are
                                no deficiencies. (sac) (Entered: 11/04/2022)
              11/04/2022   695 ORDER granting 693 Letter Motion for Extension of Time to File Response/Reply re
                               693 CONSENT LETTER MOTION for Extension of Time to File Response/Reply
                               addressed to Judge Analisa Torres from Jorge Gerardo Tenreiro dated November 3,
                               2022. GRANTED. SO ORDERED. Responses due by 1/9/2023 Replies due by
                               11/30/2022.. (Signed by Judge Analisa Torres on 11/4/2022) (kv) (Entered:
                               11/04/2022)
              11/04/2022        Set/Reset Deadlines: Motions due by 12/22/2022. (kv) (Entered: 11/04/2022)
              11/09/2022   696 MOTION for Frederick Anthony Rispoli to Appear Pro Hac Vice As Counsel For
                               Amicus Curiae Reaper Financial, LLC. Filing fee $ 200.00, receipt number
                               ANYSDC−26941460. Motion and supporting papers to be reviewed by Clerk's
                               Office staff. Document filed by Reaper Financial, LLC. (Attachments: # 1 Affidavit
                               Local Rule 1.3 Affidavit, # 2 Exhibit Certificate of Good Standing, # 3 Text of
                               Proposed Order Proposed Order For Admission Pro Hac Vice).(Rispoli, Frederick)
                               (Entered: 11/09/2022)
              11/09/2022   697 LETTER MOTION to File Amicus Brief on behalf of Reaper Financial, LLC
                               addressed to Judge Analisa Torres from Frederick Anthony Rispoli dated 11/09/2022.
                               Document filed by Reaper Financial, LLC. (Attachments: # 1 Exhibit Proposed
                               Amicus Brief of Reaper Financial, LLC).(Rispoli, Frederick) (Entered: 11/09/2022)
              11/09/2022   698 LETTER addressed to Judge Analisa Torres from Adrian Alvarez, Esq., CEO of
                               InvestReady dated 11/9/22 re: "LETTER MOTION OF ACCREDIFY, INC. D/B/A
                               INVESTREADY FOR LEAVE TO FILE BRIEF AMICUS CURIAE IN SEC V.
                               RIPPLE LABS, INC.Document filed by Adrian Alvarez, Esq. sc) (Entered:
                               11/10/2022)
              11/10/2022        >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                No. 696 MOTION for Frederick Anthony Rispoli to Appear Pro Hac Vice As
                                Counsel For Amicus Curiae Reaper Financial, LLC. Filing fee $ 200.00, receipt
                                number ANYSDC−26941460. Motion and supporting papers to be reviewed by
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                                 Cler. The document has been reviewed and there are no deficiencies. (sgz)
                                 (Entered: 11/10/2022)
              11/10/2022   699 LETTER MOTION to File Amicus Brief addressed to Judge Analisa Torres from
                               Scott D. Brenner, Esq (Parlatore Law Group LLP) dated November 10, 2022.
                               Document filed by New Sports Economy Institute..(Brenner, Scott) (Entered:
                               11/10/2022)
              11/11/2022   700 LETTER MOTION to File Amicus Brief addressed to Judge Analisa Torres from
                               Eileen Budd dated November 11, 2022. Document filed by Cryptillian Payment
                               Systems, LLC. (Attachments: # 1 Text of Proposed Order Amicus Curiae Brief, # 2
                               Text of Proposed Order Declaration of Vincent Bono).(Budd, Eileen) (Entered:
                               11/11/2022)
              11/11/2022   701 LETTER MOTION for Leave to File Amicus Brief addressed to Judge Analisa Torres
                               from Kayvan B. Sadeghi dated November 11, 2022. Document filed by Paradigm
                               Operations LP. (Attachments: # 1 Exhibit A − Proposed Brief, # 2 Exhibit 1 −
                               Article).(Sadeghi, Kayvan) (Entered: 11/11/2022)
              11/11/2022   702 NOTICE OF APPEARANCE by Kayvan Betteridge Sadeghi on behalf of Paradigm
                               Operations LP..(Sadeghi, Kayvan) (Entered: 11/11/2022)
              11/11/2022   703 NOTICE OF APPEARANCE by Shailee Diwanji Sharma on behalf of Paradigm
                               Operations LP..(Sharma, Shailee) (Entered: 11/11/2022)
              11/14/2022   704 ORDER granting 680 Letter Motion to File Amicus Brief; granting 685 Letter Motion
                               to File Amicus Brief; granting 687 Letter Motion to File Amicus Brief; granting 688
                               Letter Motion to File Amicus Brief; granting 689 Letter Motion to File Amicus Brief;
                               granting 690 Letter Motion for Leave to File Document; granting 694 Letter Motion to
                               File Amicus Brief; granting 697 Letter Motion to File Amicus Brief; granting 699
                               Letter Motion to File Amicus Brief; granting 700 Letter Motion to File Amicus Brief;
                               granting 701 Letter Motion for Leave to File Document. Accordingly, the requests to
                               file amicus curiae briefs are GRANTED. By November 18, 2022, the Association, the
                               six XRP holders, Coinbase, the CCI, Valhil, Cryptillian, Veri DAO, Reaper Financial,
                               InvestReady, the NSEI, and Paradigm shall file their briefs. Amici are reminded that
                               their briefs must comply with the requirements set forth in Section III.D of the Court's
                               Individual Practices in Civil Cases. The Clerk of Court is directed to terminate the
                               motions at ECF Nos. 680, 685, 687, 688, 689, 690, 694, 697, 698, 699, 700, and 701.
                               SO ORDERED.. (Signed by Judge Analisa Torres on 11/14/2022) (kv) (Entered:
                               11/14/2022)
              11/14/2022         Set/Reset Deadlines: Brief due by 11/18/2022. (kv) (Entered: 11/14/2022)
              11/14/2022   705 BRIEF of Amicus Curiae Coinbase, Inc.. Document filed by Coinbase, Inc...(Heller,
                               Nola) (Entered: 11/14/2022)
              11/15/2022   706 BRIEF of Amicus Curiae The Blockchain Association. Document filed by Blockchain
                               Association..(Gottlieb, Jason) (Entered: 11/15/2022)
              11/15/2022   707 BRIEF of Amicus Curiae Paradigm Operations LP. Document filed by Paradigm
                               Operations LP. (Attachments: # 1 Exhibit 1).(Sadeghi, Kayvan) (Entered: 11/15/2022)
              11/15/2022   708 BRIEF re: 639 MOTION for Summary Judgment against all Defendants. . Document
                               filed by Jordan Deaton, James LaMonte, Mya LaMonte, Tyler LaMonte, Mitchell
                               McKenna, Kristiana Warner. (Attachments: # 1 Affidavit Declaration of John E.
                               Deaton, # 2 Exhibit Ex. A: History of Bitcoin, # 3 Exhibit Ex. B: Grundfest Letter, # 4
                               Exhibit Ex. C: SEC Select Accomplishments, # 5 Exhibit Ex D: ICO craze, # 6 Exhibit
                               Ex. E: Ripple Facts, # 7 Exhibit Ex. F: GAO report, # 8 Exhibit Ex. G: Coinflip Order,
                               # 9 Exhibit Ex. H: FSOC Annual Report, # 10 Exhibit Ex. I: Baillard Code of Ethics, #
                               11 Exhibit Ex. J: XRP overtakes, # 12 Exhibit Ex. K: Crypto Market Cap, # 13 Exhibit
                               Ex. L: Coinbase accepts XRP, # 14 Exhibit Ex. M: MoneyGram Ripple Purchase
                               Agreement, # 15 Exhibit Ex. N: MoneyGram announcement, # 16 Exhibit Ex. O:
                               Moneygram Form 8−K, # 17 Exhibit Ex. P: SEC OIEA emails, # 18 Exhibit Ex. Q:
                               Gensler−Crypto Platforms need to Register, # 19 Exhibit Ex. R: Gensler−Push to get
                               crypto exchanges to register, # 20 Exhibit Ex. S: Gensler−Crypto intermediaries
                               should register with SEC, # 21 Exhibit Ex. T: XRP tipbot, # 22 Exhibit Ex. U: Time
                               Magazine accepts crypto, # 23 Exhibit Ex. V: 1500+ companies and stores accept
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                                XRP, # 24 Exhibit Ex. W: XRP Mastercard, # 25 Exhibit Ex. X: Uphold Debit Card, #
                                26 Exhibit Ex. Y: FTX partners with Visa, # 27 Exhibit Ex. Z: crypto payroll tool, # 28
                                Exhibit Ex. AA: connecting with Bitpay, # 29 Exhibit Ex. BB: Coinbase Ad, # 30
                                Exhibit Ex. CC: Coinbase expands to cross border payments, # 31 Exhibit Ex. DD:
                                How to buy XRP, # 32 Exhibit Ex. EE: XRP can easily be bought straight from bank
                                account, # 33 Exhibit Ex. FF: XRP use cases, # 34 Exhibit Ex. GG: XRP Staking, # 35
                                Exhibit Ex. HH: XRP loans, # 36 Exhibit Ex. II: Celcius bankruptcy, # 37 Exhibit Ex.
                                JJ: Gensler blockchain video, # 38 Exhibit Ex. KK: SEC remarks Aspen Security, # 39
                                Exhibit Ex. LL: XRPL services).(Deaton, John) (Entered: 11/15/2022)
              11/15/2022   709 BRIEF of Amicus Curiae Veri DAO. Document filed by Veri DAO. (Attachments: # 1
                               Affidavit Declaration of Lloyd Cupp).(Tompkins, Benjamin) (Entered: 11/15/2022)
              11/15/2022   710 BRIEF of Amicus Curiae Reaper Financial, LLC. Document filed by Reaper
                               Financial, LLC. (Attachments: # 1 Exhibit Declaration of Patrick L. Riley, CEO of
                               Reaper Financial).(Rispoli, Frederick) (Entered: 11/15/2022)
              11/15/2022   711 BRIEF of the Crypto Council for Innovation as Amicus Curiae in Support of
                               Defendants. Document filed by Crypto Council for Innovation..(Boone, Robert)
                               (Entered: 11/15/2022)
              11/16/2022   712 LETTER addressed to Judge Analisa Torres from William M. Cunningham, non−party
                               economist, dated 11/15/22 re: I write in a pro se capacity to request the Court's
                               permission to file an amicus brief in the action referenced above etc. William Michael
                               Cunningham submits this memorandum in support of his motion for leave to file a
                               brief amicus curiae in this matter. His education and experience have uniquely
                               positioned him to provide objective and independent research and opinions to the
                               Court. (sc) (Entered: 11/16/2022)
              11/16/2022   713 ORDER granting 691 Motion for Benjamin Tompkins to Appear Pro Hac Vice
                               (HEREBY ORDERED by Judge Analisa Torres)(Text Only Order) (jgh) (Entered:
                               11/16/2022)
              11/16/2022   714 ORDER granting 692 Motion for Jeffrey Donoho to Appear Pro Hac Vice (HEREBY
                               ORDERED by Judge Analisa Torres)(Text Only Order) (jgh) (Entered: 11/16/2022)
              11/16/2022   715 ORDER granting 696 Motion for Frederick Anthony Rispoli to Appear Pro Hac Vice
                               (HEREBY ORDERED by Judge Analisa Torres)(Text Only Order) (jgh) (Entered:
                               11/16/2022)
              11/16/2022   716 MEMORANDUM OF LAW in Support re: 639 MOTION for Summary Judgment
                               against all Defendants. Amicus Curiae Memorandum of Law in Support of Defendants'
                               Brief In Opposition to Plaintiff's Motion for Summary Judgment. Document filed by
                               Cryptillian Payment Systems, LLC. (Attachments: # 1 Affidavit Declaration of
                               Vincent Bono).(Budd, Eileen) (Entered: 11/16/2022)
              11/18/2022   717 MEMORANDUM OF LAW in Support re: 639 MOTION for Summary Judgment
                               against all Defendants., 699 LETTER MOTION to File Amicus Brief addressed to
                               Judge Analisa Torres from Scott D. Brenner, Esq (Parlatore Law Group LLP) dated
                               November 10, 2022. . Document filed by New Sports Economy Institute..(Brenner,
                               Scott) (Entered: 11/18/2022)
              11/18/2022   718 NOTICE OF APPEARANCE by Brandon W. Duke on behalf of Valhil Capital,
                               LLC..(Duke, Brandon) (Entered: 11/18/2022)
              11/18/2022   719 NOTICE OF APPEARANCE by George Eric Mastoris on behalf of Valhil Capital,
                               LLC..(Mastoris, George) (Entered: 11/18/2022)
              11/18/2022   720 NOTICE OF APPEARANCE by Kerry Donovan on behalf of Valhil Capital,
                               LLC..(Donovan, Kerry) (Entered: 11/18/2022)
              11/18/2022   721 NOTICE OF APPEARANCE by Athanasia Charmani on behalf of Valhil Capital,
                               LLC..(Charmani, Athanasia) (Entered: 11/18/2022)
              11/18/2022   722 BRIEF of Amicus Curiae Valhil Capital, LLC in Support of Defendants' Motion for
                               Summary Judgment. Document filed by Valhil Capital, LLC. (Attachments: # 1
                               Affidavit (Declaration) of James Vallee in Support).(Duke, Brandon) (Entered:
                               11/18/2022)
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              11/30/2022   723 ***SELECTED PARTIES*** REPLY MEMORANDUM OF LAW in Support re:
                               621 MOTION for Summary Judgment . . Document filed by Ripple Labs Inc.,
                               Christian A. Larsen, Bradley Garlinghouse, Securities and Exchange Commission.
                               Motion or Order to File Under Seal: 695 .(Kellogg, Michael) (Entered: 11/30/2022)
              11/30/2022   724 ***SELECTED PARTIES*** RESPONSE re: 668 Counter Statement to Rule 56.1 .
                               Document filed by Ripple Labs Inc., Christian A. Larsen, Bradley Garlinghouse,
                               Securities and Exchange Commission. Motion or Order to File Under Seal: 695
                               .(Kellogg, Michael) (Entered: 11/30/2022)
              11/30/2022   725 ***SELECTED PARTIES***DECLARATION of Erol Gulay in Support re: 621
                               MOTION for Summary Judgment .. Document filed by Ripple Labs Inc., Bradley
                               Garlinghouse, Christian A. Larsen, Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 280, # 2 Exhibit 281, # 3 Exhibit 282, # 4 Exhibit 283, # 5
                               Exhibit 284, # 6 Exhibit 285, # 7 Exhibit 286, # 8 Exhibit 287, # 9 Exhibit 288, # 10
                               Exhibit 289, # 11 Exhibit 290, # 12 Exhibit 291, # 13 Exhibit 292, # 14 Exhibit 293, #
                               15 Exhibit 294, # 16 Exhibit 295, # 17 Exhibit 296, # 18 Exhibit 297, # 19 Exhibit
                               298, # 20 Exhibit 299)Motion or Order to File Under Seal: 620 .(Gulay, Erol)
                               (Entered: 11/30/2022)
              11/30/2022   726 ***SELECTED PARTIES*** REPLY MEMORANDUM OF LAW in Support re:
                               639 MOTION for Summary Judgment against all Defendants. . Document filed by
                               Securities and Exchange Commission, Bradley Garlinghouse, Christian A. Larsen,
                               Ripple Labs Inc.. Motion or Order to File Under Seal: 695 .(Tenreiro, Jorge) (Entered:
                               11/30/2022)
              11/30/2022   727 ***SELECTED PARTIES***COUNTER STATEMENT TO 623 Rule 56.1
                               Statement. Document filed by Securities and Exchange Commission, Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. Motion or Order to File Under
                               Seal: 695 .(Tenreiro, Jorge) (Entered: 11/30/2022)
              11/30/2022   728 ***SELECTED PARTIES***DECLARATION of Mark R. Sylvester in Support re:
                               625 MOTION for Summary Judgment against all Defendants.. Document filed by
                               Securities and Exchange Commission, Bradley Garlinghouse, Christian A. Larsen,
                               Ripple Labs Inc.. (Attachments: # 1 Exhibit PX 248, # 2 Exhibit PX 403, # 3 Exhibit
                               PX 534, # 4 Exhibit PX 553, # 5 Exhibit PX 664, # 6 Exhibit PX 671)Motion or Order
                               to File Under Seal: 620 .(Sylvester, Mark) (Entered: 11/30/2022)
              12/02/2022   729 REPLY MEMORANDUM OF LAW in Support re: 621 MOTION for Summary
                               Judgment . (Redacted). Document filed by Bradley Garlinghouse, Christian A. Larsen,
                               Ripple Labs Inc...(Kellogg, Michael) (Entered: 12/02/2022)
              12/02/2022   730 REPLY MEMORANDUM OF LAW in Support re: 639 MOTION for Summary
                               Judgment against all Defendants. . Document filed by Securities and Exchange
                               Commission..(Tenreiro, Jorge) (Entered: 12/02/2022)
              12/09/2022   731 JOINT LETTER addressed to Judge Analisa Torres from Andrew J Ceresney dated
                               December 9, 2022 re: Deadlines for Non−Party Sealing Motions re: Summary
                               Judgment Motions. Document filed by Ripple Labs Inc.. (Attachments: # 1 Text of
                               Proposed Order re Deadlines for Non−Party Sealing Motions re: Summary Judgment
                               Motions).(Ceresney, Andrew) (Entered: 12/09/2022)
              12/12/2022   732 ORDER FOR ALL NON−PARTY MOTIONS TO SEAL PARTIES' MOTIONS FOR
                               SUMMARY JUDGMENT AND RELATED MATERIALS: IT IS HEREBY
                               ORDERED THAT: any non−parties must file, by January 4, 2023, a motion to seal
                               any Summary Judgment Materials to the extent the non−party seeks additional or
                               different sealing treatment or redactions than requested by the Parties; and, by January
                               18, 2023, all Parties and non−parties must file oppositions, if any, to the non−party
                               motions to seal. If no such motion is received by January 4, 2023, the non−party will
                               have waived their right to object to the Court's ultimate ruling on the Parties' motions
                               to seal or redact the Summary Judgment Materials. Motions due by 1/4/2023.
                               Responses due by 1/18/2023 (Signed by Judge Analisa Torres on 12/12/2022) (kv)
                               (Entered: 12/12/2022)
              12/15/2022   733 MOTION for Rodrigo Seira to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                               number ANYSDC−27092778. Motion and supporting papers to be reviewed by
                               Clerk's Office staff. Document filed by Paradigm Operations LP. (Attachments: # 1
                               Exhibit Declaration in Support, # 2 Exhibit Certificate of Good Standing (NY), # 3
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                                Exhibit Certificate of Good Standing (WA), # 4 Text of Proposed Order Granting
                                Motion for Admission Pro Hac Vice).(Seira, Rodrigo) (Entered: 12/15/2022)
              12/16/2022   734 MOTION for Nicole Tatz to Withdraw as Attorney . Document filed by Bradley
                               Garlinghouse..(Tatz, Nicole) (Entered: 12/16/2022)
              12/16/2022   735 DECLARATION of Nicole Tatz in Support re: 734 MOTION for Nicole Tatz to
                               Withdraw as Attorney .. Document filed by Bradley Garlinghouse..(Tatz, Nicole)
                               (Entered: 12/16/2022)
              12/16/2022   736 PROPOSED ORDER FOR WITHDRAWAL OF ATTORNEY. Document filed by
                               Bradley Garlinghouse. Related Document Number: 734 ..(Tatz, Nicole) (Entered:
                               12/16/2022)
              12/16/2022        >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                No. 733 MOTION for Rodrigo Seira to Appear Pro Hac Vice . Filing fee $ 200.00,
                                receipt number ANYSDC−27092778. Motion and supporting papers to be
                                reviewed by Clerk's Office staff.. The document has been reviewed and there are
                                no deficiencies. (sgz) (Entered: 12/16/2022)
              12/19/2022   737 ORDER granting 527 Letter Motion to Seal; granting 550 Letter Motion to Seal;
                               granting 561 Letter Motion to Seal; granting in part and denying in part 565 Letter
                               Motion to Seal; granting 579 Letter Motion to Seal; granting 581 Letter Motion to
                               Seal; granting 601 Letter Motion to Seal; granting in part and denying in part 603
                               Letter Motion to Seal; granting in part and denying in part 617 Letter Motion to Seal.
                               For the foregoing reasons, the SEC's motions are GRANTED in part and DENIED in
                               part, the Defendants' motions are GRANTED, MoneyGram's motion is GRANTED,
                               and Third−Party A's motion is GRANTED. The Clerk of Court is directed to terminate
                               the pending motions at ECF Nos. 527, 550, 561, 565, 579, 581, 601, 603, and 617. SO
                               ORDERED.. (Signed by Judge Analisa Torres on 12/19/2022) (kv) (Entered:
                               12/19/2022)
              12/19/2022   738 FILING ERROR − DEFICIENT DOCKET ENTRY − MOTION for Michelle
                               Kallen to Appear Pro Hac Vice . Filing fee $ 200.00. Motion and supporting papers
                               to be reviewed by Clerk's Office staff. Document filed by Paradigm Operations LP.
                               (Attachments: # 1 Exhibit A − Declaration in Support, # 2 Exhibit B − Certificate of
                               Good Standing (CA), # 3 Exhibit C − Certificate of Good Standing (VA), # 4 Exhibit
                               D − Certificate of Good Standing (DC), # 5 Text of Proposed Order /Proposed
                               Order).(Kallen, Michelle) Modified on 12/20/2022 (sgz). (Entered: 12/19/2022)
              12/20/2022        >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                                VICE. Notice to RE−FILE re: Document No. 738 MOTION for Michelle Kallen
                                to Appear Pro Hac Vice . Filing fee $ 200.00. Motion and supporting papers to be
                                reviewed by Clerk's Office staff. The filing is deficient for the following reason(s):
                                missing Certificate of Good Standing from Supreme Court of Virginia
                                804−786−2251 (State Bar of Virginia not accepted); the filing fee was not paid.
                                Re−file the motion as a Motion to Appear Pro Hac Vice − attach the correct
                                signed PDF − select the correct named filer/filers − attach valid Certificates of
                                Good Standing issued within the past 30 days − attach Proposed Order. Pay the
                                filing fee using the event Pro Hac Vice Fee Payment found under the event list
                                Other Documents. (sgz) (Entered: 12/20/2022)
              12/20/2022   739 MEMO ENDORSEMENT granting 734 MOTION for Nicole Tatz to Withdraw as
                               Attorney. ENDORSEMENT GRANTED. The Clerk of Court is directed to terminate
                               Nicole Tatz from the docket. SO ORDERED. Attorney Nicole Tatz terminated.
                               (Signed by Judge Analisa Torres on 12/20/2022) (jca) (Entered: 12/20/2022)
              12/20/2022   741 JOINT LETTER MOTION for Extension of Time to File redacted Daubert Motions
                               and accompanying exhibits on the public docket addressed to Judge Analisa Torres
                               from Andrew J. Ceresney dated December 20, 2022. Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Ceresney, Andrew) (Entered:
                               12/20/2022)
              12/20/2022        ***DELETED DOCUMENT. Deleted document number 740 ORDER. The
                                document was incorrectly filed in this case. (jca) (Entered: 01/10/2023)
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              12/21/2022   742 ORDER granting 733 Motion for Rodrigo Seira to Appear Pro Hac Vice (HEREBY
                               ORDERED by Judge Analisa Torres)(Text Only Order) (jgh) (Entered: 12/21/2022)
              12/21/2022   743 ORDER granting 741 Letter Motion for Extension of Time to File. GRANTED. SO
                               ORDERED.. (Signed by Judge Analisa Torres on 12/21/2022) (kv) (Entered:
                               12/21/2022)
              12/21/2022        Set/Reset Deadlines: Motions due by 1/13/2023. (kv) (Entered: 12/21/2022)
              12/22/2022   744 LETTER MOTION to Seal or Redact Certain Summary Judgment Materials
                               addressed to Judge Analisa Torres from Andrew J. Ceresney dated December 22,
                               2022. Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Appendix A to Letter Motion to Seal − Table of Proposed Sealing
                               Requests, # 2 Exhibit A − Declaration of Kristina Campbell, # 3 Appendix A to
                               Exhibit A − Table of Certain Proposed Sealing Requests).(Ceresney, Andrew)
                               (Entered: 12/22/2022)
              12/22/2022   745 LETTER MOTION to Seal addressed to Judge Analisa Torres from Ladan F. Stewart
                               dated December 22, 2022. Document filed by Securities and Exchange
                               Commission..(Stewart, Ladan) (Entered: 12/22/2022)
              12/27/2022   746 MOTION for Lewis Rinaudo Cohen to Appear Pro Hac Vice . Filing fee $ 200.00,
                               receipt number ANYSDC−27135363. Motion and supporting papers to be reviewed
                               by Clerk's Office staff. Document filed by Paradigm Operations LP. (Attachments: #
                               1 Exhibit /Declaration in Support, # 2 Exhibit //Certificate of Good Standing (DC), # 3
                               Exhibit /Certificate of Good Standing (NY), # 4 Text of Proposed Order /Proposed
                               Order Granting Admission).(Cohen, Lewis) (Entered: 12/27/2022)
              12/28/2022        >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                No. 746 MOTION for Lewis Rinaudo Cohen to Appear Pro Hac Vice . Filing fee $
                                200.00, receipt number ANYSDC−27135363. Motion and supporting papers to be
                                reviewed by Clerk's Office staff.. The document has been reviewed and there are
                                no deficiencies. (sgz) (Entered: 12/28/2022)
              12/28/2022   747 ORDER granting 746 Motion for Lewis Rinaudo Cohen to Appear Pro Hac Vice
                               (HEREBY ORDERED by Judge Analisa Torres)(Text Only Order) (jgh) (Entered:
                               12/28/2022)
              12/29/2022   748 MOTION for Michelle Kallen to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                               number ANYSDC−27143554. Motion and supporting papers to be reviewed by
                               Clerk's Office staff. Document filed by Paradigm Operations LP. (Attachments: # 1
                               Exhibit A − Declaration in Support, # 2 Exhibit B − Certificate of Good Standing
                               (CA), # 3 Exhibit C − Certificate of Good Standing (CA), # 4 Exhibit D − Certificate
                               of Good Standing (DC), # 5 Text of Proposed Order /Proposed Order).(Kallen,
                               Michelle) (Entered: 12/29/2022)
              12/30/2022   749 ORDER granting 748 Motion for Michelle Kallen to Appear Pro Hac Vice (HEREBY
                               ORDERED by Judge Analisa Torres)(Text Only Order) (jgh) (Entered: 12/30/2022)
              01/04/2023   750 NOTICE OF APPEARANCE by Alyssa M. Hasbrouck on behalf of Investment
                               Banker Declarant..(Hasbrouck, Alyssa) (Entered: 01/04/2023)
              01/04/2023   751 LETTER MOTION to Seal addressed to Judge Analisa Torres from Alyssa M.
                               Hasbrouck dated January 4, 2023. Document filed by Investment Banker Declarant.
                               (Attachments: # 1 Exhibit / Proposed Redacted Declaration).(Hasbrouck, Alyssa)
                               (Entered: 01/04/2023)
              01/04/2023   752 ***SELECTED PARTIES***DECLARATION of Investment Banker Declarant .
                               Document filed by Investment Banker Declarant, Blockchain Association, Coinbase,
                               Inc., Cryptillian Payment Systems, LLC, Crypto Council for Innovation, Jordan
                               Deaton, Debra L Fein, Bradley Garlinghouse, Phillip Goldstein, I−REMIT, INC.,
                               Investor A, Investor Choice Advocates Network, James LaMonte, Mya LaMonte,
                               Tyler LaMonte, Christian A. Larsen, Mitchell McKenna, MoneyGram International,
                               Inc., New Sports Economy Institute, Paradigm Operations LP, Reaper Financial, LLC,
                               Ripple Labs Inc., Securities and Exchange Commission, SpendTheBits, Inc., The
                               Chamber of Digital Commerce, Third−Party A, Third−Party B, Third−Party C, Valhil
                               Capital, LLC, Veri DAO, Kristiana Warner. Motion or Order to File Under Seal: 751
                               .(Hasbrouck, Alyssa) (Entered: 01/04/2023)
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              01/04/2023   753 NOTICE OF APPEARANCE by E. Scott Schirick on behalf of Non−Party
                               D..(Schirick, E.) (Entered: 01/04/2023)
              01/04/2023   754 LETTER MOTION to Seal addressed to Judge Analisa Torres from E. Scott Schirick
                               dated January 4, 2023. Document filed by Non−Party D..(Schirick, E.) (Entered:
                               01/04/2023)
              01/04/2023   755 ***EX−PARTE*** LETTER addressed to Judge Analisa Torres from E. Scott
                               Schirick dated January 4, 2023 re: (Letter Motion to Seal). Document filed by
                               Non−Party D. (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B, # 3 Exhibit
                               Exhibit C, # 4 Exhibit Exhibit D, # 5 Exhibit Exhibit E, # 6 Exhibit Exhibit F, # 7
                               Exhibit Exhibit G)Motion or Order to File Under Seal: 754 .(Schirick, E.) (Entered:
                               01/04/2023)
              01/04/2023   756 LETTER MOTION to Seal certain portions of the parties' Summary Judgment
                               Materials addressed to Judge Analisa Torres from Jessica Ann Masella dated January
                               4, 2023. Document filed by MoneyGram International, Inc...(Masella, Jessica)
                               (Entered: 01/04/2023)
              01/04/2023   757 ***EX−PARTE***Exhibit List . Document filed by MoneyGram International, Inc..
                               (Attachments: # 1 Exhibit A, # 2 Exhibit B)Motion or Order to File Under Seal: 756
                               .(Masella, Jessica) (Entered: 01/04/2023)
              01/04/2023   758 LETTER MOTION to Seal seven summary judgment exhibits addressed to Judge
                               Analisa Torres from Eva Ciko Carman dated January 4, 2023. Document filed by
                               Investor A..(Carman, Eva) (Entered: 01/04/2023)
              01/04/2023   759 LETTER MOTION to Seal Portions Of Parties Motions For Summary Judgment
                               addressed to Judge Analisa Torres from Michael A. Hanin dated January 4, 2023.
                               Document filed by Third−Party A..(Hanin, Michael) (Entered: 01/04/2023)
              01/04/2023   760 NOTICE OF APPEARANCE by James Q Walker on behalf of Cryptocurrency
                               Exchange Declarant..(Walker, James) (Entered: 01/04/2023)
              01/04/2023   761 ***SELECTED PARTIES*** LETTER addressed to Judge Analisa Torres from
                               Michael A. Hanin dated January 4, 2023 re: Seal Portions Of Parties Motions For
                               Summary Judgment. Document filed by Kristiana Warner, Debra L Fein, Mya
                               LaMonte, Veri DAO, Ripple Labs Inc., Valhil Capital, LLC, Securities and Exchange
                               Commission, Tyler LaMonte, Third−Party A, MoneyGram International, Inc., Phillip
                               Goldstein, Non−Party D, Jordan Deaton, Third−Party C, Mitchell McKenna,
                               Investment Banker Declarant, Investor Choice Advocates Network, SpendTheBits,
                               Inc., Paradigm Operations LP, Cryptillian Payment Systems, LLC, Third−Party B,
                               Crypto Council for Innovation, The Chamber of Digital Commerce, Christian A.
                               Larsen, New Sports Economy Institute, Coinbase, Inc., Bradley Garlinghouse, Reaper
                               Financial, LLC, Blockchain Association, Investor A, I−REMIT, INC., James
                               LaMonte. (Attachments: # 1 Exhibit A: Memorandum of Law, # 2 Exhibit B:
                               Memorandum of Law, # 3 Exhibit C: Memorandum of Law, # 4 Exhibit D: Deposition
                               Transcript, # 5 Exhibit E: Email, # 6 Exhibit F: Email, # 7 Exhibit G: Email, # 8
                               Exhibit H: Email, # 9 Exhibit I: Email, # 10 Exhibit J: Email, # 11 Exhibit K: Email, #
                               12 Exhibit L: Email, # 13 Exhibit M: Email, # 14 Exhibit N: Email, # 15 Exhibit O:
                               Email, # 16 Exhibit P: Email, # 17 Exhibit Q: Email, # 18 Exhibit R:Email, # 19
                               Exhibit S: Email, # 20 Exhibit T: Email, # 21 Exhibit U: Contract, # 22 Exhibit V:
                               Email, # 23 Exhibit W: Contract, # 24 Exhibit X: Contract, # 25 Exhibit Y: Email, #
                               26 Exhibit Z: Email, # 27 Exhibit AA: Email, # 28 Exhibit BB: Email, # 29 Exhibit
                               CC: Email, # 30 Exhibit DD:Email, # 31 Exhibit EE: Email, # 32 Exhibit FF: Email, #
                               33 Exhibit GG: Email, # 34 Exhibit HH: Email, # 35 Exhibit II: Email, # 36 Exhibit JJ:
                               Email, # 37 Exhibit KK: Email, # 38 Exhibit LL: Contract)Motion or Order to File
                               Under Seal: 759 .(Hanin, Michael) (Entered: 01/04/2023)
              01/04/2023   762 LETTER MOTION to Seal addressed to Judge Analisa Torres from James Q. Walker
                               dated January 4, 2023. Document filed by Cryptocurrency Exchange Declarant.
                               (Attachments: # 1 Exhibit 1 − Proposed Redactions, # 2 Exhibit 2 − Proposed
                               Redactions, # 3 Exhibit 3 − Proposed Redactions, # 4 Exhibit 4 − Proposed
                               Redactions).(Walker, James) (Entered: 01/04/2023)
              01/05/2023   764 ***EX−PARTE***DECLARATION of Cryptocurrency Exchange Declarant in
                               Support re: 762 LETTER MOTION to Seal addressed to Judge Analisa Torres from
                               James Q. Walker dated January 4, 2023.. Document filed by Cryptocurrency Exchange
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                                 Declarant. Motion or Order to File Under Seal: 762 .(Walker, James) (Entered:
                                 01/05/2023)
              01/09/2023   765 LETTER RESPONSE in Opposition to Motion addressed to Judge Analisa Torres
                               from Andrew Ceresney on behalf of Ripple Labs, Inc., Christian Larsen, and Bradley
                               Garlinghouse dated January 9, 2023 re: 745 LETTER MOTION to Seal addressed to
                               Judge Analisa Torres from Ladan F. Stewart dated December 22, 2022. . Document
                               filed by Ripple Labs Inc...(Ceresney, Andrew) (Entered: 01/09/2023)
              01/09/2023   766 LETTER RESPONSE in Opposition to Motion addressed to Judge Analisa Torres
                               from Ladan F. Stewart dated January 9, 2023 re: 744 LETTER MOTION to Seal or
                               Redact Certain Summary Judgment Materials addressed to Judge Analisa Torres from
                               Andrew J. Ceresney dated December 22, 2022. . Document filed by Securities and
                               Exchange Commission..(Stewart, Ladan) (Entered: 01/09/2023)
              01/12/2023   767 NOTICE OF CHANGE OF ADDRESS by Andrew J. Ceresney on behalf of Ripple
                               Labs Inc.. New Address: Debevoise & Plimpton LLP, 66 Hudson Boulevard, New
                               York, New York, 10001, 212−909−6000..(Ceresney, Andrew) (Entered: 01/12/2023)
              01/13/2023   768 MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC
                               Expert No. 2. Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple
                               Labs Inc...(Ceresney, Andrew) (Entered: 01/13/2023)
              01/13/2023   769 MEMORANDUM OF LAW in Support re: 768 MOTION to Preclude / Notice of
                               Defendants' Motion to Exclude the Testimony of SEC Expert No. 2. . Document filed
                               by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Ceresney, Andrew)
                               (Entered: 01/13/2023)
              01/13/2023   770 MOTION to Preclude Testimony of Defendants' Expert Witnesses. Document filed by
                               Securities and Exchange Commission..(Stewart, Ladan) (Entered: 01/13/2023)
              01/13/2023   771 DECLARATION of Anna R. Gressel in Support re: 768 MOTION to Preclude /
                               Notice of Defendants' Motion to Exclude the Testimony of SEC Expert No. 2..
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit 1 − Expert Report of Expert No. 2, # 2 Exhibit 2 − Expert
                               No. 2 Deposition Transcript).(Gressel, Anna) (Entered: 01/13/2023)
              01/13/2023   772 MEMORANDUM OF LAW in Support re: 770 MOTION to Preclude Testimony of
                               Defendants' Expert Witnesses. . Document filed by Securities and Exchange
                               Commission. (Attachments: # 1 Supplement Part 2).(Stewart, Ladan) (Entered:
                               01/13/2023)
              01/13/2023   773 MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC
                               Expert No. 3. Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple
                               Labs Inc...(Ceresney, Andrew) (Entered: 01/13/2023)
              01/13/2023   774 MEMORANDUM OF LAW in Support re: 773 MOTION to Preclude / Notice of
                               Defendants' Motion to Exclude the Testimony of SEC Expert No. 3. . Document filed
                               by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Ceresney, Andrew)
                               (Entered: 01/13/2023)
              01/13/2023   775 DECLARATION of Pascale Guerrier in Support re: 770 MOTION to Preclude
                               Testimony of Defendants' Expert Witnesses.. Document filed by Securities and
                               Exchange Commission. (Attachments: # 1 Exhibit 1 Part 1, # 2 Exhibit 1 Part 2, # 3
                               Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9
                               Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12, # 14
                               Exhibit 13, # 15 Exhibit 14, # 16 Exhibit 15, # 17 Exhibit 16, # 18 Exhibit 17, # 19
                               Exhibit 18, # 20 Exhibit 19, # 21 Exhibit 20, # 22 Exhibit 21, # 23 Exhibit 22, # 24
                               Exhibit 23, # 25 Exhibit 24, # 26 Exhibit 25, # 27 Exhibit 26, # 28 Exhibit 27, # 29
                               Exhibit 28, # 30 Exhibit 29, # 31 Exhibit 30, # 32 Exhibit 31, # 33 Exhibit 32, # 34
                               Exhibit 33, # 35 Exhibit 34, # 36 Exhibit 35, # 37 Exhibit 36, # 38 Exhibit 37, # 39
                               Exhibit 38, # 40 Exhibit 39, # 41 Exhibit 40, # 42 Exhibit 41, # 43 Exhibit 42, # 44
                               Exhibit 43, # 45 Exhibit 44 Part 1, # 46 Exhibit 44 Part 2, # 47 Exhibit 44 Part 3, # 48
                               Exhibit 44 Part 4, # 49 Exhibit 44 Part 5, # 50 Exhibit 45).(Stewart, Ladan) (Entered:
                               01/13/2023)
              01/13/2023   776 REPLY MEMORANDUM OF LAW in Support re: 770 MOTION to Preclude
                               Testimony of Defendants' Expert Witnesses. . Document filed by Securities and
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                                 Exchange Commission..(Stewart, Ladan) (Entered: 01/13/2023)
              01/13/2023   777 MEMORANDUM OF LAW in Opposition re: 543 MOTION to Preclude / Notice of
                               Defendants' Motion to Exclude the Testimony of SEC Expert No. 1. . Document filed
                               by Securities and Exchange Commission..(Stewart, Ladan) (Entered: 01/13/2023)
              01/13/2023   778 DECLARATION of Ladan F. Stewart in Opposition re: 543 MOTION to Preclude /
                               Notice of Defendants' Motion to Exclude the Testimony of SEC Expert No. 1..
                               Document filed by Securities and Exchange Commission..(Stewart, Ladan) (Entered:
                               01/13/2023)
              01/13/2023   779 DECLARATION of Andrew J. Ceresney in Support re: 773 MOTION to Preclude /
                               Notice of Defendants' Motion to Exclude the Testimony of SEC Expert No. 3..
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit 1 − Expert Report of SEC Expert No. 3, # 2 Exhibit 2 −
                               Deposition Transcript of SEC Expert No. 3, # 3 Exhibit 4 − Ferrell Rebuttal
                               Report).(Ceresney, Andrew) (Entered: 01/13/2023)
              01/13/2023   780 MEMORANDUM OF LAW in Opposition re: 532 MOTION to Preclude / Notice of
                               Defendants' Motion to Exclude the Testimony of SEC Expert No. 2. . Document filed
                               by Securities and Exchange Commission..(Stewart, Ladan) (Entered: 01/13/2023)
              01/13/2023   781 MEMORANDUM OF LAW in Opposition re: 537 MOTION to Preclude / Notice of
                               Defendants' Motion to Exclude the Testimony of SEC Expert No. 3. . Document filed
                               by Securities and Exchange Commission..(Stewart, Ladan) (Entered: 01/13/2023)
              01/13/2023   782 MEMORANDUM OF LAW in Opposition re: 540 MOTION to Preclude / Notice of
                               Defendants' Motion to Exclude the Testimony of SEC Expert No. 4. . Document filed
                               by Securities and Exchange Commission..(Stewart, Ladan) (Entered: 01/13/2023)
              01/13/2023   783 DECLARATION of Mark R. Sylvester in Opposition re: 540 MOTION to Preclude /
                               Notice of Defendants' Motion to Exclude the Testimony of SEC Expert No. 4..
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Exhibit
                               A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F).(Stewart,
                               Ladan) (Entered: 01/13/2023)
              01/13/2023   784 MEMORANDUM OF LAW in Opposition re: 546 MOTION to Preclude / Notice of
                               Defendants' Motion to Exclude the Testimony of SEC Expert No. 5. . Document filed
                               by Securities and Exchange Commission..(Stewart, Ladan) (Entered: 01/13/2023)
              01/13/2023   785 DECLARATION of Mark R. Sylvester in Opposition re: 546 MOTION to Preclude /
                               Notice of Defendants' Motion to Exclude the Testimony of SEC Expert No. 5..
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Exhibit
                               A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E).(Stewart, Ladan)
                               (Entered: 01/13/2023)
              01/13/2023   786 MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC
                               Expert No. 1. Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple
                               Labs Inc...(Oppenheimer, Bradley) (Entered: 01/13/2023)
              01/13/2023   787 MEMORANDUM OF LAW in Support re: 786 MOTION to Preclude / Notice of
                               Defendants' Motion to Exclude the Testimony of SEC Expert No. 1. . Document filed
                               by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Oppenheimer,
                               Bradley) (Entered: 01/13/2023)
              01/13/2023   788 DECLARATION of Bradley E. Oppenheimer in Support re: 786 MOTION to
                               Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC Expert No.
                               1.. Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                               E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I).(Oppenheimer, Bradley)
                               (Entered: 01/13/2023)
              01/13/2023   789 MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC
                               Expert No. 5. Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple
                               Labs Inc...(Figel, Reid) (Entered: 01/13/2023)
              01/13/2023   790 MEMORANDUM OF LAW in Support re: 789 MOTION to Preclude / Notice of
                               Defendants' Motion to Exclude the Testimony of SEC Expert No. 5. . Document filed
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                                 by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Figel, Reid)
                                 (Entered: 01/13/2023)
              01/13/2023   791 MOTION to Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC
                               Expert No. 4. Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple
                               Labs Inc...(Zornberg, Lisa) (Entered: 01/13/2023)
              01/13/2023   792 DECLARATION of Kylie Chiseul Kim in Support re: 789 MOTION to Preclude /
                               Notice of Defendants' Motion to Exclude the Testimony of SEC Expert No. 5..
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                               E, # 6 Exhibit F, # 7 Exhibit G).(Kim, Chiseul) (Entered: 01/13/2023)
              01/13/2023   793 MEMORANDUM OF LAW in Support re: 791 MOTION to Preclude / Notice of
                               Defendants' Motion to Exclude the Testimony of SEC Expert No. 4. . Document filed
                               by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Zornberg, Lisa)
                               (Entered: 01/13/2023)
              01/13/2023   794 MEMORANDUM OF LAW in Opposition re: 770 MOTION to Preclude Testimony of
                               Defendants' Expert Witnesses. . Document filed by Bradley Garlinghouse, Christian A.
                               Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered: 01/13/2023)
              01/13/2023   795 DECLARATION of Christopher S. Ford in Support re: 791 MOTION to Preclude /
                               Notice of Defendants' Motion to Exclude the Testimony of SEC Expert No. 4..
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit A − Expert Report of Expert 4, # 2 Exhibit B − Deposition
                               Transcript of Expert 4, # 3 Exhibit C − GAO Report, # 4 Exhibit D − Neha Narula
                               Tweet, # 5 Exhibit E − Sai Article, # 6 Exhibit F − Troncoso Article, # 7 Exhibit H −
                               SUERF Policy Note, # 8 Exhibit I − XRP Chat Thread).(Ford, Christopher) (Entered:
                               01/13/2023)
              01/13/2023   796 DECLARATION of Kylie Chiseul Kim in Opposition re: 770 MOTION to Preclude
                               Testimony of Defendants' Expert Witnesses.. Document filed by Bradley Garlinghouse,
                               Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                               Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9
                               Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14
                               Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19
                               Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24
                               Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29
                               Exhibit 29, # 30 Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34
                               Exhibit 34, # 35 Exhibit 35, # 36 Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38).(Kim,
                               Chiseul) (Entered: 01/13/2023)
              01/13/2023   797 REPLY MEMORANDUM OF LAW in Support re: 786 MOTION to Preclude /
                               Notice of Defendants' Motion to Exclude the Testimony of SEC Expert No. 1. .
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Oppenheimer, Bradley) (Entered: 01/13/2023)
              01/13/2023   798 DECLARATION of Bradley E. Opphenheimer in Support re: 786 MOTION to
                               Preclude / Notice of Defendants' Motion to Exclude the Testimony of SEC Expert No.
                               1.. Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit J, # 2 Exhibit K, # 3 Exhibit L).(Oppenheimer, Bradley)
                               (Entered: 01/13/2023)
              01/13/2023   799 ***SELECTED PARTIES*** LETTER addressed to Judge Analisa Torres from Anna
                               R. Gressel dated January 13, 2023 re: enclosing Sealed Exhibits to Daubert Motions
                               pursuant to the Court's Order dated December 19, 2022. Document filed by Ripple
                               Labs Inc., Securities and Exchange Commission, Christian A. Larsen, Bradley
                               Garlinghouse. (Attachments: # 1 Exhibit 3 to the Declaration of Andrew J. Ceresney in
                               Support of Defendants' Motion to Exclude the Testimony of SEC Expert No. 3: Article
                               by SEC Expert No. 3, # 2 Exhibit G to the Declaration of Christopher S. Ford in
                               Support of Defendants' Motion to Exclude the Testimony of SEC Expert No. 4: Expert
                               4 Publication)Motion or Order to File Under Seal: 737 .(Gressel, Anna) (Entered:
                               01/13/2023)
              01/13/2023   800 REPLY MEMORANDUM OF LAW in Support re: 789 MOTION to Preclude /
                               Notice of Defendants' Motion to Exclude the Testimony of SEC Expert No. 5. .
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                                Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                                Inc...(Figel, Reid) (Entered: 01/13/2023)
              01/13/2023   801 REPLY MEMORANDUM OF LAW in Support re: 768 MOTION to Preclude /
                               Notice of Defendants' Motion to Exclude the Testimony of SEC Expert No. 2. .
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Ceresney, Andrew) (Entered: 01/13/2023)
              01/13/2023   802 REPLY MEMORANDUM OF LAW in Support re: 773 MOTION to Preclude /
                               Notice of Defendants' Motion to Exclude the Testimony of SEC Expert No. 3. .
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Ceresney, Andrew) (Entered: 01/13/2023)
              01/13/2023   803 DECLARATION of Kylie Chiseul Kim in Support re: 789 MOTION to Preclude /
                               Notice of Defendants' Motion to Exclude the Testimony of SEC Expert No. 5..
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit H).(Kim, Chiseul) (Entered: 01/13/2023)
              01/13/2023   804 REPLY MEMORANDUM OF LAW in Support re: 791 MOTION to Preclude /
                               Notice of Defendants' Motion to Exclude the Testimony of SEC Expert No. 4. .
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Zornberg, Lisa) (Entered: 01/13/2023)
              01/18/2023   805 LETTER RESPONSE in Opposition to Motion addressed to Judge Analisa Torres
                               from Andrew J. Ceresney dated January 18, 2023 re: 751 LETTER MOTION to Seal
                               addressed to Judge Analisa Torres from Alyssa M. Hasbrouck dated January 4, 2023. .
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Ceresney, Andrew) (Entered: 01/18/2023)
              01/18/2023   806 LETTER RESPONSE in Opposition to Motion addressed to Judge Analisa Torres
                               from Ladan F. Stewart dated January 18, 2023 re: 762 LETTER MOTION to Seal
                               addressed to Judge Analisa Torres from James Q. Walker dated January 4, 2023., 759
                               LETTER MOTION to Seal Portions Of Parties Motions For Summary Judgment
                               addressed to Judge Analisa Torres from Michael A. Hanin dated January 4, 2023. .
                               Document filed by Securities and Exchange Commission..(Stewart, Ladan) (Entered:
                               01/18/2023)
              01/20/2023   807 MOTION FOR LEAVE TO FILE BRIEF AMICUS CURIAE OF ANOOP K.
                               BUNGAY IN SUPPORT OF NEITHER PLAINTIFF ( SEC) NOR
                               DEFENDANT(RLI). Document filed by non−party, Anoop Bungay. (Attachments: # 1
                               Main Document Motion, # 2 Main Document, # 3 Main Document, # 4 Main
                               Document, # 5 Main Document, # 6 Main Document)(sc) Modified on 1/23/2023 (sc).
                               (Entered: 01/23/2023)
              01/25/2023   808 LETTER REPLY to Response to Motion addressed to Judge Analisa Torres from
                               Alyssa M. Hasbrouck dated January 25, 2023 re: 751 LETTER MOTION to Seal
                               addressed to Judge Analisa Torres from Alyssa M. Hasbrouck dated January 4, 2023. .
                               Document filed by Investment Banker Declarant..(Hasbrouck, Alyssa) (Entered:
                               01/25/2023)
              01/25/2023   809 DECLARATION of Kylie Chiseul Kim in Opposition re: 770 MOTION to Preclude
                               Testimony of Defendants' Expert Witnesses.. Document filed by Bradley Garlinghouse,
                               Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit 11 to ECF No.
                               796).(Kim, Chiseul) (Entered: 01/25/2023)
              02/15/2023   810 FILING ERROR − DEFICIENT DOCKET ENTRY − MOTION for J. Carl Cecere
                               to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC−27350184.
                               Motion and supporting papers to be reviewed by Clerk's Office staff. Document
                               filed by Roslyn Layton. (Attachments: # 1 Affidavit Affidavit in support of motion for
                               admission pro hac vice, # 2 Exhibit Certificate of good standing, # 3 Text of Proposed
                               Order Proposed order).(Cecere, Joseph) Modified on 2/16/2023 (sgz). (Entered:
                               02/15/2023)
              02/15/2023   811 LETTER MOTION for Leave to File Petition to Intervene to oppose sealing of
                               Hinman Speech Documents addressed to Judge Analisa Torres from Rosyln Layton,
                               PhD dated February 15, 2023. Document filed by Roslyn Layton. Return Date set for
                               3/1/2023 at 12:00 AM..(Cecere, Joseph) (Entered: 02/15/2023)
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                          Case: 24-2705, 10/10/2024, DktEntry: 4.2, Page 102 of 122

              02/16/2023         >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                                 VICE. Notice to RE−FILE Document No. 810 MOTION for J. Carl Cecere to
                                 Appear Pro Hac Vice . Filing fee $ 200.00, receipt number ANYSDC−27350184.
                                 Motion and supporting papers to be reviewed by Clerk's Office staff. The filing is
                                 deficient for the following reason(s): Affidavit Not Notarized. Re−file the motion
                                 as a Motion to Appear Pro Hac Vice − attach the correct signed PDF − select the
                                 correct named filer/filers − attach valid Certificates of Good Standing issued
                                 within the past 30 days − attach Proposed Order. (sgz) (Entered: 02/16/2023)
              02/21/2023   812 AMENDED LETTER MOTION for Leave to File petition to intervene to oppose
                               sealing of Hinman Speech Documents addressed to Judge Analisa Torres from Rosyln
                               Layton, PhD dated 2/21/2023. Document filed by Roslyn Layton. Return Date set for
                               3/1/2023 at 12:00 PM..(Cecere, Joseph) (Entered: 02/21/2023)
              03/03/2023   813 LETTER addressed to Judge Analisa Torres from Michael K. Kellogg dated March 3,
                               2022 re: Supplemental Authority. Document filed by Bradley Garlinghouse, Christian
                               A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit A).(Kellogg, Michael)
                               (Entered: 03/03/2023)
              03/06/2023   814 ORDER granting in part and denying in part 532 Motion to Preclude; granting in part
                               and denying in part 535 Motion to Preclude; granting in part and denying in part 537
                               Motion to Preclude; granting in part and denying in part 540 Motion to Preclude;
                               granting in part and denying in part 543 Motion to Preclude; granting in part and
                               denying in part 546 Motion to Preclude; granting in part and denying in part 768
                               Motion to Preclude; granting in part and denying in part 770 Motion to Preclude;
                               granting in part and denying in part 773 Motion to Preclude; granting in part and
                               denying in part 786 Motion to Preclude; granting in part and denying in part 789
                               Motion to Preclude; granting in part and denying in part 791 Motion to Preclude. For
                               the foregoing reasons, the parties' motions are GRANTED in part, and DENIED in
                               part. Specifically, 1. Defendants' motion to preclude Expert No. 1 from testifying is
                               GRANTED as to his first opinion about the perceptions of a reasonable XRP
                               purchaser, and DENIED as to the remainder of his testimony. 2. Defendants' motion to
                               preclude Expert No. 2 from testifying is GRANTED as to his fourth opinion about the
                               materiality of Ripple's potential disclosures, and DENIED as to the remainder of his
                               testimony. 3. Defendants' motion to preclude Expert No. 3 from testifying is DENIED.
                               4. Defendants' motion to preclude Expert No. 4 from testifying is GRANTED as to his
                               third opinion about the risks to the XRP Ledger that might materialize if Ripple
                               "walked away" or "disappeared", and DENIED as to the remainder of his testimony. 5.
                               Defendants' motion to preclude Expert No. 5 from testifying is GRANTED as to his
                               opinion on causation, and DENIED as to the remainder of his testimony. 6. The SEC's
                               motion to preclude Schwartz from testifying is GRANTED as to his opinion on the
                               Supreme Court's legal reasoning in Howey, and DENIED as to the remainder of his
                               testimony. 7. The SEC's motion to preclude Adriaens from testifying is GRANTED as
                               to his first and second narrative opinions, and DENIED as to the remainder of his
                               testimony. 8. The SEC's motion to preclude Borden from testifying is DENIED. 9. The
                               SEC's motion to preclude Easton from testifying is GRANTED as to his rebuttal
                               report, and DENIED as to his opening report. 10. The SEC's motion to preclude Yadav
                               from testifying is GRANTED as to her third opinion about where an offer or sale of
                               XRP occurs, and DENIED as to the remainder of her testimony. 11. The SEC's motion
                               to preclude Ferrell from testifying is GRANTED as to his legal opinions, including his
                               second and fifth opinions in his opening report and portions of his rebuttal report, and
                               DENIED as to the remainder of his testimony. 12. The SEC's motion to preclude Osler
                               from testifying is DENIED. 13. The SEC's motion to preclude Fischel from testifying
                               as to his first and fourth opinions is GRANTED. 14. The SEC's motion to preclude
                               Marais from testifying is DENIED. 15. The SEC's motion to preclude Shampanier
                               from testifying is DENIED as moot. The Clerk of Court is directed to terminate the
                               motions at ECF Nos. 532, 535, 537, 540, 543, 546, 768, 770, 773, 786, 789, and 791.
                               SO ORDERED.. (Signed by Judge Analisa Torres on 3/6/2023) (kv) (Entered:
                               03/06/2023)
              03/20/2023   815 LETTER addressed to Judge Analisa Torres from Michael K. Kellogg dated March 20,
                               2023 re: Supplemental Authority. Document filed by Bradley Garlinghouse, Christian
                               A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                               C).(Kellogg, Michael) (Entered: 03/20/2023)
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                          Case: 24-2705, 10/10/2024, DktEntry: 4.2, Page 103 of 122

              03/23/2023   816 LETTER addressed to Judge Analisa Torres from Jorge G. Tenreiro dated March 23,
                               2023 re: Defendants' March 2023 Letters. Document filed by Securities and Exchange
                               Commission..(Tenreiro, Jorge) (Entered: 03/23/2023)
              04/11/2023   817 LETTER addressed to Judge Analisa Torres from Benjamin J. Hanauer dated April 11,
                               2023 re: Notice of Supplemental Authority Supporting the SEC's Motion for Summary
                               Judgment. Document filed by Securities and Exchange Commission. (Attachments: #
                               1 Exhibit 1 (SEC v. Commonwealth Opinion)).(Hanauer, Benjamin) (Entered:
                               04/11/2023)
              04/13/2023   818 LETTER addressed to Judge Analisa Torres from Michael K. Kellogg dated April 13,
                               2023 re: response to notice of supplemental authority. Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered:
                               04/13/2023)
              05/16/2023   819 ORDER granting in part and denying in part 635 Letter Motion to Seal; granting in
                               part and denying in part 637 Letter Motion to Seal; granting in part and denying in part
                               638 Letter Motion for Leave to File Document; granting in part and denying in part
                               671 Letter Motion to Seal; granting in part and denying in part 744 Letter Motion to
                               Seal; granting in part and denying in part 745 Letter Motion to Seal; granting in part
                               and denying in part 751 Letter Motion to Seal; granting in part and denying in part 754
                               Letter Motion to Seal; granting in part and denying in part 756 Letter Motion to Seal;
                               granting in part and denying in part 758 Letter Motion to Seal; granting in part and
                               denying in part 759 Letter Motion to Seal; granting in part and denying in part 762
                               Letter Motion to Seal; denying as moot 811 Letter Motion for Leave to File
                               Document; denying as moot 812 Letter Motion for Leave to File Document. For the
                               foregoing reasons, the SEC's motion is GRANTED in part and DENIED in part,
                               Defendants' motion is GRANTED in part and DENIED in part, and the non parties'
                               motions are GRANTED in part and DENIED in part. Specifically: 1. The SEC's
                               motion to seal is DENIED as to the Hinman Speech Documents, and GRANTED as to
                               the remainder of its requests. 2. Defendants' motion to seal is DENIED as to references
                               linking Ripple's revenues with XRP sales, the amount of compensation that Ripple
                               offered to trading platforms to list XRP, and the amount of Ripple's XRP sales targeted
                               at investors through programmatic and institutional sales; and as to the names GSR,
                               Bitstamp, Coil Technologies, Inc., the XRP Ledger Foundation, and the platforms that
                               publicly make XRP available for trading; and GRANTED as to the remainder of their
                               requests. 3. Third−Party A and Cryptocurrency Exchange's motions to redact their
                               identities and the names of public cryptocurrency trading platforms are DENIED,
                               Layton's motion to intervene is DENIED as moot, and the remainder of the third
                               parties' motions are GRANTED. The Clerk of Court is directed to terminate the
                               motions at ECF Nos. 635, 637, 638, 671, 744, 745, 751, 754, 756, 758, 759, 762, 811,
                               and 812. SO ORDERED.. (Signed by Judge Analisa Torres on 5/16/2023) (kv) (Main
                               Document 819 replaced on 5/18/2023) (rro). Modified on 5/18/2023 (rro). (Entered:
                               05/16/2023)
              05/19/2023   820 JOINT LETTER MOTION for Extension of Time to file redacted versions of the
                               Parties' cross−motions for summary judgment and accompanying exhibits addressed
                               to Judge Analisa Torres from Andrew J. Ceresney dated May 19, 2023. Document
                               filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Ceresney,
                               Andrew) (Entered: 05/19/2023)
              05/19/2023   821 ORDER granting 820 Letter Motion for Extension of Time. GRANTED. SO
                               ORDERED. Cross Motions due by 6/13/2023. (Signed by Judge Analisa Torres on
                               5/19/2023) (jca) (Entered: 05/19/2023)
              05/24/2023   822 MOTION for Kylie Chiseul Kim to Withdraw as Attorney . Document filed by Ripple
                               Labs Inc.. (Attachments: # 1 Exhibit Declaration of Kylie Chiseul Kim, # 2 Text of
                               Proposed Order).(Kim, Chiseul) Modified on 6/2/2023 (ras). (Entered: 05/24/2023)
              06/01/2023   823 ORDER granting 822 Motion to Withdraw as Attorney. Attorney Chiseul Kim
                               terminated. (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text Only
                               Order) (Netburn, Sarah) (Entered: 06/01/2023)
              06/13/2023   824 MOTION for Summary Judgment . Document filed by Bradley Garlinghouse,
                               Christian A. Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered: 06/13/2023)
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              06/13/2023   825 MEMORANDUM OF LAW in Support re: 824 MOTION for Summary Judgment . .
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Kellogg, Michael) (Entered: 06/13/2023)
              06/13/2023   826 RULE 56.1 STATEMENT. Document filed by Bradley Garlinghouse, Christian A.
                               Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered: 06/13/2023)
              06/13/2023   827 DECLARATION of Michael K. Kellogg in Support re: 824 MOTION for Summary
                               Judgment .. Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple
                               Labs Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                               Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, #
                               11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16
                               Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21
                               Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26
                               Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, # 31
                               Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, # 36
                               Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40, # 41
                               Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, # 45 Exhibit 45, # 46
                               Exhibit 46, # 47 Exhibit 47, # 48 Exhibit 48, # 49 Exhibit 49, # 50 Exhibit 50, # 51
                               Exhibit 51, # 52 Exhibit 52, # 53 Exhibit 53, # 54 Exhibit 54, # 55 Exhibit 55, # 56
                               Exhibit 56, # 57 Exhibit 57, # 58 Exhibit 58, # 59 Exhibit 59, # 60 Exhibit 60, # 61
                               Exhibit 61, # 62 Exhibit 62, # 63 Exhibit 63, # 64 Exhibit 64, # 65 Exhibit 65, # 66
                               Exhibit 66, # 67 Exhibit 67, # 68 Exhibit 68, # 69 Exhibit 69, # 70 Exhibit 70, # 71
                               Exhibit 71, # 72 Exhibit 72, # 73 Exhibit 73, # 74 Exhibit 74, # 75 Exhibit 75, # 76
                               Exhibit 76, # 77 Exhibit 77, # 78 Exhibit 78, # 79 Exhibit 79, # 80 Exhibit 80, # 81
                               Exhibit 81, # 82 Exhibit 82, # 83 Exhibit 83, # 84 Exhibit 84, # 85 Exhibit 85, # 86
                               Exhibit 86, # 87 Exhibit 87, # 88 Exhibit 88, # 89 Exhibit 89, # 90 Exhibit 90, # 91
                               Exhibit 91, # 92 Exhibit 92, # 93 Exhibit 93, # 94 Exhibit 94, # 95 Exhibit 95, # 96
                               Exhibit 96, # 97 Exhibit 97, # 98 Exhibit 98, # 99 Exhibit 99, # 100 Exhibit 100, # 101
                               Exhibit 101, # 102 Exhibit 102, # 103 Exhibit 103, # 104 Exhibit 104, # 105 Exhibit
                               105, # 106 Exhibit 106).(Kellogg, Michael) (Entered: 06/13/2023)
              06/13/2023   828 MEMORANDUM OF LAW in Opposition re: 625 MOTION for Summary Judgment
                               against all Defendants. . Document filed by Bradley Garlinghouse, Christian A.
                               Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered: 06/13/2023)
              06/13/2023   829 FILING ERROR − WRONG PDF FILE ASSOCIATED WITH DOCKET
                               ENTRY − RULE 56.1 STATEMENT. Document filed by Bradley Garlinghouse,
                               Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Supplement Part 2, # 2
                               Supplement Part 3, # 3 Supplement Part 4).(Kellogg, Michael) Modified on 6/13/2023
                               (kj). (Entered: 06/13/2023)
              06/13/2023   830 DECLARATION of Christopher S. Ford in Opposition re: 625 MOTION for
                               Summary Judgment against all Defendants.. Document filed by Bradley Garlinghouse,
                               Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit # 107, # 2 Exhibit #
                               108, # 3 Exhibit # 109, # 4 Exhibit # 110, # 5 Exhibit # 111, # 6 Exhibit # 112, # 7
                               Exhibit # 113, # 8 Exhibit # 114, # 9 Exhibit # 115, # 10 Exhibit # 116, # 11 Exhibit #
                               117, # 12 Exhibit # 118, # 13 Exhibit # 119, # 14 Exhibit # 120, # 15 Exhibit # 121, #
                               16 Exhibit # 122, # 17 Exhibit # 123, # 18 Exhibit # 124, # 19 Exhibit # 125, # 20
                               Exhibit # 126, # 21 Exhibit # 127, # 22 Exhibit # 128, # 23 Exhibit # 129, # 24 Exhibit
                               # 130, # 25 Exhibit # 131, # 26 Exhibit # 132, # 27 Exhibit # 133, # 28 Exhibit # 134,
                               # 29 Exhibit # 135, # 30 Exhibit # 136, # 31 Exhibit # 137, # 32 Exhibit # 138, # 33
                               Exhibit # 139, # 34 Exhibit # 140, # 35 Exhibit # 141, # 36 Exhibit # 142, # 37 Exhibit
                               # 143, # 38 Exhibit # 144, # 39 Exhibit # 145, # 40 Exhibit # 146, # 41 Exhibit # 147,
                               # 42 Exhibit # 148, # 43 Exhibit # 149, # 44 Exhibit # 150, # 45 Exhibit # 151, # 46
                               Exhibit # 152, # 47 Exhibit # 153, # 48 Exhibit # 154, # 49 Exhibit # 155, # 50 Exhibit
                               # 156, # 51 Exhibit # 157, # 52 Exhibit # 158, # 53 Exhibit # 159, # 54 Exhibit # 160,
                               # 55 Exhibit # 161, # 56 Exhibit # 162, # 57 Exhibit # 163, # 58 Exhibit # 164, # 59
                               Exhibit # 165, # 60 Exhibit # 166).(Ford, Christopher) Modified on 6/13/2023 (kj).
                               (Entered: 06/13/2023)
              06/13/2023   831 DECLARATION of Erol Glay in Opposition re: 625 MOTION for Summary
                               Judgment against all Defendants.. Document filed by Bradley Garlinghouse, Christian
                               A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit # 167.01, # 2 Exhibit # 167.02,
                               # 3 Exhibit # 167.03, # 4 Exhibit # 167.04, # 5 Exhibit # 167.05, # 6 Exhibit # 167.06,
                               # 7 Exhibit # 167.07, # 8 Exhibit # 167.08, # 9 Exhibit # 167.09, # 10 Exhibit #
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                                 167.10, # 11 Exhibit # 167.11, # 12 Exhibit # 167.12, # 13 Exhibit # 167.13, # 14
                                 Exhibit # 167.14, # 15 Exhibit # 167.15, # 16 Exhibit # 167.16, # 17 Exhibit # 167.17,
                                 # 18 Exhibit # 167.18, # 19 Exhibit # 167.19, # 20 Exhibit # 167.20, # 21 Exhibit #
                                 167.21, # 22 Exhibit # 167.22, # 23 Exhibit # 167.23, # 24 Exhibit # 167.24, # 25
                                 Exhibit # 167.25, # 26 Exhibit # 167.26, # 27 Exhibit # 168, # 28 Exhibit # 169, # 29
                                 Exhibit # 170, # 30 Exhibit # 171, # 31 Exhibit # 172, # 32 Exhibit # 173, # 33 Exhibit
                                 # 174, # 34 Exhibit # 175, # 35 Exhibit # 176, # 36 Exhibit # 177, # 37 Exhibit # 178,
                                 # 38 Exhibit # 179, # 39 Exhibit # 180, # 40 Exhibit # 181, # 41 Exhibit # 182, # 42
                                 Exhibit # 183, # 43 Exhibit # 184, # 44 Exhibit # 185, # 45 Exhibit # 186, # 46 Exhibit
                                 # 187, # 47 Exhibit # 188, # 48 Exhibit # 189, # 49 Exhibit # 190, # 50 Exhibit # 191,
                                 # 51 Exhibit # 192, # 52 Exhibit # 193, # 53 Exhibit # 194, # 54 Exhibit # 195, # 55
                                 Exhibit # 196, # 56 Exhibit # 197, # 57 Exhibit # 198, # 58 Exhibit # 199, # 59 Exhibit
                                 # 200, # 60 Exhibit # 201, # 61 Exhibit # 202, # 62 Exhibit # 203, # 63 Exhibit # 204,
                                 # 64 Exhibit # 205, # 65 Exhibit # 206, # 66 Exhibit # 207, # 67 Exhibit # 208, # 68
                                 Exhibit # 209, # 69 Exhibit # 210, # 70 Exhibit # 211, # 71 Exhibit # 212, # 72 Exhibit
                                 # 213, # 73 Exhibit # 214, # 74 Exhibit # 215, # 75 Exhibit # 216, # 76 Exhibit # 217,
                                 # 77 Exhibit # 218, # 78 Exhibit # 219, # 79 Exhibit # 220, # 80 Exhibit # 221, # 81
                                 Exhibit # 222, # 82 Exhibit # 223, # 83 Exhibit # 224, # 84 Exhibit # 225, # 85 Exhibit
                                 # 226, # 86 Exhibit # 227, # 87 Exhibit # 228, # 88 Exhibit # 229, # 89 Exhibit # 230,
                                 # 90 Exhibit # 231, # 91 Exhibit # 232, # 92 Exhibit # 233, # 93 Exhibit # 234, # 94
                                 Exhibit # 235, # 95 Exhibit # 236, # 96 Exhibit # 237, # 97 Exhibit # 238, # 98 Exhibit
                                 # 239, # 99 Exhibit # 240, # 100 Exhibit # 241, # 101 Exhibit # 242, # 102 Exhibit #
                                 243, # 103 Exhibit # 244, # 104 Exhibit # 245, # 105 Exhibit # 246, # 106 Exhibit #
                                 247, # 107 Exhibit # 248, # 108 Exhibit # 249, # 109 Exhibit # 250, # 110 Exhibit #
                                 251, # 111 Exhibit # 252, # 112 Exhibit # 253, # 113 Exhibit # 254, # 114 Exhibit #
                                 255, # 115 Exhibit # 256, # 116 Exhibit # 257, # 117 Exhibit # 258, # 118 Exhibit #
                                 259, # 119 Exhibit # 260, # 120 Exhibit # 261, # 121 Exhibit # 262, # 122 Exhibit #
                                 263, # 123 Exhibit # 264, # 124 Exhibit # 265, # 125 Exhibit # 266, # 126 Exhibit #
                                 267, # 127 Exhibit # 268, # 128 Exhibit # 269, # 129 Exhibit # 270, # 130 Exhibit #
                                 271, # 131 Exhibit # 272, # 132 Exhibit # 273, # 133 Exhibit # 274, # 134 Exhibit #
                                 275, # 135 Exhibit # 276, # 136 Exhibit # 277, # 137 Exhibit # 278, # 138 Exhibit #
                                 279).(Gulay, Erol) Modified on 6/13/2023 (kj). (Entered: 06/13/2023)
              06/13/2023   832 REPLY MEMORANDUM OF LAW in Support re: 824 MOTION for Summary
                               Judgment . . Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple
                               Labs Inc...(Kellogg, Michael) (Entered: 06/13/2023)
              06/13/2023   833 RESPONSE re: 668 Counter Statement to Rule 56.1 . Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Kellogg, Michael) (Entered:
                               06/13/2023)
              06/13/2023   834 DECLARATION of Erol Gulay in Support re: 824 MOTION for Summary Judgment
                               .. Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit # 280, # 2 Exhibit # 281, # 3 Exhibit # 282, # 4 Exhibit #
                               283, # 5 Exhibit # 284, # 6 Exhibit # 285, # 7 Exhibit # 286, # 8 Exhibit # 287, # 9
                               Exhibit # 288, # 10 Exhibit # 289, # 11 Exhibit # 290, # 12 Exhibit # 291, # 13 Exhibit
                               # 292, # 14 Exhibit # 293, # 15 Exhibit # 294, # 16 Exhibit # 295, # 17 Exhibit # 296,
                               # 18 Exhibit # 297, # 19 Exhibit # 298, # 20 Exhibit # 299).(Gulay, Erol) Modified on
                               6/13/2023 (kj). (Entered: 06/13/2023)
              06/13/2023         ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                                 ERROR. Notice to Attorney Michael Kellogg to RE−FILE Document 829 Rule
                                 56.1 Statement,. Use the event type Other Answers found under the event list
                                 Counter Statement to Rule 56.1. (kj) (Entered: 06/13/2023)
              06/13/2023   835 COUNTER STATEMENT TO 629 Rule 56.1 Statement. Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Supplement
                               Part 2, # 2 Supplement Part 3, # 3 Supplement Part 4).(Kellogg, Michael) (Entered:
                               06/13/2023)
              06/13/2023   836 MOTION for Summary Judgment as to all Parties. Document filed by Securities and
                               Exchange Commission..(Tenreiro, Jorge) (Entered: 06/13/2023)
              06/13/2023   837 MEMORANDUM OF LAW in Support re: 836 MOTION for Summary Judgment as
                               to all Parties. . Document filed by Securities and Exchange Commission..(Tenreiro,
                               Jorge) (Entered: 06/13/2023)
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              06/13/2023   838 RULE 56.1 STATEMENT. Document filed by Securities and Exchange
                               Commission..(Tenreiro, Jorge) (Entered: 06/13/2023)
              06/13/2023   839 DECLARATION of Daphna A. Waxman in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 500, # 2 Exhibit 500.01, # 3 Exhibit 501, # 4 Exhibit
                               501.01, # 5 Exhibit 502, # 6 Exhibit 502.01, # 7 Exhibit 503, # 8 Exhibit 503.01, # 9
                               Exhibit 504, # 10 Exhibit 504.01, # 11 Exhibit 505, # 12 Exhibit 506, # 13 Exhibit
                               506.01, # 14 Exhibit 507, # 15 Exhibit 507.01, # 16 Exhibit 508, # 17 Exhibit 508.01,
                               # 18 Exhibit 509, # 19 Exhibit 509.01).(Tenreiro, Jorge) (Entered: 06/13/2023)
              06/13/2023   840 DECLARATION of Jorge Gerardo Tenreiro in Support re: 836 MOTION for
                               Summary Judgment as to all Parties.. Document filed by Securities and Exchange
                               Commission. (Attachments: # 1 Exhibit 401, # 2 Exhibit 402, # 3 Exhibit 404, # 4
                               Exhibit 405, # 5 Exhibit 406, # 6 Exhibit 407, # 7 Exhibit 408, # 8 Exhibit 410, # 9
                               Exhibit 411, # 10 Exhibit 412, # 11 Exhibit 413, # 12 Exhibit 414, # 13 Exhibit 415, #
                               14 Exhibit 416, # 15 Exhibit 417, # 16 Exhibit 418, # 17 Exhibit 419, # 18 Exhibit
                               420, # 19 Exhibit 421, # 20 Exhibit 422, # 21 Exhibit 423, # 22 Exhibit 424, # 23
                               Exhibit 425, # 24 Exhibit 426, # 25 Exhibit 427, # 26 Exhibit 428, # 27 Exhibit 429, #
                               28 Exhibit 430, # 29 Exhibit 431, # 30 Exhibit 432, # 31 Exhibit 433, # 32 Exhibit
                               434, # 33 Exhibit 435, # 34 Exhibit 436, # 35 Exhibit 437, # 36 Exhibit 438, # 37
                               Exhibit 439, # 38 Exhibit 440, # 39 Exhibit 441, # 40 Exhibit 442, # 41 Exhibit 443, #
                               42 Exhibit 444, # 43 Exhibit 445, # 44 Exhibit 446, # 45 Exhibit 447, # 46 Exhibit
                               448, # 47 Exhibit 449, # 48 Exhibit 450, # 49 Exhibit 451, # 50 Exhibit 452, # 51
                               Exhibit 453, # 52 Exhibit 455, # 53 Exhibit 458, # 54 Exhibit 459, # 55 Exhibit 460, #
                               56 Exhibit 461, # 57 Exhibit 462, # 58 Exhibit 463, # 59 Exhibit 464, # 60 Exhibit
                               465, # 61 Exhibit 466, # 62 Exhibit 467, # 63 Exhibit 468, # 64 Exhibit 469, # 65
                               Exhibit 470, # 66 Exhibit 471, # 67 Exhibit 472, # 68 Exhibit 473, # 69 Exhibit 474, #
                               70 Exhibit 475, # 71 Exhibit 476, # 72 Exhibit 477, # 73 Exhibit 478, # 74 Exhibit
                               479, # 75 Exhibit 480, # 76 Exhibit 481, # 77 Exhibit 482, # 78 Exhibit 483, # 79
                               Exhibit 484, # 80 Exhibit 485, # 81 Exhibit 486, # 82 Exhibit 487, # 83 Exhibit 488, #
                               84 Exhibit 489, # 85 Exhibit 490, # 86 Exhibit 491, # 87 Exhibit 492, # 88 Exhibit
                               493, # 89 Exhibit 494, # 90 Exhibit 495, # 91 Exhibit 496, # 92 Exhibit 497, # 93
                               Exhibit 498, # 94 Exhibit 510, # 95 Exhibit 511, # 96 Exhibit 513, # 97 Exhibit 514, #
                               98 Exhibit 515, # 99 Exhibit 516, # 100 Exhibit 517, # 101 Exhibit 518, # 102 Exhibit
                               519, # 103 Exhibit 520, # 104 Exhibit 521, # 105 Exhibit 522, # 106 Exhibit 523, #
                               107 Exhibit 541, # 108 Exhibit 542, # 109 Exhibit 543, # 110 Exhibit 544).(Tenreiro,
                               Jorge) (Entered: 06/13/2023)
              06/13/2023   841 MEMORANDUM OF LAW in Opposition re: 824 MOTION for Summary Judgment .
                               . Document filed by Securities and Exchange Commission. (Attachments: # 1
                               Appendix A).(Tenreiro, Jorge) (Entered: 06/13/2023)
              06/13/2023   842 COUNTER STATEMENT TO 826 Rule 56.1 Statement. Document filed by Securities
                               and Exchange Commission..(Tenreiro, Jorge) (Entered: 06/13/2023)
              06/13/2023   843 REPLY MEMORANDUM OF LAW in Support re: 836 MOTION for Summary
                               Judgment as to all Parties. . Document filed by Securities and Exchange
                               Commission..(Tenreiro, Jorge) (Entered: 06/13/2023)
              06/13/2023   844 COUNTER STATEMENT TO 826 Rule 56.1 Statement. Document filed by Securities
                               and Exchange Commission..(Tenreiro, Jorge) (Entered: 06/13/2023)
              06/13/2023   845 DECLARATION of Mark R. Sylvester in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 201, # 2 Exhibit 202, # 3 Exhibit 203, # 4 Exhibit 204, # 5
                               Exhibit 205, # 6 Exhibit 206, # 7 Exhibit 207, # 8 Exhibit 208, # 9 Exhibit 209, # 10
                               Exhibit 210, # 11 Exhibit 211, # 12 Exhibit 212, # 13 Exhibit 213, # 14 Exhibit 214, #
                               15 Exhibit 215 part 1, # 16 Exhibit 215 part 2, # 17 Exhibit 215 part 3, # 18 Exhibit
                               215 part 4, # 19 Exhibit 216, # 20 Exhibit 217).(Hanauer, Benjamin) (Entered:
                               06/13/2023)
              06/13/2023   846 DECLARATION of Mark R. Sylvester in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 218, # 2 Exhibit 219, # 3 Exhibit 220, # 4 Exhibit 221, # 5
                               Exhibit 222, # 6 Exhibit 223, # 7 Exhibit 224, # 8 Exhibit 225, # 9 Exhibit 226, # 10
                               Exhibit 227, # 11 Exhibit 228, # 12 Exhibit 229, # 13 Exhibit 230, # 14 Exhibit 231, #
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                                 15 Exhibit 232, # 16 Exhibit 233, # 17 Exhibit 234, # 18 Exhibit 235 part 1, # 19
                                 Exhibit 235 part 2, # 20 Exhibit 236, # 21 Exhibit 237, # 22 Exhibit 238 part 1, # 23
                                 Exhibit 238 part 2, # 24 Exhibit 238 part 3, # 25 Exhibit 238 part 4, # 26 Exhibit 239,
                                 # 27 Exhibit 240, # 28 Exhibit 241, # 29 Exhibit 242, # 30 Exhibit 243 part 1, # 31
                                 Exhibit 243 part 2).(Hanauer, Benjamin) (Entered: 06/13/2023)
              06/13/2023   847 DECLARATION of Mark R. Sylvester in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 244, # 2 Exhibit 245, # 3 Exhibit 246, # 4 Exhibit 247 part
                               1, # 5 Exhibit 247 part 2, # 6 Exhibit 247 part 3, # 7 Exhibit 249, # 8 Exhibit 250, # 9
                               Exhibit 251, # 10 Exhibit 252, # 11 Exhibit 253, # 12 Exhibit 254, # 13 Exhibit 255, #
                               14 Exhibit 256, # 15 Exhibit 257, # 16 Exhibit 258 part 1, # 17 Exhibit 258 part 2, # 18
                               Exhibit 258 part 3, # 19 Exhibit 258 part 4, # 20 Exhibit 258 part 5, # 21 Exhibit 258
                               part 6, # 22 Exhibit 258 part 7, # 23 Exhibit 258 part 8, # 24 Exhibit 258 part 9, # 25
                               Exhibit 259).(Hanauer, Benjamin) (Entered: 06/13/2023)
              06/13/2023   848 DECLARATION of Mark R. Sylvester in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 260, # 2 Exhibit 261, # 3 Exhibit 262, # 4 Exhibit 263, # 5
                               Exhibit 264, # 6 Exhibit 265 part 1, # 7 Exhibit 265 part 2, # 8 Exhibit 266 part 1, # 9
                               Exhibit 266 part 2, # 10 Exhibit 267, # 11 Exhibit 268, # 12 Exhibit 269, # 13 Exhibit
                               270, # 14 Exhibit 271, # 15 Exhibit 272, # 16 Exhibit 273, # 17 Exhibit 274, # 18
                               Exhibit 275, # 19 Exhibit 276, # 20 Exhibit 277, # 21 Exhibit 278, # 22 Exhibit 279, #
                               23 Exhibit 280, # 24 Exhibit 281, # 25 Exhibit 282, # 26 Exhibit 283, # 27 Exhibit
                               284, # 28 Exhibit 285, # 29 Exhibit 286, # 30 Exhibit 287).(Hanauer, Benjamin)
                               (Entered: 06/13/2023)
              06/13/2023   849 DECLARATION of Mark R. Sylvester in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 288, # 2 Exhibit 289, # 3 Exhibit 290, # 4 Exhibit 291, # 5
                               Exhibit 292, # 6 Exhibit 293, # 7 Exhibit 294, # 8 Exhibit 295, # 9 Exhibit 296, # 10
                               Exhibit 297, # 11 Exhibit 298, # 12 Exhibit 299, # 13 Exhibit 300, # 14 Exhibit 301, #
                               15 Exhibit 302, # 16 Exhibit 303, # 17 Exhibit 304, # 18 Exhibit 305, # 19 Exhibit
                               306, # 20 Exhibit 307, # 21 Exhibit 308, # 22 Exhibit 309, # 23 Exhibit 310, # 24
                               Exhibit 311, # 25 Exhibit 312).(Hanauer, Benjamin) (Entered: 06/13/2023)
              06/13/2023   850 DECLARATION of Mark R. Sylvester in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 313 part 1, # 2 Exhibit 313 part 2, # 3 Exhibit 313 part 3, # 4
                               Exhibit 314, # 5 Exhibit 315 part 1, # 6 Exhibit 315 part 2, # 7 Exhibit 316, # 8 Exhibit
                               317, # 9 Exhibit 318, # 10 Exhibit 319, # 11 Exhibit 320, # 12 Exhibit 321, # 13
                               Exhibit 322, # 14 Exhibit 323, # 15 Exhibit 324, # 16 Exhibit 325, # 17 Exhibit 326, #
                               18 Exhibit 327, # 19 Exhibit 328, # 20 Exhibit 329 part 1, # 21 Exhibit 329 part 2, # 22
                               Exhibit 330, # 23 Exhibit 331, # 24 Exhibit 332, # 25 Exhibit 333, # 26 Exhibit
                               334).(Hanauer, Benjamin) (Entered: 06/13/2023)
              06/13/2023   851 DECLARATION of Mark R. Sylvester in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 335, # 2 Exhibit 336, # 3 Exhibit 337, # 4 Exhibit 338, # 5
                               Exhibit 339, # 6 Exhibit 340, # 7 Exhibit 341 part 1, # 8 Exhibit 341 part 2, # 9 Exhibit
                               342, # 10 Exhibit 343, # 11 Exhibit 344, # 12 Exhibit 345, # 13 Exhibit 346, # 14
                               Exhibit 347, # 15 Exhibit 348, # 16 Exhibit 349, # 17 Exhibit 350, # 18 Exhibit 351, #
                               19 Exhibit 352, # 20 Exhibit 353, # 21 Exhibit 354, # 22 Exhibit 355, # 23 Exhibit
                               356, # 24 Exhibit 357, # 25 Exhibit 358).(Hanauer, Benjamin) (Entered: 06/13/2023)
              06/13/2023   852 DECLARATION of Ladan Stewart in Opposition re: 824 MOTION for Summary
                               Judgment .. Document filed by Securities and Exchange Commission. (Attachments: #
                               1 Exhibit 113, # 2 Exhibit 398, # 3 Exhibit 409, # 4 Exhibit 456, # 5 Exhibit 457, # 6
                               Exhibit 499, # 7 Exhibit 500, # 8 Exhibit 505, # 9 Exhibit 525, # 10 Exhibit 526, # 11
                               Exhibit 528, # 12 Exhibit 529, # 13 Exhibit 530, # 14 Exhibit 532, # 15 Exhibit 533, #
                               16 Exhibit 535, # 17 Exhibit 537, # 18 Exhibit 538, # 19 Exhibit 539, # 20 Exhibit
                               547, # 21 Exhibit 548, # 22 Exhibit 552, # 23 Exhibit 555, # 24 Exhibit 556, # 25
                               Exhibit 557, # 26 Exhibit 559, # 27 Exhibit 560, # 28 Exhibit 561, # 29 Exhibit 562, #
                               30 Exhibit 563, # 31 Exhibit 564, # 32 Exhibit 565, # 33 Exhibit 566, # 34 Exhibit
                               567, # 35 Exhibit 568, # 36 Exhibit 569, # 37 Exhibit 570, # 38 Exhibit 571, # 39
                               Exhibit 573, # 40 Exhibit 574, # 41 Exhibit 575, # 42 Exhibit 576, # 43 Exhibit 577, #
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                                 44 Exhibit 578, # 45 Exhibit 579, # 46 Exhibit 580, # 47 Exhibit 581, # 48 Exhibit
                                 582, # 49 Exhibit 583, # 50 Exhibit 584, # 51 Exhibit 585, # 52 Exhibit 586).(Tenreiro,
                                 Jorge) (Entered: 06/13/2023)
              06/13/2023   853 DECLARATION of Ladan F. Stewart in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 1, # 2 Exhibit 2 Part 1, # 3 Exhibit 2 Part 2, # 4 Exhibit 2
                               Part 3, # 5 Exhibit 2 Part 4, # 6 Exhibit 3 Part 1, # 7 Exhibit 3 Part 2, # 8 Exhibit 3 Part
                               3, # 9 Exhibit 3 Part 4, # 10 Exhibit 3 Part 5, # 11 Exhibit 3 Part 6, # 12 Exhibit 3 Part
                               7).(Stewart, Ladan) (Entered: 06/13/2023)
              06/13/2023   854 DECLARATION of Mark R. Sylvester in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 359, # 2 Exhibit 360, # 3 Exhibit 361, # 4 Exhibit 362, # 5
                               Exhibit 363, # 6 Exhibit 364, # 7 Exhibit 365 part 1, # 8 Exhibit 365 part 2, # 9 Exhibit
                               366, # 10 Exhibit 367, # 11 Exhibit 368, # 12 Exhibit 369, # 13 Exhibit 370, # 14
                               Exhibit 371, # 15 Exhibit 372, # 16 Exhibit 373, # 17 Exhibit 374, # 18 Exhibit 375, #
                               19 Exhibit 376, # 20 Exhibit 377 part 1, # 21 Exhibit 377 part 2, # 22 Exhibit 378, # 23
                               Exhibit 379, # 24 Exhibit 380, # 25 Exhibit 381, # 26 Exhibit 382, # 27 Exhibit 383, #
                               28 Exhibit 384, # 29 Exhibit 385, # 30 Exhibit 386).(Hanauer, Benjamin) (Entered:
                               06/13/2023)
              06/13/2023   855 DECLARATION of Ladan F. Stewart in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 4, # 2 Exhibit 5, # 3 Exhibit 6 Part 1, # 4 Exhibit 6 Part 2, #
                               5 Exhibit 6 Part 3, # 6 Exhibit 7 Part 1, # 7 Exhibit 7 Part 2, # 8 Exhibit 7 Part 3, # 9
                               Exhibit 7 Part 4, # 10 Exhibit 7 Part 5, # 11 Exhibit 7 Part 6, # 12 Exhibit 7 Part 7, #
                               13 Exhibit 8, # 14 Exhibit 9, # 15 Exhibit 10 Part 1, # 16 Exhibit 10 Part 2, # 17
                               Exhibit 10 Part 3, # 18 Exhibit 10 Part 4, # 19 Exhibit 10 Part 5, # 20 Exhibit 10 Part
                               6, # 21 Exhibit 10 Part 7, # 22 Exhibit 10 Part 8, # 23 Exhibit 10 Part 9).(Stewart,
                               Ladan) (Entered: 06/13/2023)
              06/13/2023   856 DECLARATION of Ladan F. Stewart in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 11, # 2 Exhibit 12, # 3 Exhibit 13, # 4 Exhibit 14 Part 1, # 5
                               Exhibit 14 Part 2, # 6 Exhibit 14 Part 3, # 7 Exhibit 15 Part 1, # 8 Exhibit 15 Part 2, #
                               9 Exhibit 15 Part 3, # 10 Exhibit 15 Part 4, # 11 Exhibit 15 Part 5, # 12 Exhibit 15 Part
                               6, # 13 Exhibit 15 Part 7, # 14 Exhibit 16 Part 1, # 15 Exhibit 16 Part 2, # 16 Exhibit
                               16 Part 3, # 17 Exhibit 16 Part 4, # 18 Exhibit 16 Part 5, # 19 Exhibit 16 Part
                               6).(Stewart, Ladan) (Entered: 06/13/2023)
              06/13/2023   857 DECLARATION of Mark R. Sylvester in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 387, # 2 Exhibit 388, # 3 Exhibit 389, # 4 Exhibit 390, # 5
                               Exhibit 391, # 6 Exhibit 392, # 7 Exhibit 393, # 8 Exhibit 394, # 9 Exhibit 395, # 10
                               Exhibit 396, # 11 Exhibit 397, # 12 Exhibit 399, # 13 Exhibit 400, # 14 Exhibit 540, #
                               15 Exhibit 545).(Hanauer, Benjamin) (Entered: 06/13/2023)
              06/13/2023   858 DECLARATION of Ladan F. Stewart in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 17 Part 1, # 2 Exhibit 17 Part 2, # 3 Exhibit 17 Part 3, # 4
                               Exhibit 17 Part 4, # 5 Exhibit 18 Part 1, # 6 Exhibit 18 Part 2, # 7 Exhibit 18 Part 3, #
                               8 Exhibit 19 Part 1, # 9 Exhibit 19 Part 2, # 10 Exhibit 20 Part 1, # 11 Exhibit 20 Part
                               2, # 12 Exhibit 20 Part 3, # 13 Exhibit 20 Part 4, # 14 Exhibit 20 Part 5, # 15 Exhibit
                               20 Part 6, # 16 Exhibit 20 Part 7).(Stewart, Ladan) (Entered: 06/13/2023)
              06/13/2023   859 DECLARATION of Ladan F. Stewart in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 21 Part 1, # 2 Exhibit 21 Part 2, # 3 Exhibit 21 Part 3, # 4
                               Exhibit 21 Part 4, # 5 Exhibit 22 Part 1, # 6 Exhibit 22 Part 2, # 7 Exhibit 22 Part 3, #
                               8 Exhibit 23 Part 1, # 9 Exhibit 23 Part 2, # 10 Exhibit 23 Part 3, # 11 Exhibit 24 Part
                               1, # 12 Exhibit 24 Part 2, # 13 Exhibit 25 Part 1, # 14 Exhibit 25 Part 2, # 15 Exhibit
                               25 Part 3, # 16 Exhibit 26 Part 1, # 17 Exhibit 26 Part 2, # 18 Exhibit 26 Part 3, # 19
                               Exhibit 27, # 20 Exhibit 28).(Stewart, Ladan) (Entered: 06/13/2023)
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              06/13/2023   860 DECLARATION of Mark R. Sylvester in Opposition re: 824 MOTION for Summary
                               Judgment .. Document filed by Securities and Exchange Commission. (Attachments: #
                               1 Exhibit 645, # 2 Exhibit 646, # 3 Exhibit 647, # 4 Exhibit 648, # 5 Exhibit 649, # 6
                               Exhibit 650, # 7 Exhibit 651, # 8 Exhibit 652, # 9 Exhibit 653, # 10 Exhibit 654, # 11
                               Exhibit 655, # 12 Exhibit 656, # 13 Exhibit 657, # 14 Exhibit 658, # 15 Exhibit 659, #
                               16 Exhibit 660, # 17 Exhibit 661, # 18 Exhibit 662, # 19 Exhibit 663, # 20 Exhibit
                               665, # 21 Exhibit 666, # 22 Exhibit 667, # 23 Exhibit 668, # 24 Exhibit 669, # 25
                               Exhibit 670, # 26 Exhibit 672, # 27 Exhibit 673, # 28 Exhibit 674, # 29 Exhibit 675, #
                               30 Exhibit 676, # 31 Exhibit 677, # 32 Exhibit 678, # 33 Exhibit 679, # 34 Exhibit
                               680, # 35 Exhibit 681, # 36 Exhibit 682, # 37 Exhibit 683, # 38 Exhibit 684, # 39
                               Exhibit 685, # 40 Exhibit 686).(Hanauer, Benjamin) (Entered: 06/13/2023)
              06/13/2023   861 DECLARATION of Ladan F. Stewart in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 29, # 2 Exhibit 30, # 3 Exhibit 31, # 4 Exhibit 32, # 5
                               Exhibit 33, # 6 Exhibit 34, # 7 Exhibit 35, # 8 Exhibit 36 Part 1, # 9 Exhibit 36 Part 2,
                               # 10 Exhibit 37, # 11 Exhibit 38, # 12 Exhibit 39, # 13 Exhibit 40, # 14 Exhibit 41, #
                               15 Exhibit 42, # 16 Exhibit 43, # 17 Exhibit 44, # 18 Exhibit 45, # 19 Exhibit 46, # 20
                               Exhibit 47, # 21 Exhibit 48, # 22 Exhibit 49, # 23 Exhibit 50, # 24 Exhibit 51, # 25
                               Exhibit 52, # 26 Exhibit 53, # 27 Exhibit 54, # 28 Exhibit 55, # 29 Exhibit 56, # 30
                               Exhibit 57, # 31 Exhibit 58, # 32 Exhibit 59, # 33 Exhibit 60, # 34 Exhibit 61, # 35
                               Exhibit 62, # 36 Exhibit 63, # 37 Exhibit 64, # 38 Exhibit 65, # 39 Exhibit 66, # 40
                               Exhibit 67, # 41 Exhibit 68).(Stewart, Ladan) (Entered: 06/13/2023)
              06/13/2023   862 DECLARATION of Mark R. Sylvester in Opposition re: 824 MOTION for Summary
                               Judgment .. Document filed by Securities and Exchange Commission. (Attachments: #
                               1 Exhibit 687, # 2 Exhibit 688, # 3 Exhibit 689, # 4 Exhibit 690, # 5 Exhibit 691, # 6
                               Exhibit 692, # 7 Exhibit 693, # 8 Exhibit 694, # 9 Exhibit 695, # 10 Exhibit 696, # 11
                               Exhibit 697, # 12 Exhibit 698, # 13 Exhibit 699, # 14 Exhibit 701, # 15 Exhibit 702, #
                               16 Exhibit 703, # 17 Exhibit 704, # 18 Exhibit 705, # 19 Exhibit 706, # 20 Exhibit
                               707).(Hanauer, Benjamin) (Entered: 06/13/2023)
              06/13/2023   863 DECLARATION of Mark R. Sylvester in Opposition re: 824 MOTION for Summary
                               Judgment .. Document filed by Securities and Exchange Commission. (Attachments: #
                               1 Exhibit 708, # 2 Exhibit 709, # 3 Exhibit 710, # 4 Exhibit 711, # 5 Exhibit 712, # 6
                               Exhibit 713, # 7 Exhibit 714, # 8 Exhibit 715, # 9 Exhibit 716, # 10 Exhibit 717, # 11
                               Exhibit 718, # 12 Exhibit 719, # 13 Exhibit 720, # 14 Exhibit 721, # 15 Exhibit 722, #
                               16 Exhibit 724, # 17 Exhibit 725, # 18 Exhibit 726, # 19 Exhibit 727, # 20 Exhibit
                               728, # 21 Exhibit 729, # 22 Exhibit 730, # 23 Exhibit 731, # 24 Exhibit 732, # 25
                               Exhibit 733, # 26 Exhibit 734, # 27 Exhibit 735, # 28 Exhibit 736, # 29 Exhibit 737, #
                               30 Exhibit 738).(Hanauer, Benjamin) (Entered: 06/13/2023)
              06/13/2023   864 DECLARATION of Ladan F. Stewart in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 69, # 2 Exhibit 70, # 3 Exhibit 71, # 4 Exhibit 72, # 5
                               Exhibit 73, # 6 Exhibit 74, # 7 Exhibit 75, # 8 Exhibit 76, # 9 Exhibit 77, # 10 Exhibit
                               78, # 11 Exhibit 79, # 12 Exhibit 80, # 13 Exhibit 81 Part 1, # 14 Exhibit 81 Part 2, #
                               15 Exhibit 81 Part 3, # 16 Exhibit 81 Part 4, # 17 Exhibit 82, # 18 Exhibit 83, # 19
                               Exhibit 84, # 20 Exhibit 85, # 21 Exhibit 86, # 22 Exhibit 87, # 23 Exhibit 88, # 24
                               Exhibit 89, # 25 Exhibit 90, # 26 Exhibit 91, # 27 Exhibit 92, # 28 Exhibit 93 Part 1, #
                               29 Exhibit 93 Part 2, # 30 Exhibit 93 Part 3, # 31 Exhibit 93 Part 4, # 32 Exhibit 93
                               Part 5, # 33 Exhibit 94, # 34 Exhibit 95, # 35 Exhibit 96, # 36 Exhibit 97, # 37 Exhibit
                               98, # 38 Exhibit 99, # 39 Exhibit 100, # 40 Exhibit 101, # 41 Exhibit 102, # 42 Exhibit
                               103, # 43 Exhibit 104, # 44 Exhibit 105, # 45 Exhibit 106, # 46 Exhibit 107, # 47
                               Exhibit 108, # 48 Exhibit 109, # 49 Exhibit 110, # 50 Exhibit 111).(Stewart, Ladan)
                               (Entered: 06/13/2023)
              06/13/2023   865 DECLARATION of Mark R. Sylvester in Opposition re: 824 MOTION for Summary
                               Judgment .. Document filed by Securities and Exchange Commission. (Attachments: #
                               1 Exhibit 739, # 2 Exhibit 740, # 3 Exhibit 741, # 4 Exhibit 742, # 5 Exhibit 743, # 6
                               Exhibit 744, # 7 Exhibit 745, # 8 Exhibit 746, # 9 Exhibit 747, # 10 Exhibit 748, # 11
                               Exhibit 749, # 12 Exhibit 750, # 13 Exhibit 751, # 14 Exhibit 752, # 15 Exhibit 753, #
                               16 Exhibit 754, # 17 Exhibit 755, # 18 Exhibit 756, # 19 Exhibit 757, # 20 Exhibit
                               758, # 21 Exhibit 759, # 22 Exhibit 760, # 23 Exhibit 761, # 24 Exhibit 762, # 25
                               Exhibit 763, # 26 Exhibit 764, # 27 Exhibit 765, # 28 Exhibit 766, # 29 Exhibit 767, #
                               30 Exhibit 768, # 31 Exhibit 769, # 32 Exhibit 770, # 33 Exhibit 771).(Hanauer,
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                          Case: 24-2705, 10/10/2024, DktEntry: 4.2, Page 110 of 122

                                 Benjamin) (Entered: 06/13/2023)
              06/13/2023   866 DECLARATION of Mark R. Sylvester in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 248, # 2 Exhibit 403, # 3 Exhibit 534, # 4 Exhibit 553, # 5
                               Exhibit 664, # 6 Exhibit 671).(Hanauer, Benjamin) (Entered: 06/13/2023)
              06/13/2023   867 DECLARATION of Ladan F. Stewart in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 112, # 2 Exhibit 114, # 3 Exhibit 115, # 4 Exhibit 116, # 5
                               Exhibit 117, # 6 Exhibit 118, # 7 Exhibit 119, # 8 Exhibit 120, # 9 Exhibit 121, # 10
                               Exhibit 122, # 11 Exhibit 123, # 12 Exhibit 124, # 13 Exhibit 125, # 14 Exhibit 126, #
                               15 Exhibit 127, # 16 Exhibit 128, # 17 Exhibit 129, # 18 Exhibit 130, # 19 Exhibit
                               131, # 20 Exhibit 132, # 21 Exhibit 133, # 22 Exhibit 134, # 23 Exhibit 135, # 24
                               Exhibit 136, # 25 Exhibit 137, # 26 Exhibit 138, # 27 Exhibit 139, # 28 Exhibit 140, #
                               29 Exhibit 141, # 30 Exhibit 142).(Hanauer, Benjamin) (Entered: 06/13/2023)
              06/13/2023   868 DECLARATION of Ladan F. Stewart in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 143, # 2 Exhibit 144, # 3 Exhibit 145, # 4 Exhibit 146, # 5
                               Exhibit 147, # 6 Exhibit 148, # 7 Exhibit 149, # 8 Exhibit 150, # 9 Exhibit 151, # 10
                               Exhibit 152, # 11 Exhibit 153, # 12 Exhibit 154, # 13 Exhibit 155, # 14 Exhibit 156, #
                               15 Exhibit 157, # 16 Exhibit 158, # 17 Exhibit 159, # 18 Exhibit 160, # 19 Exhibit
                               161, # 20 Exhibit 162, # 21 Exhibit 163, # 22 Exhibit 164, # 23 Exhibit 165, # 24
                               Exhibit 166, # 25 Exhibit 167, # 26 Exhibit 168, # 27 Exhibit 169, # 28 Exhibit 170, #
                               29 Exhibit 171, # 30 Exhibit 172).(Hanauer, Benjamin) (Entered: 06/13/2023)
              06/13/2023   869 DECLARATION of Ladan Stewart in Opposition re: 824 MOTION for Summary
                               Judgment .. Document filed by Securities and Exchange Commission. (Attachments: #
                               1 Exhibit 587, # 2 Exhibit 588, # 3 Exhibit 589, # 4 Exhibit 590, # 5 Exhibit 591, # 6
                               Exhibit 592, # 7 Exhibit 593, # 8 Exhibit 594, # 9 Exhibit 595, # 10 Exhibit 596, # 11
                               Exhibit 597, # 12 Exhibit 598, # 13 Exhibit 599, # 14 Exhibit 600, # 15 Exhibit 601, #
                               16 Exhibit 602, # 17 Exhibit 603, # 18 Exhibit 604, # 19 Exhibit 605, # 20 Exhibit
                               606, # 21 Exhibit 607, # 22 Exhibit 608, # 23 Exhibit 609, # 24 Exhibit 610, # 25
                               Exhibit 611, # 26 Exhibit 612, # 27 Exhibit 613, # 28 Exhibit 614, # 29 Exhibit 615, #
                               30 Exhibit 616, # 31 Exhibit 617, # 32 Exhibit 618, # 33 Exhibit 619, # 34 Exhibit
                               620, # 35 Exhibit 621, # 36 Exhibit 623, # 37 Exhibit 624, # 38 Exhibit 625, # 39
                               Exhibit 626, # 40 Exhibit 629, # 41 Exhibit 630, # 42 Exhibit 631, # 43 Exhibit 632, #
                               44 Exhibit 633, # 45 Exhibit 634, # 46 Exhibit 635, # 47 Exhibit 636, # 48 Exhibit
                               637, # 49 Exhibit 638, # 50 Exhibit 639, # 51 Exhibit 640, # 52 Exhibit 641, # 53
                               Exhibit 642, # 54 Exhibit 643, # 55 Exhibit 644).(Tenreiro, Jorge) (Entered:
                               06/13/2023)
              06/13/2023   870 DECLARATION of Ladan F. Stewart in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 173, # 2 Exhibit 174, # 3 Exhibit 175, # 4 Exhibit 176, # 5
                               Exhibit 177 part 1, # 6 Exhibit 177 part 2, # 7 Exhibit 177 part 3, # 8 Exhibit 177 part
                               4, # 9 Exhibit 178, # 10 Exhibit 179, # 11 Exhibit 180, # 12 Exhibit 181, # 13 Exhibit
                               182, # 14 Exhibit 183, # 15 Exhibit 184, # 16 Exhibit 185).(Hanauer, Benjamin)
                               (Entered: 06/13/2023)
              06/13/2023   871 DECLARATION of Ladan F. Stewart in Support re: 836 MOTION for Summary
                               Judgment as to all Parties.. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit 186, # 2 Exhibit 187, # 3 Exhibit 188, # 4 Exhibit 189, # 5
                               Exhibit 190, # 6 Exhibit 191, # 7 Exhibit 192, # 8 Exhibit 193, # 9 Exhibit 194, # 10
                               Exhibit 195, # 11 Exhibit 196, # 12 Exhibit 197, # 13 Exhibit 198, # 14 Exhibit 199, #
                               15 Exhibit 200).(Hanauer, Benjamin) (Entered: 06/13/2023)
              06/26/2023   872 MOTION for Clayton J. Masterman to Withdraw as Attorney . Document filed by
                               Ripple Labs Inc.. (Attachments: # 1 Exhibit Declaration of Clayton J. Masterman, # 2
                               Text of Proposed Order ).(Masterman, Clayton) (Entered: 06/26/2023)
              07/12/2023   873 MOTION for Anna R. Gressel to Withdraw as Attorney for Defendant Ripple Labs
                               Inc.. Document filed by Ripple Labs Inc...(Gressel, Anna) (Entered: 07/12/2023)
              07/13/2023   874 ORDER: granting in part and denying in part 621 Motion for Summary Judgment. For
                               the foregoing reasons, the SEC's motion for summary judgment is GRANTED as to
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                                 the Institutional Sales, and otherwise DENIED. Defendants' motion for summary
                                 judgment is GRANTED as to the Programmatic Sales, the Other Distributions, and
                                 Larsen's and Garlinghouse's sales, and DENIED as to the Institutional Sales.The Court
                                 shall issue a separate order setting a trial date and related pre−trial deadlines in due
                                 course. The Clerk of Court is directed to terminate the motions at ECF Nos. 621, 625,
                                 639, 642, 807, 824, and 836. SO ORDERED.. (Signed by Judge Analisa Torres on
                                 7/13/2023) (ama) (Entered: 07/13/2023)
              07/13/2023   875 MEMO ENDORSEMENT granting 872 Motion to Withdraw as Attorney.
                               ENDORSEMENT: The Clerk of Court is directed to terminate Clayton J. Masterman
                               from the docket. SO ORDERED. Attorney Clayton Masterman terminated. (Signed by
                               Judge Analisa Torres on 7/13/2023) (kv) (Entered: 07/13/2023)
              07/13/2023   876 ORDER granting 872 MOTION for Clayton J. Masterman to Withdraw as Attorney.
                               (HEREBY ORDERED by Magistrate Judge Sarah Netburn) (Text Only Order) (ras)
                               (Entered: 07/13/2023)
              07/13/2023   877 ORDER granting 873 MOTION for Anna R. Gressel to Withdraw as Attorney.
                               (Attorney Anna Gressel terminated.) (HEREBY ORDERED by Magistrate Judge
                               Sarah Netburn) (Text Only Order) (ras) (Entered: 07/13/2023)
              07/17/2023   878 AMENDED ORDER REFERRING CASE TO MAGISTRATE JUDGE. Order that
                               case be referred to the Clerk of Court for assignment to a Magistrate Judge for General
                               Pretrial (includes scheduling, discovery, non−dispositive pretrial motions, and
                               settlement) and Settlement. Referred to Magistrate Judge Sarah Netburn. Motions
                               referred to Sarah Netburn. (Signed by Judge Analisa Torres on 7/17/2023) (tg)
                               (Entered: 07/17/2023)
              07/17/2023   879 ORDER: In light of Judge Torres's recent decision on the parties' cross−motions for
                               summary judgment, ECF No. 874, the parties are directed to contact Courtroom
                               Deputy Rachel Slusher at Rachel_Slusher@nysd.uscourts.gov with three mutually
                               convenient dates to schedule a settlement conference if they believe it would be
                               productive at this time. Due to the Court's busy calendar, settlement conferences must
                               generally be scheduled at least six to eight weeks in advance. The Court will likely be
                               unable to accommodate last−minute requests for settlement conferences, and the
                               parties should not anticipate that litigation deadlines will be adjourned in response to
                               late requests for settlement conferences. (Signed by Magistrate Judge Sarah Netburn
                               on 7/17/2023) (ras) (Entered: 07/17/2023)
              07/27/2023   880 MOTION for Lisa R. Zornberg to Withdraw as Attorney for Defendant Ripple Labs
                               Inc.. Document filed by Ripple Labs Inc...(Zornberg, Lisa) (Entered: 07/27/2023)
              07/28/2023   881 MEMO ENDORSEMENT granting 880 Motion to Withdraw as Attorney.
                               ENDORSEMENT: GRANTED. The Clerk of Court is directed to terminate Lisa R.
                               Zornberg from the docket. SO ORDERED. Attorney Lisa R. Zornberg terminated.
                               (Signed by Judge Analisa Torres on 7/28/2023) (kv) (Entered: 07/28/2023)
              07/28/2023   882 MEMO ENDORSEMENT granting 880 Motion to Withdraw as Attorney.
                               ENDORSEMENT: GRANTED. The Clerk of Court is directed to terminate Lisa R.
                               Zornberg from the docket. SO ORDERED. Attorney Lisa R. Zornberg terminated.
                               (Signed by Judge Analisa Torres on 7/28/2023) (kv) (Entered: 07/28/2023)
              07/31/2023   883 NOTICE OF APPEARANCE by Douglas Samuel Zolkind on behalf of Ripple Labs
                               Inc...(Zolkind, Douglas) (Entered: 07/31/2023)
              08/09/2023   884 PRETRIAL SCHEDULING ORDER: Accordingly: 1. By August 23, 2023, the parties
                               shall submit blackout dates for trial. 2. By December 4, 2023, the parties shall submit
                               any motions in limine. Oppositions to any motions in limine shall be submitted by
                               December 18, 2023. 3. By December 4, 2023, the parties shall submit all required
                               pretrial filings, including their proposed joint pretrial order, requests to charge, verdict
                               form, and voir dire questions in accordance with Paragraphs V.B, V.C, and V.D of the
                               Court's Individual Practices in Civil Cases. The parties shall also email copies of these
                               submissions to ToITes_NYSDChambers@nysd.uscomi s.gov as Word Documents. 4.
                               By December 4, 2023, the parties shall deliver to the Court one copy of each
                               documentary exhibit sought to be admitted, pre−marked (i.e., labeled with exhibit
                               stickers) and assembled sequentially in a loose−leaf binder or in separate manila
                               folders labeled with the exhibit numbers and placed in a suitable container for ready
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                                reference in accordance with Paragraph V.C.v of the Court's Individual Practices in
                                Civil Cases. 5. The Court shall schedule a final pretrial conference date upon setting a
                                date certain for trial. SO ORDERED. Motions due by 12/4/2023. Responses due by
                                12/18/2023 Proposed Pretrial Order due by 12/4/2023. (Signed by Judge Analisa
                                Torres on 8/9/2023) (jca) (Entered: 08/09/2023)
              08/09/2023   885 MOTION for Peter Bryan Moores to Appear Pro Hac Vice . Motion and supporting
                               papers to be reviewed by Clerk's Office staff. Document filed by Securities and
                               Exchange Commission. (Attachments: # 1 Affidavit of Peter Bryan Moores in support
                               of Motion for Admission Pro Hac Vice, # 2 Proposed Order for Admission Pro Hac
                               Vice).(Moores, Peter) (Entered: 08/09/2023)
              08/09/2023   886 MOTION for Marc J. Jones to Appear Pro Hac Vice . Motion and supporting papers
                               to be reviewed by Clerk's Office staff. Document filed by Securities and Exchange
                               Commission. (Attachments: # 1 Affidavit Affidavit of Marc J. Jones In Support of
                               Motion for Admission Pro Hac Vice, # 2 Proposed Order Proposed Order for
                               Admission Pro Hac Vice).(Jones, Marc) (Entered: 08/09/2023)
              08/09/2023        >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                No. 885 MOTION for Peter Bryan Moores to Appear Pro Hac Vice. Motion and
                                supporting papers to be reviewed by Clerk's Office staff. The document has been
                                reviewed and there are no deficiencies. (va) (Entered: 08/09/2023)
              08/09/2023        >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                No. 886 MOTION for Marc J. Jones to Appear Pro Hac Vice. Motion and
                                supporting papers to be reviewed by Clerk's Office staff. The document has been
                                reviewed and there are no deficiencies. (va) (Entered: 08/09/2023)
              08/09/2023   887 LETTER addressed to Judge Analisa Torres from Jorge G. Tenreiro dated August 9,
                               2023 re: Anticipated Motion for Interlocutory Appeal. Document filed by Securities
                               and Exchange Commission..(Tenreiro, Jorge) (Entered: 08/09/2023)
              08/15/2023   888 NOTICE OF APPEARANCE by Andrew Kunsak on behalf of Investment Banker
                               Declarant..(Kunsak, Andrew) (Entered: 08/15/2023)
              08/16/2023   889 LETTER addressed to Judge Analisa Torres from Michael K. Kellogg dated August
                               16, 2023 re: Opposition to SEC Letter Regarding Interlocutory Appeal (Dkt. 887).
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Kellogg, Michael) (Entered: 08/16/2023)
              08/16/2023   890 LETTER addressed to Judge Analisa Torres from Matthew C. Solomon and Martin
                               Flumenbaum dated August 16, 2023 re: in response to SEC's pre−motion letter seeking
                               leave to file interlocutory appeal ( 887 ). Document filed by Bradley Garlinghouse,
                               Christian A. Larsen..(Solomon, Matthew) (Entered: 08/16/2023)
              08/17/2023   891 ORDER Accordingly: 1. The SEC's request to file a motion for leave to file an
                               interlocutory appeal is GRANTED; 2. By August 18, 2023, the SEC shall file its
                               motion; 3. By September 1, 2023, Defendants shall file their opposition papers; and 4.
                               By September 8, 2023, the SEC shall file its reply, if any. The parties are directed to
                               comply with the deadlines set forth in ECF No. 884 until farther order of the Court. SO
                               ORDERED. (Motions due by 8/18/2023., Replies due by 9/8/2023., Responses due by
                               9/1/2023) (Signed by Judge Analisa Torres on 8/17/2023) (jca) (Entered: 08/17/2023)
              08/18/2023   892 MOTION for Leave to Appeal Document filed by Securities and Exchange
                               Commission..(Tenreiro, Jorge) (Entered: 08/18/2023)
              08/18/2023   893 MEMORANDUM OF LAW in Support re: 892 MOTION for Leave to Appeal .
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Exhibit
                               A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E).(Tenreiro, Jorge)
                               (Entered: 08/18/2023)
              08/22/2023   894 MOTION for Alyssa M. Hasbrouck to Withdraw as Attorney . Document filed by
                               Investment Banker Declarant..(Hasbrouck, Alyssa) (Entered: 08/22/2023)
              08/22/2023   895 DECLARATION of Alyssa M. Hasbrouck in Support re: 894 MOTION for Alyssa M.
                               Hasbrouck to Withdraw as Attorney .. Document filed by Investment Banker
                               Declarant..(Hasbrouck, Alyssa) (Entered: 08/22/2023)
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              08/22/2023   896 NOTICE OF APPEARANCE by Caleb Robertson on behalf of Bradley
                               Garlinghouse..(Robertson, Caleb) (Entered: 08/22/2023)
              08/22/2023   897 MOTION for Michael A. Schulman to Appear Pro Hac Vice . Filing fee $ 200.00,
                               receipt number ANYSDC−28181934. Motion and supporting papers to be reviewed
                               by Clerk's Office staff. Document filed by Bradley Garlinghouse. (Attachments: # 1
                               Affidavit (Declaration in Support), # 2 Exhibit (Good Standing Certificate), # 3
                               Proposed Order Granting Motion).(Schulman, Michael) (Entered: 08/22/2023)
              08/22/2023        >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                                No. 897 MOTION for Michael A. Schulman to Appear Pro Hac Vice . Filing fee $
                                200.00, receipt number ANYSDC−28181934. Motion and supporting papers to be
                                reviewed by Clerk's Office staff.. The document has been reviewed and there are
                                no deficiencies. (vba) (Entered: 08/22/2023)
              08/22/2023   898 LETTER addressed to Judge Analisa Torres from Martin Flumenbaum and Matthew
                               C. Solomon dated August 22, 2023 re: Trial Availability. Document filed by Christian
                               A. Larsen..(Flumenbaum, Martin) (Entered: 08/22/2023)
              08/23/2023   899 MOTION for Pascale Guerrier to Withdraw as Attorney . Document filed by Securities
                               and Exchange Commission..(Guerrier, Pascale) (Entered: 08/23/2023)
              08/23/2023   900 MOTION for Richard Best to Withdraw as Attorney . Document filed by Securities
                               and Exchange Commission. (Attachments: # 1 Proposed Order Re Withdrawal of
                               Richard Best).(Tenreiro, Jorge) (Entered: 08/23/2023)
              08/23/2023   901 ORDER granting 885 Motion for Peter Bryan Moores to Appear Pro Hac Vice
                               (HEREBY ORDERED by Judge Analisa Torres)(Text Only Order) (jgh) (Entered:
                               08/23/2023)
              08/23/2023   902 ORDER granting 886 Motion for Marc J. Jones to Appear Pro Hac Vice (HEREBY
                               ORDERED by Judge Analisa Torres)(Text Only Order) (jgh) (Entered: 08/23/2023)
              08/23/2023   903 ORDER granting 897 Motion for Michael A. Schulman to Appear Pro Hac Vice
                               (HEREBY ORDERED by Judge Analisa Torres)(Text Only Order) (jgh) (Entered:
                               08/23/2023)
              08/23/2023   904 MEMO ENDORSEMENT granting 894 MOTION for Alyssa M. Hasbrouck to
                               Withdraw as Attorney. ENDORSEMENT GRANTED. The Clerk of Court is directed
                               to terminate Alyssa M. Hasbrouck from the docket. SO ORDERED. Attorney Alyssa
                               M. Hasbrouck terminated. (Signed by Judge Analisa Torres on 8/23/2023) (jca)
                               (Entered: 08/23/2023)
              08/23/2023   905 MEMO ENDORSEMENT granting 899 MOTION for Pascale Guerrier to Withdraw
                               as Attorney. ENDORSEMENT GRANTED. The Clerk of Court is directed to
                               terminate Pascale Guerrier from the docket. SO ORDERED. Attorney Pascale
                               Guerrier terminated (Signed by Judge Analisa Torres on 8/23/2023) (jca) (Entered:
                               08/23/2023)
              08/23/2023   906 MEMO ENDORSEMENT granting 900 MOTION for Richard Best to Withdraw as
                               Attorney. ENDORSEMENT GRANTED. The Clerk of Court is directed to terminate
                               Richard Best from the docket. SO ORDERED. Attorney Richard R. Best terminated.
                               (Signed by Judge Analisa Torres on 8/23/2023) (jca) (Entered: 08/23/2023)
              08/23/2023   907 LETTER addressed to Judge Analisa Torres from Michael K. Kellogg dated August
                               23, 2023 re: Trial Availability. Document filed by Ripple Labs Inc...(Kellogg,
                               Michael) (Entered: 08/23/2023)
              08/23/2023   908 MEMO ENDORSEMENT granting 900 MOTION for Richard Best to Withdraw as
                               Attorney. ENDORSEMENT GRANTED. The Clerk of Court is directed to terminate
                               Richard Best from the docket. SO ORDERED. Attorney Richard R. Best terminated.
                               (Signed by Judge Analisa Torres on 8/23/2023) (jca) (Entered: 08/23/2023)
              08/23/2023   909 MOTION for Robert MacDonald Moye to Withdraw as Attorney for Plaintiff.
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Proposed
                               Order Moye withdrawal).(Moye, Robert) (Entered: 08/23/2023)
              08/23/2023   910 LETTER addressed to Judge Analisa Torres from Peter Moores dated August 23, 2023
                               re: Trial Availability. Document filed by Securities and Exchange
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                                 Commission..(Moores, Peter) (Entered: 08/23/2023)
              08/24/2023   911 MEMO ENDORSEMENT granting 909 MOTION for Robert MacDonald Moye to
                               Withdraw as Attorney for Plaintiff. ENDORSEMENT GRANTED. The Clerk of
                               Court is directed to terminate Robert Moye from the docket. SO ORDERED. Attorney
                               Robert Macdonald Moye terminated. (Signed by Judge Analisa Torres on 8/24/2023)
                               (jca) (Entered: 08/24/2023)
              08/24/2023   912 MEMO ENDORSEMENT granting 909 MOTION for Robert MacDonald Moye to
                               Withdraw as Attorney for Plaintiff. ENDORSEMENT GRANTED. The Clerk of
                               Court is directed to terminate Robert Moye from the docket. SO ORDERED. Attorney
                               Robert Macdonald Moye terminated. (Signed by Judge Analisa Torres on 8/24/2023)
                               (jca) (Entered: 08/24/2023)
              09/01/2023   913 MEMORANDUM OF LAW in Opposition re: 892 MOTION for Leave to Appeal .
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Kellogg, Michael) (Entered: 09/01/2023)
              09/01/2023   914 MEMORANDUM OF LAW in Opposition re: 892 MOTION for Leave to Appeal .
                               Document filed by Bradley Garlinghouse, Christian A. Larsen..(Solomon, Matthew)
                               (Entered: 09/01/2023)
              09/08/2023   915 REPLY MEMORANDUM OF LAW in Support re: 892 MOTION for Leave to
                               Appeal Interlocutory Order under 28 U.S.C. s 1292(b). Document filed by Securities
                               and Exchange Commission. (Attachments: # 1 Exhibit Ripple Q2 2023 XRP Markets
                               Report, # 2 Exhibit July 13, 2023 Reuters article).(Moores, Peter) (Entered:
                               09/08/2023)
              09/25/2023   916 NOTICE OF APPEARANCE by Rahul Mukhi on behalf of Bradley
                               Garlinghouse..(Mukhi, Rahul) (Entered: 09/25/2023)
              10/03/2023   917 ORDER denying 892 Motion for Leave to Appeal. For the reasons stated above, the
                               SEC's motion for certification of interlocutory appeal is DENIED, and the SEC's
                               request for a stay is DENIED as moot. The Clerk of Court is directed to terminate the
                               motion at ECF No. 892. Trial in this matter is set to begin on April 23, 2024, at 9:00
                               a.m. in Courtroom 15D of the United States Courthouse, 500 Pearl Street, New York,
                               New York 10007. The deadlines as set forth in the Courts Pretrial Scheduling Order
                               remain in effect. Accordingly: 1. By December 4, 2023, the parties shall submit any
                               motions in limine. Oppositions to any motions in limine shall be submitted by
                               December 18, 2023. 2. By December 4, 2023, the parties shall submit all required
                               pretrial filings, including their proposed joint pretrial order, requests to charge, verdict
                               form, and voir dire questions in accordance with Paragraphs V.B, V.C, and V.D of the
                               Court's Individual Practices in Civil Cases. The parties shall also email copies of these
                               submissions to Torres_NYSDChambers@nysd.uscourts.gov as Word Documents. 3.
                               By December 4, 2023, the parties shall deliver to the Court one copy of each
                               documentary exhibit sought to be admitted, pre−marked (i.e., labeled with exhibit
                               stickers) and assembled sequentially in a loose−leaf binder or in separate manila
                               folders labeled with the exhibit numbers and placed in a suitable container for ready
                               reference in accordance with Paragraph V.C.v of the Court's Individual Practices in
                               Civil Cases. 4. On April 16, 2024, at 2:00 p.m., counsel for all parties shall appear for
                               a final pretrial conference in Courtroom 15D of the United States Courthouse, 500
                               Pearl Street, New York, New York 10007. 5. Prior to the final pretrial conference,
                               counsel for both parties, along with the parties themselves, shall meet in person for at
                               least one hour to discuss settlement of this matter. SO ORDERED. (Signed by Judge
                               Analisa Torres on 10/3/2023) (jca) Modified on 10/24/2023 (ama). Modified on
                               11/13/2023 (ama). (Entered: 10/03/2023)
              10/03/2023         Set/Reset Deadlines: (Motions due by 12/4/2023., Proposed Pretrial Order due by
                                 12/4/2023., Responses due by 12/18/2023), Set/Reset Hearings:( Final Pretrial
                                 Conference set for 4/16/2024 at 02:00 PM in Courtroom 15D, 500 Pearl Street, New
                                 York, NY 10007 before Judge Analisa Torres., Jury Trial set for 4/23/2024 at 09:00
                                 AM in Courtroom 15D, 500 Pearl Street, New York, NY 10007 before Judge Analisa
                                 Torres.) (jca) (Entered: 10/03/2023)
              10/19/2023   918 FILING ERROR − DEFICIENT DOCKET ENTRY − STIPULATION OF
                               VOLUNTARY DISMISSAL It is hereby stipulated and agreed by and between the
                               parties and/or their respective counsel(s) that the above−captioned action is voluntarily
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                                 dismissed, with prejudice against the defendant(s) Bradley Garlinghouse, Christian A.
                                 Larsen and without costs pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil
                                 Procedure. Document filed by Securities and Exchange Commission. Proposed
                                 document to be reviewed and processed by Clerk's Office staff (No action
                                 required by chambers).. (Attachments: # 1 Stipulation of Voluntary Dismissal −−
                                 Partial, As To Aiding and Abetting Institutional Sales Claims Only).(Tenreiro, Jorge)
                                 Modified on 10/20/2023 (nd). (Entered: 10/19/2023)
              10/20/2023         ***NOTICE TO ATTORNEY REGARDING DEFICIENT VOLUNTARY
                                 DISMISSAL. Notice to Attorney Jorge Tenreiro. RE−FILE Document No. 918
                                 Stipulation of Voluntary Dismissal,,,. The filing is deficient for the following
                                 reason(s): the wrong event type was used to file the voluntary dismissal; the
                                 stipulation of voluntary dismissal was not signed (ink signatures) by all parties
                                 who have appeared. 1. Re−file the document using the event type Stipulation of
                                 Voluntary Dismissal found under the event list Other Documents. 2. Re−File the
                                 document the event type Letter founder under Other Documents. (nd) (Entered:
                                 10/20/2023)
              10/20/2023   919 STIPULATION OF VOLUNTARY DISMISSAL It is hereby stipulated and agreed by
                               and between the parties and/or their respective counsel(s) that the above−captioned
                               action is voluntarily dismissed, with prejudice against the defendant(s) Bradley
                               Garlinghouse, Christian A. Larsen and without costs pursuant to Rule 41(a)(1)(A)(ii)
                               of the Federal Rules of Civil Procedure. Document filed by Securities and Exchange
                               Commission. Proposed document to be reviewed and processed by Clerk's Office
                               staff (No action required by chambers)...(Tenreiro, Jorge) (Entered: 10/20/2023)
              10/20/2023   920 LETTER addressed to Judge Analisa Torres from Jorge G. Tenreiro dated October 19,
                               2023 re: Voluntary Dismissal of Aiding and Abetting Institutional Sales Claim.
                               Document filed by Securities and Exchange Commission..(Tenreiro, Jorge) (Entered:
                               10/20/2023)
              10/23/2023         ***NOTICE TO COURT REGARDING STIPULATION OF VOLUNTARY
                                 DISMISSAL Document No. 919 Stipulation of Voluntary Dismissal,, was
                                 reviewed and referred to Judge Analisa Torres for approval for the following
                                 reason(s): the plaintiff(s) filed their voluntary dismissal and it did not dismiss all
                                 of the parties or the action in its entirety. (nd) (Entered: 10/23/2023)
              10/23/2023   921 STIPULATION OF PARTIAL DISMISSAL: IT IS NOW STIPULATED AND
                               AGREED, pursuant to Fed. R. Civ. P. 41, by and between undersigned counsel, that
                               the claims alleged by Plaintiff Securities and Exchange Commission against
                               Defendants Bradley Garlinghouse and Christian A Larsen, for aiding and abetting
                               Defendant Ripple Labs, Inc.'s ("Ripple") violations of Section 5 of the Securities Act
                               of 1933 with respect to Ripple's offers and sales of XRP in "Institutional Sales" (see
                               ECF No. 874), are hereby dismissed in their entirety, with prejudice and without costs
                               or fees to either party. SO ORDERED. (Signed by Judge Analisa Torres on
                               10/23/2023) (jca) (Entered: 10/23/2023)
              10/24/2023   922 MEMO ENDORSEMENT: on re: 920 Letter filed by Securities and Exchange
                               Commission. ENDORSEMENT: GRANTED. By November 9, 2023, the parties shall
                               jointly propose a briefing schedule with regard to remedies, or, if the parties cannot
                               agree, shall jointly request that the Court set a briefing schedule. The April 16, 2023
                               final pretrial conference and the April 23, 2024 trial are ADJOURNED sine die. The
                               deadlines set forth in the Court's October 3, 2023 order, ECF No. 917, are VACATED.
                               SO ORDERED. (Signed by Judge Analisa Torres on 10/24/2023) (ama) (Entered:
                               10/24/2023)
              11/09/2023   923 LETTER addressed to Judge Analisa Torres from Jorge G. Tenreiro dated November
                               9, 2023 re: Remedies Briefing. Document filed by Securities and Exchange
                               Commission..(Tenreiro, Jorge) (Entered: 11/09/2023)
              11/13/2023   924 ORDER The Court has reviewed the parties' letter dated November 9, 2023.
                               Accordingly: 1. By February 12, 2024, the parties shall complete remedies−related
                               discovery; 2. By March 13, 2024, Plaintiff shall file its brief with respect to remedies;
                               3. By April 12, 2024, Defendant shall file its opposition; and 4. By April 29, 2024,
                               Plaintiff shall file its reply, if any. SO ORDERED. (Motions due by 3/13/2024.,
                               Replies due by 4/29/2024., Responses due by 4/12/2024) (Signed by Judge Analisa
                               Torres on 11/13/2023) (jca) (Entered: 11/13/2023)
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              01/11/2024   925 LETTER MOTION to Compel Ripple Labs, Inc. to Produce documents and Respond
                               to Interrogatory addressed to Magistrate Judge Sarah Netburn from Jorge G. Tenreiro
                               dated January 11, 2024. Document filed by Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                               E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11
                               Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16
                               Exhibit P).(Tenreiro, Jorge) (Entered: 01/11/2024)
              01/11/2024   926 LETTER MOTION for Extension of Time to File Opposition to Motion to Compel at
                               ECF 925 addressed to Magistrate Judge Sarah Netburn from Andrew J. Ceresney
                               dated January 11, 2024. Document filed by Ripple Labs Inc...(Ceresney, Andrew)
                               (Entered: 01/11/2024)
              01/12/2024   927 ORDER granting 926 Letter Motion for Extension of Time. Ripple Labs is directed to
                               file its opposition to the SEC's motion to compel by January 19, 2024. The SEC's
                               reply, if any, is due by January 24, 2024. (HEREBY ORDERED by Magistrate Judge
                               Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 01/12/2024)
              01/19/2024   928 MOTION for Ladan Stewart to Withdraw as Attorney for Plaintiff. Document filed by
                               Securities and Exchange Commission. (Attachments: # 1 Proposed Order A).(Stewart,
                               Ladan) (Entered: 01/19/2024)
              01/19/2024   929 LETTER RESPONSE in Opposition to Motion addressed to Magistrate Judge Sarah
                               Netburn from Andrew J. Ceresney dated January 19, 2024 re: 925 LETTER MOTION
                               to Compel Ripple Labs, Inc. to Produce documents and Respond to Interrogatory
                               addressed to Magistrate Judge Sarah Netburn from Jorge G. Tenreiro dated January
                               11, 2024. . Document filed by Ripple Labs Inc...(Ceresney, Andrew) (Entered:
                               01/19/2024)
              01/22/2024   930 ORDER granting 928 Motion to Withdraw as Attorney. Attorney Ladan Fazlollahi
                               Stewart terminated. (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text
                               Only Order) (Netburn, Sarah) (Entered: 01/22/2024)
              01/22/2024   931 ORDER granting 928 Motion to Withdraw as Attorney. Attorney Ladan Fazlollahi
                               Stewart terminated. (HEREBY ORDERED by Magistrate Judge Sarah Netburn)(Text
                               Only Order) (Netburn, Sarah) (Entered: 01/22/2024)
              01/23/2024   932 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Jorge G. Tenreiro dated January 23, 2024 re: 925 LETTER MOTION to Compel
                               Ripple Labs, Inc. to Produce documents and Respond to Interrogatory addressed to
                               Magistrate Judge Sarah Netburn from Jorge G. Tenreiro dated January 11, 2024. .
                               Document filed by Securities and Exchange Commission. (Attachments: # 1 Exhibit
                               A).(Tenreiro, Jorge) (Entered: 01/23/2024)
              01/24/2024   933 LETTER MOTION for Leave to File Sur−Reply addressed to Magistrate Judge Sarah
                               Netburn from Andrew J. Ceresney dated January 24, 2024. Document filed by Ripple
                               Labs Inc.. (Attachments: # 1 Exhibit A − Proposed Sur−Reply Letter).(Ceresney,
                               Andrew) (Entered: 01/24/2024)
              01/25/2024   934 ORDER granting 933 Letter Motion for Leave to File Document. (HEREBY
                               ORDERED by Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah)
                               (Entered: 01/25/2024)
              01/25/2024   935 LETTER RESPONSE to Motion addressed to Magistrate Judge Sarah Netburn from
                               Andrew J. Ceresney dated January 25, 2024 re: 925 LETTER MOTION to Compel
                               Ripple Labs, Inc. to Produce documents and Respond to Interrogatory addressed to
                               Magistrate Judge Sarah Netburn from Jorge G. Tenreiro dated January 11, 2024. /
                               Sur−Reply in Response to Motion to Compel Reply. Document filed by Ripple Labs
                               Inc...(Ceresney, Andrew) (Entered: 01/25/2024)
              02/05/2024   936 ORDER granting 925 Letter Motion to Compel. The SEC's motion is granted in full.
                               The Clerk of Court is respectfully requested to terminate the motion at ECF No. 925.
                               SO ORDERED. (Signed by Magistrate Judge Sarah Netburn on 2/5/2024) (dsh)
                               (Entered: 02/05/2024)
              02/06/2024   937 LETTER MOTION for Extension of Time of the Remedies−Related Discovery
                               Deadline addressed to Judge Analisa Torres from Andrew J. Ceresney dated February
                               6, 2024. Document filed by Ripple Labs Inc...(Ceresney, Andrew) (Entered:
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                                 02/06/2024)
              02/07/2024   938 ORDER granting 937 Letter Motion for Extension of Time. (HEREBY ORDERED by
                               Magistrate Judge Sarah Netburn)(Text Only Order) (Netburn, Sarah) (Entered:
                               02/07/2024)
              02/27/2024   939 LETTER MOTION for Extension of Time to File Remedies−Related Briefing
                               addressed to Judge Analisa Torres from Jorge G. Tenreiro dated February 27, 2024.
                               Document filed by Securities and Exchange Commission..(Tenreiro, Jorge) (Entered:
                               02/27/2024)
              03/01/2024   940 ORDER: granting 939 Letter Motion for Extension of Time to File. Granted. SO
                               ORDERED. (Signed by Judge Analisa Torres on 3/01/2024) (ama) (Entered:
                               03/01/2024)
              03/01/2024         Set/Reset Deadlines: Motions due by 3/22/2024. Responses due by 4/22/2024 Replies
                                 due by 5/6/2024. (ama) (Entered: 03/01/2024)
              03/19/2024   941 JOINT LETTER MOTION to Seal re Proposed Scheduling Deadlines for Sealing
                               Applications addressed to Judge Analisa Torres from Andrew J. Ceresney and Jorge
                               Tenreiro dated March 19, 2024. Document filed by Ripple Labs Inc...(Ceresney,
                               Andrew) (Entered: 03/19/2024)
              03/20/2024   942 ORDER granting 941 Letter Motion to Seal. GRANTED. SO ORDERED. (Signed by
                               Judge Analisa Torres on 3/20/2024) (va) (Entered: 03/20/2024)
              03/20/2024         Set/Reset Deadlines: Motions due by 5/13/2024. Responses due by 5/20/2024. Replies
                                 due by 5/8/2024. (va) (Entered: 03/20/2024)
              03/22/2024   943 ***SELECTED PARTIES*** MOTION for Judgment and Remedies. Document filed
                               by Securities and Exchange Commission, Bradley Garlinghouse, Christian A. Larsen,
                               Ripple Labs Inc..Motion or Order to File Under Seal: 942 .(Tenreiro, Jorge) (Entered:
                               03/22/2024)
              03/22/2024   944 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 943
                               MOTION for Judgment and Remedies. . Document filed by Securities and Exchange
                               Commission, Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. Motion or
                               Order to File Under Seal: 942 .(Tenreiro, Jorge) (Entered: 03/22/2024)
              03/22/2024   945 ***SELECTED PARTIES***DECLARATION of Peter Moores in Support re: 943
                               MOTION for Judgment and Remedies.. Document filed by Securities and Exchange
                               Commission, Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, #
                               6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit
                               11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16,
                               # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, #
                               22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27
                               Exhibit 27)Motion or Order to File Under Seal: 942 .(Tenreiro, Jorge) (Entered:
                               03/22/2024)
              03/22/2024   946 ***SELECTED PARTIES***DECLARATION of Andrea Fox in Support re: 943
                               MOTION for Judgment and Remedies.. Document filed by Securities and Exchange
                               Commission, Bradley Garlinghouse, Christian A. Larsen, Ripple Labs Inc..
                               (Attachments: # 1 Exhibit A, # 2 Exhibit B)Motion or Order to File Under Seal: 942
                               .(Tenreiro, Jorge) (Entered: 03/22/2024)
              03/22/2024   947 ***SELECTED PARTIES***PROPOSED JUDGMENT. Document filed by
                               Securities and Exchange Commission, Bradley Garlinghouse, Christian A. Larsen,
                               Ripple Labs Inc.. Motion or Order to File Under Seal: 942 .(Tenreiro, Jorge) Proposed
                               Judgment to be reviewed by Clerk's Office staff. (Entered: 03/22/2024)
              03/25/2024         ***NOTICE TO COURT REGARDING PROPOSED JUDGMENT. Document
                                 No. 947 Proposed Judgment, was reviewed and approved as to form. (tp)
                                 (Entered: 03/25/2024)
              03/25/2024   948 MOTION for Judgment and Remedies. Document filed by Securities and Exchange
                               Commission..(Tenreiro, Jorge) (Entered: 03/25/2024)
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              03/25/2024   949 MEMORANDUM OF LAW in Support re: 948 MOTION for Judgment and
                               Remedies. . Document filed by Securities and Exchange Commission. (Attachments: #
                               1 Exhibit 1 to Moores Declaration, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 6, # 5
                               Exhibit 7, # 6 Exhibit 8, # 7 Exhibit 23, # 8 Exhibit 26, # 9 Exhibit 27).(Tenreiro,
                               Jorge) (Entered: 03/25/2024)
              03/25/2024   950 PROPOSED JUDGMENT. Document filed by Securities and Exchange
                               Commission..(Tenreiro, Jorge) Proposed Judgment to be reviewed by Clerk's
                               Office staff. (Entered: 03/25/2024)
              03/26/2024         ***NOTICE TO COURT REGARDING PROPOSED JUDGMENT. Document
                                 No. 950 Proposed Judgment was reviewed and approved as to form. (tp) (Entered:
                                 03/26/2024)
              04/22/2024   951 LETTER MOTION for Discovery to Strike addressed to Magistrate Judge Sarah
                               Netburn from Gregory G. Rapawy dated 4/22/2024. Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc...(Rapawy, Gregory) (Entered:
                               04/22/2024)
              04/22/2024   952 FILING ERROR − DUPLICATE DOCKET ENTRY (SEE 951 Letter Motion) −
                               LETTER MOTION for Discovery to Strike addressed to Magistrate Judge Sarah
                               Netburn from Gregory G. Rapawy dated 4/22/2024. Document filed by Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc. (Rapawy, Gregory) Modified on
                               4/23/2024 (db). As per ECF−ERROR Email Correspondence Received on 4/23/2024
                               @ 9:05am. (Entered: 04/22/2024)
              04/22/2024   953 ***SELECTED PARTIES*** RESPONSE in Opposition to Motion re: 943 MOTION
                               for Judgment and Remedies. . Document filed by Ripple Labs Inc., Christian A.
                               Larsen, Bradley Garlinghouse, Securities and Exchange Commission. Motion or Order
                               to File Under Seal: 942 .(Kellogg, Michael) (Entered: 04/22/2024)
              04/22/2024   954 ***SELECTED PARTIES***DECLARATION of Gregory G. Rapawy in Opposition
                               re: 943 MOTION for Judgment and Remedies.. Document filed by Ripple Labs Inc.,
                               Christian A. Larsen, Bradley Garlinghouse, Securities and Exchange Commission.
                               (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                               E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11
                               Exhibit K)Motion or Order to File Under Seal: 942 .(Rapawy, Gregory) (Entered:
                               04/22/2024)
              04/22/2024   955 RESPONSE in Opposition to Motion re: 943 MOTION for Judgment and Remedies. .
                               Document filed by Bradley Garlinghouse, Christian A. Larsen, Ripple Labs
                               Inc...(Kellogg, Michael) (Entered: 04/22/2024)
              04/22/2024   956 FILING ERROR − DEFICIENT DOCKET ENTRY (SEE 957 Declaration)
                               −DECLARATION of Gregory G. Rapawy in Opposition re: 943 MOTION for
                               Judgment and Remedies.. Document filed by Bradley Garlinghouse, Christian A.
                               Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, #
                               4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, #
                               10 Exhibit J, # 11 Exhibit K).(Rapawy, Gregory) Modified on 4/23/2024 (db). As per
                               ECF−ERROR Email Correspondence Received on 4/23/2024 @ 10:53am. (Entered:
                               04/22/2024)
              04/23/2024   957 DECLARATION of Gregory G. Rapawy in Opposition re: 943 MOTION for
                               Judgment and Remedies.. Document filed by Bradley Garlinghouse, Christian A.
                               Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, #
                               4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, #
                               10 Exhibit J, # 11 Exhibit K).(Rapawy, Gregory) (Entered: 04/23/2024)
              04/25/2024   958 ORDER with respect to 951 Motion for Discovery. The SEC is granted until Monday,
                               April 29, 2024, to file its response to this motion. Ripple is granted three business days
                               thereafter to file a reply. (HEREBY ORDERED by Magistrate Judge Sarah
                               Netburn)(Text Only Order) (Netburn, Sarah) (Entered: 04/25/2024)
              04/29/2024   959 MEMORANDUM OF LAW in Opposition re: 951 LETTER MOTION for Discovery
                               to Strike addressed to Magistrate Judge Sarah Netburn from Gregory G. Rapawy dated
                               4/22/2024. . Document filed by Securities and Exchange Commission..(Jones, Marc)
                               (Entered: 04/29/2024)
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              05/02/2024   960 LETTER REPLY to Response to Motion addressed to Magistrate Judge Sarah Netburn
                               from Gregory G. Rapawy dated 5/2/2024 re: 951 LETTER MOTION for Discovery to
                               Strike addressed to Magistrate Judge Sarah Netburn from Gregory G. Rapawy dated
                               4/22/2024. . Document filed by Ripple Labs Inc...(Rapawy, Gregory) (Entered:
                               05/02/2024)
              05/06/2024   961 ***SELECTED PARTIES*** REPLY MEMORANDUM OF LAW in Support re:
                               943 MOTION for Judgment and Remedies., 948 MOTION for Judgment and
                               Remedies. . Document filed by Securities and Exchange Commission, Bradley
                               Garlinghouse, Christian A. Larsen, Ripple Labs Inc.. (Attachments: # 1 Exhibit 1, # 2
                               Exhibit 2)Motion or Order to File Under Seal: 942 .(Tenreiro, Jorge) (Entered:
                               05/06/2024)
              05/07/2024   962 REPLY MEMORANDUM OF LAW in Support re: 943 MOTION for Judgment and
                               Remedies., 948 MOTION for Judgment and Remedies. . Document filed by Securities
                               and Exchange Commission. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2).(Tenreiro,
                               Jorge) (Entered: 05/07/2024)
              05/13/2024   963 LETTER MOTION to Seal addressed to Judge Analisa Torres from Andrew J.
                               Ceresney dated May 13, 2024. Document filed by Ripple Labs Inc.. (Attachments: # 1
                               Appendix A to Motion − Chart Summarizing Remedies Materials).(Ceresney,
                               Andrew) (Entered: 05/13/2024)
              05/13/2024   964 DECLARATION of Jonathan Bilich in Support re: 963 LETTER MOTION to Seal
                               addressed to Judge Analisa Torres from Andrew J. Ceresney dated May 13, 2024..
                               Document filed by Ripple Labs Inc.. (Attachments: # 1 Appendix A − Chart
                               Summarizing Remedies Materials).(Ceresney, Andrew) (Entered: 05/13/2024)
              05/13/2024   965 ***SELECTED PARTIES*** LETTER addressed to Judge Analisa Torres from
                               Andrew J. Ceresney dated May 13, 2024 re: Motion to Seal. Document filed by Ripple
                               Labs Inc., Securities and Exchange Commission, Christian A. Larsen, Bradley
                               Garlinghouse. (Attachments: # 1 Appendix A − Chart Summarizing Remedies
                               Materials, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7
                               Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, # 11 Exhibit J, # 12 Exhibit K,
                               # 13 Exhibit L, # 14 Exhibit M, # 15 Exhibit N, # 16 Exhibit O, # 17 Exhibit P, # 18
                               Exhibit Q, # 19 Exhibit R, # 20 Exhibit S, # 21 Exhibit T, # 22 Exhibit U, # 23 Exhibit
                               V, # 24 Exhibit W, # 25 Exhibit X, # 26 Exhibit Y)Motion or Order to File Under
                               Seal: 963 .(Ceresney, Andrew) (Entered: 05/13/2024)
              05/20/2024   966 LETTER RESPONSE in Opposition to Motion addressed to Judge Analisa Torres
                               from Peter Bryan Moores dated May 20, 2024 re: 963 LETTER MOTION to Seal
                               addressed to Judge Analisa Torres from Andrew J. Ceresney dated May 13, 2024. .
                               Document filed by Securities and Exchange Commission..(Moores, Peter) (Entered:
                               05/20/2024)
              05/20/2024   967 ***SELECTED PARTIES***DECLARATION of Peter Bryan Moores in Opposition
                               re: 963 LETTER MOTION to Seal addressed to Judge Analisa Torres from Andrew J.
                               Ceresney dated May 13, 2024.. Document filed by Securities and Exchange
                               Commission, Ripple Labs Inc.. (Attachments: # 1 Exhibit Pl.'s Exhibit A to Moores
                               Decl., # 2 Exhibit Pl.'s Exhibit B to Moores Decl., # 3 Exhibit Pl.'s Exhibit C to
                               Moores Decl., # 4 Exhibit Pl.'s Exhibit D to Moores Decl., # 5 Exhibit Pl.'s Exhibit F
                               to Moores Decl., # 6 Exhibit Pl.'s Exhibit G to Moores Decl., # 7 Exhibit Pl.'s Exhibit J
                               to Moores Decl., # 8 Exhibit Pl.'s Exhibit L to Moores Decl., # 9 Exhibit Pl.'s Exhibit
                               M to Moores Decl., # 10 Exhibit Pl.'s Exhibit N to Moores Decl., # 11 Exhibit Pl.'s
                               Exhibit P to Moores Decl., # 12 Exhibit Pl.'s Exhibit Q to Moores Decl., # 13 Exhibit
                               Pl.'s Exhibit S to Moores Decl., # 14 Exhibit Pl.'s Exhibit T to Moores Decl., # 15
                               Exhibit Pl.'s Exhibit U to Moores Decl., # 16 Exhibit Pl.'s Exhibit W to Moores Decl.,
                               # 17 Exhibit Pl.'s Exhibit Y to Moores Decl., # 18 Exhibit Pl.'s Ex. 1 to Moores Decl.,
                               # 19 Exhibit Pl.'s Ex. 2 to Moores Decl., # 20 Exhibit Pl.'s Ex. 3 to Moores Decl., # 21
                               Exhibit Pl.'s Ex. 4 to Moores Decl., # 22 Exhibit Pl.'s Ex. 5 to Moores Decl., # 23
                               Exhibit Pl.'s Ex. 6 to Moores Decl., # 24 Exhibit Pl.'s Ex. 7 to Moores Decl., # 25
                               Exhibit Pl.'s Ex. 8 to Moores Decl., # 26 Exhibit Pl.'s Ex. 9 to Moores Decl., # 27
                               Exhibit Pl.'s Ex. 10 to Moores Decl.)Motion or Order to File Under Seal: 942
                               .(Moores, Peter) (Entered: 05/20/2024)
              05/29/2024   968 LETTER RESPONSE in Support of Motion addressed to Judge Analisa Torres from
                               Andrew J. Ceresney dated May 29, 2024 re: 963 LETTER MOTION to Seal addressed
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                                 to Judge Analisa Torres from Andrew J. Ceresney dated May 13, 2024. . Document
                                 filed by Ripple Labs Inc...(Ceresney, Andrew) (Entered: 05/29/2024)
              06/13/2024   969 LETTER addressed to Judge Analisa Torres from Michael K. Kellogg dated June 13,
                               2024 re: Notice of Supplemental Authority. Document filed by Ripple Labs Inc..
                               (Attachments: # 1 Exhibit 1, # 2 Exhibit 2).(Kellogg, Michael) (Entered: 06/13/2024)
              06/14/2024   970 LETTER addressed to Judge Analisa Torres from Jorge G. Tenreiro dated June 14,
                               2024 re: Ripple's June 13, 2024 Letter. Document filed by Securities and Exchange
                               Commission..(Tenreiro, Jorge) (Entered: 06/14/2024)
              07/02/2024   971 LETTER addressed to Judge Analisa Torres from Michael K. Kellogg dated 7/2/2024
                               re: Notice of Supplemental Authority. Document filed by Ripple Labs Inc..
                               (Attachments: # 1 Exhibit A).(Kellogg, Michael) (Entered: 07/02/2024)
              07/03/2024   972 LETTER addressed to Judge Analisa Torres from Jorge G. Tenreiro dated July 3, 2024
                               re: Ripple's July 2 Letter. Document filed by Securities and Exchange
                               Commission..(Tenreiro, Jorge) (Entered: 07/03/2024)
              08/07/2024   973 (REDACTED) ORDER granting in part and denying in part 943 Motion for Judgment;
                               granting in part and denying in part 948 Motion for Judgment; terminating 951 Letter
                               Motion for Discovery. The SEC's motion for remedies and the entry of final judgment
                               is GRANTED IN PART and DENIED IN PART. The Court shall enter a final
                               judgment enjoining Ripple from further violations of the securities laws and imposing
                               a civil penalty of $125,035,150. The Clerk of Court is directed to terminate the
                               motions at ECF Nos. 943, 948, and 951. SO ORDERED. (Signed by Judge Analisa
                               Torres on 8/7/2024) (vfr) (Entered: 08/07/2024)
              08/07/2024   974 JUDGMENT: IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
                               Defendant, Ripple Labs, Inc., is permanently restrained and enjoined from violating
                               Section 5 of the Securities Act [15 U.S.C. § 77e] by, directly or indirectly, in the
                               absence of any applicable exemption: (a) Unless a registration statement is in effect as
                               to a security, making use of any means or instruments of transportation or
                               communication in interstate commerce or of the mails to sell such security through the
                               use or medium of any prospectus or otherwise; as further set forth herein. IT IS
                               FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in Federal
                               Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following
                               who receive actual notice of this Final Judgment by personal service or otherwise: (a)
                               Defendant's officers, agents, servants, employees, and attorneys; and (b) other persons
                               in active concert or participation with Defendant or with anyone described in (a). IT IS
                               HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is
                               liable for a civil penalty in the amount of $125,035,150 pursuant to Section 20(d) of
                               the Securities Act [15 U.S.C. § 77t(d)]. Defendant shall satisfy this obligation by
                               paying $125,035,150 to the Securities and Exchange Commission within 30 days after
                               entry of this Final Judgment, as further set forth herein. The Commission may enforce
                               the Court's judgment for penalties by the use of all collection procedures authorized by
                               law, including the Federal Debt Collection Procedures Act, 28 U.S.C. § 3001 et seq.,
                               and moving for civil contempt for the violation of any Court orders issued in this
                               action. Defendant shall pay post judgment interest on any amounts due after 30 days of
                               the entry of this Final Judgment pursuant to 28 U.S.C. § 1961. The Commission shall
                               hold the funds, together with any interest and income earned thereon (collectively, the
                               "Fund"), pending further order of the Court. The Commission may propose a plan to
                               distribute the Fund subject to the Court's approval. Such a plan may provide that the
                               Fund shall be distributed pursuant to the Fair Fund provisions of Section 308(a) of the
                               Sarbanes−Oxley Act of 2002. The Court shall retain jurisdiction over the
                               administration of any distribution of the Fund and the Fund may only be disbursed
                               pursuant to an Order of the Court. Regardless of whether any such Fair Fund
                               distribution is made, amounts ordered to be paid as civil penalties pursuant to this
                               Judgment shall be treated as penalties paid to the government for all purposes,
                               including all tax purposes, as further set forth herein. IT IS FURTHER ORDERED,
                               ADJUDGED, AND DECREED that this Court shall retain jurisdiction of this matter
                               for the purposes of enforcing the terms of this Final Judgment for one year from its
                               date of entry. SO ORDERED. (Signed by Judge Analisa Torres on 8/7/2024) (vfr)
                               Transmission to Finance Unit (Cashiers) for processing. (Entered: 08/07/2024)
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              08/07/2024         Terminate Transcript Deadlines (vfr) (Entered: 09/03/2024)
              09/04/2024   975 LETTER addressed to Judge Analisa Torres from Michael K. Kellogg dated
                               September 4, 2024 re: Request for Stay of Monetary Portion of the Court's Judgment
                               at ECF No. 974. Document filed by Ripple Labs Inc...(Kellogg, Michael) (Entered:
                               09/04/2024)
              09/04/2024   976 PROPOSED CONSENT ORDER. Document filed by Ripple Labs Inc...(Kellogg,
                               Michael) (Entered: 09/04/2024)
              09/04/2024   977 ORDER STAYING ENFORCEMENT OF MONETARY PORTION OF FINAL
                               JUDGMENT: Under Federal Rule of Civil Procedure 62, this Court hereby STAYS
                               enforcement of the monetary portion of the Final Judgment entered August 7, 2024, as
                               ECF No. 974 (the "Judgment"). The stay imposed by this Order (the "Stay") shall last
                               until 30 days after the later of: (a) the expiration of time to appeal the Judgment with
                               no appeal filed, or (b) a decision by the Court of Appeals resolving any appeal taken.
                               The Stay does not apply to any other part of the Judgment, including, but not limited
                               to, the Judgment's injunctive relief. The Court further ORDERS as follows: 1. During
                               the Stay, post−judgment interest shall accrue as provided in the Judgment. 2. Promptly
                               after the entry of this Order, Defendant Ripple Labs Inc. ("Ripple")shall deposit 111%
                               of the amount of the civil penalty into an interest−bearing account with TruistBank
                               (the "Fund") in the name of Ripple's counsel, Kellogg, Hansen, Todd, Figel, &
                               Frederick,P.L.L.C. ("Kellogg Hansen"). 3. Ripple shall retain beneficial ownership of
                               the Fund and all accrued interest but shall have no control over the Fund. 4. Kellogg
                               Hansen shall ensure the deposited amount remains in the Fund unless and until it is
                               released either under a further order of the Court, or by mutual consent of Ripple and
                               Plaintiff Securities and Exchange Commission (the "SEC"; collectively with Ripple,
                               the "Parties"), with notification to the Court. The Parties have advised the Court that
                               they intend that the Fund will be released when: a. the Parties mutually consent that
                               the Fund be used to satisfy the monetary portion of the Judgment; b. Ripple pays the
                               monetary portion of the Judgment by other means; c. the Court of Appeals or United
                               States Supreme Court reverses the Judgment in relevant part; or d. the Court orders
                               that the Fund be released to the SEC to satisfy the monetary portion of the Judgment.
                               5. In the event that the Court of Appeals modifies the Judgment or vacates the
                               Judgment and remands for further proceedings, the Parties shall attempt in good faith
                               to reach agreement about the effect of such a ruling on the appropriate treatment of the
                               Fund. 6. In the event of any dispute between Ripple and the SEC over the proper
                               disposition of the Fund that cannot be resolved through good faith negotiations, the
                               Parties may submit that dispute to this Court for resolution. 7. This Order does not
                               impose upon Kellogg Hansen any duty to the SEC or otherwise, including any
                               fiduciary duty, except to ensure that the Fund remains in the account until released
                               pursuant to the terms of this Order or of any subsequent order of this Court. 8. This
                               Order is without prejudice to Ripple's ability to seek an extension of the Stay,
                               including an extension pending the filing of a petition for rehearing, rehearing en banc,
                               or certiorari. It is also without prejudice to the SEC's ability to oppose any extension.
                               SO ORDERED. (Signed by Judge Analisa Torres on 9/4/2024) (vfr) Transmission to
                               Finance Unit (Cashiers) for processing. Transmission to Orders and Judgments Clerk
                               for processing. (Entered: 09/04/2024)
              10/02/2024   978 NOTICE OF APPEAL from 874 Order on Motion for Summary Judgment,, 974
                               Judgment,,,,,,,,,,,,. Document filed by Securities and Exchange Commission. Form C
                               and Form D are due within 14 days to the Court of Appeals, Second Circuit..(Tenreiro,
                               Jorge) (Entered: 10/02/2024)
              10/03/2024         Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                                 Appeals re: 978 Notice of Appeal.(km) (Entered: 10/03/2024)
              10/03/2024         Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                                 Electronic Files for 978 Notice of Appeal, filed by Securities and Exchange
                                 Commission were transmitted to the U.S. Court of Appeals. (km) (Entered:
                                 10/03/2024)
              10/10/2024   979 FILING ERROR − NO ORDER SELECTED FOR APPEAL − NOTICE OF
                               CROSS APPEAL. Document filed by Ripple Labs Inc.. Filing fee $ 605.00, receipt
                               number ANYSDC−30022094. Form C and Form D are due within 14 days to the
                               Court of Appeals, Second Circuit..(Kellogg, Michael) Modified on 10/10/2024 (nd).
                               (Entered: 10/10/2024)
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                          Case: 24-2705, 10/10/2024, DktEntry: 4.2, Page 122 of 122

              10/10/2024        ***NOTICE TO ATTORNEY REGARDING DEFICIENT APPEAL. Notice to
                                attorney Michael Kellogg to RE−FILE Document No. 979 Notice of Cross
                                Appeal,.. The filing is deficient for the following reason(s): the order/judgment
                                being appealed was not selected. Re−file the appeal using the event type Notice of
                                Cross Appeal found under the event list Appeal Documents − attach the correct
                                signed PDF − select the correct named filer/filers − select the correct
                                order/judgment being appealed. (nd) (Entered: 10/10/2024)
              10/10/2024   980 NOTICE OF CROSS APPEAL from 974 Judgment,,,,,,,,,,,,. Document filed by Ripple
                               Labs Inc.. Form C and Form D are due within 14 days to the Court of Appeals, Second
                               Circuit..(Kellogg, Michael) Modified on 10/10/2024 (nd). (Entered: 10/10/2024)
              10/10/2024        Appeal Fee Paid electronically via Pay.gov: for 980 Notice of Cross Appeal. Filing fee
                                $ 605.00. Pay.gov receipt number ANYSDC−30022094., paid on 10/10/2024..(nd)
                                (Entered: 10/10/2024)
              10/10/2024        Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                                Appeals re: 980 Notice of Cross Appeal..(nd) (Entered: 10/10/2024)
              10/10/2024        Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                                Electronic Files for 980 Notice of Cross Appeal filed by Ripple Labs Inc. were
                                transmitted to the U.S. Court of Appeals..(nd) (Entered: 10/10/2024)
